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                               Received Pro Se Office via Electronic Submission
                                             9225
                                             March 10, 2025

Luke Williams
835 Woodbine Road
Highland Park, Illinois
March 10 2025

Hon. Kiyo A. Matsumoto
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

Re: Amended Reply to Government's Opposition to Motion for Reconsideration
Case No.: 21-cr-00064 (KAM)

Dear Judge Matsumoto:

I respectfully submit this amended version of my Reply to the Government's Opposition to my
Motion for Reconsideration under Rule 59(e). Pursuant to the following rules and statutory
provisions:

   ●   Federal Rule of Criminal Procedure 36 (Clerical Error Correction)
   ●   Federal Rule of Criminal Procedure 57(b) (Procedure When No Controlling Law)
   ●   Federal Rule of Civil Procedure 5(d)(4) (Clerk Must Accept Filings)
   ●   Federal Rule of Civil Procedure 15(a)(2) (Amendments With Permission)
   ●   Federal Rule of Appellate Procedure 8(a)(1) (Stay Pending Appeal)
   ●   Federal Rule of Appellate Procedure 10(e)(1) (Correction of Record)
   ●   28 U.S.C. § 2253(c) (Certificate of Appealability)
   ●   Local Civil Rule 7.1 (Motion Practice)

I CERTIFY AND STATE THE FOLLOWING:

PREVIOUSLY SUBMITTED: This document was originally submitted on February 19, 2025,
as confirmed by the Pro Se Portal confirmation receipt previously submitted to the Court as an
exhibit to ECF No. 160.

DOCKETING DISCREPANCY: Despite the Court's March 6, 2025 Order erroneously stating
that "all of Defendant's pro se submissions have been filed on the docket," this filing was not
docketed.
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ADDITIONAL EXHIBITS: I am now including supplemental exhibits that were not part of my
original filing. These exhibits provide compelling evidence of statute of limitations violations,
improper plea procedures, and jurisdictional defects that render my conviction constitutionally
infirm.

IMMINENT SUPPLEMENTAL FILING: I will be filing a supplemental document to this
Amended Reply that provides additional evidence and legal arguments supporting
reconsideration.

JURISDICTIONAL MATTERS: I expressly preserve all arguments for appeal related to
jurisdictional defects under 18 U.S.C. § 1344, Brady violations, ineffective assistance, improper
plea allocution, statute of limitations violations, conflict of interest, and cumulative error.

STAY REQUEST: Pursuant to Fed. R. App. P. 8(a)(1), I request this Court stay enforcement of
judgment pending potential appeal based on substantial questions that could result in vacatur,
including documented violations of Rules 11 and 7(b), ineffective assistance, and jurisdictional
defects.

RECORD CORRECTION: Under Fed. R. App. P. 10(e)(1), I move for correction of the record
to accurately reflect my timely submissions that remain unprocessed.

APPEALABILITY REQUEST: I request certification under 28 U.S.C. § 2253(c) that appeal
from denial would present substantial showing of denial of constitutional rights.

I respectfully request this submission be docketed with the original February 19, 2025
submission date in accordance with applicable Federal Rules and precedent.

Respectfully Submitted,

Luke Williams
Petitioner Pro Se
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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,                      )
          Plaintiff,                           )
     v.                                        )
                                               )       Case No. 21-CR-00064-KAM
LUKE ANDREW WILLIAMS,                          )
f/k/a LARBY AMIROUCHE,                         )
                                               )
               Defendant.                      )

         AMENDED REPLY TO GOVERNMENT'S OPPOSITION TO MOTION FOR
                    RECONSIDERATION UNDER RULE 59(e)

                                         INTRODUCTION
       Mr. Williams expressly preserves for appeal all arguments raised in his original § 2255

Petition (ECF No. 73), Motion for Reconsideration (ECF No. 114), Reply to Government's

Opposition, and all related filings and exhibits. This includes, but is not limited to: the Court's

lack of subject matter jurisdiction due to the expired statute of limitations; the absence of FDIC-

insured bank victims and actual loss; the ineffective assistance of counsel regarding false

promises of non-incarceration; the government's prosecutorial misconduct in scripting the plea

allocution; the involuntary and unknowing nature of the guilty plea; the constitutional violations

that arose from counsel's actual conflict of interest; the Brady violations regarding withheld

exculpatory evidence; and the cumulative effect of these constitutional violations on the

fundamental fairness of the proceedings.

       Mr. Williams respectfully and humbly requests that this Honorable Court reconsider its

prior order denying his § 2255 motion in light of the profound constitutional violations and

manifest injustice that the complete record now reveals. The government's opposition to

Mr. Williams' motion for reconsideration is a masterclass in misdirection and

mischaracterization, seeking to preserve a fundamentally unjust conviction obtained through a



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pervasive pattern of constitutional violations. From the outset, the government misstates the

applicable legal framework, relying on inapposite civil cases and non-binding out-of-circuit

precedent to erect artificial barriers to merits review. This Court should reject these efforts to

shield the government's misconduct from scrutiny and instead fulfill its constitutional duty to

correct the profound miscarriage of justice that has occurred here.

THE GOVERNMENT MISSTATES THE LEGAL FRAMEWORK AND STANDARD OF
                           REVIEW
       The government begins its opposition by asserting that "[u]nder Federal Rule of Civil

Procedure 59(e), '[r]econsideration of a court's previous order is an extraordinary remedy to be

employed sparingly in the interests of finality and conservation of scarce judicial resources.'"

(Government’ Opposition at 3, ECF No. 122, quoting Diaz v. Bellnier, 974 F. Supp. 2d 136, 142-

43 (E.D.N.Y. 2013)). This framing is both legally and factually flawed.

       As an initial matter, the government incorrectly cites Rule 59(e), which applies to

motions to alter or amend a judgment in civil cases. See Fed. R. Civ. P. 59(e). In the context of a

§ 2255 proceeding, which is a hybrid civil-criminal action, the proper vehicle for seeking

reconsideration is Rule 52(b) of the Federal Rules of Civil Procedure, which allows a court to

amend its findings or make additional findings and amend the judgment accordingly.

       The government's reliance on Rule 59(e) is not only technically incorrect, but it also

suggests a misunderstanding of the standard of review applicable to motions for reconsideration

in § 2255 proceedings. While Rule 59(e) is often described as an "extraordinary remedy," the

standard for granting relief under Rule 52(b) is more flexible and less onerous. Rule 52(b)

provides, in part: "On a party's motion filed no later than 28 days after the entry of judgment, the

court may amend its findings—or make additional findings—and may amend the judgment

accordingly."



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         The Second Circuit has repeatedly held that reconsideration is appropriate where "the

moving party can point to controlling decisions or data that the court overlooked." Shrader v.

CSX Transp., Inc., 70 F.3d 255, 257 (2d Cir. 1995). Here, the Court overlooked both:

1. Controlling decisions (Bouchard, Heinz) requiring actual or intended FDIC-bank harm

2. Critical data (forensic proof that processors profited) negating any such harm

         Under Virgin Atlantic Airways, Ltd. v. Nat'l Mediation Bd., 956 F.2d 1255 (2d Cir. 1992),

reconsideration is justified by:

1. Clear error (finding jurisdiction without FDIC victim)

2. New evidence (forensic proof of processor profits)

3. Manifest injustice (conviction for legally impossible offense)

The Government's Opposition addresses none of these grounds.

         Most importantly, the Second Circuit's decisions in United States v. Bouchard, 828 F.3d

116 (2d Cir. 2016) and United States v. Heinz, 790 F.3d 365 (2d Cir. 2015) establish that § 1344

requires proof of actual or intended harm to an FDIC-insured institution. The Government's

Opposition never explains how these controlling authorities permit a bank fraud conviction

where:

1. Payment processors, not banks, handled all transactions

2. Processors earned substantial fees and held massive reserves

3. No FDIC institution lost money or faced risk

4. The business model guaranteed processor profits

   Boumediene v. Bush’s recognition that habeas corpus is a "vital instrument for the protection

of individual liberty" has special force here, where the very power to prosecute under § 1344 is

at issue 553 U.S. 723 (2008). When a defendant presents concrete evidence that no FDIC-insured




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bank was defrauded—indeed, that every entity involved profited—procedural barriers cannot

block review of this fundamental jurisdictional defect.

       The government's attempt to impose a heightened standard of review is particularly

inappropriate in the context of a § 2255 motion, which implicates fundamental constitutional

rights. The government's reliance on Rule 59(e) and its characterization of reconsideration as an

"extraordinary remedy" is both legally and factually flawed. This Court has a duty to ensure that

Mr. Williams' constitutional rights are protected and should not hesitate to grant reconsideration

where, as here, there is substantial evidence that the Court overlooked critical facts and

misapplied the law.

THE FATAL ABSENCE OF A SIGNED, CORRECTED PLEA AGREEMENT

       The government’s opposition does not dispute the incontrovertible fact that no corrected,

initiated plea agreement was ever produced or signed by Mr. Williams following the plea

hearing. Indeed, the trial transcript makes it clear that despite the Court’s inquiry concerning any

“last‐minute modification” to include the “Sophisticated Means” enhancement, the judge stated,

“Williams is incorrect that there was a ‘last‐minute modification of the [P]lea [A]greement to

include the ‘Sophisticated Means’ enhancement.’” (Court’s Memorandum and Order at footnote

10, ECF No. 109) Yet there is no further evidence – no corrected document, no written

acceptance by Mr. Williams – that would indicate such a modification ever existed. As the

record unequivocally shows, the absence of a properly executed plea agreement means the

parties never reached the required mutual assent in writing. In effect, this lack of an agreed,

signed document is not only a breach of fundamental contract principles but also a controlling

datum that the Court overlooked in its decision. As the Supreme Court explained in Mabry v.

Johnson, 467 U.S. 504, 507, 104 S.Ct. 2543, 81 L.Ed.2d 437 (1984), “"[a] plea bargain standing

alone is without constitutional significance; in itself it is a mere executory agreement which,


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until embodied in the judgment of a court, does not deprive an accused of liberty or any other

constitutionally protected interest.".” Here, without a written, corrected, and initialed plea

agreement, the factual basis required for a binding agreement is entirely lacking. Moreover,

Federal Rule of Criminal Procedure 11 also requires that plea bargain modifications be promptly

and duly documented, and the government’s silence on this issue is, in effect, a tacit concession

that the controlling rule was not met. This is a structural error that calls into question the entire

validity of the plea and, consequently, the subsequent conviction.

   ABUSE OF DISCRETION UNDER RULE 59(e): THE OVERLOOKED FACTUAL
        CONTEXT AND THE NEED FOR AN EVIDENTIARY HEARING
        In its opposition, the government asserts that Mr. Williams is “relitigating old issues.”

(Government Opposition at 3, ECF No. 122). However, Rule 59(e) is expressly designed not as

a vehicle to rehash matters previously decided but to correct clear factual errors and omissions in

the record. As established in Analytical Surveys, Inc. v. Tonga Partners, L.P., 684 F.3d 36, 52

(2d Cir. 2012), reconsideration is appropriate only when the moving party shows that the Court

overlooked controlling data or precedent that might have reasonably altered its decision. (“the

standard for granting [a Rule 59 motion for reconsideration] is strict, and reconsideration will

generally be denied unless the moving party can point to controlling decisions or data that the

court overlooked.”). In this instance, new evidence – including detailed emails, texts, and expert

declarations concerning Mr. Williams’s deteriorated mental health and the problematic conduct

of his defense counsel – has illuminated a systemic failure. The transcript from the plea hearing

shows that when the Court inquired about any modification to the plea agreement, no corrected

document or subsequent written acceptance was produced; yet the judge’s own denial in the

Opinion rests upon that nonexistence. This oversight in the record is not a mere repetition of

previously litigated issues




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but a critical and newly clarified factual matter that demonstrates the trial court’s failure to

consider the controlling contract law requirements and the constitutional consequences that

follow. The government’s reliance on a “finality” dictum is misplaced when juxtaposed with the

obligation to prevent manifest injustice, as repeatedly stressed in jurisdictional cases such as

Shrader v. CSX Transp., Inc., 70 F.3d 255, 257 (2d Cir. 1995). The new evidence compels a full

evidentiary hearing so that the Court may determine whether its previous decision would have

been different had the controlling data been considered.

THE GOVERNMENT'S ROLE IN THE PLEA ALLOCUTION AND THE ABSENCE OF
                       ACTUAL BANK LOSS
       The chronology of events presents a disturbing picture. There is clear evidence in the plea

transcript that the plea was not the product of an honest, spontaneous admission but rather the

result of a late-stage, government-scripted allocution. For example, shortly before the plea

hearing, defense counsel transmitted a text message instructing Mr. Williams: “That's what the

Government wants us to say,” effectively dictating the precise language that Mr. Williams would

recite concerning his conduct – specifically, that he “agreed to file false documents with

financial institutions in order to obtain money and property from those banks” with the alleged

conspiracy extending between 2012 and 2016 (Motion for Reconsideration at 10, ECF No. 114).

This scripted allocution was central to manufacturing a jurisdictional basis that would otherwise

not exist. Moreover, even though the Court in its denial stated, “Williams is incorrect that there

was a ‘last‐minute modification of the [P]lea [A]greement to include the ‘Sophisticated Means’

enhancement’” (Court’s Memorandum and Order at footnote 10, ECF No. 109), no evidence

contradicts Mr. Williams’ reliance on that very statement – a reliance that precludes any alternate

theory on the material modification. As held in United States v. Hogan, 712 F.2d 757 (2d Cir.

1983), “a prosecutor as an officer of the court is sworn to ensure that justice is done, not simply




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to obtain an indictment” even if that means foregoing a conviction. Here, by resorting to these

crafty tactics, the prosecutor has not only manufactured the basis for federal jurisdiction but has

also fundamentally tainted the entire plea process. Such conduct is a clear structural error

because it undermines the integrity of the plea negotiation and deprives Mr. Williams of a truly

knowing and voluntary admission of guilt. It subverts the adversarial process and renders the

conviction an affront to due process.

 STRUCTURAL JURISDICTIONAL DEFECTS: THE TIME-BAR AND STATUTE OF
                         LIMITATIONS
        The government asserts that the indictment is “facially valid” because it alleges a

conspiracy spanning from January 2012 to April 2016 and was filed on February 3, 2021.

However, as the record itself unequivocally shows, the last alleged overt act occurred on or about

April 21, 2015. By failing to produce a signed, corrected plea agreement and relying on oral

statements that never materialized into mutually accepted, documented changes, the Court

overlooked controlling data regarding the temporal foundation of the indictment. As established

in United States v. Grady, 544 F.2d 598, 601–02 (2d Cir. 1976), a superseding indictment that

relies on newly alleged overt acts cannot cure a time-bar that is facially apparent within the

original charging instrument. In our case, the evidence is clear: the statute of limitations expired

long before the indictment was even filed. Accordingly, language in the government’s opposition

suggesting that any purported challenge on this basis is old news must be excised, as it ignores

the controlling fact that the jurisdictional defect is structural and not amenable to harmless-error

analysis. This structural error, by its very nature, renders the entire proceeding void of proper

federal jurisdiction.




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  THE ABSENCE OF ACTUAL VICTIM LOSS AND A FUNDAMENTALLY FLAWED
               BASIS FOR THE BANKING FRAUD CHARGE
        It is plain from the record—and particularly from the plea transcript—that no corrected or

signed plea agreement verified any modified terms, and that, as the government itself

inadvertently concedes, “we don't have an estimated restitution amount at this point because the

victims in this case, the banks, have not provided loss affidavits” (Plea Transcript at 20, ECF No.

25). Moreover, during the sentencing hearing the prosecutor admitted, “we interviewed as many

victims as we could… it was impossible to identify what was lost and what was actually

provided to them” (Sentencing Transcript, p. 23, ECF No. 85-3). This language reveals that no

FDIC-insured bank, which is an essential element under 18 U.S.C. § 1344, suffered any actual or

even intended loss. In reality, the evidence shows that the alleged transactions were solely

conducted through sophisticated payment processors that not only insulated the banks from any

risk but actually profited substantially from the relationship—indeed, processors earned more

than $375,000 in fees and maintained reserve funds amounting to nearly $1 million (see

“Reserve Project” email in 2255 Petition at Exhibit R, ECF No. 73, Exhibit B to this Motion ).

Thus, the government’s characterization of the scheme as one of bank fraud is patently

overbroad and unsupported by any factual basis, a conclusion that the Court’s denial order, by

failing to mention these evidentiary details, ignores. Any language in the government’s

opposition that suggests the mere absence of loss affidavits is “benign” must be removed,

because it conflicts with the clear documentary evidence that no actual loss was incurred by any

federally insured financial institution. This omission is central to the structural error in the

prosecution, and thus it cannot be dismissed as a mere technicality.




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 THE CUMULATIVE IMPACT OF STRUCTURAL AND CONSTITUTIONAL ERRORS
                        DEMANDS RELIEF
        Beyond the discrete errors discussed above, the cumulative effect of the numerous

structural defects in these proceedings is overwhelmingly prejudicial. The absence of any signed,

corrected plea agreement, the failure to remedy the time-bar and jurisdictional defect, and the

manipulative prosecutorial tactics used to manufacture a “factual basis” for a guilty plea not only

undermine the reliability and fairness of the record—they strike at the very heart of due process.

Notably, the judge’s own denial in the Opinion stated that “there is no reasonable probability that

Williams would not have pleaded guilty but for Kushner’s allegedly deficient performance”

(Court Memorandum and Order at 34, ECF No. 109). Yet, this conclusion is rendered hollow by

the overwhelming evidence that the plea process was fundamentally flawed. In the plea

transcript, Mr. Williams was coached to state verbatim, “Together with others I agreed to file

false documents with financial institutions in order to obtain money and property from those

banks. The scheme took place between 2012 to 2016, Your Honor” (Plea Transcript at 28, ECF

No. 25), a scripted allocution that masked the underlying absence of any mutually agreed

contractual terms and delayed any proper review by counsel. The cumulative effect of these

errors – from jurisdictional defects, to the lack of actual victim loss, to the artificial scripting of

the plea – creates a structural breach of constitutional safeguards that cannot be remedied on a

harmless-error basis. As the Second Circuit recognized in United States v. Al-Moayad, 545 F.3d

139, 178 (2d Cir. 2008), the aggregate impact of multiple errors—even if each error on its own

might be considered “harmless”—can subvert the fairness of the entire proceeding. This Court

must now take the extraordinary step of reconsidering its denial to correct these manifold,

cumulative structural errors.




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         PROCEDURAL AND SUBSTANTIVE VIOLATIONS DEMAND A FULL
                     RECONSIDERATION AND RELIEF
       Finally, the erroneous reliance by the government on procedural technicalities—as

evidenced by its focus on allegedly old issues and failure to consider the new and controlling

records—cannot excuse the structural infirmities that infected every stage of Mr. Williams’

proceedings. As the government cites cases relying on Rule 59(e) in a narrow context, it is

ignoring the very purpose of reconsideration: to correct manifest errors that affect not only an

individual claim of ineffective assistance, but the entire framework of the trial stemming from

constitutional and jurisdictional defects. For instance, the government contends that “the motion

for reconsideration is not a vehicle for relitigating old issues” (Government Opposition at 3, ECF

No. 122), yet it is precisely the failure to address the controlling data—the unsigned plea

agreement, the unscripted allocution, and the evidence showing that the court overlooked the

time-bar—that demands a fresh, full evidentiary hearing. The Court’s previous order (Court

Memorandum and Order at 23, ECF No. 109) purportedly “need not address both elements of the

Strickland inquiry if the defendant fails to establish one” these claims; however, our record now

demonstrates that it failed to incorporate key evidence such as the precise language of counsel’s

instructions (“That’s what the Government wants us to say”) and the clear admissions by the

prosecutor on the plea transcript. These omissions are not merely technical oversights but

structural errors that guarantee the outcome of the trial was fundamentally unfair. The

government’s opposition must therefore be rejected, and the supplemental record (including all

communication records) must be fully reviewed to correct the manifest injustice.

      THE COURT ERRED IN FINDING MR. WILLIAMS' PLEA KNOWING AND
                              VOLUNTARY
       The Court erred in concluding that Mr. Williams' guilty plea was knowing and voluntary

despite the overwhelming evidence presented in his 2255 petition demonstrating that his plea



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was induced by his counsel's repeated false promises of non-incarceration. The Court improperly

relied on selective quotes from the record while ignoring the full context and numerous instances

where these promises were made, as detailed extensively in Mr. Williams' petition and

supporting exhibits. This amounts to a structural error requiring reconsideration and vacatur of

the guilty plea.

            The Supreme Court has specifically held that "solemn declarations in open court" may be

overcome by evidence that the plea was induced by:

1. Threats

2. Misrepresentations

3. False promises

4. Constitutional violations

See Machibroda v. United States, 368 U.S. 487, 493 (1962).

            Here, the evidence overcoming the plea statements includes:

1. Contemporaneous Documentation:

    a. Text Messages Showing Script:

                   May 5, 2022, 8:37 AM:
                   Kushner: "That's what the Government wants us to say."
                   Williams: "I will read 'Together with others I agreed...'"
                   (Motion for Reconsideration at 10, ECF No. 114)

    b. Emails Confirming Promises:

       i.      References to supervised release

      ii.      Discussions of non-incarceration

     iii.      Plans for future business

     iv.       Reliance on counsel's assurances




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2. Third-Party Corroboration:

   a. Hadley Staley's Affidavit:

                    "In my recollection, when Mr. Kushner counseled [Mr. Williams] to
                    enter a guilty plea, it was done with a promise of no jail time."

                    (2255 Petition at Exhibit A, ECF No. 73)
                b. Medical Providers' Confirmation:

                     Dr. Fields: "Luke feels that he was deceived and poorly
                    represented by his attorney Mr. Kushner who allegedly promised
                    him from the beginning of his case in 2021 that there would be no
                    incarceration."

                    (2255 Petition at Exhibit O, ECF No. 73)

3. Mental Health Evidence:

   a. Dr. Smiley's Opinion:

                    "The rapid and brief nature of the plea discussion, occurring in a 26-
                    minute phone call without adequate preparatory engagement, is
                    insufficient to ensure that Mr. Williams could make an informed
                    decision, given his cognitive and overall mental health."

                     (2255 Petition at Exhibit O, ECF No. 73)
   b. Documented Impairments:

             a. Bipolar disorder with psychotic features

             b. ADHD affecting comprehension

             c. Processing speed in 3rd percentile

             d. Recent hospitalization

             e. Cognitive limitations

4. Constitutional Violations Affecting Plea:

   a.        Ineffective Assistance:

        i.      False promises




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          ii.      Conflict of interest

         iii.      No investigation

         iv.       Abandoned defenses

          v.       Mental health ignored

        b. Brady Violations:

           i.      Withheld evidence

          ii.      Payment processor profits

         iii.      No bank losses

         iv.       Exculpatory materials

          v.       Jurisdictional facts

5. Structural Defects:
        a. Jurisdictional Issues:
           i.      Time-barred prosecution
          ii.      No FDIC victims
         iii.      Missing elements
         iv.       Improper venue
          v.       Subject matter jurisdiction
6. Due Process Violations:

   i.           Scripted allocution

  ii.           Rushed waiver

 iii.           Competency questions

 iv.            Brady violations

  v.            Prosecutorial misconduct

                The government attempts to downplay the significance of the last-minute modification to

the plea agreement to include a "Sophisticated Means" enhancement under U.S.S.G. §




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2B1.1(b)(10)(C). (Plea Hearing at 18, ECF No. 25). But this ignores the critical point that this

enhancement was not part of the original plea agreement that he signed, and he was never given

an opportunity to review or object to its inclusion before pleading guilty. The fact that the

enhancement was added on the record during the plea hearing, without any meaningful

explanation or opportunity for Mr. Williams to consider its implications, only underscores the

coercive and uninformed nature of the plea process.

       The government's failure to address, let alone refute, this damning evidence of

prosecutorial overreach and defense counsel's complicity in the scripted allocution speaks

volumes. It lays bare the extent to which this guilty plea was the product of a tainted process, in

which the truth was sacrificed for the sake of securing a conviction at all costs. No amount of

generic recitations from the plea colloquy can overcome the fundamental absence of a legitimate

factual basis for the plea or the shocking misconduct that led to its entry.

       This Court has an independent duty to ensure that a guilty plea is supported by a

sufficient factual basis and is the product of a knowing and voluntary decision by the defendant.

See United States v. Smith, 160 F.3d 117, 121 (2d Cir. 1998) (citing Fed. R. Crim. P. 11(f))

("Notwithstanding the acceptance of a plea of guilty, the court should not enter a judgment upon

such plea without making such inquiry as shall satisfy it that there is a factual basis for the plea."

(citing Fed. R. Crim. P. 11(f))). The record here falls woefully short on both counts. The

government's attempt to paper over these deficiencies and shield its own misconduct from

scrutiny cannot be countenanced. The integrity of the criminal justice system demands that this

conviction be vacated and that Mr. Williams be given a fair opportunity to contest the charges

against him, free from the taint of ineffective assistance and prosecutorial overreach.




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 THE GOVERNMENT MISCHARACTERIZES THE RECORD AND CONTROLLING
            LAW ON THE STATUTE OF LIMITATIONS ISSUE
        The government next argues that the Court properly rejected Mr. Williams' statute of

limitations claim because "Motion for Reconsideration are focused on a substantive challenge to

the statute of limitations for his indictment and superseding information, which are not a part of

the Petition and not relevant to the Court’s decision in the Motion for Reconsideration."

(Government Opposition at 4, ECF No. 122). This argument mischaracterizes both the record

and the controlling law.

        As Mr. Williams explained in his motion for reconsideration, the original indictment in

this case was filed on February 3, 2021, and charged a conspiracy spanning from January 2012 to

April 2016. (Indictment at 3, ECF No. 1). However, the last overt act alleged in that indictment

occurred on or about April 21, 2015, more than five years before the indictment was filed.

(Superseding Information at 3, ECF No. 48). Under well-established Second Circuit precedent,

this rendered the original indictment facially time-barred, and the superseding information filed

in May 5, 2022 could not cure this defect. See United States v. Grady, 544 F.2d 598, 601-02 (2d

Cir. 1976) ("Since the statute stops running with the bringing of the first indictment, a

superseding indictment brought at any time while the first indictment is still validly pending, if

and only if it does not broaden the charges made in the first indictment, cannot be barred by the

statute of limitations.").

        The government's manipulation of the charging process becomes even more apparent

when comparing the overt acts alleged in the original indictment with those in the superseding

information. The original indictment, filed February 3, 2021, listed four specific overt acts: (1) a

March 19, 2013 email about merchant applications; (2) a June 17, 2013 email about login reset;

(3) an October 9, 2013 email to register a phone number; and (4) an April 21, 2015 email about




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foreign transactions. Notably, the last specific act occurred in April 2015, more than five years

before the indictment was filed. Rather than add new overt acts within the limitations period, the

superseding information actually reduced the number of specific acts, dropping the April 21,

2015 email while relying on a new August 4, 2015 text message as the last overt act. This

strategic decision to allege fewer rather than more overt acts, while still claiming the conspiracy

ran "through April 2016," reveals the government's awareness that it lacked any evidence of

criminal conduct within the limitations period.

       The government's own statements at critical stages of the prosecution further expose this

jurisdictional defect. At the plea hearing, AUSA Pitluck admitted: "Your Honor, we don't have

an estimated restitution amount at this point because the victims in this case, the banks, have not

provided loss affidavits." (Plea Hearing Tr. at 20, ECF No. 25). Later, in a letter to the Court, the

government hedged further: "The government has been working diligently...to ascertain the

appropriate restitution amount if any..." [Government Letter, ECF No. 40] (emphasis added). By

sentencing, AUSA Pitluck conceded: "We interviewed as many victims as we could... It was

impossible to identify what was lost and what was actually provided to them." (Sentencing Tr. at

23, ECF No. 85-3). This progression reveals the government knew it lacked evidence of both

timely criminal conduct and bank losses needed to invoke the 10-year statute under 18 U.S.C. §

3293(1).

       The government's calculated attempt to salvage this time-barred prosecution through

procedural manipulation rather than evidence violates fundamental principles of prosecutorial

conduct. Rather than face dismissal of the facially time-barred indictment, the government: (1)

obtained a waiver of indictment; (2) filed a superseding information with fewer overt acts but the

same end date; (3) modified the plea agreement during the plea hearing itself to add an




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enhancement that could potentially justify tolling; and (4) secured waivers through the plea

agreement - all without curing the underlying jurisdictional defect. This strategic maneuvering is

precisely the type of "prosecutorial manipulation" condemned by the Supreme Court in United

States v. Marion, 404 U.S. 307, 324 (1971) ("the Due Process Clause may provide a basis for

dismissing an indictment if the defense can show at trial that prosecutorial delay has prejudiced

the right to a fair trial").

        The Second Circuit has explicitly rejected such attempts to circumvent the statute of

limitations through procedural devices rather than evidence. As held in United States v. Grady,

544 F.2d 598, 601-02 (2d Cir. 1976), "since the statute stops running with the bringing of the

first indictment, a superseding indictment brought at any time while the first indictment is still

validly pending, if and only if it does not broaden the charges made in the first indictment,

cannot be barred by the statute of limitations." Here, the original indictment was not "validly

pending" when the superseding information was filed because it was already time-barred.

Moreover, by dropping one overt act while still claiming the same end date, the government

impermissibly attempted to broaden the charges beyond the specific acts it could actually prove.

As the Second Circuit held in United States v. Bouchard, 828 F.3d 116, 124 (2d Cir. 2016), the

government must "establish that a federally insured bank ... was victimized or exposed to a risk

of loss by the scheme to defraud." The government's failure to allege any specific acts within the

limitations period, coupled with its admission that it could not prove actual bank losses,

demonstrates that this prosecution was fundamentally defective from its inception.

        The totality of the government's conduct - from its strategic reduction of overt acts to its

misleading claims about bank losses to its procedural maneuvering to evade the statute of

limitations - demonstrates “a pattern of conduct so egregious that it infects the trial with such




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unfairness as to make the conviction a denial of due process”. People v. Estrada, 63 Cal.App.4th

1090 (Cal. Ct. App. 1998). This misconduct is particularly egregious because it goes to the

court's very power to hear the case. As the Supreme Court emphasized in United States v.

Hogan, 712 F.2d 757 (2d Cir. 1983), “a prosecutor as an officer of the court is sworn to ensure

that justice is done, not simply to obtain an indictment” Here, the government's manipulation of

the charging process to obscure fatal jurisdictional defects represents the antithesis of this

principle and requires vacatur of the conviction.

        Moreover, Mr. Williams has provided a forensic accounting report as Exhibit A, which

conclusively demonstrates that the alleged scheme did not cause any actual losses to financial

institutions. The report shows that the payment processors involved in the transactions actually

earned substantial profits rather than suffering any losses.

        Additionally, the payment processing contracts and other payment processors, attached as

Exhibit B, further prove that Mr. Williams' business relationships were with payment processors,

not directly with FDIC-insured financial institutions. These contracts clearly establish that

Applied Merchant Systems and other, not any banks, was the entity that onboarded

Mr. Williams' companies and set the terms and conditions of the processing relationship and that

they did not incur any loss at all.

        The government's opposition to reconsideration (ECF No. 122) completely fails to

address the fundamental defect in its prosecution: the complete absence of any actual or intended

loss to FDIC-insured financial institutions. This is not merely a factual dispute about loss

amounts; it is a jurisdictional challenge that goes to the very heart of federal bank fraud

jurisdiction under 18 U.S.C. § 1344.

        The evidence before this Court conclusively establishes three critical points:




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   1. First, the "Reserve Project" email (used to calculate restitution) dated October 9, 2013,

      definitively shows that the payment processors were holding $988,300.10 in reserves that

      rightfully belonged to Mr. Williams' companies. (2255 Petition at Exhibit R, ECF No. 73,

      Exhibit B to this Motion). Far from suffering losses, these processors earned substantial

      profits, collecting between 5-8% in discount rates plus additional fees on more than $3.7

      million in processing volume. This resulted in processor earnings exceeding $375,000

      during the relevant period.

   2. Second, the payment processor contracts and statements, previously submitted as Exhibit

      B, prove that Mr. Williams' business relationships were exclusively with payment

      processors, not FDIC-insured banks and that there is no loss. These sophisticated

      processors:

          a. Knowingly engaged with high-risk merchants

          b. Set their own elevated fee structures

          c. Maintained substantial reserves

          d. Profited handsomely from the relationships

          e. Insulated banks from any direct involvement or risk

   3. Third, the government's own statements at various stages of this prosecution reveal the

      absence of actual bank losses:

          a. At the plea hearing: "Your Honor, we don't have an estimated restitution amount

              at this point because the victims in this case, the banks, have not provided loss

              affidavits." (Plea Hearing Tr. at 20, ECF No. 25)

          b. In October 2023: "The government has been working diligently...to ascertain the

              appropriate restitution amount if any..." (ECF No. 40)




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            c. At sentencing: "We interviewed as many victims as we could... It was impossible

                to identify what was lost and what was actually provided to them." (Sentencing

                Transcript, p. 23, ECF No. 85-3)

        The Second Circuit has repeatedly held that actual or intended loss to financial

institutions is an essential element of bank fraud under § 1344. See United States v. Bouchard,

828 F.3d 116, 124 (2d Cir. 2016) (government must "establish that a federally insured bank ...

was victimized or exposed to a risk of loss by the scheme to defraud"). The mere fact that a

scheme somehow touches upon banking relationships is insufficient; there must be proof that

FDIC-insured institutions were actual or intended victims. Id. at 126-27.

        The government's attempt to blur the distinction between payment processors and FDIC-

insured banks is legally untenable and factually misleading. Recent Second Circuit precedent

explicitly distinguishes between these entities for purposes of federal bank fraud jurisdiction:

        In United States v. Bouchard, 828 F.3d 116 (2d Cir. 2016), the court emphasized that

"when bank subsidiaries may be engaged in activities far afield of the core functions of our

federal banking system, it is important (absent legislative direction to the contrary) to distinguish

subsidiaries of banks from the banks themselves." Id. at 126. The court rejected the government's

attempt to extend bank fraud jurisdiction to entities that, while connected to banks, were not

themselves FDIC-insured institutions.

        Similarly, in United States v. Heinz, 790 F.3d 365 (2d Cir. 2015), the court held that for

bank fraud jurisdiction to attach based on fraud "affecting a financial institution," the effect must

be "sufficiently direct." Id. at 367. The court explained that while § 1344 "broadly applies to any

act of wire fraud that affects a financial institution," that effect must still be "sufficiently direct"

to support federal jurisdiction




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       This distinction is particularly relevant here because:

   1. The payment processors involved (Applied Merchant Systems, NETPAY, PowerPay,

       etc.) are sophisticated entities that:

           a. Set their own risk parameters

           b. Determined their own fee structures

           c. Maintained their own reserve requirements

           d. Made independent decisions about merchant relationships

           e. Insulated banks from direct involvement or risk

   2. The processors' relationship with banks was governed by separate agreements that:

           a. Allocated risk to the processors

           b. Required processors to maintain reserves

           c. Protected banks from merchant-related losses

           d. Generated fee income for banks regardless of merchant conduct

   3. The documentary evidence shows the processors:

           a. Earned over $375,000 in processing fees

           b. Held nearly $1 million in reserves

           c. Understood the nature of the business

           d. Profited from the relationships

           e. Suffered no actual losses

       This evidence conclusively establishes that any alleged misrepresentations were directed

at payment processors, not banks, and that no FDIC-insured institution suffered or was intended

to suffer any loss. Under Bouchard and Heinz, this defeats federal bank fraud jurisdiction.




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        The government attempts to sidestep this clear authority by arguing that the superseding

information was "facially valid" because it alleged a conspiracy running through April 2016.

ECF No. 122 at 4. But this ignores the critical point that the original indictment was time-barred

on its face, and the superseding information could not relate back to that invalid charging

instrument. See Grady, 544 F.2d at 601-02. The fact that the superseding information alleged a

broader timeframe for the conspiracy is irrelevant, as it was filed after the limitations period had

already expired.

        The government's reliance on United States v. Salmonese, 352 F.3d 608 (2d Cir. 2003), is

misplaced, as that case involved a challenge to the sufficiency of the evidence at trial, not a facial

challenge to the timeliness of the indictment. See ECF No. 114 at 40-41. The Court's acceptance

of the government's flawed argument on this point reflects a fundamental misunderstanding of

the controlling law and a failure to grapple with the jurisdictional nature of the statute of

limitations defect.

        Moreover, the government completely ignores Mr. Williams' argument that his counsel

was ineffective for failing to raise the limitations defense, despite the clear expiration of the five-

year period. See Motion For Reconsideration at 3-6, ECF No. 114. As the Court held in People

v. Turner, 5 N.Y.3d 476 (N.Y. 2005), "failure to raise a defense as clear-cut and completely

dispositive as a statute of limitations is difficult to reconcile with a defendant's constitutional

right to the effective assistance of counsel" because "if appellate counsel had made the argument

she should have made, defendant's conviction would have been reversed." Id. at 481.

        The court in Machibroda v. United States, 368 U.S. 487 (1962), further held that such

ineffective assistance is prejudicial because "a guilty plea, if induced by promises or threats

which deprive it of the character of a voluntary act, is void." The government does not even




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attempt to address this controlling authority or explain how counsel's failure to raise such a clear-

cut defense could be considered reasonable under Strickland.

           The government's selective and misleading portrayal of the record and the law on the

statute of limitations issue is emblematic of its overall approach to this case. Rather than

confronting the substantial evidence of ineffective assistance of counsel and the clear

jurisdictional defect in the prosecution, the government resorts to mischaracterizations and

evasions in an effort to preserve an unjust conviction. This Court should reject these tactics and

grant reconsideration based on the actual facts and controlling law, which compel the conclusion

that Mr. Williams' conviction was obtained in violation of the statute of limitations and his Sixth

Amendment right to effective assistance of counsel.

           Additionally, the Superseding Information clearly sets forth the charging period by

stating:

"In or about and between January 2012 and April 2016, both dates being approximate and

inclusive…"

           This language is unambiguous and establishes that the Government's allegation regarding

the conspiracy always encompassed a window ending in April 2016. The charge, as stated, is for

conspiracy to commit bank fraud under Title 18, United States Code, Section 1344, whereby the

defendant is accused of "execut[ing] a scheme and artifice to defraud one or more financial

institutions…" Notice that nowhere does the charging document allege that any financial

institution sustained losses; the mere allegation is that the defendant executed a scheme designed

to defraud. Because the essential elements required to invoke an extended (ten-year) limitations

period—namely, an allegation of loss to an FDIC-insured institution—are entirely absent, the

only operative limitations period remains the statutory five-year period. The forensic accounting




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report (Exhibit A) supports this conclusion by indicating that, while reserves were maintained by

various payment processing entities, there is no documentation corroborating any loss by a bank.

In short, the Superseding Information, by maintaining the fixed window "January 2012 and April

2016" and by charging bank fraud without alleging bank losses, confirms that an extended statute

of limitations is inapplicable.

       The controlling authority in United States v. Grady, 544 F.3d 598, 601–02 (2d Cir. 1976),

unequivocally states that "since the statute stops running with the bringing of the first indictment,

a superseding indictment brought at any time while the first indictment is still validly pending, if

and only if it does not broaden the charges made in the first indictment, cannot be barred by the

statute of limitations." The Superseding Information does not modify the substantive allegations

of the original indictment but merely restates the charge over the fixed period ending in April

2016. It is immaterial that we raised Grady in response to the Government's arguments; the

principle in Grady is immutable. Any attempt by the Government to shift the charging window

by asserting that the conspiracy extended "through April 2016" necessarily broadens the charge

beyond the original factual record, and such over broadening is not permitted to cure an untimely

indictment. The immutable holding in Grady thereby dictates that the jurisdictional defect, rooted

in the fixed charging period and the absence of any allegation of bank losses, remains unaffected

by any post-indictment adjustments.

       Finally, the substance of the charges remains identical in both the original indictment and

the Superseding Information. The Government consistently alleges that the defendant conspired

to commit bank fraud "contrary to Title 18, United States Code, Section 1344," and this charge is

defined by its specific elements. Because the Government's allegations are substantively

identical and the charging window remains "January 2012 to April 2016," a change in the




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presentation—or any reference to the extended period—cannot cure the inherent jurisdictional

defect. As explained in Hansel v. United States, 70 F.3d 6 (2d Cir. 1995), a guilty plea does not

waive a time-bar; and here, every charge is based on facts that fall outside the limitations period.

The immutable principles articulated in Grady and Hansel ensure that any attempt to rationalize

or "salvage" the prosecution by citing an extended conspiracy window is legally ineffectual.

Regardless of when Grady was duly raised in our response, its guidance remains binding, and the

charge—being not only substantively uniform but also impervious to any technical correction—

compels the conclusion that the Court lacks subject matter jurisdiction, necessitating vacatur of

the conviction and dismissal of the indictment with prejudice.

       Furthermore, the Government's attempt to charge Mr. Williams twice for the same

substantive offense—first in the original indictment and then, identically, in the Superseding

Information—is a manifest example of duplicative charging designed to evade the time-bar, and

it violates the fundamental principle that a defendant cannot be punished twice for conduct

already adjudicated. As the Superseding Information plainly declares, the conspiracy occurred

"in or about and between January 2012 and April 2016," and yet, when read in conjunction with

the original indictment's explicit allegation that "On or about April 21, 2015, AMIROUCHE

emailed four co-conspirators…" (Indictment at ¶ 32, ECF No. 1 ), it is evident that the

Government is merely repackaging the same unaltered, time-barred factual basis. Moreover, the

Plea Agreement (which alleges a loss in excess of $3,500,000—resulting, after all enhancements,

in an apparent loss of approximately $6.5 million) addresses sentencing enhancements and does

not transform the underlying charge; it does not, and cannot, establish a basis for an extended

(ten-year) limitations period because the original indictment does not allege that any FDIC-

insured bank suffered a loss. Thus, by attempting to duplicate the charge—bringing the identical




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bank fraud allegation under the same statutory scheme—when all facts establish that the sole

overt act occurred well before the limitations period expired, the Government is engaging in an

infinitely manipulative process designed to avoid addressing the fatal jurisdictional defect, as

mandated by Grady. Whether or not Grady was raised at a later stage is immaterial; its binding

principle remains that a superseding indictment cannot cure an untimely charging instrument.

Consequently, the duplicative charging of a substantively identical offense confirms that subject

matter jurisdiction remains absent, and that the Government continues to evade the issue by re-

litigating the same, time-barred conduct.

       In addition to Grady (544 F.3d 598, 601–02 (2d Cir. 1976)), several circuits have

clarified that the limitations period is fixed by the original charging instrument's factual predicate

rather than by any later "extension" in a superseding indictment. For example, in U.S. v.

McMillan, 600 F.3d 434 (5th Cir. 2010), the court noted that permitting a superseding indictment

to "relate back" or extend the factual record would effectively expand the crime and expose the

defendant to a new charge. Similarly, the same Court, has held that, “…as with the filing of a superseding

indictment, a new indictment filed under § 3288 may not broaden or substantially enlarge the charges of the

original indictment”. These decisions underline the principle that it is not the mere charging window (for

example, "January 2012 to April 2016") that controls but rather the immutable fact—in this instance, the last

overt act—that fixes the applicable statute of limitations.

       Finally, even though the Plea Agreement may reference a loss exceeding $3,500,000, that

does not alter the controlling facts. Indeed, the Supreme Court has made clear that a plea,

however informed, cannot be "a knowing and voluntary waiver of the right to be free from a

prosecution that the government is without power to bring." Menna v. New York, 423 U.S. 61, 63




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n.2 (1975) (per curiam). Even in the context of a plea agreement, the State may not prosecute "a

charge . . . which the State may not constitutionally prosecute." Id. at 62-63. In any case, the

Superseding Information fails to specify losses to a particular financial institution in the Eastern

District of New York and thus does not fall under the ten-year limitations provision under 18

U.S.C. § 3293(2). To state the point explicitly: the charging period ends at midnight of January

2016 and is five years prior to the time period in question. To reiterate, regardless of the specifics

of Williams's plea agreement or any later representations, the initial 2012-2016 language cannot

revive charges that were previously time-barred and for which there is no evidence. It must be

noted that the plea agreements were signed under duress with many false statements which was

well documented in exhibits from previous submissions.

       Moreover, the Court's characterization that attorney Kushner is blameless because he did

not "fail to make a meritless argument" rings hollow in light of the overwhelming documentation

that: A) the charge was brought outside the statute of limitations, and B) the prosecutor

repeatedly made false statements about bank losses, the alleged targets being FDIC institutions

instead of payment processors, and about any victim actually being harmed. The Superseding

Information's claim of the conspiracy running through ‘April 2016" (ECF No. 48 at 1) is of no

consequence to the existing facts, and the claim cannot overrule the immutable record. The

government's attempt to manufacture facts in order to save the case from the statutory window

simply does not hold water.

       The Judge's Memorandum and Order asserts that "Williams's factual challenge to the

dates specified in the Superseding Information… is irrelevant because he pleaded guilty" (Court

Order and Memorandum at 40, ECF No. 109). This statement implies that any argument

regarding the statute of limitations is moot once a guilty plea is entered. However, as established




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in United States v. Sampson, 898 F.3d 270, 279 (2d Cir. 2018), a defendant may move to dismiss

on statute-of-limitations grounds only if that defense is "clear from the face" of the charging

instrument. The immutable fact here is that while the Superseding Information alleges a

conspiracy "in or about and between January 2012 and April 2016" (ECF No. 48 at 1,

Superseding Information), the original indictment fixes the last overt act on or about April 21,

2015. Nothing in the record—and certainly not in the judge's own words—alters that predicate

fact. As the Government itself contends in its filings, this extended window is used merely to

repackage the identical, time-barred charge. Thus, relying on Williams's guilty plea to dismiss

the statute-of-limitations challenge misapplies the controlling standard of 59(e) and ignores the

underlying error that the charging instrument is irredeemably untimely.

       Furthermore, the Government's opposition characterizes the extended charging window

as "facially valid" and asserts that a motion to dismiss on statute-of-limitations grounds would

have been futile (Government Opposition at 4, ECF No. 122 ); yet the Judge's order does not

acknowledge that this duplicative charging tactic amounts to an abuse of prosecutorial discretion.

As cited in U.S. v. McMillan, 600 F.3d 434 (5th Cir. 2010), any effort to re-charge an identical

offense by expanding the factual recitation beyond what was originally alleged simply cannot

cure an untimely indictment. In effect, the Court's own language—when it states that "nothing in

any of Williams's submissions raises even the most remote suspicion that any prosecutorial

misconduct might have occurred in this case" (Court Memorandum and Order at 40, ECF No.

109)—fails to address the immutable nature of the "last overt act" and the clear statutory

mandate. The factual predicate, as fixed by the original indictment, remains unaltered: the sole

overt act occurred on or about April 21, 2015, rendering every subsequent attempt by the

Government to extend or duplicate the charge as pure manipulation. In light of these




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considerations, the extended charging window and the duplicative nature of the Government's

filings are ineffective to cure the time-bar, and, by established precedent, must result in the

conviction being overturned.

        Finally, the Court's summarily dismissing the gravity of the statute of limitations issue—

by declaring that because Williams plead guilty, this cancels out any concerns. This

misconstruction of the law has been long overturned. As the Supreme Court noted in Brady v.

Maryland, 373 U.S. 83, 87 (1963): A prosecution that withholds evidence on demand of an

accused which, if made available, would tend to exculpate him or reduce the penalty helps shape

a trial that bears heavily on the defendant. That casts the prosecutor in the role of an architect of

a proceeding that does not comport with standards of justice, even though, as in the present case,

his action is not "the result of guile,". This is what occurred in our case: what is the difference

between hiding physical evidence in a cardboard box from a defendant and misrepresenting

critical components about the claim to the point where the charges would be thrown out, in order

to get a conviction?

        Therefore, the prosecution's "game of hide and seek" should not be overlooked. A just

legal system must be seen to be carried out, and as United States v. Hogan, 712 F.2d 757 (2d Cir.

1983), held “a prosecutor as an officer of the court is sworn to ensure that justice is done, not

simply to obtain an indictment”. Because this is the case, a plea agreement can be rejected and

overturned by the courts if it violates justice.

        Furthermore, the Government's charging instrument is manifestly duplicative. Both the

original indictment and the Superseding Information unambiguously state that the conspiracy

spanned "in or about and between January 2012 and April 2016," yet the definitive, operative

factual predicate is fixed by the last overt act alleged in the original indictment, which reads: "On




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or about April 21, 2015, AMIROUCHE emailed four co-conspirators…" (Indictment at ¶ 32,

ECF No. 1). It is evident, therefore, that the Government is attempting to charge the same

conduct twice, in identical substance, purely as a maneuver to evade the five-year time-bar by

reusing the same factual basis. As the Administration of Justice has long held, duplicative

charging—where the same state of facts is condensed into two essentially identical

instruments—is an abuse of prosecutorial discretion and violates the principle that no defendant

may be punished twice for the same conduct. Moreover, while the Plea Agreement alleged a loss

figure in excess of $3.5 million—resulting in an apparent $6.5 million loss for purposes of

sentencing enhancements—this figure was introduced solely to determine sentence severity and

has no bearing on the jurisdictional limitations issue, as the original indictment never contained

any allegation that an FDIC‐insured institution suffered an actual loss.

       In addition, it is important to highlight that the Government's manipulative tactic of

duplicative charging is compounded by the Judge's own misleading language. The Judge, in her

Memorandum and Order, repeatedly stated that Williams's guilty plea was "knowing and

voluntary" and that the record clearly demonstrated his full understanding of his rights. Yet such

pronouncements, for instance when she asserted, "Williams’s email to Kushner that they were

“looking at” a non-custodial sentence, (Mot. Ex. D), is entirely consistent with Williams’s sworn

testimony at his guilty plea hearing that Kushner did not “promise” him a non-custodial

sentence" (Court Memorandum and Order at 24, ECF No. 109), are at odds with the reality that

the same substantive offense is being charged twice despite its time-barred nature. The

Government itself – in its opposition – contends that "the superseding information alleged a

conspiracy running through April 2016 (Superseding Information at 1, ECF No. 48) without

altering the fact that the immutable last overt act in the original indictment occurred in April

2015. As the Supreme Court


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in Grady, 544 F.3d at 601–02, and the Second Circuit in Hansel, 70 F.3d 6 (2d Cir. 1995) make

clear, a guilty plea does not waive an untimely indictment, and a charge can never be resurrected

by merely recharacterizing the same facts. The systematic duplicative charging -- recharging an

identical offense “-- is a clear evasion of the limitation defense, and it is an abuse designed solely

to manipulate the statutory framework. Therefore, we respectfully submit that this duplicative

charging practice reinforces the conclusion that subject matter jurisdiction is entirely lacking,

and the conviction and indictment must be vacated.

       First, subject matter jurisdiction is determined solely by the undisputed, immutable facts

contained in the original indictment. As held in United States v. Grady, 544 F.2d 598, 601–02

(2d Cir. 1976), "since the statute stops running with the bringing of the first indictment… [a]

superseding indictment brought at any time… cannot cure an untimely charge." In other words,

no matter what additional language the Government inserts in the Superseding Information—

such as stating that the conspiracy spanned from January 2012 to April 2016—the operative fact

remains that the last overt act occurred on or about April 21, 2015 (or, as later revised, August 4,

2015). This fixed factual predicate is the bedrock upon which the statute of limitations is

measured. Therefore, any expansion of the charging period is legally ineffectual because it fails

to modify the original, untimely factual basis.

       Second, a defendant's guilty plea does not serve as a waiver of a jurisdictional defect

arising from an untimely indictment. As explained in Hansel v. United States, 70 F.3d 6 (2d Cir.

1995), even if a defendant pleads guilty, that plea does not eliminate the constitutional

requirement that the underlying charges be timely. The immutable nature of the limits remains,

and a guilty plea entered on the basis of time barred allegations is fundamentally void. The fact

that Mr. Williams proceeded with his plea agreement—despite having brainstormed, with his




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elementary understanding of the statute of limitations, a defense a year prior to the plea by

probing Mr. Kushner about its validity (who claimed he would process its impact but never got

back to him, leading Mr. Williams to deem it not viable)—only confirms that he pled guilty to

charges whose operative facts (the last overt act) were fixed outside the statutory window. This

concept is grounded not only in Hansel but further supported by similar holdings in other circuits

where the court has emphasized that once the indictment is untimely, no subsequent plea can

cure that defect.

       Third, the Government's residual argument—that the Superseding Information is "facially

valid" because it alleges a conspiracy running through April 2016—is patently without merit.

The Government asserts in its filings that the expanded period supports timeliness; however, it is

immaterial whether the charging window is presented as "January 2012 to April 2016." What

matters is that the factual predicate—the last overt act—remains unaltered, and that predicate

does not support any extension of the limitations period. The Government's tactic of duplicating

the same substantive charge in the Superseding Information is an abuse of the prosecutorial

process, designed solely to avoid the fatal jurisdictional defect. This is, in essence, a clear

manipulation that must be rejected according to the controlling principles in Grady and further

corroborated by case law from the Seventh and Ninth Circuits.

       Mr. Williams respectfully submits that the Court's initial decision on this issue was based

on an incomplete record and a misapplication of the controlling law, and he humbly requests that

the Court reconsider its ruling in light of the new evidence and arguments presented.




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            HANSEL AND CLEAR ERROR ON THE STATUTE-OF-LIMITATIONS

                                            DEFENSE

       Williams’s April 20, 2021 email demonstrates with clarity that, not long after an inpatient

psychiatric treatment for a Bipolar I psychotic episode, he expressly sought to ascertain whether

any of the charged conduct might be time‑barred under the five‑year period. In this email,

Williams inquired if, given that he conducted no business in 2016 and had not engaged with any

customers, there was a possibility that “at least some of the charges would be past the five‑year

mark.” Instead of responding with a meaningful analysis or guiding him through the implications

of this inquiry, his attorney, Kushner, dismissed the query with a perfunctory, “Thanks. I will

review this along with the discovery as we move forward and process its impact. Thanks!” and

then failed to revisit the matter. Such an exchange shows that Williams’s concern was neither

clarified nor investigated, leaving him uninformed about a potential jurisdictional defense that

would have had a decisive impact on his decision-making.

       The District Court’s Memorandum and Order (Doc. 109, pp. 39–41) characterizes

Williams’s actions by stating he “admits that he contemplated a statute‑of‑limitations defense

before pleading guilty, yet he still proceeded with the Plea Agreement and obtained a

considerable advantage by doing so.” This language, however, mischaracterizes the facts.

Williams did not adopt the defense as part of his strategy; rather, he sought to know if the

charges might be expired, a point that Kushner never addressed. The erroneous assertion that his

inquiry amounts to a deliberate waiver further undermines the record, as there is no evidence that

Williams understood, or even intended, to forgo a viable jurisdictional challenge. Such

misrepresentation in the analysis misleads the Court into accepting a narrative that is contrary to

the clear record of his inquiry and Kushner’s dismissive response.




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       In United States v. Hansel, 70 F.3d 6 (2d Cir. 1995), the Second Circuit emphatically held

that a defendant’s waiver of a defense as fundamental as the time‑bar is only valid if it is made

knowingly and intelligently. The opinion states, “we may assume that he would not have pled

guilty to counts that he knew to be time‑barred. Hansel’s prejudice is that he pled guilty to two

time‑barred counts that would have been dismissed, if his attorney had acted competently.

       Hansel’s counsel was therefore ineffective under Strickland, and Hansel’s Sixth

Amendment right to counsel was thereby impaired. Hansel’s waiver of the time‑bar defense

cannot be deemed knowing and intelligent.” This clear holding demands strict adherence; when

counsel fails to thoroughly explain and analyze a defense that could lead to the dismissal of

charges, any subsequent guilty plea cannot be assumed to have been made with full awareness

of its consequences. In Williams’s case, an inquiry for clarification was met with inaction, a

pattern that the Hansel court condemns unequivocally.

               The parallels between Hansel and the present case are numerous and compelling.

Williams not only raised the possibility that some charges might be time‑barred but did so in

precise, unambiguous language, as his email clearly shows. In contrast to Hansel, where

counsel’s outright failure to raise the defense led to an assumption that the defendant would

never have pleaded guilty if properly advised, Williams’s counsel acknowledged the inquiry only

to dismiss it promptly without further discussion. This pattern evidences a breach of counsel’s

duty: by neglecting to pursue the inquiry, Kushner deprived Williams of meaningful evaluation

regarding a defense that, based on the face of the record, should have resulted in an immediate

dismissal of the untimely charges.

There can be no doubt that the failure to address Williams’s inquiry constitutes an egregious

breach of the standard set forth in Hansel. Consider the following characteristics: First,

Williams’s inquiry was made immediately after a psychiatric crisis, when the clarity of judgment

was at stake; second, his inquiry specifically noted that he had conducted no business in 2016, a
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fact that makes any charge for conduct occurring after that period absurd; third, despite the

indisputable fact that the last overt act occurred in April 2015, Kushner never pursued a proper

analysis or informed Williams that doing so was necessary; fourth, Kushner’s dismissive

“Thanks” is evidence of a deliberate avoidance of discussing a crucial defense; fifth, the

language used by the Government—converting the inquiry into an allegation that Williams

“contemplated” the defense—is an artful, manipulative twist that misrepresents the record; sixth,

had Kushner engaged in a full discussion, Williams would have undoubtedly chosen not to plead

guilty; seventh, the inevitable conclusion in Hansel—that a competent attorney would have

raised a time‑bar defense if it were clear from the record—applies with even greater force when

the record itself is so plainly untimely; eighth, the record shows an unequivocal failure by

counsel to secure a clear waiver of the defense, as required under Strickland; ninth, the Court’s

reliance on an incorrect narrative that a defendant benefits from pleading guilty to time‑barred

counts is inherently self-contradictory, for there is no conceivable benefit in pleading guilty to

charges that, when properly evaluated, should be dismissed; and tenth, the cumulative impact of

these missteps demonstrates that Kushner’s negligence was not a mere oversight but a deliberate

action designed to forestall any discussion of a fatal procedural defect.

       Further compounding this error is the manipulative language adopted by AUSA Pitluck,

which has been relayed to the Court in a way that changes the context of Williams’s inquiry.

Pitluck’s phrasing—even if superficially measured—converts a bona fide query into a supposed

admission that Williams “contemplated” the defense and thereby received an advantage. Such

manipulation of language is unconscionable. It subverts the core principle articulated in Hansel,

which unequivocally requires that any waiver of a time‑bar defense be made with full knowledge

of its implications. Instead, Pitluck’s language seeks to obscure the reality that Williams never

received affirmative advice; he only sought to determine whether the charges were expired, and

counsel’s failure to provide an informed response renders the waiver defective.
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           Hansel, therefore, is the controlling and correct precedent in this matter—a standard by

which any defendant’s waiver of a critical jurisdictional defense must be judged. The parallels

are clear: both Hansel and Williams raised the issue of a time‑bar defense in circumstances

where counsel failed to act, and in both cases, the defendant would not have agreed to the plea if

fully informed. Williams’s record clearly shows that his inquiry was left unanswered, and this

inaction, when viewed in the context of Hansel’s holding, is a flagrant violation of his

constitutional rights. The failure to address such a pivotal inquiry constitutes a clear error and is

a textbook example of how counsel’s negligence can culminate in a manifest miscarriage of

justice.

           Lastly, the cumulative evidence and the misrepresentation by the Government—through

manipulative language attributing to Williams a mere “contemplation” of the defense—are in

direct conflict with the facts. The record, including Williams’s explicit inquiry, demonstrates that

he never effectively waived his right to challenge untimely charges; instead, he sought guidance

that was summarily and callously dismissed. By exploiting this omission, the Government’s

narrative seeks to convert a moment of reasonable questioning into a baseless assertion that

Williams knowingly accepted charges that a competent attorney would have promptly dismissed.

This deliberate conflation of inquiry with effective waiver must be rejected as it contravenes the

inerrant requirements established in Hansel and is unsurvivable as a matter of law.

           In total, these factors compel the conclusion that the District Court’s handling of the

statute‑of‑limitations defense in Williams’s case is fundamentally flawed. The clear mandate

from Hansel—that a waiver of a time‑bar defense requires an informed, deliberate decision

supported by adequate counsel—has been entirely disregarded. Kushner’s failure to engage with

Williams’s inquiry, combined with Pitluck’s misleading language, demonstrates a brazen




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manipulation of the record that renders the waiver not knowing but grossly deficient. It is

therefore imperative that this distinct and unequivocal error be revisited under Rule 59(e) to

ensure that Williams’s constitutional right to effective assistance of counsel is vindicated and

that a practically untimely indictment is rightfully dismissed.




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 THE GOVERNMENT CANNOT OVERCOME THE LACK OF FACTUAL BASIS FOR
                    THE GUILTY PLEA
       The government next asserts that Mr. Williams' guilty plea was supported by an adequate

factual basis, despite the clear evidence to the contrary. Government Opposition at 6, ECF No.

122). This argument ignores both the record and the fundamental requirements for a valid guilty

plea under Rule 11 and the Due Process Clause.

       As Mr. Williams explained in his motion for reconsideration, the plea colloquy in this

case was a mere formality that failed to elicit any specific facts about the nature of the alleged

conspiracy, the identities of the co-conspirators, the overt acts allegedly committed, or

Mr. Williams' understanding of the unlawful objective. (Motion for Reconsideration at 24, ECF

No. 114). Instead, the Court simply recited the generic elements of conspiracy and asked Mr.

Williams if he agreed with a series of conclusory statements parroting the language of the

charging instrument. This falls far short of the "factual basis for each essential element" required

under Rule 11. Chang v. U.S., 03 CV 1212 (NG) (E.D.N.Y. Feb. 20, 2004) emphasized that

"Rule 11(f) of the Federal Rules of Criminal Procedure requires the court to satisfy itself that

there is a factual basis for the guilty plea before accepting the plea. The rule requires that the

court assure itself "simply that the conduct to which the defendant admits is in fact an offense

under the statutory provision under which he is pleading guilty." quoting United States v. Maker,

108 F.3d 1513, 1524 (2d Cir. 1997).




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       Moreover, as Mr. Williams has repeatedly argued, the record is devoid of any evidence

that the alleged scheme actually targeted or caused losses to FDIC-insured financial institutions,

which is an essential element of bank fraud under 18 U.S.C. § 1344. See Motion for

Reconsideration at 12 and 21, ECF No. 114. The government's own filings acknowledge that the

transactions at issue involved payment processors, not banks, and at sentencing Mr. Pitluck

conceded that many of the financial institutions made money. Id. at 31. The government cannot

overcome this fundamental defect by pointing to Mr. Williams' generic admissions during the

plea colloquy, which were untethered to any specific facts and induced by his counsel's false

promises of a non-incarceration sentence.

       The Court's reliance on Mr. Williams' plea colloquy statements as a barrier to relief

fundamentally misapprehends both the law and the record. While Blackledge v. Allison, 431 U.S.

63 (1977), recognizes that statements at a plea hearing "carry a strong presumption of verity,"

that presumption is not insurmountable where, as here, there is compelling evidence that the plea

was the product of:

       1. Constitutional violations

       2. Counsel's misrepresentations

       3. Prosecutorial misconduct

       4. Mental health impairments

       5. Scripted responses

       The Second Circuit has recognized that a plea colloquy, while important, cannot cure

fundamental constitutional defects. See United States v. Gonzalez, 420 F.3d 111, 122 (2d Cir.

2005) (holding that even a thorough plea colloquy cannot cure certain constitutional violations)

(“In sum, because drug quantity is an element of the aggravated offense of conviction, we




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conclude that Gonzalez was misinformed as to his right to have the statutory quantity proved to a

jury. For that reason, and because his own allocution failed to provide an adequate factual basis

on that element of an aggravated offense, his guilty plea could not be deemed knowing,

voluntary, or sufficient to support a judgment of conviction on a § 841(b)(1)(A) charge.”)

       Finally, the government completely ignores the shocking revelation that the plea

allocution was actually scripted by the prosecution and fed to Mr. Williams by his counsel mere

moments before the hearing. See Motion for Reconsideration at 10 ECF No. 114). As detailed in

Mr. Williams' motion, the record contains irrefutable evidence that AUSA Pitluck provided

defense counsel with the exact language "the Government wants us to say" at the plea hearing,

which Mr. Williams then recited verbatim without any understanding of what he was saying or

how it related to his own conduct. This is the very antithesis of the knowing and voluntary

admission of guilt that Rule 11 and due process require. See Brady v. United States, 397 U.S.

742, 755 (1970) ("[A]plea of guilty entered by one fully aware of the direct consequences,

including the actual value of any commitments made to him by the court, prosecutor, or his own

counsel, must stand unless induced by threats (or promises to discontinue improper harassment),

misrepresentation (including unfulfilled or unfulfillable promises), or perhaps by promises that

are by their nature improper as having no proper relationship to the prosecutor's business (e.g.

bribes)")

       The government's failure to address, let alone refute, this damning evidence of

prosecutorial overreach and defense counsel's complicity in the scripted allocution speaks

volumes. It lays bare the extent to which this guilty plea was the product of a tainted process, in

which the truth was sacrificed for the sake of securing a conviction at all costs. No amount of




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generic recitations from the plea colloquy can overcome the fundamental absence of a legitimate

factual basis for the plea or the shocking misconduct that led to its entry.

       This Court has an independent duty to ensure that a guilty plea is supported by a

sufficient factual basis and is the product of a knowing and voluntary decision by the defendant.

See United States v. Smith, 160 F.3d 117, 121 (2d Cir. 1998) (citing Fed. R. Crim. P. 11(f))

(("Notwithstanding the acceptance of a plea of guilty, the court should not enter a judgment upon

such plea without making such inquiry." (citing Fed. R. Crim. P. 11(f))). The record here falls

woefully short on both counts. The government's attempt to paper over these deficiencies and

shield its own misconduct from scrutiny cannot be countenanced. The integrity of the criminal

justice system demands that this conviction be vacated and that Mr. Williams be given a fair

opportunity to contest the charges against him, free from the taint of ineffective assistance and

prosecutorial overreach.

     THE GOVERNMENT FAILS TO REFUTE THE EVIDENCE OF AN ACTUAL
               CONFLICT OF INTEREST AND PREJUDICE
       The government next argues that Mr. Williams has not established an actual conflict of

interest or prejudice arising from his counsel's ineffective assistance during the plea and

sentencing process (Government Opposition at 2, ECF No. 122). This argument ignores the

substantial evidence presented in Mr. Williams' motion for reconsideration and misapplies the

controlling legal standards.

       To establish an actual conflict of interest under Cuyler v. Sullivan, 446 U.S. 335 (1980), a

defendant must show "some showing of a possible conflict of interest or prejudice, however

remote". Prejudice is presumed where an actual conflict is shown. Here, Mr. Williams has

presented compelling evidence that his counsel, Mr. Kushner, labored under an actual conflict of




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interest that caused him to prioritize his own interests and his relationship with the prosecution

over his duty of loyalty to his client.

        As detailed in Mr. Williams' motion, Mr. Kushner made a series of false promises and

misrepresentations to induce Mr. Williams to plead guilty, including repeatedly assuring him that

he would receive a non-incarceration sentence (Motion for Reconsideration at 56-58, ECF No.

114). These promises were not only baseless, but they also directly conflicted with Mr. Kushner's

own interests in quickly resolving the case and maintaining a cooperative relationship with the

prosecution. Id. at 39. By prioritizing these interests over his duty to provide honest and accurate

advice to his client, Mr. Kushner created an actual conflict that infected the entire plea process.

See Schwarz v. United States, 283 F.3d 76, 92 (2d Cir. 2002) ("An attorney has an actual, as

opposed to a potential, conflict of interest when, during the course of the representation, the

attorney's and defendant's interests diverge with respect to a material factual or legal issue or to a

course of action." (internal quotation marks omitted).

        The record now contains overwhelming evidence of an actual conflict of interest that

rendered counsel's representation constitutionally ineffective under Cuyler v. Sullivan, 446 U.S.

335 (1980). The government's opposition completely fails to address this fundamental

constitutional violation, which requires no showing of prejudice once established. The evidence

of actual conflict includes:

    1. False Representations to Obtain Representation:

            a. Claimed to have "several other cases" with AUSA Pitluck

            b. Represented having staff and resources he didn't have

            c. Misled about experience with similar cases

            d. Created false impression of relationship with prosecution




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   2. Divided Loyalties During Plea Negotiations:

           a. Text Messages Show Cooperation with Prosecution:

               May 5, 2022, 8:37 AM:
               "That's what the Government wants us to say."
               "He should also proffer the scheme occurred during the dates
               in the information."
               (Motion for Reconsideration at 10, ECF No. 114)

           b. Emails Reveal Coordination:

                    i. Accepted prosecution's script without consultation

                   ii. Failed to protect client's interests

                  iii. Prioritized relationship with government

                  iv. Concealed communications from client

   3. Damaging Sentencing Memorandum:

           a. Filed without client review or consent, stating:

               "Mr. Williams does not dispute that this offense is serious and
               unacceptable. The PSR captures the offense conduct accurately.
               There is little more that he can say in this regard but does
               wish to acknowledge the point."
               (Sentencing Memorandum, ECF No. 42)

   4. Pattern of Concealment:

           a. Never met client in person before sentencing

           b. Hid communications with prosecution

           c. Submitted filings without review

           d. Withheld critical documents

       The Second Circuit has held that an "actual conflict of interest" exists when "during the

course of the representation, the attorney's and defendant's interests diverge with respect to a




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material factual or legal issue or to a course of action." United States v. Schwarz, 283 F.3d 76, 91

(2d Cir. 2002). Here, counsel's interests diverged from Mr. Williams' in multiple ways:

   1. Maintaining Relationship with Prosecution:

           a. Accepting government's plea script

           b. Making unauthorized concessions

           c. Failing to challenge jurisdiction

           d. Avoiding adversarial stance

   2. Expediting Case Resolution:

           a. Rushing plea without review

           b. Ignoring statute of limitations

           c. Skipping discovery analysis

           d. Avoiding trial preparation

   3. Covering Own Misconduct:

           a. Hiding false initial representations

           b. Concealing lack of staff/resources

           c. Masking failure to investigate

           d. Obscuring minimal preparation

       Under Cuyler, once an actual conflict is established, prejudice is presumed. 446 U.S. at

349-50. The actual conflict of interest rendered the guilty plea constitutionally invalid, regardless

of any claims about its knowing or voluntary nature. The Supreme Court has recognized that the

presence of an actual conflict during plea negotiations requires automatic vacatur because:

               "[I]n a case of a conflict of interest... the evil... is what the
               advocate finds himself
               compelled to refrain from doing... [I]t would be difficult to judge
               intelligently the impact of a conflict on the attorney's



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             representation of a client." Holloway v. Arkansas, 435 U.S. 475,
             490-91 (1978).

      Here, counsel's conflict manifestly impacted the plea process:

   1. Pre-Plea Phase:

          a. Failed to investigate defenses

          b. Ignored statute of limitations

          c. Made false promises

          d. Concealed communications

          e. Rushed decisions

   2. Plea Negotiations:

          a. Accepted government's script

          b. Waived indictment improperly

          c. Made unauthorized concessions

          d. Failed to challenge jurisdiction

          e. Ignored mental health issues

   3. Post-Plea Proceedings:

          a. Filed damaging memorandum

          b. Made additional concessions

          c. Failed to challenge restitution

          d. Continued false promises

          e. Avoided challenges

      The conflict's impact is particularly clear in counsel's:

   1. Failure to Protect Against Government Overreach:

          a. Accepted scripted allocution



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           b. Ignored jurisdictional defects

           c. Failed to challenge loss amounts

           d. Made damaging admissions

   2. Pattern of Concealment:

           a. Hid communications

           b. Filed documents without review

           c. Misrepresented experience

           d. Obscured lack of preparation

   3. False Promises to Maintain Control:

           a. Guaranteed no incarceration

           b. Misrepresented plea consequences

           c. Concealed risks

           d. Manipulated client trust

       Mr. Kushner's divided loyalties and the adverse impact on his performance. For example,

Mr. Kushner's submission of a sentencing memorandum that made damaging concessions and

admissions without Mr. Williams' knowledge or approval strongly suggests that he was more

concerned with appeasing the prosecution and the Court than with zealously advocating for his

client (Motion for Reconsideration at 12, ECF No. 114). Similarly, Mr. Kushner's failure to

review critical discovery materials or challenge the government's loss calculations and restitution

claims, despite compelling evidence that the alleged victims had actually profited from the

transactions, further demonstrates the extent to which his conflicted representation prejudiced

Mr. Williams. Id.




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       Counsel's failure to challenge the fundamental elements of bank fraud - particularly the

complete absence of actual or intended loss to FDIC-insured institutions - constitutes ineffective

assistance that rendered Mr. Williams' plea unknowing and involuntary. This failure is

particularly egregious because:

   1. The evidence disproving bank losses was readily available in discovery:

           a. The "Reserve Project" email showing processor profits

           b. The Applied Merchant Systems contracts

           c. The processors' fee structures and reserve holdings

           d. The lack of any direct bank involvement

   2. The government's own statements revealed the weakness of its loss theory:

           a. No bank loss affidavits despite years of investigation

           b. Inability to identify specific losses

           c. Admission that processors, not banks, were the contracting parties

   3. Controlling Second Circuit precedent clearly required proof of bank losses:

           a. Bouchard's distinction between banks and processors

           b. Heinz's requirement of "sufficiently direct" effect

           c. The essential element of actual or intended bank loss

   4. The jurisdictional nature of these defects meant they:

           a. Could be raised at any time

           b. Were not waived by the guilty plea

           c. Required vacatur if established




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       As the Supreme Court held in Hill v. Lockhart, 474 U.S. 52, 62 (1985), "The failure of an

attorney to inform his client of the relevant law clearly satisfies the first prong of the Strickland

analysis." Here, counsel failed to:

           1. Research the elements of bank fraud

           2. Review key evidence disproving those elements

           3. Advise Mr. Williams of these defenses

           4. Challenge the jurisdictional basis of the prosecution

       As detailed in Mr. Williams' affidavit, he had already supplied Mr. Kushner with

documentary evidence showing that the alleged "victims" were actually a small subset of

customers who did not receive purchased goods, and not the payment processors or banks. Mr.

Williams stated, "I showed him proof that over 250,000 customers satisfactorily receive the

items they ordered. Thus the actual loss amount, if there was any, should have been much much

lower than six and a half million dollars. Yet Mr. Kushner failed to tell this to Probation or to

this Court." (2255 Petition, Exhibit E at ¶¶ 45-46, ECF No. 73). This failure to challenge the loss

amount and identify the true nature of any alleged losses prejudiced Mr. Williams by allowing

the Court to rely on an inflated and unsupported loss figure at sentencing.

       In contrast, the conflict here arose from Mr. Kushner's own pecuniary and professional

interests, which caused him to make false promises and concessions that directly undermined

Mr. Williams' interests at every stage of the proceedings. The prejudice flowing from this

conflict is both clear and pervasive, affecting everything from the voluntariness of the plea to the

integrity of the sentencing process. See Cuyler, 446 U.S. at 349-50 (holding that an actual

conflict of interest that adversely affects counsel's performance violates the Sixth Amendment).




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       The government's attempt to isolate each instance of deficient performance and argue that

it did not result in outcome-determinative prejudice misses the point. The cumulative effect of

Mr. Kushner's conflicted representation was to deprive Mr. Williams of the loyal and zealous

advocacy to which he was constitutionally entitled. The government cannot overcome this

fundamental violation of the Sixth Amendment by parsing the record for proof of specific

prejudice flowing from each individual error. The prejudice here lies in the complete breakdown

of the adversarial process and the constructive absence of counsel at critical stages of the

proceedings. See United States v. Cronic, 466 U.S. 648, 659 (1984) ("if counsel entirely fails to

subject the prosecution's case to meaningful adversarial testing, then there has been a denial of

Sixth Amendment rights that makes the adversary process itself presumptively unreliable").

       This Court has an obligation to ensure that no defendant is convicted through a

constitutionally defective process tainted by attorney conflicts of interest and breaches of the

duty of loyalty. The record here presents a textbook example of an actual conflict that infected

every aspect of the representation and rendered the proceedings fundamentally unfair. The

government's efforts to minimize this evidence and evade the controlling legal standards cannot

be countenanced. The Court must grant reconsideration, vacate the conviction and sentence, and

afford Mr. Williams the conflict-free representation to which he is entitled.

   THE GOVERNMENT CANNOT JUSTIFY THE DENIAL OF AN EVIDENTIARY
                           HEARING
       The government next contends that Mr. Williams is not entitled to an evidentiary hearing

on his ineffective assistance of counsel claims because the existing record is sufficient to resolve

the issues presented (Government Opposition at 7, ECF No. 122). This argument ignores both

the substantial factual disputes raised by Mr. Williams' motion for reconsideration and the

governing legal standards for when a hearing is required.




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       As the court in Shaw v. United States, 24 F.3d 1040, 1043 (8th Cir. 1994) has repeatedly

held that, "The Court must hold an evidentiary hearing to consider claims in a § 2255 motion

"'[u]nless the motion and the files and records of the case conclusively show that the prisoner is

entitled to no relief.'" (alteration in original) (quoting 28 U.S.C. § 2255). Further, as ruled in

United States v. Huggins, 13-Cr-155 (SHS) (S.D.N.Y. Feb. 20, 2019), "A hearing is warranted if

the motion "set[s] forth specific facts supported by competent evidence, raising detailed and

controverted issues of fact that, if proved at a hearing, would entitle him to relief."" quoting

Gonzalez, 722 F.3d at 131.

       Here, Mr. Williams has more than met this standard. His motion for reconsideration is

supported by a wealth of competent evidence, including contemporaneous emails and text

messages, affidavits from himself and his co-counsel, letters from treating mental health

professionals, and expert analysis of the financial records and discovery materials. See Motion

for Reconsideration, ECF No. 114. This evidence raises detailed and controverted factual issues

that cannot be resolved on the face of the existing record, including:

       1. Whether Mr. Kushner made false promises of a non-incarceration sentence to induce

           Mr. Williams' guilty plea;

       2. Whether Mr. Kushner adequately reviewed discovery and communicated with Mr.

           Williams about the evidence and potential defenses before advising him to plead

           guilty;

       3. Whether Mr. Kushner failed to investigate Mr. Williams' mental health issues and

           seek a competency evaluation despite clear red flags;

       4. Whether the government's loss calculations and restitution claims were baseless and

           inflated;




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       5. Whether there was an actual conflict of interest arising from Mr. Kushner's divided

           loyalties and self-interest;

       6. Whether the plea allocution was improperly scripted by the prosecution and fed to

           Mr. Williams by defense counsel;

       7. Whether the cumulative effect of these errors and the complete breakdown of the

           adversarial process constructively deprived Mr. Williams of his Sixth Amendment

           right to counsel.

       The Court's denial of relief without addressing the substantial evidence of Mr. Williams'

severe mental health impairments, and counsel's complete failure to investigate these issues,

constitutes reversible error. The government's opposition (ECF No. 122) compounds this error

by dismissing the mental health evidence as irrelevant, when in fact it goes directly to both the

validity of the plea and the effectiveness of counsel.

       The record contains overwhelming evidence of Mr. Williams' mental health struggles:

   1. Contemporaneous Medical Records:

           a. Diagnosed with bipolar disorder with severe psychotic features

           b. ADHD diagnosis affecting cognitive processing

           c. Processing speed in the lower 3rd percentile

           d. Multiple hospitalizations, including during case pendency

           e. Documented history of delusional thinking

   2. Expert Opinions:

           a. Dr. Paul Smiley's March 29, 2024 letter states:

               "Based on my extensive clinical interaction with Mr. Williams
               over the years, I bring to question if Mr. Williams was able to enter
               into his plea knowingly and voluntarily. Mr. Williams has been




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               diagnosed with Bipolar I Disorder and ADHD and exhibits a
               processing speed in the lower 3rd percentile. Such conditions
               significantly impair his decision-making capacity, particularly in
               high pressure situations like legal proceedings."
               (2255 Petition at Exhibit O, ECF No. 73)

       Dr. Michael Fields confirms:

               "Luke feels that he was deceived and poorly represented by his
               attorney Mr. Kushner who allegedly promised him from the
               beginning of his case in 2021 that there would be no incarceration.
               I recall that Luke appeared very relieved that he would face no worse
               case scenario of prison."
               (2255 Petition at Exhibit O, ECF No. 73)

   3. Counsel's Knowledge of Impairments:

           a. Hospitalization in April 2021 shortly after indictment

           b. 229-page medical presentation provided to counsel

           c. Multiple communications about mental health impact

           d. Clear evidence of cognitive processing difficulties

       The Supreme Court has repeatedly held that a defendant's mental competency is a

fundamental prerequisite to a valid guilty plea. See Godinez v. Moran, 509 U.S. 389, 396 (1993)

("A criminal defendant may not be tried unless he is competent, and he may not waive his

constitutional rights unless he does so 'competently and intelligently.'") (citation omitted).

       Where, as here, there are substantial indicia of incompetence, counsel has an affirmative

duty to investigate and raise the issue. See Drope v. Missouri, 420 U.S. 162, 171 (1975) ("[A]

person whose mental condition is such that he lacks the capacity to understand the nature and

object of the proceedings against him, to consult with counsel, and to assist in preparing his

defense may not be subjected to a trial.").




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       The government does not even attempt to argue that the existing record "conclusively"

forecloses relief on these issues, as § 2255(b) requires. Nor could it, given the substantial

evidence Mr. Williams has presented in support of his claims. Instead, the government simply

asserts that the Court "need not hold a hearing if ‘the motion and the files and records of the case

conclusively show that the prisoner is entitled to no relief.’” when it initially denied the § 2255

motion (Government Opposition at 9, ECF No. 85). But this ignores the critical point of Mr.

Williams' reconsideration motion, which is that the Court's initial decision was based on an

incomplete record and a misapplication of the controlling law.

       Counsel's complete failure to investigate Mr. Williams' mental health issues or request a

competency evaluation constitutes ineffective assistance that rendered the plea process

fundamentally unfair. This failure is particularly egregious because:

   1. Clear Red Flags Required Investigation:

           a. Recent hospitalization (April 2021)

           b. Documented bipolar disorder with psychotic features

           c. Processing speed in 3rd percentile

           d. History of delusional thinking

           e. Multiple prior hospitalizations

   2. Counsel Had Explicit Notice:

           a. Received 229-page medical presentation

           b. Knew of April 2021 hospitalization

           c. Had communications about mental health impact

           d. Was aware of cognitive processing issues

           e. Received contemporaneous medical records




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   3. The Plea Process Was Rushed and Coercive:

           a. Only 26-minute call to explain plea

           b. Last-minute waiver of indictment provided for the first time a day after the plea

               was already signed approximately 30 minutes before the commencement of the

               plea hearing

           c. Scripted allocution

           d. Remote hearing without illegal waiver

           e. No meaningful competency assessment

   4. Expert Opinions Support Incompetence:

           a. Dr. Smiley specifically states:

               "The rapid and brief nature of the plea discussion, occurring in
               a 26-minute phone call without adequate preparatory engagement,
               is insufficient to ensure that Mr. Williams could make an informed
               decision, given his cognitive and overall mental health."
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       The Second Circuit has recognized that counsel's failure to investigate competency issues

can constitute ineffective assistance requiring vacatur of a guilty plea. See United States v. Kirsh,

54 F.3d 1062, 1071 (2d Cir. 1995) ("A district court must conduct an evidentiary hearing to

determine the competency of a defendant "if there is reasonable cause to believe that the

defendant may presently be suffering from a mental disease or defect rendering him mentally

incompetent to the extent that he is unable to understand the nature and consequences of the

proceedings against him or to assist properly in his defense."). The government's attempt to

isolate each instance of deficient performance and argue that it did not result in outcome-

determinative prejudice misses the point. The cumulative effect of Mr. Kushner's conflicted

representation was to deprive Mr. Williams of the loyal and zealous advocacy to which he was




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constitutionally entitled. The government cannot overcome this fundamental violation of the

Sixth Amendment by parsing the record for proof of specific prejudice flowing from each

individual error. The prejudice here lies in the complete breakdown of the adversarial process

and the constructive absence of counsel at critical stages of the proceedings. See United States v.

Cronic, 466 U.S. 648, 659 (1984) ("if counsel entirely fails to subject the prosecution's case to

meaningful adversarial testing, then there has been a denial of Sixth Amendment rights that

makes the adversary process itself presumptively unreliable").

       This Court has an obligation to ensure that no defendant is convicted through a

constitutionally defective process tainted by attorney conflicts of interest and breaches of the

duty of loyalty. The record here presents a textbook example of an actual conflict that infected

every aspect of the representation and rendered the proceedings fundamentally unfair. The

government's efforts to minimize this evidence and evade the controlling legal standards cannot

be countenanced. The Court must grant reconsideration, vacate the conviction and sentence, and

afford Mr. Williams the conflict-free representation to which he is entitled.

THE GOVERNMENT'S ATTEMPTS TO MINIMIZE THE PREJUDICE SUFFERED BY
                    MR. WILLIAMS FALL FLAT
       The government next contends that Mr. Williams is not entitled to an evidentiary hearing

on his ineffective assistance of counsel claims because the existing record is sufficient to resolve

the issues presented. Government Opposition at 3, ECF No. 122. This argument ignores both the

substantial factual disputes raised by Mr. Williams' motion for reconsideration and the governing

legal standards for when a hearing is required.

       As the court in Shaw v. United States, 24 F.3d 1040, 1043 (8th Cir. 1994) has repeatedly

held that, "The Court must hold an evidentiary hearing to consider claims in a § 2255 motion

"'[u]nless the motion and the files and records of the case conclusively show that the prisoner is




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entitled to no relief.'" (alteration in original) (quoting 28 U.S.C. § 2255). Further, as ruled in

United States v. Huggins, 13-Cr-155 (SHS) (S.D.N.Y. Feb. 20, 2019), "A hearing is warranted if

the motion "set[s] forth specific facts supported by competent evidence, raising detailed and

controverted issues of fact that, if proved at a hearing, would entitle him to relief."" quoting

Gonzalez, 722 F.3d at 131.

       Here, Mr. Williams has more than met this standard. His motion for reconsideration is

supported by a wealth of competent evidence, including contemporaneous emails and text

messages, affidavits from himself and his co-counsel, letters from treating mental health

professionals, and expert analysis of the financial records and discovery materials. See Motion

for Reconsideration, ECF No. 114. This evidence raises detailed and controverted factual issues

that cannot be resolved on the face of the existing record, including:

       1. Whether Mr. Kushner made false promises of a non-incarceration sentence to induce

           Mr. Williams' guilty plea;

       2. Whether Mr. Kushner adequately reviewed discovery and communicated with Mr.

           Williams about the evidence and potential defenses before advising him to plead

           guilty;

       3. Whether Mr. Kushner failed to investigate Mr. Williams' mental health issues and

           seek a competency evaluation despite clear red flags;

       4. Whether the government's loss calculations and restitution claims were baseless and

           inflated;

       5. Whether there was an actual conflict of interest arising from Mr. Kushner's divided

           loyalties and self-interest;




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       6. Whether the plea allocution was improperly scripted by the prosecution and fed to

           Mr. Williams by defense counsel;

       7. Whether the cumulative effect of these errors and the complete breakdown of the

           adversarial process constructively deprived Mr. Williams of his Sixth Amendment

           right to counsel.

       The Court's denial of relief without addressing the substantial evidence of Mr. Williams'

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               the years, I bring to question if Mr. Williams was able to enter
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               high pressure situations like legal proceedings."
                     (2255 Petition at Exhibit O, ECF No. 73)



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           b. Dr. Michael Fields confirms:

               "Luke feels that he was deceived and poorly represented by his
               attorney Mr. Kushner who allegedly promised him from the
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               I recall that Luke appeared very relieved that he would face no
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fundamental prerequisite to a valid guilty plea. See Godinez v. Moran, 509 U.S. 389, 396 (1993)

("A criminal defendant may not be tried unless he is competent, and he may not waive his

constitutional rights unless he does so 'competently and intelligently.'") (citation omitted).

       Where, as here, there are substantial indicia of incompetence, counsel has an affirmative

duty to investigate and raise the issue. See Drope v. Missouri, 420 U.S. 162, 171 (1975) ("[A]

person whose mental condition is such that he lacks the capacity to understand the nature and

object of the proceedings against him, to consult with counsel, and to assist in preparing his

defense may not be subjected to a trial.").

       Counsel's complete failure to investigate Mr. Williams' mental health issues or request a

competency evaluation constitutes ineffective assistance that rendered the plea process

fundamentally unfair. This failure is particularly egregious because:

   1. Clear Red Flags Required Investigation:

           a. Recent hospitalization (April 2021)



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           b. Documented bipolar disorder with psychotic features

           c. Processing speed in 3rd percentile

           d. History of delusional thinking

           e. Multiple prior hospitalizations

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           a. Received 229-page medical presentation

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   3. The Plea Process Was Rushed and Coercive:

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   4. Expert Opinions Support Incompetence:

           a. Dr. Smiley specifically states:

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               a 26-minute phone call without adequate preparatory engagement,
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               decision, given his cognitive and overall mental health."
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       The Second Circuit has recognized that counsel's failure to investigate competency issues

can constitute ineffective assistance requiring vacatur of a guilty plea. See United States v. Kirsh,




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54 F.3d 1062, 1071 (2d Cir. 1995) ("A district court must conduct an evidentiary hearing to

determine the competency of a defendant "if there is reasonable cause to believe that the

defendant may presently be suffering from a mental disease or defect rendering him mentally

incompetent to the extent that he is unable to understand the nature and consequences of the

proceedings against him or to assist properly in his defense").

       The prejudice here is manifest:

       1. No competency evaluation was conducted

       2. No mental health evidence was presented pre-plea

       3. No accommodations were made for cognitive limitations

       4. No meaningful investigation of capacity to plead

       5. No protection against coercive plea practices

       The cases cited by the government only underscore the need for a hearing in this case. In

Chang v. United States, 250 F.3d 79 (2d Cir. 2001), the court affirmed the rejection of a "generic

claim . . . based solely on [Petitioner's] own highly self-serving and improbable assertions" in the

face of counsel's "detailed description of events [that] was eminently credible". In contrast, Mr.

Williams has presented extensive objective evidence corroborating his claims, including emails,

text messages, affidavits, and expert analysis. This evidence cannot be dismissed as mere "self-

serving" assertions.

       Mr. Williams has presented indisputable evidence that his plea was the product of

coercion and misinformation, and that his statements during the colloquy were scripted by the

prosecution and fed to him by defense counsel. This evidence raises serious questions about the

voluntariness and integrity of the plea process that cannot be resolved without a hearing. See

Wallace v. State, 556 S.W.2d 471 (Mo. Ct. App. 1977) ("unless the motion and the files and the




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records of the case conclusively show that the prisoner is entitled to no relief, a prompt hearing

thereon shall be held.").

       The government's suggestion that a hearing is unnecessary because the Court "personally

observed Kushner's performance" at the plea and sentencing proceedings is both legally and

factually misguided (Court Memorandum and Order at 44, ECF No. 109). As a factual matter,

the record shows that nearly all of Mr. Kushner's deficient performance occurred outside the

courtroom, in his failure to communicate with Mr. Williams, review discovery, investigate

defenses, and provide accurate advice about the consequences of pleading guilty. The Court's in-

court observations cannot possibly resolve these factual disputes.

       In short, the government's attempt to avoid an evidentiary hearing on Mr. Williams'

substantial claims of ineffective assistance is both legally and factually unsupportable. The

record here is replete with specific, detailed, and controverted factual issues that cannot be

resolved without a hearing. The Court's initial denial of a hearing was based on an incomplete

record and a misapplication of the controlling law, as set forth in Mr. Williams' reconsideration

motion. The government's opposition does not even attempt to grapple with this evidence or

these arguments but instead resorts to conclusory assertions and inapposite case law.

       The Court's summary denial of Mr. Williams' claims without an evidentiary hearing

constitutes reversible error under both statutory and constitutional standards. Section 2255(b)

explicitly requires that "[u]nless the motion and the files and records of the case conclusively

show that the prisoner is entitled to no relief, the court shall... grant a prompt hearing thereon."

28 U.S.C. § 2255(b) (emphasis added). The government's opposition fails to demonstrate how

the current record "conclusively shows" no entitlement to relief, particularly given:

   1. Specific Factual Disputes Requiring Resolution:




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         a. Counsel's False Promises:

                 i. Text messages showing ongoing promise of no incarceration

                ii. Emails referencing to supervised release and probationary sentencing

                    assurances

               iii. Contemporaneous communications with family

               iv. Third-party witness statements

                v. Medical providers' confirmations

         b. Statute of Limitations Timeline:

                 i. Last overt act date (April 2015)

                ii. Government's shifting theories

               iii. Superseding information timing

               iv. Jurisdictional impact

         c. Payment Processor Evidence:

                 i. "Reserve Project" email used to calculate restitution details

                ii. Processor profit calculations

               iii. Lack of direct bank involvement

               iv. Payment processor contracts

                v. Actual loss absence

   2. Evidence Requiring Examination:

         a. Mental Health Records:

                 i. Dr. Smiley's detailed findings

                ii. Dr. Fields' contemporaneous notes

               iii. Hospitalization records




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                 iv. tTreatment history

          b. Communication Records:

                  i. Text messages and emails with counsel

                 ii. Billing records

                iii. Call logs

                iv. Meeting documentation from Mr. Kushner’s case file

   3. Credibility Determinations Required:

          a. The Second Circuit has emphasized that where credibility determinations are

             necessary, summary denial is inappropriate. See Chang v. United States, 250 F.3d

             79, 84 (2d Cir. 2001). Here, credibility issues pervade:

                  i. Counsel's Representations:

                         1. Initial claims of experience

                         2. Promises to client

                         3. Communications with prosecution

                         4. Basis for recommendations

                         5. Preparation claims

   4. Government's Assertions:

          a. Bank loss claims

          b. Jurisdictional basis

          c. Brady compliance

          d. Plea script origin

          e. Restitution calculations

   5. Complex Constitutional Issues:




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         a. The Supreme Court has recognized that when substantial constitutional issues are

             raised, "[A] prompt hearing" on the motion is required "[u]nless the motion and

             the files and records of the case conclusively show that the prisoner is entitled to

             no relief ....... " Sanders v. United States, 373 U.S. 1, 21 (1963). Here, the

             constitutional claims include:

                 i. Sixth Amendment Violations:

                         1. Ineffective assistance

                         2. Actual conflict

                         3. Denial of counsel

                         4. Competency issues

                ii. Due Process Violations:

                         1. Brady violations

                         2. Prosecutorial misconduct

                         3. Involuntary plea

                         4. Jurisdictional defects

   6. Need for Counsel's Testimony:

         a. The government's own opposition acknowledges that "Amirouche simply

             reasserts the same claims that were rejected by the Court in its Opinion. Rather

             than identify such controlling law or facts, Amirouche simply criticizes the Court

             for failing to order Mr. Kushner to submit an affidavit…" (Government

             Opposition at 5, ECF No. 122). This alone necessitates a hearing, as:

                 i. Counsel Must Address:

                         1. False promises




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                          2. Conflict of interest

                          3. Lack of investigation

                          4. Brady violations

                          5. Mental health issues

                  ii. Cross-Examination Required On:

                          1. Preparation extent

                          2. Communication content

                          3. Strategic decisions

                          4. Government interactions

                          5. Client discussions

   7. The Second Circuit has repeatedly held that where a petitioner presents specific factual

      allegations that are not conclusively refuted by the record, an evidentiary hearing is

      required. See Puglisi v. United States, 586 F.3d 209, 213 (2d Cir. 2009). The allegations

      here are:

          a. Specific and Detailed:

                   i. Supported by documents

                  ii. Corroborated by witnesses

                  iii. Temporally precise

                  iv. Factually concrete

          b. Not Conclusively Refuted:

                   i. Record supports claims

                  ii. Government offers no rebuttal

                  iii. Evidence confirms allegations




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                     iv. Documentation validates

        This Court has an obligation to ensure that no defendant is convicted and sentenced

through a constitutionally defective process, tainted by ineffective assistance of counsel and

prosecutorial misconduct. Whereas here, the defendant has presented substantial evidence of

such defects, supported by competent evidence and raising detailed and controverted factual

issues, a hearing is not just appropriate but required. See United States v. Keller, 902 F.2d 1391,

1395 (9th Cir. 1990) (To warrant an evidentiary hearing, a petitioner must "make specific factual

allegations which, if true, would entitle him to relief."). The government's efforts to avoid such

scrutiny and preserve a fundamentally unjust conviction cannot be countenanced. The Court

must grant reconsideration, vacate its prior order denying a hearing, and afford Mr. Williams the

opportunity to prove his claims through live testimony and cross-examination of the relevant

witnesses, including Mr. Kushner and AUSA Pitluck. Only then can the truth be fully aired and

justice be served.

   THE GOVERNMENT'S OPPOSITION FAILS TO ADDRESS THE CUMULATIVE
            IMPACT OF THE CONSTITUTIONAL VIOLATIONS
        Finally, the government argues that even if Mr. Kushner's performance was deficient in

some respects, Mr. Williams has not established prejudice sufficient to warrant relief under

Strickland v. Washington, 466 U.S. 668 (1984) (Government Opposition at 2, ECF No. 122).

This argument not only ignores the substantial evidence of prejudice presented in Mr. Williams'

motion for reconsideration, but it also fundamentally misapprehends the nature and extent of the

constitutional violations at issue.

        As an initial matter, the government's suggestion that Mr. Williams “could not

demonstrate deficient performance or prejudice on any of the claims” to prevail on his

ineffective assistance claims is legally incorrect. Id. While Strickland does require a showing of




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prejudice, it defines prejudice as "a reasonable probability that, but for counsel's unprofessional

errors, the result of the proceeding would have been different." 466 U.S. at 694. A "reasonable

probability" is "a probability sufficient to undermine confidence in the outcome," not a certainty

that the outcome would have been different. Id. Thus, the government's attempt to impose a

heightened "outcome-determinative" standard finds no support in Strickland or its progeny.

       Moreover, the government completely ignores the fact that prejudice is presumed where,

as here, the defendant has established an actual conflict of interest that adversely affected his

counsel's performance. See Cuyler v. Sullivan, 446 U.S. 335, 349-50 (1980) ("In order to

establish a violation of the Sixth Amendment, a defendant who raised no objection at trial must

demonstrate that an actual conflict of interest adversely affected his lawyer's performance."). As

explained above, Mr. Williams has presented compelling evidence that Mr. Kushner labored

under an actual conflict of interest that caused him to prioritize his own interests and his

relationship with the prosecution over his duty of loyalty to his client. This conflict infected

every stage of the proceedings, from the plea negotiations to the sentencing hearing, and

rendered the entire process presumptively unreliable. See U.S. v. Scala, 432 F. Supp. 2d 403

(S.D.N.Y. 2006) ("An attorney is regarded as having "an actual, as opposed to a potential,

conflict of interest when, during the course of the representation, the attorney's and the

defendant's interests diverge with respect to a material factual or legal issue or to a course of

action.") (internal quotation marks omitted).

       Even apart from this presumed prejudice, Mr. Williams has established actual prejudice

flowing from Mr. Kushner's deficient performance. Contrary to the government's assertions, this

prejudice is not limited to the speculative possibility that Mr. Williams might have received a

lower sentence had Mr. Kushner advocated more effectively at sentencing. Id. Rather, the




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prejudice here goes to the very integrity of the plea process and the voluntariness of

Mr. Williams' decision to plead guilty.

       As detailed in Mr. Williams' motion, Mr. Kushner's false promises of a non-incarceration

sentence, coupled with his failure to review discovery, investigate defenses, or advise

Mr. Williams of the consequences of pleading guilty, rendered the plea involuntary and

unintelligent. Motion for Reconsideration at 56-63 ECF No. 114). But for these

misrepresentations and omissions, there is a reasonable probability that Mr. Williams would not

have pleaded guilty and would have instead proceeded to trial or sought a more favorable plea

agreement. Id. at 61. See Hill v. Lockhart, 474 U.S. 52, 59 (1985) ("[I]n order to satisfy the

'prejudice' requirement [of Strickland], the defendant must show that there is a reasonable

probability that, but for counsel's errors, he would not have pleaded guilty and would have

insisted on going to trial."). The fact that Mr. Williams ultimately received a sentence below the

statutory maximum in no way undermines this showing of prejudice, as the proper focus is on

the impact of counsel's errors on the defendant's decision to plead guilty, not on the length of the

sentence ultimately imposed. See id. at 61 ("In many guilty plea cases, the 'prejudice' inquiry will

closely resemble the inquiry engaged in by courts reviewing ineffective-assistance challenges to

convictions obtained through a trial.").

       The government's invocation of the plea colloquy as a "formidable barrier" to

Mr. Williams' claims of prejudice is equally misplaced (Government Opposition at 18, ECF No.

85). While a defendant's sworn statements at a plea hearing are entitled to a strong presumption

of verity, that presumption may be overcome by compelling evidence that the plea was the

product of ineffective assistance of counsel. See Altman v. U.S., 94 Cr 454 (JGK) (S.D.N.Y.

June 22, 2001) ("A claim that a guilty plea was involuntary due to ineffective assistance of




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counsel must be evaluated under the two-part test set forth in Strickland v. Washington[.]").

Here, as explained above, Mr. Williams has presented overwhelming evidence that his plea was

induced by Mr. Kushner's false promises and lack of adequate investigation and advice, and that

his allocution was improperly scripted by the prosecution. This evidence is more than sufficient

to overcome any presumption arising from the plea colloquy.

       The government's opposition completely fails to address perhaps the most shocking

constitutional violation in this case: the prosecutor's improper scripting of Mr. Williams' plea

allocution, documented through contemporaneous text messages that the government cannot

dispute. This conduct transforms the plea from a knowing and voluntary admission into a

choreographed performance designed to manufacture federal jurisdiction where none existed.

       The evidence of this improper scripting is irrefutable:

       1. Text Messages on Morning of Plea (May 5, 2022, 8:37 AM):

               Kushner: "Together with others he agreed to file false documents
               with financial institutions in order to obtain money and property
               from those banks. That's what the Government wants us to say.
               Can you let me know what's up? He should also proffer the scheme
               occurred during the dates in the information."
               Williams: "I'm on it now. I will read 'Together with others I agreed
               to file false documents with financial institutions in order to obtain
               money and property from those banks. The scheme took place
               between 2012-2016' Will they use this word allocution so I know
               that's when to say this"
               (Motion for Reconsideration at 10, ECF No. 114)

       2. At the plea hearing, Mr. Williams recited this government-authored script verbatim:

               "Together with others I agreed to file false documents with financial
               institutions in order to obtain money and property from those banks.
               The scheme took place between 2012 to 2016, Your Honor."
               (Plea Hearing Tr. at 28, ECF No. 25).

       This scripting violates fundamental constitutional principles:




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       First, as the Second Circuit held in United States v. Maher, 108 F.3d 1513, 1524 (2d Cir.

1997), a plea allocution must establish "that the conduct which the defendant admits constitutes

the offense charged" through "the defendant's own admissions." A scripted recitation of the

government's preferred language does not satisfy this requirement.

       Second, the Supreme Court has emphasized that the plea colloquy must demonstrate the

defendant's actual understanding of the charge, not merely his ability to parrot statutory

language. See Bousley v. United States, 523 U.S. 614, 618-19 (1998) (“A plea is not intelligent

unless a defendant first receives real notice of the nature of the charge against him”).

       Third, the government's scripting here was particularly egregious because it was designed

to obscure the jurisdictional defects in the prosecution by having Mr. Williams recite language

about "financial institutions" when the actual conduct involved only payment processors. This

type of manufactured allocution undermines the very purpose of Rule 11's factual basis

requirement.

       Finally, the government's attempt to downplay the prejudice flowing from Mr. Kushner's

failure to raise the statute of limitations defense is unavailing. The government asserts that this

claim is "factually incorrect" because the original indictment was timely, but it offers no

response to Mr. Williams' well-supported arguments that (1) the original indictment was facially

time-barred because the last overt act occurred more than five years before the indictment was

filed; (2) the superseding information could not cure this defect because it impermissibly

broadened the charges; and (3) defense counsel was ineffective for failing to raise this clear

statute of limitations defense (Motion for Reconsideration, ECF No. 114 at 4-5, 13). The

prejudice flowing from this deficient performance is manifest, as there is a reasonable probability

that the charges would have been dismissed as time-barred had counsel raised the issue. See




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Hansel v. United States, 70 F.3d 6, 8 (2d Cir. 1995) (“Hansel's counsel's failure to object to the

time-barred counts is unaccountable in the circumstances and cannot "be considered sound trial

strategy." In particular, counsel's decision cannot be justified by considerations related to the

negotiation of a plea agreement, because Hansel pled without the benefit of one. Hansel's

prejudice is that he pled guilty to two time-barred counts that would have been dismissed, if his

attorney had acted competently. Hansel's counsel was therefore ineffective under Strickland, and

Hansel's Sixth Amendment right to counsel was thereby impaired. Hansel's waiver of the time-

bar defense cannot be deemed knowing and intelligent: we may assume that he would not have

pled guilty to counts that he knew to be time-barred. Accordingly, we reverse Hansel's

convictions on counts seven and eight of the indictment”).

       In sum, the government's attempts to minimize the prejudice suffered by Mr. Williams as

a result of his counsel's deficient performance are both legally and factually unsupportable.

Mr. Williams has established both presumed and actual prejudice flowing from Mr. Kushner's

actual conflict of interest and his failure to provide adequate advice and advocacy at every

critical stage of the proceedings. The government's selective and misleading portrayal of the

record cannot overcome this compelling showing of prejudice. The Court must reject the

government's invitation to disregard this evidence and instead grant reconsideration based on the

clear constitutional violations that infected every aspect of Mr. Williams' case.

 THE GOVERNMENT'S RELIANCE ON PROCEDURAL TECHNICALITIES CANNOT
           OVERRIDE THE NEED FOR SUBSTANTIVE JUSTICE
       Perhaps most troubling of all, the government's opposition completely fails to address the

cumulative impact of the multiple constitutional violations that pervaded every stage of the

proceedings against Mr. Williams. As detailed in his motion for reconsideration, these violations

included not only the ineffective assistance of counsel discussed above, but also prosecutorial




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misconduct in scripting the plea allocution, as well as jurisdictional defects arising from the

expiration of the statute of limitations and the lack of any overt acts or victims in the Eastern

District of New York (ECF No. 114). The cumulative effect of these errors was to render the

entire proceedings fundamentally unfair and to undermine confidence in the validity of Mr.

Williams' conviction and sentence.

        The Second Circuit has long recognized that the cumulative impact of multiple

constitutional errors can require reversal even if each error, standing alone, might be deemed

harmless. See, e.g., United States v. Al-Moayad, 545 F.3d 139, 178 (2d Cir. 2008) ("the

cumulative effect of a trial court's errors, even if they are harmless when considered singly, may

amount to a violation of due process requiring reversal of a conviction."); United States v.

Guglielmini, 384 F.2d 602, 607 (2d Cir. 1967) ("holding that, even though not "any one of the

errors committed during the trial would have required reversal of the convictions," "the total

effect of the errors we have found was to cast such a serious doubt on the fairness of the trial that

the convictions must be reversed."). This "cumulative error" doctrine is rooted in the

fundamental principle that a criminal defendant is entitled not just to a fair trial, but to a trial

whose fairness is beyond reproach. See United States v. Cronic, 466 U.S. 648, 656 (1984)

((prejudice presumed where counsel "entirely fails to subject the prosecution's case to

meaningful adversarial testing").

        Here, the government's opposition brief analyzes each of Mr. Williams' claims in

isolation, without ever grappling with their combined effect on the integrity of the proceedings as

a whole. This piecemeal approach is fundamentally misguided, as it fails to account for the way

in which the multiple errors and deficiencies in this case built upon and compounded one

another, creating a perfect storm of constitutional violations. For example, the prejudice flowing




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from Mr. Kushner's false promises of a non-incarceration sentence was exacerbated by his failure

to review discovery or investigate potential defenses, as well as by the prosecutor's improper

scripting of the plea allocution. Similarly, the jurisdictional defects arising from the expiration of

the statute of limitations and the lack of any overt acts in the Eastern District of New York were

compounded by Mr. Kushner's failure to raise these issues.

        When viewed in their totality, these errors and deficiencies rise to the level of structural

error, affecting the very framework within which the proceedings were conducted. See Arizona

v. Fulminante, 499 U.S. 279, 309-10 (1991) (holding that "structural "defects in the constitution

of the trial mechanism" that "defy analysis by harmless-error standards" and require automatic

reversal).

        The government's failure to address, let alone refute, the cumulative impact of the

constitutional violations in this case is a glaring omission that undermines its entire opposition.

By focusing solely on the trees, the government misses the forest – the fundamental unfairness

and unreliability of the proceedings as a whole. This Court cannot turn a blind eye to this reality

or allow the government's piecemeal approach to obscure the profound and pervasive

constitutional defects that infected every stage of Mr. Williams' case.

        The integrity of our criminal justice system depends on the scrupulous adherence to

constitutional safeguards at every step of the process, from grand jury to sentencing. Where, as

here, those safeguards have been systematically violated and the proceedings as a whole have

been rendered fundamentally unfair, the Court has a duty to intervene and correct the injustice.

The government's opposition, by ignoring the cumulative impact of the errors and deficiencies in

this case, fails to come to grips with the magnitude of the problem or the necessity of the

solution.




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       The cumulative impact of the constitutional violations established by the complete record

- including all ancillary filings and recently uploaded exhibits (many seen for the first time due to

technical issues)- demonstrates that this case presents exactly the type of fundamental

miscarriage of justice that § 2255 was designed to remedy. The Second Circuit has recognized

that even if individual errors might be deemed harmless in isolation, their combined effect can

require reversal. See United States v. Al-Moayad, 545 F.3d 139, 178 (2d Cir. 2008) ("the

cumulative effect of a trial court's errors, even if they are harmless when considered singly, may

amount to a violation of due process requiring reversal").

       The complete record now shows multiple, compounding constitutional violations:

   1. Jurisdictional Defects:

           a. Time-barred indictment (proven by original indictment)

           b. No FDIC-insured bank victims (proven by "Reserve Project" email)

           c. Lack of venue (proven by transaction records)

           d. No subject matter jurisdiction (proven by contracts)

   2. Ineffective Assistance:

           a. False promises (proven by text messages)

           b. No discovery review (proven by billing records)

           c. Failed to raise time-bar (proven by correspondence)

           d. Ignored mental health (proven by medical records)

   3. Due Process Violations:

           a. Scripted plea (proven by text messages)

           b. Rushed and illegal waiver (proven by timeline)

           c. No competency evaluation (proven by expert opinions)




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           d. Withheld Brady material (proven by disclosures)

   4. Structural Errors:

           a. Lack of jurisdiction

           b. Incompetence to plead

           c. Denial of counsel

           d. Involuntary plea

       The Supreme Court has recognized that certain errors are "structural" in nature, affecting

"the framework within which the trial proceeds." Arizona v. Fulminante, 499 U.S. 279, 310

(1991). Such errors:

           1. Defy harmless error analysis

           2. Require automatic reversal

           3. Cannot be waived

           4. Infect entire proceedings

       The Court's obligation to consider the complete record, including all ancillary filings and

exhibits, stems directly from 28 U.S.C. § 2255's mandate that the Court determine whether the

"files and records of the case conclusively show that the prisoner is entitled to no relief." This

obligation is particularly acute here, where technical filing issues initially prevented full

presentation of critical evidence, and where multiple ancillary filings provide crucial

supplemental support for the constitutional claims.

       The complete record now includes:

                   1. Previously Unavailable Evidence:

                           a. Technical Filing Issues Resolved:

                                    i. Large exhibits now properly docketed




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                             ii. System size limitations overcome

                            iii. Manual filing processes completed

                             iv. All evidence properly before Court

                             v. Complete record available

                      b. Critical Documentary Proof:

                              i. "Reserve Project" email and spreadsheet

                             ii. Applied Merchant Systems contracts

                            iii. Text messages with counsel

                             iv. Mental health records

                             v. Expert opinions

               2. Supplemental Legal Arguments:

                      a. Motion for Judicial Notices (ECF Nos. 95, 98, 100, 101, 103, 106):

                              i. Payment processor relationships

                             ii. Lack of bank losses

                             iii. Jurisdictional defects

                             iv. Brady violations

                             v. Structural errors

               3. Critical Legal Authority:

                      a. Supplemental Case Law:

                              i. Recent Second Circuit decisions

                             ii. Controlling Supreme Court precedent

                            iii. Parallel district court rulings

                             iv. Persuasive authority




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                                    v. Constitutional analysis

                           b. Additional Legal Arguments:

                                    i. Jurisdictional challenges

                                  ii. Constitutional claims

                                 iii. Structural errors

                                 iv. Due process violations

                                  v. Ineffective assistance

       The Seventh Circuit has emphasized that courts must consider the complete record in §

2255 proceedings: "the district court must review the state court trial record to determine

whether the petitioner for federal habeas corpus relief had received the constitutionally required

due process afforded by a full and fair hearing resulting in findings supported by the record,."

United States ex rel. Jones v. Franzen, 676 F.2d 261 (7th Cir. 1982). This obligation extends to:

       1. All Filed Materials:

               a. Original petition

               b. Supplemental motions

               c. Supporting exhibits

               d. Ancillary filings

               e. Complete record

       2. All Available Evidence:

               a. Documentary proof

               b. Expert opinions

               c. Legal authority

               d. Factual support




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       3. All Constitutional Claims:

               a. Ineffective assistance

               b. Due process violations

               c. Brady claims

               d. Structural errors

               e. Jurisdictional defects

       The Supreme Court has long recognized that habeas proceedings require: "The Federal

District Court must carefully scrutinize the state-court record in order to determine whether the

factual determinations of the State Court are fairly supported by the record." Townsend v. Sain,

372 U.S. 293, 319 (1963). This principle applies with special force where:

   1. Technical Issues Prevented Filing:

           a. System limitations

           b. Size restrictions

           c. Processing delays

           d. Manual requirements

           e. Electronic constraints

   2. Evidence Supports Constitutional Claims:

           a. Actual conflict

           b. Brady violations

           c. Ineffective assistance

           d. Due process

           e. Structural errors




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        This Court must reject the government's invitation to disregard the forest for the trees. It

must grant reconsideration based on the clear and compelling evidence of structural error and

cumulative prejudice set forth in Mr. Williams' motion. And it must vacate his conviction and

sentence to restore integrity to the proceedings and to vindicate the fundamental constitutional

rights that were so thoroughly compromised in this case. Anything less would be to condone a

miscarriage of justice and to erode public confidence in the fairness and legitimacy of our

criminal justice system.

 THE GOVERNMENT'S RELIANCE ON PROCEDURAL TECHNICALITIES CANNOT
           OVERRIDE THE NEED FOR SUBSTANTIVE JUSTICE
        Throughout its opposition, the government seeks to avoid a substantive reckoning with

the profound constitutional violations in this case by invoking a series of procedural

technicalities and artificial barriers to relief. It argues that Mr. Williams' claims are "baseless"

and "already rejected," that his new evidence is "not properly before the Court," and that his

arguments are "factually incorrect" or "legally improper." (Government Opposition at 3-5, 7-8,

ECF No. 122). But these arguments elevate form over substance and procedure over justice.

They reflect a myopic focus on the minutiae of the law, rather than its fundamental purposes and

principles.

        The Great Writ of habeas corpus, of which § 2255 is a statutory descendant, has always

been marked by a flexibility and capacity for growth to meet new challenges and rectify manifest

injustices. As Justice Oliver Wendell Holmes famously observed, habeas corpus "cuts through

all forms and goes to the very tissue of the structure. It comes in from the outside, not in

subordination to the proceedings, and although every form may have been preserved, opens the

inquiry whether they have been more than an empty shell." Frank v. Mangum, 237 U.S. 309, 346




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(1915) (Holmes, J., dissenting). This expansive and equitable nature of the writ is essential to its

role as the ultimate safeguard of constitutional rights and liberties.

       The government's approach in this case, by contrast, seeks to reduce § 2255 to a hollow

formality – a narrow and rigid procedural maze that exalts technical compliance over substantive

justice. This approach is antithetical to the spirit and purpose of the Great Writ. It is an attempt to

immunize even the most egregious constitutional violations from judicial scrutiny and correction,

simply because they have been artfully packaged in the guise of procedural regularity.

       But this Court must not be fooled by such sophistry. It must not allow the government's

incantation of procedural shibboleths to drown out the unmistakable cry of injustice that

emanates from every page of this record. It must heed in Trop, where it is recognized that the

safeguards of liberty "must draw their meaning from the evolving standards of decency that mark

the progress of a maturing society,"356 U.S. at 101, 78 S. Ct. at 598.

       The constitutional violations in this case are neither technical nor trivial. They go to the

very heart of our system of justice and the integrity of the criminal process. They implicate the

most basic and fundamental rights enshrined in our Constitution – the right to effective

assistance of counsel, the right to due process of law, the right to a fair trial before an impartial

tribunal. These are not mere abstractions or formalities, but the very lifeblood of our democracy

and the essential bulwarks against tyranny and oppression.

       When these rights are violated in such a flagrant and pervasive manner as occurred here,

it is not enough for the government to offer legalistic excuses or to hide behind procedural

barriers. It is not enough for the Court to avert its gaze or to retreat into the comfortable but

ultimately empty formalism of rote denials and dismissals. Rather, it is the solemn duty of both




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the prosecutor and the judge to confront the injustice head-on, to acknowledge the gravity of the

constitutional breach, and to take whatever steps are necessary to rectify it.

        This is the sacred obligation that the Constitution imposes on all of us who have sworn to

uphold it. It is the non-negotiable demand of a free society founded on the rule of law and the

inviolability of individual rights. And it is the inescapable responsibility of this Court in

adjudicating Mr. Williams' motion for reconsideration.

        The government's opposition, by seeking to evade this responsibility and to reduce these

profound constitutional questions to a mere matter of procedural gamesmanship, does a grave

disservice to the principles of justice and the rule of law. It is an abdication of the prosecutor's

role as a minister of justice and a guardian of the Constitution. And it is an affront to the judicial

oath to administer justice impartially and to protect and defend the Constitution against all

enemies, foreign and domestic.

        This Court must not be complicit in this abdication or this affront. It must not allow the

government's procedural maneuverings to obscure the clear and compelling evidence of

constitutional error and injustice in this case. It must not permit the narrow and rigid confines of

procedural default to trump the broad and equitable mandate of substantive justice.

        Instead, this Court must grant reconsideration and vacate Mr. Williams' conviction and

sentence, not as an act of judicial activism or overreach, but as a necessary and proper exercise

of its constitutional duty to safeguard the rights and liberties of all citizens. It must send a clear

and unequivocal message that no conviction obtained in violation of the Constitution will be

allowed to stand, no matter how cleverly it may be cloaked in the garb of procedural regularity.

        For in the end, it is not only Mr. Williams' rights that hang in the balance, but the very

legitimacy and integrity of our system of justice. It is not only his liberty that is at stake, but the




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fundamental freedoms and values that define us as a nation. And it is not only his case that will

be judged by history, but the fidelity and courage of this Court in discharging its sacred

constitutional duty.

        Let that judgment be one of vindication, not abdication. Let it be a testament to the

enduring power and promise of the Great Writ, not a footnote to its decline and fall.

        That is the challenge and the opportunity that this case presents. That is the burden and

the privilege of the judicial oath. And that is the solemn responsibility that now rests on the

shoulders of this Court. May it be equal to the task.

        The government's opposition relies heavily on waiver arguments that fundamentally

misapprehend both Supreme Court precedent and the nature of Mr. Williams' claims. As the

Supreme Court has repeatedly held, certain defects cannot be waived, even by a counseled guilty

plea:

        1. Non-Waivable Jurisdictional Defects: "[A] plea of guilty to a charge does not waive a

           claim that – judged on its face – the charge is one which the State may not

           constitutionally prosecute." Menna v. New York, 423 U.S. 61, 62-63 (1975). This

           principle applies to:

               a. Statute of Limitations:

                        i. Jurisdictional in nature

                       ii. Cannot be waived

                       iii. Voids prosecution

                       iv. Requires dismissal

                       v. Not cured by plea

               b. Subject Matter Jurisdiction:




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                    i. Missing essential elements

                    ii. No FDIC victims

                   iii. Lack of bank fraud

                   iv. No federal jurisdiction

                    v. Void ab initio

      2. Constitutional Violations Affecting Waiver:

             a. The Supreme Court has recognized that certain constitutional violations

                render a plea waiver invalid:

                    i. Ineffective Assistance Claims:

                           1. "The right to counsel is the right to effective assistance of

                               counsel." McMann v. Richardson, 397 U.S. 759, 771 n.14

                               (1970). Here, counsel:

                                   a. Made false promises

                                   b. Harbored actual conflict

                                   c. Failed to investigate

                                   d. Ignored defenses

                                   e. Misadvised client

                    ii. Brady Violations:

                           1. "Where the government's suppression of evidence amounts to a

                               denial of due process, the prosecutor's good faith or lack of bad

                               faith is irrelevant." State v. Parker, 198 S.W.3d 178 (Mo. Ct.

                               App. 2006). The government:

                                   a. Withheld evidence




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                                  b. Concealed profits

                                  c. Hid relationships

                                  d. Masked timeline

                                  e. Suppressed exculpation

                 iii. Structural Errors Override Waiver: Certain errors are so fundamental

                     that they:

                         1. Affect framework of proceedings

                         2. Cannot be waived

                         3. Require automatic reversal

                         4. Void conviction

                         5. Mandate relief

                         6. These include:

                                  a. Actual Conflict:

                                         i. Divided loyalties

                                         ii. False promises

                                        iii. Hidden communications

                                        iv. Unauthorized concessions

                                         v. Government cooperation

                 iv. Competency Issues:

                         1. Mental illness

                         2. Cognitive limitations

                         3. No evaluation

                         4. Rushed decisions




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                              5. Impaired understanding

       3. Preservation of IAC Claims:

               a. The plea agreement explicitly preserves: "the right to bring a claim of

                   ineffective assistance of counsel in an appropriate forum." (Plea Agreement ¶

                   4, ECF No. 85-1). This preservation covers:

                       i. Pre-Plea Ineffectiveness:

                      ii. False promises

                      iii. Missing investigation

                      iv. Ignored defenses

                      v. Conflict of interest

                      vi. Brady violations

               b. Plea-Related Claims:

                       i. Involuntary plea

                      ii. Scripted allocution

                      iii. Rushed and constitutionally invalid waiver of indictment

                      iv. Missing competency

                      v. Jurisdictional defects

     THE GOVERNMENT'S ATTEMPT TO MINIMIZE THE STRUCTURAL AND
           SYSTEMIC ISSUES RAISED BY THIS CASE FALLS SHORT
       Finally, it must be noted that the government's opposition fails to come to grips with the

profound structural and systemic issues that Mr. Williams' case raises about the state of our

criminal justice system. This is not an isolated or anomalous instance of a rogue prosecutor or a

negligent defense attorney, but rather a troubling example of a much deeper and more pervasive




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problem – the erosion of the adversarial process and the breakdown of the constitutional

safeguards that are supposed to ensure the fairness and integrity of criminal proceedings.

          As the Supreme Court has recognized, the Sixth Amendment right to effective assistance

of counsel is not simply a personal right of the accused, but an essential structural safeguard that

ensures the proper functioning of the adversarial system as a whole. See Cronic, 466 U.S. at 653-

56 ("The right to the effective assistance of counsel is thus the right of the accused to require the

prosecution's case to survive the crucible of meaningful adversarial testing."). When that right is

violated, as it was here through Mr. Kushner's actual conflict of interest, false promises, and lack

of meaningful advocacy, it undermines the very foundation of our system of justice and calls into

question the reliability of the outcomes it produces.

          Similarly, the prosecutorial misconduct in this case, including the improper scripting of

the plea allocution, is not just a violation of Mr. Williams' individual rights, but an affront to the

integrity of the criminal process and the ethical obligations of the prosecutor's office. As the

Supreme Court has admonished, a prosecutor "may prosecute with earnestness and vigor" but

"while he may strike hard blows, he is not at liberty to strike foul ones" Berger v. United States,

295 U.S. 78, 88 (1935). When a prosecutor crosses that line, as occurred here, it erodes public

confidence in the fairness and legitimacy of the criminal justice system and undermines the rule

of law.

          The government's opposition to reconsideration completely fails to address the

substantial evidence of prosecutorial misconduct that infected every stage of these proceedings.

This misconduct goes far beyond mere technical violations - it strikes at the very heart of due

process and the integrity of the judicial system. The record now contains irrefutable evidence of

multiple, serious instances of prosecutorial overreach and misrepresentation:




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   1. False Statements About Bank Losses:

          a. To the Grand Jury (as evidenced by indictment):

                  i. Claimed banks were direct victims

                 ii. Alleged millions in losses

                iii. Mischaracterized payment processor relationships

                iv. Concealed processor profits

          b. At Plea Hearing:

                  i. "Your Honor, we don't have an estimated restitution amount at this point

                     because the victims in this case, the banks, have not provided loss

                     affidavits... It's just a matter of whether the banks will assert claims to

                     those losses." (Plea Hearing Tr. at 20-21, ECF No. 25)

          c. At Sentencing:

                  i. "We interviewed as many victims as we could... It was impossible to

                     identify what was lost and what was actually provided to them."

                     (Sentencing Transcript, p. 23, ECF No. 85-3).

                 ii. These statements were knowingly false because:

                         1. The "Reserve Project" email showed processors profited

                         2. No bank ever claimed actual losses

                         3. Processors, not banks, were the contracting parties

                         4. Banks earned fees on every transaction

   2. Brady Violations: The government withheld critical exculpatory evidence including:

          a. Payment processor profits and reserves

          b. Evidence showing no direct bank relationships




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           c. Proof that processors knew business model

       As the Supreme Court held in Brady v. Maryland, 373 U.S. 83, 87 (1963), the

suppression of evidence favorable to the accused violates due process "where the evidence is

material either to guilt or to punishment, irrespective of the good faith or bad faith of the

prosecution."

           1. The evidence withheld here was plainly material as it:

                   a. Disproved essential elements

                   b. Negated federal jurisdiction

                   c. Showed lack of actual loss

                   d. Demonstrated processor knowledge

           2. Improper Plea Scripting:

                   a. The text messages now in evidence prove the prosecutor authored Mr.

                       Williams' plea allocution:

                       May 5, 2022, 8:37 AM:

                Kushner: "Together with others he agreed to file false documents
                with financial institutions in order to obtain money and property
                from those banks. That's what the Government wants us to say."
                (Motion for Reconsideration at 10, ECF No. 114)

       This scripting violates fundamental principles of due process and Rule 11. See United

States v. Maher, 108 F.3d 1513, 1524 (2d Cir. 1997) (plea allocution must reflect defendant's

own words and understanding).

       The Second Circuit has emphasized that prosecutors have a "special role" in the criminal

justice system that requires them to seek justice, not merely convictions. United States v.

Kojayan, 8 F.3d 1315, 1323 (9th Cir. 1993) (“One of the most important responsibilities of the

United States Attorney and his senior deputies is ensuring that line attorneys are aware of the



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special ethical responsibilities of prosecutors, and that they resist the temptation to overreach.”).

When prosecutors fail in this duty through: (1) Knowing false statements, (2) Brady violations

(3) Manufactured evidence, and (4) Scripted pleas.

       The entire proceeding is tainted. The prosecutorial misconduct documented above rises to

the level of structural error requiring automatic reversal, regardless of any harmless error

analysis. The Supreme Court has recognized that certain errors are so fundamental that they: (1)

Affect the framework of the trial, (2) Defy analysis by harmless error standards, (3) Require

automatic reversal. See Arizona v. Fulminante, 499 U.S. 279, 309-10 (1991).

       The misconduct here qualifies as structural error because:

       1. It Undermined the Grand Jury Process: As the Second Circuit held in United States v.

           Hogan, 712 F.2d 757, 761-62 (2d Cir. 1983):

           "In summary, the incidents related are flagrant and unconscionable. Taking advantage
           of his special position of trust, the AUSA impaired the grand jury's integrity as an
           independent body. Thus, based on the particular facts of this case, we believe that the
           indictment below must be dismissed."

       2. It Violated Brady's Constitutional Mandate: The Supreme Court has emphasized that

           Brady violations undermine "the confidence in the outcome of the trial." United States

           v. Bagley, 473 U.S. 667, 678 (1985). Here, the withheld evidence about: (1) Payment

           processor profits (2) Lack of bank losses (3) Processor knowledge strikes at the very

           heart of the prosecution.

       3. It Manufactured Federal Jurisdiction: The prosecutor's misrepresentations about bank

           losses were designed to create federal jurisdiction where none existed. This type of

           jurisdictional manipulation constitutes structural error.

       4. It Corrupted the Plea Process: By scripting the allocution and withholding Brady

           material, the prosecution rendered the plea process fundamentally unfair. See



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           Machibroda v. United States, 368 U.S. 487, 493 (1962) ("A guilty plea, if induced by

           promises or threats which deprive it of the character of a voluntary act, is void.").

       5. These structural and systemic issues are not mere abstractions or academic concerns,

           but have real and profound consequences for the lives of individuals like Mr. Williams

           who are caught up in the machinery of the criminal justice system. When the adversarial

           process breaks down and the constitutional safeguards are ignored, it is not just the

           defendant who suffers, but the very integrity and legitimacy of the system itself.

       The government's attempt to minimize and compartmentalize these issues, to treat Mr.

Williams' case as an isolated incident to be managed and contained, reflects a disturbing myopia

and complacency. It suggests an unwillingness to confront the deeper malaise that infects our

criminal justice system, and a reluctance to take on the difficult but necessary work of

meaningful reform.

       The government's opposition fundamentally misapprehends the prejudice analysis in

three critical ways: (1) it ignores that certain errors require no showing of prejudice; (2) it

disregards the substantial evidence of actual prejudice; and (3) it fails to consider the cumulative

impact of multiple constitutional violations.

   1. Presumed Prejudice for Structural Errors: The Supreme Court has identified certain

       constitutional violations that are so fundamental that prejudice is presumed:

           a. Actual Conflict of Interest: Under Cuyler v. Sullivan, 446 U.S. 335 (1980), no

               showing of prejudice is required where counsel labored under an actual conflict.

               The evidence here establishes such conflict through:

                    i. False initial representations

                   ii. Divided loyalties




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               iii. Unauthorized concessions

               iv. Government cooperation

                v. Hidden communications

         b. Complete Denial of Counsel: Where counsel "entirely fails to subject the

            prosecution's case to meaningful adversarial testing," prejudice is presumed.

            United States v. Cronic, 466 U.S. 648, 659 (1984). Here, counsel:

                 i. Never reviewed discovery

                ii. Ignored statute of limitations

               iii. Accepted government's script

               iv. Made damaging admissions

                v. Abandoned defenses

         c. Jurisdictional Defects: Time-bar and jurisdictional violations require no showing

            of prejudice because they:

                 i. Deprive court of power to act

                ii. Cannot be waived

               iii. Affect framework of proceedings

               iv. Render judgment void

                v. Require automatic reversal

         d. Actual Prejudice Demonstrated:

                 i. Even if prejudice must be shown, the record contains overwhelming

                    evidence that counsel's deficiencies affected the outcome:

                ii. Plea Decision Impact:

                       1. False promises of no incarceration




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                      2. Failure to raise time-bar

                      3. Ignored payment processor evidence

                      4. Concealed Brady material

                      5. Rushed uninformed decisions

               iii. Sentencing Consequences:

                      1. Unauthorized admissions

                      2. Uncontested loss amount

                      3. Missing mitigation

                      4. Mental health ignored

                      5. Damaging concessions

              iv. Specific Examples of Prejudice:

                      1. Statute of Limitations:

                             a. Last overt act April 2015

                             b. Indictment February 2021

                             c. Clear time-bar defense

                             d. Would have required dismissal

                             e. Counsel never raised

               v. Bank Fraud Elements:

                      1. No FDIC-insured victims

                      2. Payment processors profited

                      3. No actual losses

                      4. Missing essential elements

                      5. Jurisdictional failure




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   2. Mental Health Issues:

          a. Bipolar disorder

          b. Recent hospitalization

          c. Cognitive limitations

          d. No competency evaluation

          e. Rushed decisions

   3. Cumulative Impact Analysis: The Second Circuit requires courts to consider the

      combined effect of multiple errors:

             "[T]he cumulative effect of a trial court's errors, even if they are
             harmless when considered singly, may amount to a violation of
             due process requiring reversal." United States v. Al-Moayad, 545
             F.3d 139, 178 (2d Cir. 2008).
     Here, the cumulative impact includes:

         d. Constitutional Violations:

                  i.   Ineffective assistance

                 ii.   Due process violations

                iii.   Brady violations

                iv.    Structural errors

                 v.    Jurisdictional defects

         e. Procedural Defects:

                  i.   Rushed plea

                 ii.   Scripted allocution

                iii.   Missing investigation

                iv.    Inadequate counsel

                 v.    No competency review




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   4. Proper Prejudice Standard:

   The Supreme Court has emphasized that prejudice requires only "a reasonable probability

that, but for counsel's unprofessional errors, the result of the proceeding would have been

different." Strickland v. Washington, 466 U.S. 668, 694 (1984). This standard is met because:

             a. Time-Bar Defense:

                     i. Would have required dismissal

                    ii. Clear statutory violation

                    iii. Jurisdictional defect

                    iv. No waiver possible

                     v. Automatic relief

             b. Missing Elements:

                     i. No bank victims

                    ii. No actual losses

                    iii. No FDIC involvement

                    iv. No jurisdiction

                     v. Required acquittal

          But this Court cannot indulge in such myopia or complacency. It cannot turn a blind eye

to the profound structural and systemic problems that this case exposes or pretend that they can

be addressed through piecemeal and ad hoc solutions. Rather, it must confront these issues head-

on and use the power and authority of the bench to catalyze the kind of fundamental and far-

reaching reforms that are necessary to restore the integrity and legitimacy of our criminal justice

system.




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        This means not only granting reconsideration and vacating Mr. Williams' conviction and

sentence but also using this case as an opportunity to send a clear and unequivocal message to

prosecutors, defense attorneys, and the legal profession as a whole. It means reaffirming the

central importance of the adversarial process and the constitutional safeguards that undergird it,

and making clear that any violation of these principles will not be tolerated.

        It means taking a hard and unflinching look at the systemic factors that contribute to such

violations, from the crushing caseloads and inadequate resources of public defender offices, to

the perverse incentives and lack of accountability in prosecutors' offices, to the inadequate

training and oversight of the criminal defense bar. And it means using the bully pulpit of the

judiciary to advocate for the kind of comprehensive and structural reforms that are necessary to

address these issues at their root.

        In short, this Court must not only do justice in this individual case, but also use it as a

catalyst for broader and more systemic change. It must not only correct the specific

constitutional violations that occurred here but also take steps to prevent their recurrence in

future cases.

        For in the end, the measure of a justice system is not how it treats the rich, the powerful,

or the privileged, but how it treats the poorest, the most vulnerable, and the most marginalized

among us. It is not how it looks on paper, but how it functions in practice. And it is not how it

deals with the easy cases, but how it rises to the challenge of the hard ones.

        Mr. Williams' case is a hard one. It is a case that exposes the fault lines and fissures in

our criminal justice system, and that challenges us to confront some uncomfortable truths about

the gap between our ideals and our reality. But it is also a case that presents an opportunity – an




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 opportunity to reaffirm our commitment to the rule of law, to the Constitution, and to the

 fundamental principles of justice and fairness that are the bedrock of our democracy.

        This Court must seize that opportunity, not only for the sake of Mr. Williams, but for the

 sake of our entire system of justice. It must grant reconsideration, vacate the conviction and

 sentence, and send a resounding message that the Constitution is not a mere parchment barrier to

 be circumvented or ignored, but a living and breathing document that must be honored and

 enforced in every case, no matter how small or how large.

        For in the end, it is not only Mr. Williams' liberty that hangs in the balance, but the very

 soul of our nation. It is not only his rights that are at stake, but the rights of every person who

 comes before our courts seeking justice and redress. And it is not only his case that will be

 judged by history, but the commitment and courage of this Court in discharging its sacred

 constitutional duty.

        Let that judgment be one of conviction, not compromise. Let it be a testament to the

 enduring strength and vitality of our constitutional democracy, not a eulogy for its decline and

 decay. And let it be a clarion call to all who serve in the administration of justice – prosecutors,

 defense attorneys, and judges alike – to rededicate ourselves to the noble and sacred task of

 ensuring that every person, no matter how poor or powerless, receives the full measure of justice

 and dignity that the Constitution demands.

        That is the challenge and the opportunity that this case presents. That is the burden and

 the privilege of the judicial oath. And that is the solemn responsibility that now rests on the

 shoulders of this Court.




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 Clarification Regarding Prior Filings



        In our original Motion for Reconsideration under Rule 59(e), we inadvertently stated that

 the Court relied on United States v. Broce, 488 U.S. 563 (1989), and United States v. Doyle, 348

 F.2d 715 (2d Cir. 1965), with respect to issues of ineffective assistance. We have reviewed the

 Court's Memorandum and Order and acknowledge that these cases were not, in fact, cited by the

 Court. This misstatement was inadvertent and does not affect the substantive arguments

 presented in our motion, which are firmly grounded in other controlling legal authorities. We

 apologize for any confusion this may have caused.

                                          CONCLUSION

        For the foregoing reasons, Mr. Williams respectfully requests that this Court grant his

 motion for reconsideration, vacate his conviction and sentence, and either dismiss the indictment

 with prejudice or order a new trial. The government's opposition, while long on rhetoric and

 procedural gamesmanship, is woefully short on substance and utterly fails to come to grips with

 the profound constitutional violations that infected every stage of these proceedings.

        The record before this Court is replete with evidence of ineffective assistance of counsel,

 prosecutorial misconduct, jurisdictional defects, and the complete breakdown of the adversarial

 process. This evidence, much of which was overlooked or given short shrift in the Court's initial

 decision, compels the conclusion that Mr. Williams' conviction was obtained in violation of his

 Fifth and Sixth Amendment rights and cannot be allowed to stand.

        As indicated, the sentencing and plea acceptance in this case, marred by undisclosed

 time-bar issues, reliance on a superseding information after the statute lapsed, and a near-




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 complete failure of defense counsel to advocate fundamental rights, has effectively rendered.

 That is not hyperbole. The structural and jurisdictional defects, counsel's false assurances, and

 the overshadowing of the final overt-act date are the hallmarks of a fundamentally unfair

 proceeding.

        The record before this Court demonstrates a systematic breakdown in the fundamental

 protections that the Constitution guarantees to all criminal defendants. The cumulative impact of

 the multiple constitutional violations has resulted in proceedings that failed to meet the basic

 requirements of due process and fundamental fairness. As the Supreme Court emphasized in

 Brady v. Maryland, 373 U.S. 83, 83 S.Ct. 1194, 10 L.Ed.2d 215 (1963), "The principle . . . is not

 punishment of society for misdeeds of a prosecutor but avoidance of an unfair trial to the

 accused". The constitutional deficiencies here include:

        1.     Systematic Breakdown of Adversarial Process:

               a.    Defense Counsel's Failures:

                      i.   1 hour of discovery review before the plea and did not review discovery

                           with client or uploaded the 2nd and 3rd rounds of Discovery

                     ii.   False promises to induce plea

                    iii.   Actual conflict of interest

                    iv.    Abandonment of crucial defenses

                     v.    Failure to investigate

               b.    Prosecution's Overreach:

                      i.   Misrepresenting bank losses

                     ii.   Withholding Brady material

                    iii.   Scripting plea allocution




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                 iv.    Manufacturing jurisdiction

                  v.    Pursuing time-barred charges

       2. Multiple Constitutional Violations:

          a. Sixth Amendment:

                   i.   Ineffective assistance

                  ii.   Conflict of interest

                 iii.   Denial of counsel

                 iv.    Right to fair trial

                  v.    Competency issues

          b. Fifth Amendment:

                   i.   Due process violations

                  ii.   Brady violations

                 iii.   Involuntary plea

                 iv.    Jurisdictional defects

                  v.    Fundamental unfairness

       3. Structural Defects Requiring Vacatur:

          a. The Supreme Court has recognized that certain errors are so fundamental that

              they:

                   i.   Affect the framework of the proceedings

                  ii.   Defy harmless error analysis

                 iii.   Require automatic reversal

              See Arizona v. Fulminante, 499 U.S. 279, 309-10 (1991).

          b. The violations here are structural because they:




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            c. Undermined Basic Guarantees:

                     i.   Right to conflict-free counsel

                    ii.   Right to competent representation

                   iii.   Right to fair process

                   iv.    Right to proper jurisdiction

                    v.    Right to Brady material

           d. Infected Entire Proceeding:

                     i.   From indictment through sentencing

                    ii.   Affected every critical stage

                   iii.   Compromised fundamental rights

                   iv.    Prevented fair adjudication

                    v.    Destroyed reliability

        4. Cumulative Impact Requires Relief:

        As the Second Circuit has recognized, even if individual errors might be deemed

 harmless in isolation, their combined effect can require reversal where they render the

 proceedings fundamentally unfair. See United States v. Al-Moayad, 545 F.3d 139, 178 (2d Cir.

 2008). Here, the cumulative effect of:

            a. Time-barred prosecution

            b. Ineffective counsel

            c. Actual conflict

            d. Brady violations

            e. Prosecutorial overreach

            f. Mental health issues




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            g. Jurisdictional defects

 Created proceedings that failed to meet constitutional minimums.

        The Supreme Court has emphasized that "the right to counsel is the right to the effective

 assistance of counsel." McMann v. Richardson, 397 U.S. 759, 771 n.14 (1970). When that right

 is compromised by:

            a. Actual conflict

            b. False promises

            c. Failure to investigate

            d. Abandonment of defenses

 The entire proceeding is constitutionally defective.

        The government's attempts to minimize these constitutional violations, to dismiss them as

 mere technicalities or isolated incidents, reflect a disturbing indifference to the fundamental

 principles of due process and the rule of law. Its efforts to erect procedural barriers to the

 vindication of Mr. Williams' rights are nothing more than a transparent attempt to shield its own

 misconduct from judicial scrutiny and to preserve a conviction obtained through a pervasive

 pattern of constitutional violations.

        This Court must not be a party to such efforts. It must not allow the government's

 procedural maneuverings to obscure the grave injustices that occurred here or to deter it from

 exercising its solemn duty to correct them. It must not permit the narrow confines of procedural

 default to trump the broad imperatives of substantive justice and fundamental fairness.

        Instead, this Court must send a clear and unequivocal message that it will not tolerate the

 kind of misconduct and abuse of power that occurred in this case, and that it will not hesitate to

 use its equitable powers to remedy even the most egregious constitutional violations. It must




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 reaffirm the central role of the judiciary in safeguarding the rights and liberties of all citizens,

 and in holding the government to the highest standards of integrity and fairness.

         In doing so, this Court will not only be doing justice in this individual case but also

 taking an important step towards restoring public confidence in the fairness and legitimacy of our

 criminal justice system. It will be sending a powerful message that the Constitution is not a mere

 parchment barrier to be circumvented or ignored, but a living and breathing document that must

 be honored and enforced in every case, no matter how small or how large.

         This is the great challenge and opportunity that this case presents. It is a challenge that

 will require courage, conviction, and a steadfast commitment to the principles of justice and the

 rule of law. But it is also an opportunity to reaffirm the vital role of the judiciary in our

 constitutional system of checks and balances, and to ensure that the rights and liberties of all

 citizens are protected from government overreach and abuse of power.

         Mr. Williams respectfully submits that this Court is equal to that challenge and will seize

 that opportunity. He has faith that this Court will not shrink from its constitutional duty, but will

 instead use its equitable powers to correct the manifest injustices that occurred here and to

 restore integrity to a system that has lost its way.

         For the foregoing reasons, Mr. Williams respectfully and humbly requests that this

 Honorable Court grant his motion for reconsideration, vacate his conviction and sentence, and

 either dismiss the indictment with prejudice or order a new trial. He has faith that this Court, in

 its wisdom and commitment to justice, will recognize the profound constitutional violations that

 occurred and will exercise its equitable powers to correct this manifest injustice.

         The Court should also consider Mr. Williams' ancillary filings and the exhibits that were

 recently docketed ( due to prior technical issues). Many of these materials – e.g., the 'Reserve




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 Project' emails, the relevant text messages verifying counsel's false promises, and the

 clarifications about the final overt act date – were not included or not fully considered in the

 court's initial ruling. Because these exhibits supplement the original § 2255 petition, they further

 support the claims of ineffective assistance and the statute-of-limitations bar. Regardless of

 whether the Court deems them "newly discovered evidence" or simply "overlooked data," they

 squarely support relief under Rule 59(e). See Shrader v. CSX Transp., Inc., 70 F.3d 255, 257 (2d

 Cir. 1995) ("The standard for granting such a motion is strict, and reconsideration will generally

 be denied unless the moving party can point to controlling decisions or data that the court

 overlooked — matters, in other words, that might reasonably be expected to alter the conclusion

 reached by the court."). This Court should, in the interest of justice, review and incorporate these

 newly uploaded exhibits as part of the fully supplemented record in evaluating Mr. Williams'

 constitutional claims.

        The constitutional violations established by the record require comprehensive relief to

 vindicate Mr. Williams' rights and restore the integrity of the judicial process. The Courts has

 emphasized that when constitutional rights are violated, "it is the duty of the courts to be alert to

 provide such remedies as are necessary to make effective the Congressional purpose." J.I. Case

 Co. v. Borak, 377 U.S. 426, 433, 84 S.Ct. 1555, 1560, 12 L.Ed.2d 423 (1964). The appropriate

 remedy here includes:

 1.     Vacatur of Conviction Required:

            a. Where, as here, multiple constitutional violations have been established, vacatur

                is required because:

            b. Jurisdictional Defects:

                     i.   Time-barred prosecution




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                     ii.   No subject matter jurisdiction

                    iii.   Missing essential elements

                    iv.    Void ab initio

                     v.    Cannot be cured

             c. Structural Errors:

                      i.   Actual conflict

                     ii.   Brady violations

                    iii.   Ineffective assistance

                    iv.    Due process violations

                     v.    Competency issues

2.   Dismissal with Prejudice Warranted: The Courts has recognized that dismissal with prejudice

     is appropriate where:

                "the conduct of law enforcement agents is so outrageous that due
                process principles would absolutely bar the government from
                invoking judicial processes to obtain a conviction." United States v.
                Russell, 411 U.S. 423, 431-32 (1973).
     Here, dismissal is warranted because:

     a. Constitutional Violations:

        i.   Pervasive misconduct

       ii.   Multiple violations

      iii.   Structural errors

      iv.    Fundamental unfairness

       v.    Irreparable prejudice

     b. Jurisdictional Bars:

        i.   Expired limitations




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        ii.       No federal nexus

       iii.       Missing elements

       iv.        Improper venue

        v.        No cure possible

 3. Alternative Relief Required: At minimum, the Court must:

      a. Order Evidentiary Hearing:

         i.       Resolve factual disputes

        ii.       Review evidence

       iii.       Assess credibility

       iv.        Develop record

      b. Require Full Discovery:

         i.       Brady material

        ii.       Communication records

       iii.       Grand jury transcripts

       iv.        Government [False] Loss calculations

        v.        Bank relationships

 4.    Public Interest Considerations:

      a. The Supreme Court has emphasized that remedying constitutional violations serves vital

              public interests:

                      "The basic purpose of a trial is the determination of truth..." Tehan
                      v. United States ex rel. Shott, 382 U.S. 406, 416 (1966).
      b. Here, the public interest requires:

         i.       Constitutional Compliance:

                  1. Effective counsel




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            2. Fair proceedings

            3. Due process

            4. Brady compliance

            5. Jurisdictional limits

      ii.   Judicial Integrity:

            1. Proper procedure

            2. Constitutional rights

            3. Fair process

            4. Just outcomes

            5. System integrity

 6. Scope of Relief: The relief must address:

    a. Constitutional Violations:

       i.   Ineffective assistance

      ii.   Due process violations

     iii.   Brady violations

     iv.    Structural errors

      v.    Jurisdictional defects

    b. Procedural Defects:

       i.   Invalid plea

      ii.   Improper waiver

     iii.   Missing investigation

     iv.    Inadequate counsel

      v.    No competency review




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      vi.    No jurisdiction

 Therefore, this Court should:

 1. Grant reconsideration under Rule 59(e);

 2. Vacate the conviction and sentence;

 3. Dismiss the indictment with prejudice;

 4. Or, at minimum, order an evidentiary hearing;

 5. Grant such other relief as justice requires.

 This relief is necessary to:

 1. Vindicate constitutional rights

 2. Correct jurisdictional errors

 3. Remedy structural defects

 4. Restore judicial integrity

 5. Ensure justice


 The time for justice is now. Let it be done.

                                                         Respectfully submitted,

                                                         /s/ Luke Williams
                                                         Luke Williams
                                                         Petitioner Pro Se

                                                         February 18, 2025




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       Exhibit A: Forensic Accounting Report - Deepak Sabiki and Dennis Romero




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                                                                              August 30, 2024
 The Honorable Kiyo A. Matsumoto
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

                  Re:   United States v. Larby Amirouche
                        Criminal Docket No. 21-64 (KAM)

 Dear Judge Matsumoto,
 We (“Deepak Sabiki” or “Mr. Sabiki” and “Dennis Romero” or “Mr. Romero”), have been
 retained by the Defendant to analyze the financial records in this matter and to offer our opinions
 regarding the quantification of losses alleged to have been caused by Defendant’s actions. We are
 not offering any opinions regarding Defendant’s liability for the allegations asserted by the
 Government.
 Our work on this matter is ongoing. This letter summarizes our preliminary analysis and
 opinions, to date, based on the presently available information. If additional information relevant
 to our opinions is produced subsequent to the date of our letter, we will modify or supplement
 our analyses and opinions, if appropriate.
 Qualifications
 Mr. Sabiki is the owner of Sabiki Consulting LLC, a consulting firm that provides expert
 damages quantification and forensic accounting services.
 Mr. Sabiki earned a Bachelor of Science degree with a dual-major in (1) Finance and (2)
 Econometrics & Quantitative Economics (formerly known as Economic Theory Analysis), which
 is the study of economics through the lens of advanced mathematics from the Leonard N. Stern
 School of Business at New York University. He also attained a minor in Physics through his
 coursework at New York University’s College of Arts & Science.
 Since 2005, he has served as a consulting and testifying expert in litigation, forensic accounting,
 and compliance matters to clients in a variety of industries. He has led teams that supported a
 Department of Justice (DOJ)-appointed Independent Compliance and Business Ethics Monitor of
 a global investment bank, and a Forensic Adviser to the DOJ / National Highway Traffic Safety
 Administration (NHTSA)-appointed Monitor of a Tier One automotive parts supplier. He has
 conducted forensic accounting investigations, analyzed loss causation, and performed damages
 quantification in cases involving allegations of lost wages due to personal injury, economic loss
 due to wrongful death, lost wages due to discrimination, breach of contract, business
 interruption, patent and trademark infringement, trade secret theft, and unfair competition. Mr.
 Sabiki’s curriculum vitae is attached to this report as Exhibit 1-A.




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 Mr. Romero is an independent consultant that provides compliance and forensic accounting
 services. He earned a Bachelor of Business Administration degree with a major in Accounting
 and Master of Science degree with a major in Accounting from James Madison University. He is
 a Certified Public Accountant and Certified Fraud Examiner.
 Since 2012, Mr. Romero has served as a subject matter expert in forensic accounting, internal
 audit and compliance matters for clients as a consultant and as an employee of multinational
 corporations. He has worked for teams that supported a Department of Justice (DOJ)-appointed
 Monitor of a global money transfer company. He executed Anti-Money Laundering reviews
 related to Suspicious Activity Reports (SAR), Currency Transaction Reports (CTR), monitoring,
 and investigations for the Monitor. He led teams that supported the Know Your Customer and
 Customer Identification Program (KYC/CIP) review of a global cryptocurrency exchange in
 preparation for reviews with US regulatory and enforcement bodies. He completed several
 internal and external financial investigations for healthcare companies and financial institutions.
 Mr. Romero’s curriculum vitae is attached to this report as Exhibit 1-B.
 We have been compensated for our previous work in this matter. We are being compensated for
 writing this letter.
 Background
 The Defendant’s businesses sold physical nutritional products and digital business opportunity
 products.1 As Plaintiff’s attorney admitted, some customers received products 2 following
 legitimate business sales and product delivery.
 You asked certain questions during the Sentencing Hearing in this matter on November 2, 2023
 that were left unanswered. Specifically, you asked the following:
        1) You asked the Government what portion of Defendant’s business stemmed from
           legitimate transactions. The Government failed to answer your question because they
           claimed it was “impossible” to do so.

            “[MR. PITLUCK:] However, some of the funds that were purchased by the thousands of
            consumers, the people did get the products that they bought. So, some of the $6 million
            was actually legitimate transactions.
            THE COURT: Well, "some" meaning what portion of that $6 million, roughly?
            MR. PITLUCK: It was impossible to identify what was lost and what was actually
            provided to them. We directionally have an idea, but it's impossible to get the number
            accurately.”
            [Sentencing Transcript, Page 23-24]
 This $6.6 million figure was used to apply United States Sentencing Guidelines enhancement for
 losses over $3.5 million.


 1
     Sentencing Transcript, page 24.
 2
     Sentencing Transcript, page 23.

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       2) You asked the Government whether any of the funds that were transferred into the Flare
          Education, LLC account were used for business expenses to fulfill legitimate
          transactions. The Government failed to answer your question with any specificity.

           “THE COURT: Okay. But once they went into those accounts and to the extent they may
           be entitled to a deduction for products actually received by a consumer, have you done
           any investigation as to where the rest of the money went?
           MR. PITLUCK: Your Honor, we saw some money go out the door to purchase items or in
           cash, but we didn't account for every dollar that went into the Defendant's account.”
           [Sentencing Transcript, Page 24]
 Any funds transferred out of the Defendant's account to pay for legitimate expenses would
 reduce the $6.6 million in losses calculated by the Government.
 Opinions
 Our opinions are based on the first round of discovery in this matter, pleadings in this matter, the
 Sentencing transcript dated November 2, 2023 in this matter, and communication with /
 assertions by the Defendant. We understand that while there have been three rounds of discovery
 in this matter, the second and third rounds of discovery are not yet available to the Defendant. In
 addition, our opinions are based on our experience, education, training, skill, and knowledge in
 the relevant fields previously mentioned herein.
       A. There is evidence that Defendant’s businesses conducted legitimate transactions with
          customers
 We will attempt to answer your question regarding the portion of the Government’s alleged loss
 amount that actually stemmed from legitimate transactions.
 As the Government admitted, many customers did receive products.3 The Government further
 admitted that it did not know what portion of the $6.6 million in alleged losses to consumers was
 actually not a loss at all, but rather, legitimate sales.4 Therefore, this amount is inaccurate by the
 Government’s own admission and is unreliable.
 We have been unable to replicate the Government’s calculation that $6.6 million was transferred
 by wire to the Flare Education, LLC account.5 The Government has not provided an accounting
 of the $6.6 million nor has it provided enough information to enable this calculation to be
 replicated. We have been able to verify only $5.7 million of such activity, so we will use this
 amount as the starting point of our analysis. See Exhibit 2.
     Government’s Calculated Alleged Losses (Transfers Into Flare Education, LLC          $6,554,656
     Account)
     Transfers Into Flare Education, LLC Account Supported by Production                  $5,725,765
     Documents

 3
   Sentencing Transcript, page 23.
 4
   Sentencing Transcript, pages 23-24.
 5
   Indictment, paragraph 38.

                                                    3
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 Next, the Government’s loss amount should be reduced by any legitimate sales. Defendant’s
 businesses sold two types of products: physical products (such as nutritional supplements) and
 digital products (such as business opportunity courses).6 According to the Defendant, sales of
 digital products were fulfilled immediately as they were sent electronically to consumers,
 whereas physical products needed to be shipped to customers to fulfill sales. This analysis
 therefore assumes that all digital products were legitimately fulfilled by the Defendant’s
 companies.
 Based on an analysis of business deposits into the Defendant’s businesses, approximately 49% of
 Defendant’s business deposits were from business opportunity (digital) product sales and 51% of
 Defendant’s business deposits were from nutritional product sales. See Exhibit 3. We will reduce
 the Government’s supported alleged loss amount by a further 49% based on legitimate digital
 product sales.
     Government’s Calculated Alleged Losses (Transfers Into Flare Education, LLC        $6,554,656
     Account)
     Transfers Into Flare Education, LLC Account Supported by Production                $5,725,765
     Documents
     Transfers Into Flare Education, LLC, Reduced by Legitimate Digital Sales           $2,920,140


 Turning to physical products, there is evidence suggesting that:
       •   approximately 250,000 units of nutritional products were shipped to customers;7
       •   14,233 Angry Elephant orders were shipped from January 2, 2014 through February 19,
           2014;8
       •   5,353 Angry Elephant orders were shipped from August 1, 2013 through August 9, 2013.9
 While the remaining amount of $2.9 million should be further reduced to account for the
 legitimate sales of physical products, we do not have enough information to estimate the
 corresponding reduction.
       B. There is evidence that Defendant’s businesses incurred expenses to fulfill legitimate sales
 We will attempt to answer your question regarding whether any of the funds received by Flare
 Education were used towards expenses required to fulfill legitimate sales.
 The amount transferred by wire into Flare Education does not appear to account for any amounts
 transferred out of Flare in order to pay for business expenses. There were approximately $5.4
 million in outflows from the Flare Education account including, but not limited to, the following
 approximate outflows:

 6
   Sentencing Transcript, page 24.
 7
   DOJ-EDNY-0033151.
 8
   DOJ-EDNY-0033162.
 9
   DOJ-EDNY-0033166.

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        •   $475k in discounts, refunds, and chargebacks (funds never received from or returned to
            customers)
        •   $277k in shipping expenses (funds associated with fulfilled orders)
        •   $250k for costs of goods sold
 See Exhibit 4.
 In addition, there were outflows in excess of $2.2 million for affiliate expenses, which the
 Defendant informs us are advertising expenses. Applying the percentage of fulfilled sales
 mentioned earlier (49%), suggests that approximately $1.1 million of these expenses are
 associated with fulfilled products. This amount is understated because it does not capture the
 proportional amount of fulfilled orders of physical nutritional products.
 The Government’s loss amount should be further reduced for legitimate business expenses,
 including, but not limited to these expenses which total approximately $2.1 million.
  Government’s Calculated Alleged Losses (Transfers Into Flare Education, LLC                   $6,554,656
  Account)
  Transfers Into Flare Education, LLC Account Supported by Production                           $5,725,765
  Documents
  Transfers Into Flare Education, LLC, Reduced by Legitimate Digital Sales                      $2,920,140
  Transfers Into Flare Education, LLC, Reduced by Legitimate Expenses to Fulfill                $ 820,140
  Orders


 This amount is overstated because it does not take into account reductions for funds received or
 expenses incurred for fulfilled legitimate physical product orders.
        C. Bank loss calculations are unsupported
 The Government alleges in its Order of Restitution that certain banks have suffered a loss. There
 is no documentation that supports how these loss amounts were calculated. DOJ-EDNY-0053435
 (see attached) is a spreadsheet that lists several banks, including the banks included in the Order
 of Restitution. It is not clear how the loss amounts were calculated from this spreadsheet, if at all.
 In fact, this spreadsheet includes a projected reserve column that totals over $1.0 million.
 Reserve accounts are maintained by payment processing institutions; these accounts are
 composed of the merchant’s funds to allow for payment issues such as chargebacks. This
 spreadsheet appears to indicate that the banks / payment processors were holding over $1.0
 million of Defendant’s business funds.
 Further, the banks who have alleged to have suffered losses, “have not provided loss
 affidavits.”10




 10
      Defendant’s Amended Petition for Writ of Habeas Corpus Under 28 U.S.C. § 2255, page 44.

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    D. There appear to be other factual errors or unsubstantiated amounts alleged by the
       Government
 Some of the Government’s assertions are either as yet unsupported, if based on documents that
 have not been made available to us, or incorrect, if based on the documents available to us.
 For example, Paragraph 37 of the Indictment states: “Jump Learning, LLC, wired approximately
 $780,000 to Flare Education, LLC.” This is overstated. In fact, Jump Learning wired
 approximately $374,100 to Flare Education. See Exhibit 5.
 Paragraph 39 of the Indictment states: “Between February 2014 and August 2015, the Flare
 Education, LLC account transferred via wire a total of approximately $971,200 to Angry
 Elephant and $354,000 to Purple Whale.” This is overstated. In fact, Flare transferred $173,700
 to Angry Elephant and $0 to Purple Whale during this period. See Exhibits 6 and 7.
    E. Conclusion
 The Government has failed to demonstrate with a “reasonable probability” what the actual loss
 amount was, much less that it was six and a half million dollars. We have not seen, nor does
 there appear to be in the record, any documentation to substantiate the six and a half million
 dollars of loss that Plaintiffs allege. In fact, Plaintiff’s calculation of the loss does not comport
 with any generally accepted methods of quantifying losses, because, as you noted, it does not
 account for reductions due to legitimate sales and expenses to fulfill legitimate sales. Based on
 our analysis, there is sufficient evidence in the record to support reductions to the loss claim with
 a “reasonable probability.”


                                                               Respectfully Submitted,




                                                               Deepak Sabiki
                                                               Owner, Sabiki Consulting LLC
                                                               dsabiki@sabikiconsulting.com




                                                               Dennis Romero, CPA, CFE
                                                               romeroda89@gmail.com




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                                                    9343


                                                       Deepak Sabiki



                                                       T: 631 833 9448                            10507 Grand Oak Circle
                                                       E: dsabiki@sabikiconsulting.com            Austin, TX 78750




Deepak Sabiki serves as a consulting and testifying expert in forensic accounting,                   Education
compliance, and litigation matters and brings more than 18 years of experience.                      B.S., Finance and
                                                                                                     Economic Theory
                                                                                                     Analysis, (Minor: Physics) -
Throughout his career, Deepak served clients and led teams on engagements involving                  The Leonard
forensic accounting investigations, assessment of risk management and compliance                     N. Stern School
programs, data integrity compliance issues, and quantification of damages. He is adept at            of Business, New York
analyzing large sets of data to solve complex problems for clients. Most recently, Deepak led        University
teams that supported a Department of Justice (DOJ)-appointed Independent Compliance and
Business Ethics Monitor of a global investment bank, and a Forensic Adviser to the DOJ /             Practice Areas
National Highway Traffic Safety Administration (NHTSA)-appointed Monitor of a Tier One               Litigation
automotive parts supplier.
                                                                                                     Compliance & Monitoring
Deepak calculates economic damages in disputes litigated in arbitration and State and                Investigations
Federal Courts and brings expertise in several causes of action including breach of contract,
patent and trademark infringement, business interruption, and trade secret misappropriation,
among others.                                                                                        Languages
                                                                                                     Hindi
Deepak also served as a guest lecturer at Baruch College, John Jay College of Criminal Justice,
and Molloy College on topics related to data analytics tools and fraud detection.                    Urdu


Prior to establishing Sabiki Consulting LLC, Deepak served clients on similar engagements at
Huron Consulting Group, Charles River Associates, Grant Thornton, and StoneTurn.




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                                                     9344
Deepak Sabiki



REPRESENTATIVE INDUSTRY EXPERIENCE

•    Banking                                •     Mortgage Loan Servicing                    •   Health Care
•    Automotive Manufacturing               •     Private Equity                             •   Defense Contracting
•    Financial Products                     •     Media / Entertainment                      •   Retirement Plans
•    Insurance                              •     Building Materials                         •   Food / Fast Food
•    Hospitality                            •     Packaging                                  •   Cosmetics
•    Telecommunications                     •     Cryptocurrency



EXPERT DESIGNATIONS AND TESTIMONY

    •   Rehab Saad Ali v. Ahmed Wahsh (Supreme Court, Kings County, New York—Index No.: 54683-2017)—Quantified
        annual compensation of an individual and his company value at issue in a marital dissolution. (Expert Disclosure
        and Trial Testimony, Case Adjudicated).

    •   Randy White v. North Cypress Medical Center and Dr. Ozochukwu Odili (District Court, Harris County, Texas—Case
        No. 2019-14054)—Quantified lost earnings capacity resulting from workplace injury. (Expert Report, Deposition
        and Trial Testimony, Case Pending).

    •   Quantified lost earnings capacity related to wrongful death. (Expert Report, Case Settled).

    •   Quantified lost earnings capacity resulting from injury at a housing property. (Expert Report, Case Settled).

    •   Quantified after-tax present value of life care plan and lost earnings capacity resulting from injury at a hotel
        property. (Expert Reports, Case Pending).

    •   Telina Wheaton v. Mingrun, Inc. d/b/a Golden Chopsticks (District Court, Montgomery County, Texas—Cause No.
        20-02-02017)—Quantified lost earnings capacity related to wrongful death caused by a motor vehicle accident.
        (Expert Report and Trial Testimony, Case Adjudicated).

    •   Quantified lost earnings capacity related to wrongful death due to a motor vehicle accident. (Expert Report, Case
        Pending).

    •   Quantified lost earnings capacity resulting from injuries sustained in a motor vehicle accident with a ridesharing
        vehicle. (Expert Report, Case Settled).

    •   Quantified lost earnings capacity resulting from injuries sustained in a motor vehicle accident with livestock.
        (Expert Report, Case Pending).

    •   Quantified lost earnings capacity related to wrongful death due to a motor vehicle accident in a dram shop law
        matter. (Expert Report, Case Settled).




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   •   Quantified after-tax present value of life care plan and lost earning capacity resulting from injuries sustained in
       an e-scooter sharing accident. (Expert Report, Case Pending).

   •   Quantified after-tax present value of life care plan and lost earning capacity resulting from injuries sustained in a
       motor vehicle accident. (Expert Report, Case Pending).

   •   Quantified unjust enrichment due to alleged unauthorized use of nonpatent intellectual property. (Expert Reports,
       Case Settled).

   •   Preliminary quantification of lost earnings capacity and investment loss resulting from injuries sustained in a
       motor vehicle accident. (Expert Designation, Case Settled).

   •   David Bennett v. David M. Dromsky, M.D. (District Court, Montgomery County, Texas—Cause No. 22-04-04943)—
       Quantified after-tax present value of life care plan resulting from medical treatment following an injury. (Expert
       Report, Deposition and Trial Testimony, Case Pending).

   •   Samantha Daly Smith vs David Daly (Circuit Court, Sarasota County, Florida—Case No. 2022-DR-002875-NC)—
       Analyzed cryptocurrency transactions to quantify Defendant’s financial holdings in a marriage dissolution matter.
       (Expert Designation and Trial Testimony, Case Pending).



SELECT PROFESSIONAL EXPERIENCE

Contract, Tort and Other Damages
   •   Rebuttal of counterclaimant’s damages claims involving an alleged breach of manufacturing agreement for a
       health food product.

   •   Rebuttal of lost investment gains claim resulting from an alleged breach of representation under the Securities Act
       involving the company’s Supplemental Employee Retirement Plan that invested in a Madoff feeder fund.

   •   Rebuttal of economic damages claim related to an alleged breach of a contract involving condiments distribution
       in the United Arab Emirates.

   •   Economic damages in a breach of licensing contract arbitration matter involving a pet products company.

   •   Rebuttal of lost profits claim involving anti-trust and unfair competition allegations related to improper payments
       by a health insurance company to steer brokers away from the competitor’s in-network hospital.

   •   Rebuttal of lost profits claim involving anti-trust and unfair competition allegations related to improper payments
       by a health insurance company to steer brokers away from the competitor.

   •   Lost profits computation resulting from a store closing caused by an alleged contract breach.




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Intellectual Property Damages
   •   Preliminary trademark infringement claim assessment and damages quantification in the luxury leather goods
       industry.

   •   Reasonable royalty for patent infringement involving technology related to the packaging industry.

   •   Lost profits computation in a license fee dispute.

   •   Avoided costs computation in a trade secret dispute involving a key employee of a building materials manufacturer
       who joined a rival and developed a competing product.

   •   Lost profits computation for patent infringement involving technology related to methods of designing integrated
       circuits.

Financial Analytics
   •   Analyses of two payroll databases in a class action dispute brought by the NY Attorney General alleging wage
       violations at a fast-food company’s franchise locations.

   •   Analyses of large sets of policy and claims data to assist client in evaluating environmental claims of an insurer to
       improve its reserve setting process.

Forensic Accounting Investigations
   •   Reconstruction of an educational technology company’s partner capital accounts to correct accounting errors.

   •   Assessment of a private equity fund’s expenses attributed to portfolio companies amidst an SEC investigation
       regarding inappropriate allocation methodology.

   •   Review of audit workpapers and reperformance of the analyses of a major accounting firm in an accounting
       investigation involving two pension funds alleging inadequate compensation resulting from an incorrect transfer
       pricing model.

   •   Analyses and testing of historical transactions of a Caribbean bank involved in a debt offering to assess whether
       the bank may be involved in money laundering.




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Compliance & Monitoring
   •   Analyses of the lab and traceability systems at testing and production facilities of a global Tier One automotive
       supplier to assess the company's data integrity controls and implementation of DOJ plea agreement terms while
       working with the Forensic Advisor to the DOJ- and NHTSA-appointed Independent Compliance Monitor.

   •   Review of the trading function of a global investment bank for its DOJ-appointed Independent Compliance and
       Business Ethics Monitor. Assessed the bank’s compliance with the terms of a Deferred Prosecution Agreement
       related to LIBOR and EURIBOR manipulation and reviewed its policies and procedures designed to prevent and
       detect violations of antifraud and anti-trust laws. Included a 6-month posting in London to perform on-site review.

   •   Evaluation of a mortgage servicing company’s customer complaint responses to find trends and issues, assessed
       controls, and conducted site visits to customer service centers for the New York Department of Financial Services
       appointed Compliance Monitor.

   •   Provided audit assistance and internal controls support as part of an SEC investigation of a defense manufacturer
       for alleged insider trading.

   •   Assessed internal sales controls and accounting standards compliance of a large technology company as part of
       an SEC investigation for accounting fraud.




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                                                   9348
                                                                                                           Exhibit 1-B

                   Dennis Ariel Romero, CPA, CFE
Aurora, 80016 │ (703) 401-4300 │ romeroda89@gmail.com │ https://www.linkedin.com/in/dennis-romero-cpa-cfe/

                               Forensic Audit and Compliance Leader
             Compliance Audits & Forensic Investigations ~ Fraud and Corruption Expertise
Dennis is a compliance and audit expert with deep expertise in regulatory requirements and implementing industry best
practices. He has helped multinational organizations mitigate risk and avoid costly AML compliance and fraud breaches.
Dennis is qualified to provide strategic guidance, support, and training that enables organizations to maintain their
reputation and achieve long-term success.

                                  Core Competencies and Areas of Expertise
Fraud Investigations                                             Multinational Cryptocurrency Exchanges
Anti-Money Laundering (AML) and Sanctions                        Foreign Corrupt Practices Act (FCPA) Audits
Employee Misconduct & Bribery                                    Forensic and Regulatory Advisory Services
Internal and External Compliance Audits                          Executive Leadership

                                                     Experience
Independent Consultant│ Denver, CO                                                             May 2023 – Current
Advising small to medium-sized businesses with compliance issues.
    •   Conducting a financial investigation of bonus payments awarded to executive-level management for an event
        management company.
    •   Performing forensic financial analysis for a federal court matter. Analyzing income/loss calculations, reviewing
        bank statements, tax records, e-mails, and financials.
    •   Conducted an independent review of an acquired company for a private investment firm. Reviewing financial
        statements, bank records, customer invoices, tax filings and transaction of the acquired company.
Senior Manager │ Kroll Associates, LLC – Denver, CO                                            June 2021 – March 2023
Executed and managed AML/regulatory audits and investigations for clients.
    •   Managed an investigation of employee theft for a European technology company and investigated conflicts of
        interest of a consultant for an American construction materials company. Resulted in cost savings ($100k+) and
        process improvements for clients to mitigate the risks of repeated violations. Developed and managed work plans
        and team members, executed documents reviews, conducted interviews and drafted reports and recommendations.
    •   Oversaw the Know Your Customer and Customer Identification Program (KYC/CIP) review for a multinational
        corporation that runs one of the largest cryptocurrency exchanges in terms of daily trading volume. Identified
        suspicious activity or accounts with a US nexus and recommended process enhancements. This work was
        completed in preparation for meetings and reviews with US regulatory and enforcement bodies.
    •   Executed AML and sanction reviews for a digital asset company, a stablecoin issuer, to meet compliance
        requirements with the New York State Department of Financial Services. This involved reviewing the company’s
        KYC/CIP program, Suspicious Activity Reporting, investigation and monitoring, training, risk assessment and
        board reporting processes.
Manager │ Treliant LLC – Washington, D.C.                                                       April 2020 – June 2021
Conducted regulatory audits and oversaw compliance teams for client engagements.
    •   Executed AML reviews related to SARs, currency transaction reports, monitoring, and investigations for an
        American money transfer company under a three year-US Department of Justice monitorship. Completed the
        engagement before the client deadline with the US DOJ.
    •   Quickly mastered and managed multiple compliance matters related to marketing service agreements and pricing
        benchmarks of settlement services under Section 8 of the Real Estate Procedures Settlement Act (RESPA) and
        Regulation X, meeting 100% of client demands.
    •   Managed and assisted multiple business development efforts relating to anti-bribery/FCPA reviews and forensic
        related matters for the Corporate and Regulatory Investigation team.

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                                                       9349
                                                                                                                Exhibit 1-B
Lead Forensic & Compliance Specialist │ J&J – Washington, D.C                                  June 2018 – March 2020
Managed fraud investigation and executed multinational FCPA audits for J&J’s internal audit department.
    •       Led and conducted multiple sensitive issues investigations regarding asset misappropriations, financial statement
            fraud and corruption. Reviewed allegations, interviewed whistleblowers/subjects and analyzed related processes
            to issue reports with conclusions and recommendations for US and LATAM subsidiaries.
    •       Worked with multidisciplinary groups including Legal, HR, Compliance teams for investigations and FCPA audits
            in the US and China. Assisted in FCPA compliance audits including the testing of third-party sales agents, travel
            and entertainment, and fees for services.
    •       Improved investigation work plan and process and gained consistency across investigations by streamlining the
            reporting and investigation process.
Forensic Senior Internal Auditor │ Sanofi U.S. – Bridgewater, NJ                                November 2016 – May 2018
Served as the fraud subject-matter expert for Sanofi’s global internal audit team.
    •       Assisted in corporate and transversal forensic/compliance assignments including the audit of the procurement
            process in the LATAM region and donations made to a foundation in Mexico.
    •       Executed audits involving various processes related to FCPA risks including promotional activities, procurement,
            donations, and safety at sites throughout the Americas region (Brazil, Panama, Colombia, Mexico).
Forensic Senior Associate │ KPMG – Washington D.C.                                         October 2015 – November 2016
Conducted fraud investigation and compliance audits for multinational clients specializing in the LATAM region.
    •       Worked at the direction of counsel to investigate alleged payments made to organized crime groups sanctioned
            by OFAC of the US Department of Treasury. Helped identify patterns and trends of over 5,000 payments based
            on supporting documentation in Spanish.
    •       Worked on a variety of forensic projects based in Latin America including the investigation for a multinational
            bank regarding employee misconduct and improper accounting treatment in Puerto Rico; and performed
            management responsibilities (interviewed and selected team members, led cell phone review, coordinated
            schedules and participated in the ABAC testing at client site in Peru) for an FCPA/bribery compliance review of
            a multinational, multi-billion-dollar pipeline project.
    •       Served as a point of contact and lead for clients and multi-national teams on various engagements including
            engagements related to due diligence and monitoring. Performed second and third level reviews, trained and
            onboarded team members, coordinated schedules, guided international member-firm colleagues, represented
            KPMG on weekly client calls, and led weekly internal team calls.

Associate │ KPMG – Washington D.C.                                                          September 2012 – October 2015
Supported compliance audits and investigations for multinational companies.
    •       Assisted on a variety of projects including investigation related to fraud and misconduct by upper- level
            management, anti-money laundering reviews, and third-party due diligence reporting.

Earlier Career Experience: Global Audit Intern │ KPMG – Sao Paulo, Brazil/D.C.                      May 2011 – August 2011
    •       Supported independent audits of federal agencies and government defense contractors. Responsibilities
            included reviewing employee benefit plans, ensuring proper documentation for compliance with regulations
            governing government funds and salaries.

                                                          Education

        Master of Science in Accounting │ Bachelor of Business Administration in Accounting (Cum Laude)
                                            James Madison University

                                                  Technical Skills/Expertise
        •     Certified Public Accountant and Certified Fraud Examiner.
        •     Working knowledge of AML related tools for the crypto industry: Chainalysis, Jumio, TRM Labs.
        •     Native Spanish speaker and working knowledge of Portuguese.
        •     Working knowledge of litigation and research databases based in Latin America.
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CONFIDENTIAL - DRAFT - Preliminary and Tentative      9350                                                  Exhibit 2
Flare Inflows
 Date          Amount        Beneficiary                      Originator
    3/25/2013 $       200.00 Flare Education LLC              WIRE FROM FLARE DUCATION L032513C
      4/3/2013 $   2,000.00  Flare Education LLC              WIRE FROM FOCUS EARNING LL040313
    4/19/2013 $    1,500.00 Flare Education LLC               WIRE FROM INFUSEMEDIA LLC 041913
    4/24/2013 $       500.00 Flare Education LLC              WIRE FROM FOCUS EARNING LL042413
    4/29/2013 $    1,000.00 Flare Education LLC               WIRE FROM FOCUS EARNING LL042913
      5/1/2013 $   1,000.00 Flare Education LLC               WIRE FROM ORANGELEARNING G050113OUP LLC
      5/3/2013 $   5,000.00 Flare Education LLC               WIRE FROM ORANGELEARNING G050313OUP LLC
      6/6/2013 $      300.00 Flare Education LLC              WIRE FROM INFUSEMEDIA LLC 060613
    6/10/2013 $    1,000.00 Flare Education LLC               WIRE FROM JUMP LARNING LLC061013
    6/12/2013 $    1,310.00 Flare Education LLC               WIRE FROM FLARE DUCATION L061213C
    6/21/2013 $    2,000.00 Flare Education LLC               WIRE FROM FOCUS EARNING LL062113
    6/25/2013  $   6,710.00  Flare Education LLC              WIRE FROM FLARE DUCATION L062513C
    6/25/2013 $    7,040.00 Flare Education LLC               WIRE FROM FLARE DUCATION L062513C
    6/26/2013 $    7,460.00 Flare Education LLC               WIRE FROM FLARE DUCATION L062613C
    6/27/2013 $    6,210.00 Flare Education LLC               WIRE FROM FLARE DUCATION L062713C
    7/26/2013 $       485.00 Flare Education LLC              WIRE FROM FLARE DUCATION L072613C
      8/5/2013 $   3,817.00 Flare Education LLC               WIRE FROM BRIGHTMEDIA GROU080513 LLC
    8/23/2013 $    2,985.00 Flare Education LLC               WIRE FROM CANADIN IMPERIAL082313BANK OF COMMERC
      9/4/2013 $   3,000.00 Flare Education LLC               WIRE FROM STARTE MEDIA LLC090413
      9/5/2013 $   7,000.00 Flare Education LLC               WIRE FROM ORANGELEARNING G090513OUP LLC
    9/18/2013 $   62,763.00 Flare Education LLC               WIRE FROM BRIGHTMEDIA GROU091813 LLC
    9/25/2013 $   12,000.00 Flare Education LLC               WIRE FROM INFUSEMEDIA LLC 092513
    9/26/2013 $ 142,000.00 Flare Education LLC                WIRE FROM GREEN IGHT EDUCA092613ION LLC
    9/27/2013 $    5,916.27 Flare Education LLC               WIRE FROM BRIGHTMEDIA GROU092713 LLC
   10/21/2013 $   10,000.00 Flare Education LLC               WIRE FROM JUMP LARNING LLC102113
   10/23/2013 $    6,735.00 Flare Education LLC               WIRE FROM CANADIN IMPERIAL102313BANK OF COMMERC
   10/23/2013 $ 161,000.00 Flare Education LLC                WIRE FROM GREEN IGHT EDUCA102313ION LLC
    11/5/2013 $   18,000.00 Flare Education LLC               WIRE FROM BRIGHTMEDIA GROU110513 LLC
    11/5/2013 $   75,000.00 Flare Education LLC               WIRE FROM GREEN IGHT EDUCA110513ION LLC
    11/8/2013 $   25,000.00 Flare Education LLC               WIRE FROM JUMP LARNING LLC110813
   11/14/2013 $   75,000.00 Flare Education LLC               WIRE FROM GREEN IGHT EDUCA111413ION LLC


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CONFIDENTIAL - DRAFT - Preliminary and Tentative     9351                                                              Exhibit 2
Flare Inflows
 Date         Amount         Beneficiary                     Originator
                           D9136082504*FLARE EDUCATION LLC*10000 SW D898058299787*TREE TOP MEDIA LLC*1500 BAY RD APT
  11/18/2013 $   25,000.00 97TH CT*MIAMI, FL, 33176, US*            1160S*MIAMI BEACH FL 33139-3227*
  11/21/2013 $   30,000.00 Flare Education LLC                      WIRE FROM JUMP LARNING LLC112113
  11/22/2013 $   50,000.00 Flare Education LLC                      WIRE FROM GREEN IGHT EDUCA112213ION LLC
  11/25/2013 $   35,000.00 Flare Education LLC                      WIRE FROM GREEN IGHT EDUCA112513ION LLC
  11/27/2013 $    2,000.00 Flare Education LLC                      WIRE FROM BRIGHTMEDIA GROU112713 LLC
  11/27/2013 $   30,000.00 Flare Education LLC                      WIRE FROM JUMP LARNING LLC112713
   12/2/2013 $    4,500.00 Flare Education LLC                      WIRE FROM JUMP LARNING LLC120213
   12/2/2013 $   25,000.00 Flare Education LLC                      WIRE FROM JUMP LARNING LLC120213
   12/2/2013 $   40,000.00 Flare Education LLC                      WIRE FROM ORANGELEARNING G120213OUP LLC
   12/3/2013 $   12,000.00 Flare Education LLC                      WIRE FROM INFUSEMEDIA LLC 120313
   12/3/2013 $   40,000.00 Flare Education LLC                      WIRE FROM JUMP LARNING LLC120313
   12/5/2013 $    3,000.00 Flare Education LLC                      WIRE FROM BRIGHTMEDIA GROU120513 LLC
   12/6/2013 $   20,000.00 Flare Education LLC                      WIRE FROM LIGHT P MEDIA LL120613
   12/9/2013 $   30,000.00 Flare Education LLC                      WIRE FROM LIGHT P MEDIA LL120913
  12/10/2013 $   20,000.00 Flare Education LLC                      WIRE FROM LIGHT P MEDIA LL121013
  12/10/2013 $   30,000.00 Flare Education LLC                      WIRE FROM LIGHT P MEDIA LL121013
  12/11/2013 $   20,000.00 Flare Education LLC                      WIRE FROM LIGHT P MEDIA LL121113
  12/12/2013 $   40,000.00 Flare Education LLC                      WIRE FROM GREEN IGHT EDUCA121213ION LLC
  12/13/2013 $   40,000.00 Flare Education LLC                      WIRE FROM LIGHT P MEDIA LL121313
  12/16/2013 $   20,000.00 Flare Education LLC                      WIRE FROM JUMP LARNING LLC121613
  12/16/2013 $   40,000.00 Flare Education LLC                      WIRE FROM LIGHT P MEDIA LL121613
                           D9136082504*FLARE EDUCATION LLC*10000 SW D898058299787*TREE TOP MEDIA LLC*1500 BAY RD APT
  12/17/2013 $   50,000.00 97TH CT*MIAMI, FL, 33176, US*            1160S*MIAMI BEACH FL 33139-3227*
  12/17/2013 $   10,080.00 Flare Education LLC                      WIRE FROM BANK O AMERICA 121713
                           D9136082504*FLARE EDUCATION LLC*10000 SW D898058299787*TREE TOP MEDIA LLC*1500 BAY RD APT
  12/18/2013 $   50,000.00 97TH CT*MIAMI, FL, 33176, US*            1160S*MIAMI BEACH FL 33139-3227*
  12/18/2013 $    3,172.00 Flare Education LLC                      WIRE FROM BRIGHTMEDIA GROU121813 LLC
                           D9136082504*FLARE EDUCATION LLC*10000 SW D898058299787*TREE TOP MEDIA LLC*1500 BAY RD APT
  12/19/2013 $   30,000.00 97TH CT*MIAMI, FL, 33176, US*            1160S*MIAMI BEACH FL 33139-3227*
  12/20/2013 $   10,000.00 Flare Education LLC                      WIRE FROM LIGHT P MEDIA LL122013


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CONFIDENTIAL - DRAFT - Preliminary and Tentative      9352                                                    Exhibit 2
Flare Inflows
 Date          Amount        Beneficiary                      Originator
   12/24/2013 $    5,000.00 Flare Education LLC               WIRE FROM JUMP LARNING LLC122413
   12/26/2013  $  10,000.00  Flare Education LLC              WIRE FROM LIGHT P MEDIA LL122613
   12/27/2013 $   20,000.00 Flare Education LLC               WIRE FROM LIGHT P MEDIA LL122713
   12/30/2013 $   25,000.00 Flare Education LLC               WIRE FROM GREEN IGHT EDUCA123013ION LLC
   12/30/2013 $    5,000.00 Flare Education LLC               WIRE FROM LIGHT P MEDIA LL123013
   12/30/2013 $   20,000.00 Flare Education LLC               WIRE FROM STARTE MEDIA LLC123013
      1/2/2014 $   3,000.00 Flare Education LLC               FUNDS TRANSFER WIRE FROM BRIGHT MEDIA GROUP LLC
                                                                       D501015089939*NEON MEDIA LLC*2777 PARADISE RD UNIT
    1/6/2014 $    65,000.00 D9136082504*FLARE EDUCATION LLC* US*       2702*LAS VEGAS NV 89109-9119*
                              D9136082504*FLARE EDUCATION LLC*10000 SW D898058299787*TREE TOP MEDIA LLC*1500 BAY RD APT
    1/6/2014 $    15,000.00   97TH CT*MIAMI, FL, 33176, US*            1160S*MIAMI BEACH FL 33139-3227*
    1/6/2014 $    55,000.00   Flare Education LLC                      FUNDS TRANSFER WIRE FROM GOLD M DIA LLC Jan 06
                              D9136082504*FLARE EDUCATION LLC*10000 SW D898058689494*LOCK MEDIA LLC*10242 NW 7TH ST UNIT
    1/7/2014 $    60,000.00   97TH CT*MIAMI, FL, 33176, US*            209*MIAMI FL 33172-4095*
    1/7/2014 $    20,000.00   Flare Education LLC                      FUNDS TRANSFER WIRE FROM LIGHT P MEDIA LL Jan 07
    1/8/2014 $    45,000.00   Flare Education LLC                      FUNDS TRANSFER WIRE FROM STARTU MEDIA LLC Jan 08
                              D9136082504*FLARE EDUCATION LLC*10000 SW D501016307830*SAVVY MEDIA LLC*2777 PARADISE RD UNIT
    1/9/2014 $   100,000.00   97TH CT*MIAMI, FL, 33176, US*            2702*LAS VEGAS NV 89109-9119*
    1/9/2014 $    80,000.00   Flare Education LLC                      FUNDS TRANSFER WIRE FROM SHARP EDIA LLC Jan 09

   1/10/2014 $    40,000.00 Flare Education LLC                        FUNDS TRANSFER WIRE FROM CLEAR ITLE GROUP LLC Jan 10
                              D9136082504*FLARE EDUCATION LLC*10000 SW D501016307830*SAVVY MEDIA LLC*2777 PARADISE RD UNIT
   1/13/2014 $    35,000.00   97TH CT*MIAMI, FL, 33176, US*            2702*LAS VEGAS NV 89109-9119*
   1/14/2014 $   130,000.00   Flare Education LLC                      FUNDS TRANSFER WIRE FROM GOLD M DIA LLC Jan 14
                              D9136082504*FLARE EDUCATION LLC*1000 SW D501015089939*NEON MEDIA LLC*2777 PARADISE RD UNIT
   1/15/2014 $   130,000.00   97TH CT*MIAMI, FL, 33176, US*            2702*LAS VEGAS NV 89109-9119*
   1/22/2014 $       960.00   Flare Education LLC                      WIRE FROM BANK O AMERICA 012214
                              D9136082504*FLARE EDUCATION LLC*10000 SW D898058689494*LOCK MEDIA LLC*10242 NW 7TH ST UNIT
   1/23/2014 $    65,000.00   97TH CT*MIAMI, FL, 33176, US*            209*MIAMI FL 33172-4095*
                              D9136082504*FLARE EDUCATION LLC*1000 SW D501015089939*NEON MEDIA LLC*2777 PARADISE RD UNIT
   1/27/2014 $    55,000.00   97TH CT*MIAMI, FL, 33176, US*            2702*LAS VEGAS NV 89109-9119*
   1/30/2014 $    50,000.00   Flare Education LLC                      WIRE FROM GOLD MDIA LLC 013014


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CONFIDENTIAL - DRAFT - Preliminary and Tentative     9353                                                                Exhibit 2
Flare Inflows
 Date         Amount         Beneficiary                     Originator
    1/30/2014 $  50,000.00 Flare Education LLC               WIRE FROM STARTU MEDIA LLC013014
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D501016307830*SAVVY MEDIA LLC*2777 PARADISE RD UNIT
   1/31/2014 $   30,000.00   97TH CT*MIAMI, FL, 33176, US*              2702*LAS VEGAS NV 89109-9119*
   1/31/2014 $      310.00   Flare Education LLC                        WIRE FROM BANK O AMERICA 013114
    2/3/2014 $   45,000.00   Flare Education LLC                        WIRE FROM SHARP EDIA LLC 020314
    2/4/2014 $    7,720.00   Flare Education LLC                        WIRE FROM NORTHEST CREDIT 020414NION
    2/4/2014 $   30,000.00   Flare Education LLC                        WIRE FROM SPARK DUCATION L020414C
    2/4/2014 $   55,000.00   Flare Education LLC                        WIRE FROM STARTE MEDIA LLC020414
    2/6/2014 $   20,000.00   Flare Education LLC                        WIRE FROM SHARP EDIA LLC 020614
    2/6/2014 $   15,000.00   Flare Education LLC                        WIRE FROM SPARK DUCATION L020614C
    2/6/2014 $   30,000.00   Flare Education LLC                        WIRE FROM STARTU MEDIA LLC020614
    2/7/2014 $   21,600.00   Flare Education LLC                        WIRE FROM BRIGHTMEDIA GROU020714 LLC
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D501016307830*SAVVY MEDIA LLC*2777 PARADISE RD UNIT
   2/10/2014 $   30,000.00   97TH CT*MIAMI, FL, 33176, US*              2702*LAS VEGAS NV 89109-9119*
   2/10/2014 $    9,800.00   Flare Education LLC                        WIRE FROM ORANGELEARNING G021014OUP LLC
                             D9136082504*FLARE EDUCATION LLC*1000 SW    D501015089939*NEON MEDIA LLC*2777 PARADISE RD UNIT
   2/12/2014 $   27,000.00   97TH CT*MIAMI, FL, 33176, US*              2702*LAS VEGAS NV 89109-9119*
   2/12/2014 $   15,000.00   Flare Education LLC                        WIRE FROM SHARP EDIA LLC 021214
   2/12/2014 $   27,000.00   Flare Education LLC                        WIRE FROM STARTU MEDIA LLC021214
   2/13/2014 $   55,000.00   Flare Education LLC                        WIRE FROM STARTU MEDIA LLC021314
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D501016307830*SAVVY MEDIA LLC*2777 PARADISE RD UNIT
   2/18/2014 $   45,000.00   97TH CT*MIAMI, FL, 33176, US*              2702*LAS VEGAS NV 89109-9119*
   2/18/2014 $   20,000.00   Flare Education LLC                        WIRE FROM INFUSEMEDIA LLC 021814
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D501016307830*SAVVY MEDIA LLC*2777 PARADISE RD UNIT
   2/19/2014 $   37,000.00   97TH CT*MIAMI, FL, 33176, US*              2702*LAS VEGAS NV 89109-9119*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D501016307830*SAVVY MEDIA LLC*2777 PARADISE RD UNIT
   2/20/2014 $   20,000.00   97TH CT*MIAMI, FL, 33176, US*              2702*LAS VEGAS NV 89109-9119*
   2/20/2014 $   20,000.00   Flare Education LLC                        WIRE FROM SHARP EDIA LLC 022014
   2/24/2014 $   20,000.00   Flare Education LLC                        WIRE FROM FOCUS EARNING LL022414
   2/24/2014 $   15,000.00   Flare Education LLC                        WIRE FROM JUMP LARNING LLC022414
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898058689494*LOCK MEDIA LLC*9742 NW 46TH
   2/25/2014 $   20,000.00   97TH CT*MIAMI, FL, 33176, US*              TER*DORAL FL 33178-1982*


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CONFIDENTIAL - DRAFT - Preliminary and Tentative     9354                                                                Exhibit 2
Flare Inflows
 Date         Amount         Beneficiary                     Originator
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D501016307830*SAVVY MEDIA LLC*2777 PARADISE RD UNIT
   2/25/2014 $   10,000.00   97TH CT*MIAMI, FL, 33176, US*              2702*LAS VEGAS NV 89109-9119*
   2/25/2014 $   15,000.00   Flare Education LLC                        WIRE FROM SHARP EDIA LLC 022514
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D501016307830*SAVVY MEDIA LLC*2777 PARADISE RD UNIT
   2/26/2014 $   55,000.00   97TH CT*MIAMI, FL, 33176, US*              2702*LAS VEGAS NV 89109-9119*
   2/26/2014 $   55,000.00   Flare Education LLC                        WIRE FROM SHARP EDIA LLC 022614
   2/26/2014 $   15,000.00   Flare Education LLC                        WIRE FROM STARTU MEDIA LLC022614
                             D9136082504*FLARE EDUCATION LLC*1000 SW    D501015089939*NEON MEDIA LLC*2777 PARADISE RD UNIT
   2/28/2014 $     500.00    97TH CT*MIAMI, FL, 33176, US*              2702*LAS VEGAS NV 89109-9119*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898058689494*LOCK MEDIA LLC*9742 NW 46TH
   2/28/2014 $   10,500.00   97TH CT*MIAMI, FL, 33176, US*              TER*DORAL FL 33178-1982*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D501016307830*SAVVY MEDIA LLC*2777 PARADISE RD UNIT
   2/28/2014 $    4,400.00   97TH CT*MIAMI, FL, 33176, US*              2702*LAS VEGAS NV 89109-9119*
   2/28/2014 $    3,000.00   Flare Education LLC                        WIRE FROM GOLD MDIA LLC 022814
   2/28/2014 $    1,400.00   Flare Education LLC                        WIRE FROM GREEN IGHT EDUCA022814ION LLC
   2/28/2014 $    3,100.00   Flare Education LLC                        WIRE FROM JUMP LARNING LLC022814
   2/28/2014 $    5,700.00   Flare Education LLC                        WIRE FROM LIGHT P MEDIA LL022814
   2/28/2014 $    8,000.00   Flare Education LLC                        WIRE FROM SHARP EDIA LLC 022814
   2/28/2014 $    2,200.00   Flare Education LLC                        WIRE FROM STARTU MEDIA LLC022814
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898058689494*LOCK MEDIA LLC*9742 NW 46TH
    3/3/2014 $    5,000.00   97TH CT*MIAMI, FL, 33176, US*              TER*DORAL FL 33178-1982*
    3/3/2014 $    5,000.00   Flare Education LLC                        WIRE FROM FOCUS EARNING LL030314
    3/4/2014 $    2,000.00   Flare Education LLC                        WIRE FROM FOCUS EARNING LL030414
    3/4/2014 $    1,000.00   Flare Education LLC                        WIRE FROM SPARK DUCATION L030414C
    3/7/2014 $    5,000.00   Flare Education LLC                        WIRE FROM SPARK DUCATION L030714C
    3/7/2014 $    8,000.00   Flare Education LLC                        WIRE FROM SPARK DUCATION L030714C
    3/7/2014 $   11,600.00   Flare Education LLC                        WIRE FROM SPARK DUCATION L030714C
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898058689494*LOCK MEDIA LLC*9742 NW 46TH
   3/10/2014 $    5,000.00   97TH CT*MIAMI, FL, 33176, US*              TER*DORAL FL 33178-1982*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898058689494*LOCK MEDIA LLC*9742 NW 46TH
   3/11/2014 $    5,000.00   97TH CT*MIAMI, FL, 33176, US*              TER*DORAL FL 33178-1982*
   3/13/2014 $    1,000.00   Flare Education LLC                        WIRE FROM FOCUS EARNING LL031314


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Flare Inflows
 Date         Amount         Beneficiary                     Originator
    3/13/2014 $   4,500.00 Flare Education LLC               WIRE FROM INFUSEMEDIA LLC 031314
    3/13/2014 $  17,000.00   Flare Education LLC             WIRE FROM PROPELEDUCATION 031314LC
    3/18/2014 $  22,000.00 Flare Education LLC               WIRE FROM INFUSEMEDIA LLC 031814
    3/21/2014 $   7,500.00 Flare Education LLC               WIRE FROM FOCUS EARNING LL032114
    3/21/2014 $   1,000.00 Flare Education LLC               WIRE FROM INFUSEMEDIA LLC 032114
    3/27/2014 $   8,000.00 Flare Education LLC               WIRE FROM STARTU MEDIA LLC032714
                             D9136082504*FLARE EDUCATION LLC*10000 SW D572690357*SAVVY MEDIA LLC*4250 ARVILLE ST APT
   3/31/2014 $    5,000.00 97TH CT*MIAMI FL 33176 US*                 228*LAS VEGAS, NV 891033724*
    4/2/2014 $   25,000.00 Flare Education LLC                        WIRE FROM ORANGELEARNING G040214OUP LLC
                             D9136082504*FLARE EDUCATION LLC*10000 SW D898058299787*TREE TOP MEDIA LLC*1500 BAY RD APT
    4/8/2014 $   13,000.00   97TH CT*MIAMI, FL, 33176, US*            1160S*MIAMI BEACH FL 33139-3227*
    4/8/2014 $    8,000.00   Flare Education LLC                      WIRE FROM ORANGELEARNING G040814OUP LLC
    4/8/2014 $   12,000.00   Flare Education LLC                      WIRE FROM STARTE MEDIA LLC040814
    4/9/2014 $   50,000.00   Flare Education LLC                      WIRE FROM GREEN IGHT EDUCA040914ION LLC
    4/9/2014 $    3,000.00   Flare Education LLC                      WIRE FROM WF WIRS PTLD-REJ040914CTED WIRE IN PR
   4/10/2014 $    7,000.00   Flare Education LLC                      WIRE FROM WF WIRS PTLD-REJ041014CTED WIRE IN PR
   4/15/2014 $   25,000.00   Flare Education LLC                      WIRE FROM GREEN IGHT EDUCA041514ION LLC
   4/15/2014 $   20,000.00   Flare Education LLC                      WIRE FROM ORANGELEARNING G041514OUP LLC
   4/15/2014 $    2,000.00   Flare Education LLC                      WIRE FROM WF WIRS PTLD-REJ041514CTED WIRE IN PR
   4/16/2014 $    8,000.00   Flare Education LLC                      WIRE FROM FOCUS EARNING LL041614
   4/16/2014 $    2,000.00   Flare Education LLC                      WIRE FROM WF WIRS PTLD-REJ041614CTED WIRE IN PR
   4/18/2014 $    4,560.00   Flare Education LLC                      WIRE FROM FLARE DUCATION L041814C
   4/21/2014 $   45,000.00   Flare Education LLC                      WIRE FROM JUMP LARNING LLC042114
   4/28/2014 $    5,000.00   Flare Education LLC                      WIRE FROM GREEN IGHT EDUCA042814ION LLC
   4/28/2014 $   14,000.00   Flare Education LLC                      WIRE FROM SPARK DUCATION L042814C
    5/2/2014 $   30,000.00   Flare Education LLC                      WIRE FROM GREEN IGHT EDUCA050214ION LLC
    5/8/2014 $    4,960.00   Flare Education LLC                      WIRE FROM BANK O AMERICA 050814
    5/8/2014 $   30,000.00   Flare Education LLC                      WIRE FROM JUMP LARNING LLC050814
    5/8/2014 $   12,000.00   Flare Education LLC                      WIRE FROM STARTE MEDIA LLC050814
   5/12/2014 $    5,000.00   Flare Education LLC                      WIRE FROM GREEN IGHT EDUCA051214ION LLC
   5/12/2014 $    5,000.00   Flare Education LLC                      WIRE FROM JUMP LARNING LLC051214


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CONFIDENTIAL - DRAFT - Preliminary and Tentative     9356                                                                  Exhibit 2
Flare Inflows
 Date         Amount         Beneficiary                     Originator
    5/14/2014 $   6,000.00 Flare Education LLC               WIRE FROM STARTE MEDIA LLC051414
    5/15/2014 $   5,000.00   Flare Education LLC             WIRE FROM SPARK DUCATION L051514C
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898058689494*LOCK MEDIA LLC*9742 NW 46TH
   5/19/2014 $    3,000.00   97TH CT*MIAMI, FL, 33176, US*              TER*DORAL FL 33178-1982*
   5/19/2014 $   12,000.00   Flare Education LLC                        WIRE FROM FOCUS EARNING LL051914
   5/19/2014 $    2,000.00   Flare Education LLC                        WIRE FROM STARTE MEDIA LLC051914
   5/20/2014 $   50,000.00   Flare Education LLC                        WIRE FROM JUMP LARNING LLC052014
   5/20/2014 $   20,000.00   Flare Education LLC                        WIRE FROM SHARP EDIA LLC 052014
   5/21/2014 $   30,000.00   Flare Education LLC                        WIRE FROM JUMP LARNING LLC052114
   5/22/2014 $    5,000.00   Flare Education LLC                        WIRE FROM JUMP LARNING LLC052214
   5/23/2014 $    4,960.00   Flare Education LLC                        WIRE FROM CITIBAK DELAWARE052314
   5/30/2014 $    1,000.00   Flare Education LLC                        WIRE FROM GREEN IGHT EDUCA053014ION LLC
   5/30/2014 $      500.00   Flare Education LLC                        WIRE FROM JUMP LARNING LLC053014
   5/30/2014 $   50,000.00   Flare Education LLC                        WIRE FROM SHARP EDIA LLC 053014
   5/30/2014 $    2,000.00   Flare Education LLC                        WIRE FROM STARTE MEDIA LLC053014
    6/4/2014 $      960.00   Flare Education LLC                        WIRE FROM FLARE DUCATION L060414C
    6/6/2014 $   45,000.00   Flare Education LLC                        WIRE FROM STARTE MEDIA LLC060614
   6/20/2014 $    8,000.00   Flare Education LLC                        WIRE FROM GREEN IGHT EDUCA062014ION LLC
   6/24/2014 $   12,000.00   Flare Education LLC                        WIRE FROM STARTE MEDIA LLC062414
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D572690357*SAVVY MEDIA LLC*4250 ARVILLE ST APT
   9/16/2014 $   42,000.00   97TH CT*MIAMI FL 33176 US*                 228*LAS VEGAS, NV 891033724*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D572690357*SAVVY MEDIA LLC*4250 ARVILLE ST APT
   9/29/2014 $   40,000.00   97TH CT*MIAMI FL 33176 US*                 228*LAS VEGAS, NV 891033724*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898058299787*TREE TOP MEDIA LLC*1500 BAY RD APT
   9/29/2014 $   30,000.00   97TH CT*MIAMI, FL, 33176, US*              1160S*MIAMI BEACH FL 33139-3227*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D572690357*SAVVY MEDIA LLC*4250 ARVILLE ST APT
   11/6/2014 $   35,000.00   97TH CT*MIAMI FL 33176 US*                 228*LAS VEGAS, NV 891033724*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898058299787*TREE TOP MEDIA LLC*1500 BAY RD APT
   11/6/2014 $   18,000.00   97TH CT*MIAMI, FL, 33176, US*              1160S*MIAMI BEACH FL 33139-3227*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D572690357*SAVVY MEDIA LLC*4250 ARVILLE ST APT
  11/12/2014 $    7,000.00   97TH CT*MIAMI FL 33176 US*                 228*LAS VEGAS, NV 891033724*



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Flare Inflows
 Date         Amount         Beneficiary                     Originator
                             D9136082504*FLARE EDUCATION LLC*10000 SW  D898058689494*LOCK MEDIA LLC*9742 NW 46TH
  11/12/2014 $    5,000.00   97TH CT*MIAMI, FL, 33176, US*             TER*DORAL FL 33178-1982*
                             D9136082504*FLARE EDUCATION LLC*10000 SW  D898058299787*TREE TOP MEDIA LLC*1500 BAY RD APT
  11/12/2014 $    2,900.00   97TH CT*MIAMI, FL, 33176, US*             1160S*MIAMI BEACH FL 33139-3227*
                             D9136082504*FLARE EDUCATION LLC*10000 SW  D572690357*SAVVY MEDIA LLC*4250 ARVILLE ST APT
  11/13/2014 $   10,000.00   97TH CT*MIAMI FL 33176 US*                228*LAS VEGAS, NV 891033724*
                             D9136082504*FLARE EDUCATION LLC*10000 SW  D898058689494*LOCK MEDIA LLC*9742 NW 46TH
  11/13/2014 $   40,000.00   97TH CT*MIAMI, FL, 33176, US*             TER*DORAL FL 33178-1982*
                             D9136082504*FLARE EDUCATION LLC*10000 SW  D898058299787*TREE TOP MEDIA LLC*1500 BAY RD APT
  11/13/2014 $   30,000.00   97TH CT*MIAMI, FL, 33176, US*             1160S*MIAMI BEACH FL 33139-3227*
                             D9136082504*FLARE EDUCATION LLC*10000 SW  D572690357*SAVVY MEDIA LLC*4250 ARVILLE ST APT
   12/1/2014 $   24,500.00   97TH CT*MIAMI FL 33176 US*                228*LAS VEGAS, NV 891033724*
                             D9136082504*FLARE EDUCATION LLC*10000 SW  D898058689494*LOCK MEDIA LLC*9742 NW 46TH
   12/4/2014 $    4,000.00   97TH CT*MIAMI, FL, 33176, US*             TER*DORAL FL 33178-1982*
                             D9136082504*FLARE EDUCATION LLC*10000 SW  D898058299787*TREE TOP MEDIA LLC*1500 BAY RD APT
   12/4/2014 $    3,000.00   97TH CT*MIAMI, FL, 33176, US*             1160S*MIAMI BEACH FL 33139-3227*
                             D9136082504*FLARE EDUCATION LLC*10000 SW  D572690357*SAVVY MEDIA LLC*4250 ARVILLE ST APT
  12/24/2014 $   14,000.00   97TH CT*MIAMI FL 33176 US*                228*LAS VEGAS, NV 891033724*
                             D9136082504*FLARE EDUCATION LLC*10000 SW  D898058299787*TREE TOP MEDIA LLC*1500 BAY RD APT
    1/2/2015 $   14,000.00   97TH CT*MIAMI, FL, 33176, US*             1160S*MIAMI BEACH FL 33139-3227*
                             D9136082504*FLARE EDUCATION LLC*10000 SW  D572690357*SAVVY MEDIA LLC*4250 ARVILLE ST APT
    1/7/2015 $   24,000.00   97TH CT*MIAMI FL 33176 US*                228*LAS VEGAS, NV 891033724*
                             D9136082504*FLARE EDUCATION LLC*10000 SW  D898058689494*LOCK MEDIA LLC*9742 NW 46TH
    1/7/2015 $    8,000.00   97TH CT*MIAMI, FL, 33176, US*             TER*DORAL FL 33178-1982*
                             D9136082504*FLARE EDUCATION LLC*10000 SW  D663250996*KT PACK LLC*944 N WOOD ST APT G*CHICAGO,
   1/21/2015 $   11,000.00   97TH CT*MIAMI FL 33176 US*                IL 606225004*
                             D9136082504*FLARE EDUCATION LLC*10000 SW  D898058689494*LOCK MEDIA LLC*9742 NW 46TH
   1/21/2015 $    2,700.00   97TH CT*MIAMI, FL, 33176, US*             TER*DORAL FL 33178-1982*
                                                                       D000001933336735*FOCUS LEARNING LLC*1530 N
   1/30/2015 $   40,000.00   D9136082504*FLARE EDUCATION LLC CITIBANK* TECHNOLOGY WAY*OREM, UT 84097-2394*
                             D9136082504*FLARE EDUCATION LLC*10000 SW D572690357*SAVVY MEDIA LLC*4250 ARVILLE ST APT
   2/18/2015 $   16,300.00   97TH CT*MIAMI FL 33176 US*                228*LAS VEGAS, NV 891033724*



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CONFIDENTIAL - DRAFT - Preliminary and Tentative     9358                                                                  Exhibit 2
Flare Inflows
 Date         Amount         Beneficiary                     Originator
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D572690357*SAVVY MEDIA LLC*4250 ARVILLE ST APT
   3/20/2015 $   11,500.00   97TH CT*MIAMI FL 33176 US*                 228*LAS VEGAS, NV 891033724*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898058689494*LOCK MEDIA LLC*9742 NW 46TH
   3/20/2015 $    1,300.00   97TH CT*MIAMI, FL, 33176, US*              TER*DORAL FL 33178-1982*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D608179755*O DUFFIE LLC*9215 SALLY LN APT 2E*SCHILLER
   3/27/2015 $    1,600.00   97TH CT*MIAMI FL 33176 US*                 PARK, IL 601762324*
                             D9136082504*FLARE LLC*10000 SW 97TH        D898062385674*A LIND ENTERPRISES LLC*1603 SPRUCE
   3/27/2015 $     750.00    CT*MIAMI, FL, 33176, US*                   ST*IOWA CITY IA 52240-6048*
                             D9136082504*FLARE LLC*10000 SW 97TH        D898063716983*A LIND ENTERPRISES LLC*1603 SPRUCE
    4/9/2015 $    1,700.00   CT*MIAMI, FL, 33176, US*                   ST*IOWA CITY IA 52240-6048*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D000001933336735*FOCUS LEARNING LLC*1530 N
   4/16/2015 $    4,446.60   97TH CT*MIAMI FL 33176*                    TECHNOLOGY WAY*OREM, UT 84097-2394*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D670776819*THE DONNY NETWORK LLC*1505 W AUGUSTA
   4/21/2015 $   15,000.00   97TH CT*MIAMI FL 33176 US*                 BLVD APT 3*CHICAGO, IL 606423972*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D663250996*KT PACK LLC*944 N WOOD ST APT G*CHICAGO,
   4/21/2015 $    3,000.00   97TH CT*MIAMI FL 33176 US*                 IL 606225004*
                             D9136082504*FLARE EDUCATION*10000 SW       D898063715706*SIDNER VENTURE LLC*7801 N FEDERAL
   4/21/2015 $    1,900.00   97TH CT*MIAMI, FL, 33176, US*              HWY*8-107*BOCA RATON FL 33487-1768*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D670776819*THE DONNY NETWORK LLC*1505 W AUGUSTA
   4/22/2015 $    6,000.00   97TH CT*MIAMI FL 33176 US*                 BLVD APT 3*CHICAGO, IL 606423972*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D670776819*THE DONNY NETWORK LLC*1505 W AUGUSTA
   4/23/2015 $    7,500.00   97TH CT*MIAMI FL 33176 US*                 BLVD APT 3*CHICAGO, IL 606423972*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D663250996*KT PACK LLC*944 N WOOD ST APT G*CHICAGO,
   4/23/2015 $    2,000.00   97TH CT*MIAMI FL 33176 US*                 IL 606225004*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D670776819*THE DONNY NETWORK LLC*1505 W AUGUSTA
   4/24/2015 $    6,000.00   97TH CT*MIAMI FL 33176 US*                 BLVD APT 3*CHICAGO, IL 606423972*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D663250996*KT PACK LLC*944 N WOOD ST APT G*CHICAGO,
   4/24/2015 $    1,200.00   97TH CT*MIAMI FL 33176 US*                 IL 606225004*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D670776819*THE DONNY NETWORK LLC*1505 W AUGUSTA
   4/27/2015 $    7,000.00   97TH CT*MIAMI FL 33176 US*                 BLVD APT 3*CHICAGO, IL 606423972*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D670776819*THE DONNY NETWORK LLC*1505 W AUGUSTA
   4/29/2015 $   19,000.00   97TH CT*MIAMI FL 33176 US*                 BLVD APT 3*CHICAGO, IL 606423972*



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CONFIDENTIAL - DRAFT - Preliminary and Tentative     9359                                                                 Exhibit 2
Flare Inflows
 Date         Amount         Beneficiary                     Originator
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D663250996*KT PACK LLC*944 N WOOD ST APT G*CHICAGO,
   4/29/2015 $    4,000.00   97TH CT*MIAMI FL 33176 US*                 IL 606225004*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D663250996*KT PACK LLC*944 N WOOD ST APT G*CHICAGO,
    5/4/2015 $    7,000.00   97TH CT*MIAMI FL 33176 US*                 IL 606225004*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D663250996*KT PACK LLC*944 N WOOD ST APT G*CHICAGO,
    5/6/2015 $     900.00    97TH CT*MIAMI FL 33176 US*                 IL 606225004*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898062997169*GUS MEDIA LLC*1750 N BAYSHORE DR APT
    5/6/2015 $    6,000.00   97TH CT*MIAMI, FL, 33176, US*              3308*MIAMI FL 33132-3213*
                             D9136082504*FLARE LLC*10000 SW 97TH        D898063716983*A LIND ENTERPRISES LLC*1603 SPRUCE
    5/6/2015 $    5,000.00   CT*MIAMI, FL, 33176, US*                   ST*IOWA CITY IA 52240-6048*
                             D9136082504*FLARE LLC*10000 SW 97TH        D898063716983*A LIND ENTERPRISES LLC*1603 SPRUCE
    5/7/2015 $    1,000.00   CT*MIAMI, FL, 33176, US*                   ST*IOWA CITY IA 52240-6048*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D608179755*O DUFFIE LLC*9215 SALLY LN APT 2E*SCHILLER
   5/18/2015 $   50,000.00   97TH CT*MIAMI FL 33176 US*                 PARK, IL 601762324*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D608179755*O DUFFIE LLC*9215 SALLY LN APT 2E*SCHILLER
   5/19/2015 $   29,000.00   97TH CT*MIAMI FL 33176 US*                 PARK, IL 601762324*
                             D9136082504*FLARE EDUCATION*10000 SW       D898063715683*SIDNER VENTURE LLC*7801 N FEDERAL
   5/28/2015 $   29,000.00   97TH CT*MIAMI, FL, 33176, US*              HWY*8-107*BOCA RATON FL 33487-1768*
                             D9136082504*FLARE LLC*10000 SW 97TH        D898063716983*A LIND ENTERPRISES LLC*1603 SPRUCE
   5/28/2015 $   29,000.00   CT*MIAMI, FL, 33176, US*                   ST*IOWA CITY IA 52240-6048*
                             D9136082504*FLARE LLC*10000 SW 97TH        D898062385674*A LIND ENTERPRISES LLC*1603 SPRUCE
    6/1/2015 $    2,000.00   CT*MIAMI, FL, 33176, US*                   ST*IOWA CITY IA 52240-6048*
                             D9136082504*FLARE LLC*10000 SW 97TH        D898063716983*A LIND ENTERPRISES LLC*1603 SPRUCE
    6/4/2015 $    7,000.00   CT*MIAMI, FL, 33176, US*                   ST*IOWA CITY IA 52240-6048*
                             D9136082504*FLARE EDUCATION*10000 SW       D898063715706*SIDNER VENTURE LLC*7801 N FEDERAL
    6/8/2015 $    4,000.00   97TH CT*MIAMI, FL, 33176, US*              HWY*8-107*BOCA RATON FL 33487-1768*
                             D9136082504*FLARE LLC*10000 SW 97TH        D898062385674*A LIND ENTERPRISES LLC*1603 SPRUCE
    6/8/2015 $    1,300.00   CT*MIAMI, FL, 33176, US*                   ST*IOWA CITY IA 52240-6048*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898063848754*HIGGINS TEAM LLC*2071 BETHEL
   6/15/2015 $   50,000.00   97TH CT*MIAMI, FL, 33176, US*              BLVD*BOCA RATON FL 33486-3141*
                             D9136082504*FLARE EDUCATION*10000 SW       D898060549030*SIDNER VENTURE LLC*7801 N FEDERAL HWY
   6/16/2015 $    4,500.00   97TH CT*MIAMI, FL, 33176, US*              BLDG 8-107*BOCA RATON FL 33487-1768*



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CONFIDENTIAL - DRAFT - Preliminary and Tentative     9360                                                               Exhibit 2
Flare Inflows
 Date         Amount         Beneficiary                     Originator
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898059521603*HIGGINS TEAM LLC*2071 BETHEL
   6/17/2015 $   15,075.00   97TH CT*MIAMI, FL, 33176, US*              BLVD*BOCA RATON FL 33486-3141*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898063848754*HIGGINS TEAM LLC*2071 BETHEL
   6/18/2015 $   18,000.00   97TH CT*MIAMI, FL, 33176, US*              BLVD*BOCA RATON FL 33486-3141*
                             D9136082504*FLARE EDUCATION*10000 SW       D898063715683*SIDNER VENTURE LLC*7801 N FEDERAL
   6/18/2015 $   14,000.00   97TH CT*MIAMI, FL, 33176, US*              HWY*8-107*BOCA RATON FL 33487-1768*
                             D9136082504*FLARE LLC*10000 SW 97TH        D898063716983*A LIND ENTERPRISES LLC*1603 SPRUCE
   6/18/2015 $   13,000.00   CT*MIAMI, FL, 33176, US*                   ST*IOWA CITY IA 52240-6048*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898059521603*HIGGINS TEAM LLC*2071 BETHEL
   6/19/2015 $   14,000.00   97TH CT*MIAMI, FL, 33176, US*              BLVD*BOCA RATON FL 33486-3141*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898059521603*HIGGINS TEAM LLC*2071 BETHEL
   6/24/2015 $    5,000.00   97TH CT*MIAMI, FL, 33176, US*              BLVD*BOCA RATON FL 33486-3141*
                             D9136082504*FLARE LLC*10000 SW 97TH        D898062385674*A LIND ENTERPRISES LLC*1603 SPRUCE
    7/6/2015 $    4,700.00   CT*MIAMI, FL, 33176, US*                   ST*IOWA CITY IA 52240-6048*
                             D9136082504*FLARE EDUCATION*10000 SW       D898060549030*SIDNER VENTURE LLC*7801 N FEDERAL HWY
    7/8/2015 $    5,000.00   97TH CT*MIAMI, FL, 33176, US*              BLDG 8-107*BOCA RATON FL 33487-1768*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898059521603*HIGGINS TEAM LLC*2071 BETHEL
    7/9/2015 $    4,000.00   97TH CT*MIAMI, FL, 33176, US*              BLVD*BOCA RATON FL 33486-3141*
                             D9136082504*FLARE LLC*10000 SW 97TH        D898063716983*A LIND ENTERPRISES LLC*1603 SPRUCE
    7/9/2015 $    9,000.00   CT*MIAMI, FL, 33176, US*                   ST*IOWA CITY IA 52240-6048*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898059521603*HIGGINS TEAM LLC*2071 BETHEL
   7/10/2015 $    9,000.00   97TH CT*MIAMI, FL, 33176, US*              BLVD*BOCA RATON FL 33486-3141*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898059521603*HIGGINS TEAM LLC*2071 BETHEL
   7/15/2015 $   10,000.00   97TH CT*MIAMI, FL, 33176, US*              BLVD*BOCA RATON FL 33486-3141*
                             D9136082504*FLARE EDUCATION*10000 SW       D898060549030*SIDNER VENTURE LLC*7801 N FEDERAL HWY
   7/17/2015 $    5,000.00   97TH CT*MIAMI, FL, 33176, US*              BLDG 8-107*BOCA RATON FL 33487-1768*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898059521603*HIGGINS TEAM LLC*2071 BETHEL
    8/5/2015 $    1,000.00   97TH CT*MIAMI, FL, 33176, US*              BLVD*BOCA RATON FL 33486-3141*
                             D9136082504*FLARE LLC*10000 SW 97TH        D898063716983*A LIND ENTERPRISES LLC*1603 SPRUCE
    8/5/2015 $    2,300.00   CT*MIAMI, FL, 33176, US*                   ST*IOWA CITY IA 52240-6048*
                             D9136082504*FLARE LLC*10000 SW 97TH        D898062385674*A LIND ENTERPRISES LLC*1603 SPRUCE
    8/5/2015 $    5,500.00   CT*MIAMI, FL, 33176, US*                   ST*IOWA CITY IA 52240-6048*



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CONFIDENTIAL - DRAFT - Preliminary and Tentative     9361                                                                 Exhibit 2
Flare Inflows
 Date         Amount         Beneficiary                     Originator
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D608179755*O DUFFIE LLC*9215 SALLY LN APT 2E*SCHILLER
    8/6/2015 $    9,000.00   97TH CT*MIAMI FL 33176 US*                 PARK, IL 601762324*
                             D9136082504*FLARE EDUCATION*10000 SW       D898060549030*SIDNER VENTURE LLC*7801 N FEDERAL HWY
    8/6/2015 $   19,300.00   97TH CT*MIAMI, FL, 33176, US*              BLDG 8-107*BOCA RATON FL 33487-1768*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898059521603*HIGGINS TEAM LLC*2071 BETHEL
    8/7/2015 $    8,500.00   97TH CT*MIAMI, FL, 33176, US*              BLVD*BOCA RATON FL 33486-3141*
                             D9136082504*FLARE LLC*10000 SW 97TH        D898063716983*A LIND ENTERPRISES LLC*1603 SPRUCE
   8/10/2015 $    7,500.00   CT*MIAMI, FL, 33176, US*                   ST*IOWA CITY IA 52240-6048*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898059521603*HIGGINS TEAM LLC*2071 BETHEL
   8/11/2015 $   30,000.00   97TH CT*MIAMI, FL, 33176, US*              BLVD*BOCA RATON FL 33486-3141*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898063848754*HIGGINS TEAM LLC*2071 BETHEL
   8/13/2015 $    8,500.00   97TH CT*MIAMI, FL, 33176, US*              BLVD*BOCA RATON FL 33486-3141*
                             D9136082504*FLARE EDUCATION*10000 SW       D898063715683*SIDNER VENTURE LLC*7801 N FEDERAL
   8/13/2015 $   12,000.00   97TH CT*MIAMI, FL, 33176, US*              HWY*8-107*BOCA RATON FL 33487-1768*
                             D9136082504*FLARE LLC*10000 SW 97TH        D898063716983*A LIND ENTERPRISES LLC*1603 SPRUCE
   8/13/2015 $   10,000.00   CT*MIAMI, FL, 33176, US*                   ST*IOWA CITY IA 52240-6048*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898063848754*HIGGINS TEAM LLC*2071 BETHEL
   8/18/2015 $    6,800.00   97TH CT*MIAMI, FL, 33176, US*              BLVD*BOCA RATON FL 33486-3141*
                             D9136082504*FLARE EDUCATION*10000 SW       D898060549030*SIDNER VENTURE LLC*7801 N FEDERAL HWY
   8/18/2015 $    4,900.00   97TH CT*MIAMI, FL, 33176, US*              BLDG 8-107*BOCA RATON FL 33487-1768*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898066475218*PLESSETT VENTURE LLC*7350 SW 89TH ST
    9/3/2015 $    9,000.00   97TH CT*MIAMI, FL, 33176, US*              APT 719S*MIAMI FL 33156-7716*
                             D9136082504*FLARE EDUCATION*10000 SW       D898060549030*SIDNER VENTURE LLC*7801 N FEDERAL HWY
    9/9/2015 $    5,000.00   97TH CT*MIAMI, FL, 33176, US*              BLDG 8-107*BOCA RATON FL 33487-1768*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D663250996*KT PACK LLC*944 N WOOD ST APT G*CHICAGO,
   9/17/2015 $    4,000.00   97TH CT*MIAMI FL 33176 US*                 IL 606225004*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D608179755*O DUFFIE LLC*9215 SALLY LN APT 2E*SCHILLER
   9/17/2015 $    1,800.00   97TH CT*MIAMI FL 33176 US*                 PARK, IL 601762324*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898066475218*PLESSETT VENTURE LLC*7350 SW 89TH ST
   9/17/2015 $   20,000.00   97TH CT*MIAMI, FL, 33176, US*              APT 719S*MIAMI FL 33156-7716*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898059521603*HIGGINS TEAM LLC*2071 BETHEL
   9/17/2015 $    7,000.00   97TH CT*MIAMI, FL, 33176, US*              BLVD*BOCA RATON FL 33486-3141*



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CONFIDENTIAL - DRAFT - Preliminary and Tentative     9362                                                               Exhibit 2
Flare Inflows
 Date         Amount         Beneficiary                     Originator
                             D9136082504*FLARE EDUCATION*10000 SW       D898063715683*SIDNER VENTURE LLC*7801 N FEDERAL
   9/17/2015 $   12,300.00   97TH CT*MIAMI, FL, 33176, US*              HWY*8-107*BOCA RATON FL 33487-1768*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898066475218*PLESSETT VENTURE LLC*7350 SW 89TH ST
   9/18/2015 $    5,000.00   97TH CT*MIAMI, FL, 33176, US*              APT 719S*MIAMI FL 33156-7716*
                             D9136082504*FLARE LLC*10000 SW 97TH        D898062385674*A LIND ENTERPRISES LLC*1603 SPRUCE
   9/18/2015 $   11,000.00   CT*MIAMI, FL, 33176, US*                   ST*IOWA CITY IA 52240-6048*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898066475218*PLESSETT VENTURE LLC*7350 SW 89TH ST
   9/21/2015 $   11,000.00   97TH CT*MIAMI, FL, 33176, US*              APT 719S*MIAMI FL 33156-7716*
                             D9136082504*FLARE EDUCATION*10000 SW       D898063715683*SIDNER VENTURE LLC*7801 N FEDERAL
   9/21/2015 $    8,500.00   97TH CT*MIAMI, FL, 33176, US*              HWY*8-107*BOCA RATON FL 33487-1768*
                                                                        D761811525*GUS MEDIA LLC DBA AUCTION
                           D9136082504*FLARE EDUCATION LLC*10000 SW     POWER*ACCESS*1750 N BAYSHORE DR APT 3706*MIAMI, FL
   9/22/2015 $    3,900.00 97TH CT*MIAMI FL 33176 US*                   331323214*
                           D9136082504*FLARE EDUCATION LLC*10000 SW     D663250996*KT PACK LLC*944 N WOOD ST APT G*CHICAGO,
   9/22/2015 $    3,000.00 97TH CT*MIAMI FL 33176 US*                   IL 606225004*
                                                                        D761811525*GUS MEDIA LLC DBA AUCTION
                             D9136082504*FLARE EDUCATION LLC*10000 SW   POWER*ACCESS*1750 N BAYSHORE DR APT 3706*MIAMI, FL
   9/23/2015 $   27,000.00 97TH CT*MIAMI FL 33176 US*                   331323214*
                           D9136082504*FLARE EDUCATION LLC*10000 SW     D663250996*KT PACK LLC*944 N WOOD ST APT G*CHICAGO,
   9/23/2015 $    1,000.00 97TH CT*MIAMI FL 33176 US*                   IL 606225004*
                           D9136082504*FLARE EDUCATION LLC*10000 SW     D898066475218*PLESSETT VENTURE LLC*7350 SW 89TH ST
   9/28/2015 $    3,500.00 97TH CT*MIAMI, FL, 33176, US*                APT 719S*MIAMI FL 33156-7716*
                           D9136082504*FLARE EDUCATION*10000 SW         D898063715683*SIDNER VENTURE LLC*7801 N FEDERAL
   9/28/2015 $    3,000.00 97TH CT*MIAMI, FL, 33176, US*                HWY*8-107*BOCA RATON FL 33487-1768*
                                                                        D761811525*GUS MEDIA LLC DBA AUCTION
                             D9136082504*FLARE EDUCATION LLC*10000 SW   POWER*ACCESS*1750 N BAYSHORE DR APT 3706*MIAMI, FL
   9/30/2015 $    2,000.00   97TH CT*MIAMI FL 33176 US*                 331323214*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898066475218*PLESSETT VENTURE LLC*7350 SW 89TH ST
   10/1/2015 $    3,000.00   97TH CT*MIAMI, FL, 33176, US*              APT 719S*MIAMI FL 33156-7716*
                             D9136082504*FLARE LLC*10000 SW 97TH        D898063716970*A LIND ENTERPRISES LLC*1603 SPRUCE
   10/2/2015 $    1,800.00   CT*MIAMI, FL, 33176, US*                   ST*IOWA CITY IA 52240-6048*
                             D9136082504*FLARE EDUCATION*10000 SW       D898060549030*SIDNER VENTURE LLC*7801 N FEDERAL HWY
   10/6/2015 $    5,000.00   97TH CT*MIAMI, FL, 33176, US*              BLDG 8-107*BOCA RATON FL 33487-1768*


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CONFIDENTIAL - DRAFT - Preliminary and Tentative     9363                                                                 Exhibit 2
Flare Inflows
 Date         Amount         Beneficiary                     Originator
                                                                       D761811525*GUS MEDIA LLC DBA AUCTION
                            D9136082504*FLARE EDUCATION LLC*10000 SW   POWER*ACCESS*1750 N BAYSHORE DR APT 3706*MIAMI, FL
   10/7/2015 $   1,400.00   97TH CT*MIAMI FL 33176 US*                 331323214*
                            D9136082504*FLARE LLC*10000 SW 97TH        D898062385674*A LIND ENTERPRISES LLC*1603 SPRUCE
   10/7/2015 $   2,800.00   CT*MIAMI, FL, 33176, US*                   ST*IOWA CITY IA 52240-6048*
                            D9136082504*FLARE EDUCATION LLC*10000 SW   D898059521603*HIGGINS TEAM LLC*2071 BETHEL
   10/9/2015 $   4,000.00   97TH CT*MIAMI, FL, 33176, US*              BLVD*BOCA RATON FL 33486-3141*
                            D9136082504*FLARE EDUCATION LLC*10000 SW   D898063848754*HIGGINS TEAM LLC*2071 BETHEL
  10/15/2015 $   8,500.00   97TH CT*MIAMI, FL, 33176, US*              BLVD*BOCA RATON FL 33486-3141*
                            D9136082504*FLARE LLC*10000 SW 97TH        D898063716983*A LIND ENTERPRISES LLC*1603 SPRUCE
  10/15/2015 $   7,000.00   CT*MIAMI, FL, 33176, US*                   ST*IOWA CITY IA 52240-6048*
                            D9136082504*FLARE EDUCATION*10000 SW       D898063715683*SIDNER VENTURE LLC*7801 N FEDERAL
  10/16/2015 $   7,500.00   97TH CT*MIAMI, FL, 33176, US*              HWY*8-107*BOCA RATON FL 33487-1768*
                                                                       D761811525*GUS MEDIA LLC DBA AUCTION
                            D9136082504*FLARE EDUCATION LLC*10000 SW   POWER*ACCESS*1750 N BAYSHORE DR APT 3706*MIAMI, FL
  10/21/2015 $   6,800.00   97TH CT*MIAMI FL 33176 US*                 331323214*
                            D9136082504*FLARE EDUCATION LLC*10000 SW   D898063848754*HIGGINS TEAM LLC*2071 BETHEL
   11/3/2015 $   1,000.00   97TH CT*MIAMI, FL, 33176, US*              BLVD*BOCA RATON FL 33486-3141*
                            D9136082504*FLARE EDUCATION LLC*10000 SW   D608179755*O DUFFIE LLC*9215 SALLY LN APT 2E*SCHILLER
   11/4/2015 $    200.00    97TH CT*MIAMI FL 33176 US*                 PARK, IL 601762324*
                            D9136082504*FLARE EDUCATION LLC*10000 SW   D898070861779*PURPLE WHALE MANAGEMENT LLC*485
   11/6/2015 $   4,000.00   97TH COURT*MIAMI, FL, 33176, US*           BRICKELL AVE APT 4208*MIAMI FL 33131-2760*
                            D9136082504*FLARE EDUCATION LLC*10000 SW   D608179755*O DUFFIE LLC*9215 SALLY LN APT 2E*SCHILLER
   11/6/2015 $   1,000.00   97TH CT*MIAMI FL 33176 US*                 PARK, IL 601762324*
                            D9136082504*FLARE EDUCATION LLC*10000 SW   D898066475218*PLESSETT VENTURE LLC*7350 SW 89TH ST
   11/6/2015 $    700.00    97TH CT*MIAMI, FL, 33176, US*              APT 719S*MIAMI FL 33156-7716*
                            D9136082504*FLARE EDUCATION LLC*10000 SW   D898063848754*HIGGINS TEAM LLC*2071 BETHEL
   11/6/2015 $    250.00    97TH CT*MIAMI, FL, 33176, US*              BLVD*BOCA RATON FL 33486-3141*
                            D9136082504*FLARE EDUCATION LLC*10000 SW   D898059521603*HIGGINS TEAM LLC*2071 BETHEL
   11/6/2015 $   1,000.00   97TH CT*MIAMI, FL, 33176, US*              BLVD*BOCA RATON FL 33486-3141*
                            D9136082504*FLARE EDUCATION*10000 SW       D898063715683*SIDNER VENTURE LLC*7801 N FEDERAL
   11/6/2015 $    230.00    97TH CT*MIAMI, FL, 33176, US*              HWY*8-107*BOCA RATON FL 33487-1768*



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CONFIDENTIAL - DRAFT - Preliminary and Tentative     9364                                                               Exhibit 2
Flare Inflows
 Date         Amount         Beneficiary                     Originator
                           D9136082504*FLARE LLC*10000 SW 97TH          D898063716983*A LIND ENTERPRISES LLC*1603 SPRUCE
   11/6/2015 $    2,800.00 CT*MIAMI, FL, 33176, US*                     ST*IOWA CITY IA 52240-6048*
                           D9136082504*FLARE LLC*10000 SW 97TH          D898062385674*A LIND ENTERPRISES LLC*1603 SPRUCE
   11/9/2015 $    3,000.00 CT*MIAMI, FL, 33176, US*                     ST*IOWA CITY IA 52240-6048*
                           D9136082504*FLARE EDUCATION*10000 SW         D898063715683*SIDNER VENTURE LLC*7801 N FEDERAL
  11/18/2015 $    3,700.00 97TH CT*MIAMI, FL, 33176, US*                HWY*8-107*BOCA RATON FL 33487-1768*
                                                                        D761811525*GUS MEDIA LLC DBA AUCTION
                           D9136082504*FLARE EDUCATION LLC*10000 SW     POWER*ACCESS*1750 N BAYSHORE DR APT 3706*MIAMI, FL
  11/19/2015 $    6,000.00 97TH CT*MIAMI FL 33176 US*                   331323214*
                           D9136082504*FLARE EDUCATION LLC*10000 SW     D898066475218*PLESSETT VENTURE LLC*7350 SW 89TH ST
  11/19/2015 $    4,400.00 97TH CT*MIAMI, FL, 33176, US*                APT 719S*MIAMI FL 33156-7716*
                           D9136082504*FLARE LLC*10000 SW 97TH          D898063716983*A LIND ENTERPRISES LLC*1603 SPRUCE
  11/19/2015 $    4,200.00 CT*MIAMI, FL, 33176, US*                     ST*IOWA CITY IA 52240-6048*
                                                                        D761811525*GUS MEDIA LLC DBA AUCTION
                          D9136082504*FLARE EDUCATION LLC*10000 SW      POWER*ACCESS*1750 N BAYSHORE DR APT 3706*MIAMI, FL
  11/20/2015 $     500.00 97TH CT*MIAMI FL 33176 US*                    331323214*
                          D9136082504*FLARE EDUCATION LLC*10000 SW      D898066475218*PLESSETT VENTURE LLC*7350 SW 89TH ST
  11/20/2015 $     600.00 97TH CT*MIAMI, FL, 33176, US*                 APT 719S*MIAMI FL 33156-7716*
                                                                        D761811525*GUS MEDIA LLC DBA AUCTION
                           D9136082504*FLARE EDUCATION LLC*10000 SW     POWER*ACCESS*1750 N BAYSHORE DR APT 3706*MIAMI, FL
  11/23/2015 $    1,000.00 97TH CT*MIAMI FL 33176 US*                   331323214*
                                                                        D761811525*GUS MEDIA LLC DBA AUCTION
                             D9136082504*FLARE EDUCATION LLC*10000 SW   POWER*ACCESS*1750 N BAYSHORE DR APT 3706*MIAMI, FL
  11/24/2015 $   17,500.00   97TH CT*MIAMI FL 33176 US*                 331323214*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898066475218*PLESSETT VENTURE LLC*7350 SW 89TH ST
  11/24/2015 $   11,500.00   97TH CT*MIAMI, FL, 33176, US*              APT 719S*MIAMI FL 33156-7716*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898063848754*HIGGINS TEAM LLC*2071 BETHEL
  11/24/2015 $    3,500.00   97TH CT*MIAMI, FL, 33176, US*              BLVD*BOCA RATON FL 33486-3141*
                             D9136082504*FLARE EDUCATION*10000 SW       D898063715683*SIDNER VENTURE LLC*7801 N FEDERAL
  11/24/2015 $    7,000.00   97TH CT*MIAMI, FL, 33176, US*              HWY*8-107*BOCA RATON FL 33487-1768*
                             D9136082504*FLARE LLC*10000 SW 97TH        D898063716983*A LIND ENTERPRISES LLC*1603 SPRUCE
  11/24/2015 $   10,500.00   CT*MIAMI, FL, 33176, US*                   ST*IOWA CITY IA 52240-6048*



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CONFIDENTIAL - DRAFT - Preliminary and Tentative     9365                                                               Exhibit 2
Flare Inflows
 Date         Amount         Beneficiary                     Originator
                                                                        D761811525*GUS MEDIA LLC DBA AUCTION
                             D9136082504*FLARE EDUCATION LLC*10000 SW   POWER*ACCESS*1750 N BAYSHORE DR APT 3706*MIAMI, FL
  11/27/2015 $    7,800.00   97TH CT*MIAMI FL 33176 US*                 331323214*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898066475218*PLESSETT VENTURE LLC*7350 SW 89TH ST
  11/27/2015 $    5,000.00   97TH CT*MIAMI, FL, 33176, US*              APT 719S*MIAMI FL 33156-7716*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898063848754*HIGGINS TEAM LLC*2071 BETHEL
  11/27/2015 $    5,000.00   97TH CT*MIAMI, FL, 33176, US*              BLVD*BOCA RATON FL 33486-3141*
                             D9136082504*FLARE EDUCATION*10000 SW       D898063715683*SIDNER VENTURE LLC*7801 N FEDERAL
  11/27/2015 $    8,800.00   97TH CT*MIAMI, FL, 33176, US*              HWY*8-107*BOCA RATON FL 33487-1768*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898063848754*HIGGINS TEAM LLC*2071 BETHEL
  11/30/2015 $   19,000.00   97TH CT*MIAMI, FL, 33176, US*              BLVD*BOCA RATON FL 33486-3141*
                             D9136082504*FLARE EDUCATION*10000 SW       D898063715683*SIDNER VENTURE LLC*7801 N FEDERAL
  11/30/2015 $    3,500.00   97TH CT*MIAMI, FL, 33176, US*              HWY*8-107*BOCA RATON FL 33487-1768*
                             D9136082504*FLARE LLC*10000 SW 97TH        D898063716983*A LIND ENTERPRISES LLC*1603 SPRUCE
  11/30/2015 $   23,000.00   CT*MIAMI, FL, 33176, US*                   ST*IOWA CITY IA 52240-6048*
                                                                        D761811525*GUS MEDIA LLC DBA AUCTION
                             D9136082504*FLARE EDUCATION LLC*10000 SW   POWER*ACCESS*1750 N BAYSHORE DR APT 3706*MIAMI, FL
   12/1/2015 $   26,500.00 97TH CT*MIAMI FL 33176 US*                   331323214*
                           D9136082504*FLARE EDUCATION LLC*10000 SW     D898066475218*PLESSETT VENTURE LLC*7350 SW 89TH ST
   12/1/2015 $   28,000.00 97TH CT*MIAMI, FL, 33176, US*                APT 719S*MIAMI FL 33156-7716*
                           D9136082504*FLARE EDUCATION*10000 SW         D898063715683*SIDNER VENTURE LLC*7801 N FEDERAL
   12/1/2015 $    6,500.00 97TH CT*MIAMI, FL, 33176, US*                HWY*8-107*BOCA RATON FL 33487-1768*
                           D9136082504*FLARE LLC*10000 SW 97TH          D898063716983*A LIND ENTERPRISES LLC*1603 SPRUCE
   12/1/2015 $    5,300.00 CT*MIAMI, FL, 33176, US*                     ST*IOWA CITY IA 52240-6048*
                                                                        D761811525*GUS MEDIA LLC DBA AUCTION
                           D9136082504*FLARE EDUCATION LLC*10000 SW     POWER*ACCESS*1750 N BAYSHORE DR APT 3706*MIAMI, FL
   12/3/2015 $   16,000.00 97TH CT*MIAMI FL 33176 US*                   331323214*
                           D9136082504*FLARE EDUCATION LLC*10000 SW     D898063848754*HIGGINS TEAM LLC*2071 BETHEL
   12/7/2015 $   16,000.00 97TH CT*MIAMI, FL, 33176, US*                BLVD*BOCA RATON FL 33486-3141*
                                                                        D761811525*GUS MEDIA LLC DBA AUCTION
                             D9136082504*FLARE EDUCATION LLC*10000 SW   POWER*ACCESS*1750 N BAYSHORE DR APT 3706*MIAMI, FL
   12/8/2015 $    6,000.00 97TH CT*MIAMI FL 33176 US*                   331323214*



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CONFIDENTIAL - DRAFT - Preliminary and Tentative     9366                                                                Exhibit 2
Flare Inflows
 Date         Amount         Beneficiary                     Originator
                           D9136082504*FLARE EDUCATION LLC*10000 SW     D898066475218*PLESSETT VENTURE LLC*7350 SW 89TH ST
   12/8/2015 $   15,000.00 97TH CT*MIAMI, FL, 33176, US*                APT 719S*MIAMI FL 33156-7716*
                           D9136082504*FLARE EDUCATION LLC*10000 SW     D898063848754*HIGGINS TEAM LLC*2071 BETHEL
   12/8/2015 $    4,000.00 97TH CT*MIAMI, FL, 33176, US*                BLVD*BOCA RATON FL 33486-3141*
                           D9136082504*FLARE LLC*10000 SW 97TH          D898063716983*A LIND ENTERPRISES LLC*1603 SPRUCE
   12/8/2015 $   17,000.00 CT*MIAMI, FL, 33176, US*                     ST*IOWA CITY IA 52240-6048*
                                                                        D761811525*GUS MEDIA LLC DBA AUCTION
                             D9136082504*FLARE EDUCATION LLC*10000 SW   POWER*ACCESS*1750 N BAYSHORE DR APT 3706*MIAMI, FL
  12/11/2015 $    9,000.00   97TH CT*MIAMI FL 33176 US*                 331323214*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898066475218*PLESSETT VENTURE LLC*7350 SW 89TH ST
  12/11/2015 $   10,000.00   97TH CT*MIAMI, FL, 33176, US*              APT 719S*MIAMI FL 33156-7716*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898063848754*HIGGINS TEAM LLC*2071 BETHEL
  12/11/2015 $   10,000.00   97TH CT*MIAMI, FL, 33176, US*              BLVD*BOCA RATON FL 33486-3141*
                             D9136082504*FLARE LLC*10000 SW 97TH        D898063716983*A LIND ENTERPRISES LLC*1603 SPRUCE
  12/11/2015 $    8,000.00   CT*MIAMI, FL, 33176, US*                   ST*IOWA CITY IA 52240-6048*
                             D9136082504*FLARE EDUCATION*10000 SW       D898063715683*SIDNER VENTURE LLC*7801 N FEDERAL
  12/16/2015 $   13,000.00   97TH CT*MIAMI, FL, 33176, US*              HWY*8-107*BOCA RATON FL 33487-1768*
                                                                        D761811525*GUS MEDIA LLC DBA AUCTION
                             D9136082504*FLARE EDUCATION LLC*10000 SW   POWER*ACCESS*1750 N BAYSHORE DR APT 3706*MIAMI, FL
  12/17/2015 $    7,000.00   97TH CT*MIAMI FL 33176 US*                 331323214*
                             D9136082504*FLARE EDUCATION*10000 SW       D898063715683*SIDNER VENTURE LLC*7801 N FEDERAL
  12/17/2015 $    6,900.00   97TH CT*MIAMI, FL, 33176, US*              HWY*8-107*BOCA RATON FL 33487-1768*
                             D9136082504*FLARE EDUCATION*10000 SW       D898063715683*SIDNER VENTURE LLC*7801 N FEDERAL
  12/23/2015 $    4,900.00   97TH CT*MIAMI, FL, 33176, US*              HWY*8-107*BOCA RATON FL 33487-1768*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D663250996*KT PACK LLC*944 N WOOD ST APT G*CHICAGO,
  12/28/2015 $    1,500.00   97TH CT*MIAMI FL 33176 US*                 IL 606225004*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D663250996*KT PACK LLC*944 N WOOD ST APT G*CHICAGO,
  12/30/2015 $    4,500.00   97TH CT*MIAMI FL 33176 US*                 IL 606225004*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898070861779*PURPLE WHALE MANAGEMENT LLC*485
  12/31/2015 $   25,000.00   97TH COURT*MIAMI, FL, 33176, US*           BRICKELL AVE APT 4208*MIAMI FL 33131-2760*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898070861779*PURPLE WHALE MANAGEMENT LLC*485
   1/15/2016 $   15,000.00   97TH COURT*MIAMI, FL, 33176, US*           BRICKELL AVE APT 4208*MIAMI FL 33131-2760*



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CONFIDENTIAL - DRAFT - Preliminary and Tentative     9367                                                                Exhibit 2
Flare Inflows
 Date         Amount         Beneficiary                     Originator
                                                                        D761811525*GUS MEDIA LLC DBA AUCTION
                           D9136082504*FLARE EDUCATION LLC*10000 SW     POWER*ACCESS*1750 N BAYSHORE DR APT 3706*MIAMI, FL
   1/26/2016 $    4,000.00 97TH CT*MIAMI FL 33176 US*                   331323214*
                           D9136082504*FLARE EDUCATION LLC*10000 SW     D898066475218*PLESSETT VENTURE LLC*7350 SW 89TH ST
   1/26/2016 $    6,000.00 97TH CT*MIAMI, FL, 33176, US*                APT 719S*MIAMI FL 33156-7716*
                           D9136082504*FLARE LLC*10000 SW 97TH          D898063716983*A LIND ENTERPRISES LLC*1603 SPRUCE
   1/26/2016 $    1,500.00 CT*MIAMI, FL, 33176, US*                     ST*IOWA CITY IA 52240-6048*
                                                                        D761811525*GUS MEDIA LLC DBA AUCTION
                             D9136082504*FLARE EDUCATION LLC*10000 SW   POWER*ACCESS*1750 N BAYSHORE DR APT 3706*MIAMI, FL
   1/27/2016 $    2,000.00   97TH CT*MIAMI FL 33176 US*                 331323214*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898066475218*PLESSETT VENTURE LLC*7350 SW 89TH ST
   1/27/2016 $    2,000.00   97TH CT*MIAMI, FL, 33176, US*              APT 719S*MIAMI FL 33156-7716*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898063848754*HIGGINS TEAM LLC*2071 BETHEL
   1/27/2016 $    3,000.00   97TH CT*MIAMI, FL, 33176, US*              BLVD*BOCA RATON FL 33486-3141*
                             D9136082504*FLARE LLC*10000 SW 97TH        D898063716983*A LIND ENTERPRISES LLC*1603 SPRUCE
   1/28/2016 $    1,000.00   CT*MIAMI, FL, 33176, US*                   ST*IOWA CITY IA 52240-6048*
                             D9136082504*FLARE LLC*10000 SW 97TH        D898063716983*A LIND ENTERPRISES LLC*1603 SPRUCE
   1/28/2016 $    2,500.00   CT*MIAMI, FL, 33176, US*                   ST*IOWA CITY IA 52240-6048*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898070861779*PURPLE WHALE MANAGEMENT LLC*485
   1/29/2016 $    4,000.00   97TH COURT*MIAMI, FL, 33176, US*           BRICKELL AVE APT 4208*MIAMI FL 33131-2760*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898063848754*HIGGINS TEAM LLC*2071 BETHEL
   1/29/2016 $    2,500.00   97TH CT*MIAMI, FL, 33176, US*              BLVD*BOCA RATON FL 33486-3141*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D663250996*KT PACK LLC*944 N WOOD ST APT G*CHICAGO,
    2/2/2016 $   24,000.00   97TH CT*MIAMI FL 33176 US*                 IL 606225004*
                                                                        D761811525*GUS MEDIA LLC DBA AUCTION
                             D9136082504*FLARE EDUCATION LLC*10000 SW   POWER*ACCESS*1750 N BAYSHORE DR APT 3706*MIAMI, FL
    2/5/2016 $   28,000.00   97TH CT*MIAMI FL 33176 US*                 331323214*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D663250996*KT PACK LLC*944 N WOOD ST APT G*CHICAGO,
    2/5/2016 $    4,000.00   97TH CT*MIAMI FL 33176 US*                 IL 606225004*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898066475218*PLESSETT VENTURE LLC*7350 SW 89TH ST
    2/8/2016 $   25,000.00   97TH CT*MIAMI, FL, 33176, US*              APT 719S*MIAMI FL 33156-7716*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898063848754*HIGGINS TEAM LLC*2071 BETHEL
    2/8/2016 $   26,000.00   97TH CT*MIAMI, FL, 33176, US*              BLVD*BOCA RATON FL 33486-3141*


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CONFIDENTIAL - DRAFT - Preliminary and Tentative     9368                                                                  Exhibit 2
Flare Inflows
 Date         Amount         Beneficiary                     Originator
                             D9136082504*FLARE LLC*10000 SW 97TH        D898063716983*A LIND ENTERPRISES LLC*1603 SPRUCE
    2/8/2016 $     32,000.00 CT*MIAMI, FL, 33176, US*                   ST*IOWA CITY IA 52240-6048*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898070861779*PURPLE WHALE MANAGEMENT LLC*485
   2/12/2016 $     10,000.00 97TH COURT*MIAMI, FL, 33176, US*           BRICKELL AVE APT 4208*MIAMI FL 33131-2760*
                             D9136082504*FLARE EDUCATION LLC*10000 SW   D898058689494*LOCK MEDIA LLC*9742 NW 46TH
   3/29/2016 $      5,200.00 97TH CT*MIAMI, FL, 33176, US*              TER*DORAL FL 33178-1982*
            $ 5,725,764.87 Total

Sources:
DOJ-EDNY-0026648
DOJ-EDNY-0026649
DOJ-EDNY-0006456
DOJ-EDNY-0006457




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                                                                    9369                                          Exhibit 3

CONFIDENTIAL - DRAFT - Preliminary and Tentative
Summary of Deposits by Business Line

January 2013 - June 2014

Line of Business                     Number of Deposits             % of Total
Business Opportunities                           4,031                    48%
Nutritional Products                             4,181                    49%
TBD                                                250                     3%
Total                                            8,462

Assuming TBD Deposits are in the same ratio as the rest of the deposits:
Line of Business                                Deposits          % of Total
Business Opportunities                            4,154                  49%
Nutritional Products                              4,308                  51%

Sources:
DOJ-EDNY-0006456
DOJ-EDNY-0006457

Note:
Determinations of deposit line of business are based on discovery
documentation, internet research, and/or Defendant




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                                                               9370

CONFIDENTIAL - DRAFT - Preliminary and Tentative
Flare Education Outflows Summary, February 2013 through June 2014

Outflow                                 Amount
Affiliates                 $      (2,259,526.20)
Intercompany Transfer      $        (848,500.00)
Professional Fees          $        (559,963.42)
Chargeback                 $        (415,464.65)
Shipping                   $        (276,554.42)
Cost of Goods Sold         $        (249,684.34)
Loan                       $        (203,450.00)
Larby's Personal           $        (137,248.00)
Payroll                    $        (122,336.21)
Discount                   $         (56,364.47)
Signer's Payout            $         (52,535.00)
Referral Fees              $         (45,899.78)
Merchant Fees              $         (41,872.21)
(blank)                    $         (22,886.84)
Bank Fees                  $         (19,221.38)
Travel Expenses            $         (14,948.74)
Distributions              $         (13,900.00)
Monthly Gateway Fees       $          (9,794.28)
Agent Fee                  $          (8,145.84)
Miscellaneous Expenses     $          (8,000.00)
Lease                      $          (7,800.00)
Customer Refunds           $          (3,227.04)
Total                      $      (5,377,322.82)

Source:
DOJ-EDNY-0006457




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CONFIDENTIAL - DRAFT - Preliminary and Tentative            9371
Jump Learning to Flare Education Wires
 Date      Amount         Beneficiary       Originator
  6/10/13 $ 1,000.00 Flare Education LLC JUMP LEARNING LLC
 10/21/13 $ 10,000.00 Flare Education LLC JUMP LEARNING LLC
  11/8/13 $ 25,000.00 Flare Education LLC JUMP LEARNING LLC
 11/21/13 $ 30,000.00 Flare Education LLC JUMP LEARNING LLC
 11/27/13 $ 30,000.00 Flare Education LLC JUMP LEARNING LLC
  12/2/13 $ 25,000.00 Flare Education LLC JUMP LEARNING LLC
  12/2/13 $ 4,500.00 Flare Education LLC JUMP LEARNING LLC
  12/3/13 $ 40,000.00 Flare Education LLC JUMP LEARNING LLC
 12/16/13 $ 20,000.00 Flare Education LLC JUMP LEARNING LLC
 12/24/13 $ 5,000.00 Flare Education LLC JUMP LEARNING LLC
  2/24/14 $ 15,000.00 Flare Education LLC JUMP LEARNING LLC
  2/28/14 $ 3,100.00 Flare Education LLC JUMP LEARNING LLC
  4/21/14 $ 45,000.00 Flare Education LLC JUMP LEARNING LLC
    5/8/14 $ 30,000.00 Flare Education LLC JUMP LEARNING LLC
  5/12/14 $ 5,000.00 Flare Education LLC JUMP LEARNING LLC
  5/20/14 $ 50,000.00 Flare Education LLC JUMP LEARNING LLC
  5/21/14 $ 30,000.00 Flare Education LLC JUMP LEARNING LLC
  5/22/14 $ 5,000.00 Flare Education LLC JUMP LEARNING LLC
  5/30/14 $      500.00 Flare Education LLC JUMP LEARNING LLC
           $ 374,100.00 Total

Sources:
DOJ-EDNY-0026648
DOJ-EDNY-0026649
DOJ-EDNY-0006456
DOJ-EDNY-0006457




                                                       142
                                                                                                      Exhibit 6
                     Case 1:21-cr-00064-KAM Document 164 Filed 03/10/25   Page 148 of 224 PageID #:
CONFIDENTIAL - DRAFT - Preliminary and Tentative        9372
Flare Education to Angry Elephant Wires
Date     Amount        Beneficiary                  Originator

2/21/14 $ 30,000.00    Angry Elephant Marketing LLC Flare Education LLC

2/28/14 $ 73,700.00    Angry Elephant Marketing LLC Flare Education LLC

 5/2/14 $ 15,000.00    Angry Elephant Marketing LLC Flare Education LLC

5/21/14 $ 55,000.00    Angry Elephant Marketing LLC Flare Education LLC
        $ 173,700.00   Total

Sources:
DOJ-EDNY-0026648
DOJ-EDNY-0026649
DOJ-EDNY-0006456
DOJ-EDNY-0006457




                                                                   143
                                                                                                       Exhibit 7
                     Case 1:21-cr-00064-KAM Document 164 Filed 03/10/25    Page 149 of 224 PageID #:
CONFIDENTIAL - DRAFT - Preliminary and Tentative        9373
Flare Education to Purple Whale Wires
Date       Amount        Beneficiary                  Originator
                         D898070861779*PURPLE WHALE   D009136082504*FLARE EDUCATION LLC*10000
    9/18/15 $ 153,500.00 MANAGEMENT LLC*              SW 97TH COURT MIAMI FL 331 76*
                         D898070861779*PURPLE WHALE   D009136082504*FLARE EDUCATION LLC*10000
    12/7/15 $ 40,000.00 MANAGEMENT LLC*               SW 97TH COURT MIAMI FL 331 76*
            $ 193,500.00 Total

Sources:
DOJ-EDNY-0026648
DOJ-EDNY-0026649
DOJ-EDNY-0006456
DOJ-EDNY-0006457




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                                                                                                                        9374

                                                                                                                                     Closed Accounts
                                                                                                                                                                                         Projected         Projected                           # of Days since last   Amount of last
      Nicey Mid Name            Company                Processor             Agent                                   Mid Number              Nicey YTD Volume       Nicey YTD Refunds                                    Settlement Deposits                                              Date of last Deposit   Comment
                                                                                          Acquiring Bank Name                                                                           Reserve in $$     Reserve in %                                 settlement      Settlement
                                                                                                                                                                                                                                                                                                                 Account
  Cynergy (maesuppcom)            Flare                                                                           3899000002380170       $                      -    $              -   $     2,008.01        0%                 No                           206             1,045.16        3/18/2013
                                                        Cynergy           Steve/ Jaclyn          Harris                                                                                                                                                                                                           Closed
                                                                                                                                                                                                                                                                                                                  Account
      flareic (6/20/13)           Flare                                                                            8788152000134        $            170,059.00 $         (13,237.29) $      19,886.73        13%                No                            58                159.00       8/13/2013
                                                  Intellegent Contacts     Chirs Carr            HSBC                                                                                                                                                                                                             Closed
                                                                                                                                                                                                                                                                                                                  Account
  NETPAY Flare (6/27/13)          Flare                                                                            498232436887         $             64,801.21 $          (5,155.40) $      (1,877.40)       -3%                No                            77                645.05       7/25/2013
                                                        NETPAY            Jimmy Shin          Wells Fargo                                                                                                                                                                                                         Closed
                                                                                                                                                                                                                                                                                                                  Account
    Flare Education NMC           Flare                                                                              247803001          $            126,368.53 $         (13,931.52) $      47,318.06        37%                No                             14
                                               National Merchant Center   Jared Ronski        Wells Fargo                                                                                                                                                                          3.31       9/26/2013           Closed
                                                                                                                                                                                                                                                                                                                  Account
  Flare Education PowerPay        Flare                                                                           27150312326401        $            160,721.55 $         (17,086.20) $      18,225.55        18%                No                            41                  3.58       8/30/2013
                                                       Powerpay                P2            Deutche Bank                                                                                                                                                                                                         Closed
                                                                                                                                                                                                                                                                                                                  Account
    FOCUSIC (6/20/13)        Focus Learning                                                                        8788152000133        $            171,707.31 $         (16,540.09) $      18,075.44        12%                No                            58                207.99       8/13/2013
                                                  Intelligent Contacts     Chirs Carr            HSBC                                                                                                                                                                                                             Closed
                                                                                                                                                                                                                                                                                                                  Account
      FOCUSLEARNING           Focus Learning                                                                      461074230309940       $             57,877.84 $          (3,273.16) $      31,328.17        57%                No                            45             5,130.97        8/26/2013
                                                       Signature           Chirs Carr        Merrick Bank                                                                                                                                                                                                         Closed
                                                                                                                                                                                                                                                                                                                  Account
     NETPAY (6/17/13)         Focus Learning                                                                       498232447884         $             99,525.79 $          (8,154.12) $      38,295.17        42%                No                            73
                                                        NETPAY            Jimmy Shin          Wells Fargo                                                                                                                                                                         7.90        7/29/2013           Closed
                                                                                                                                                                                                                                                                                                                  Account
        AUCTIONHB             Focus Learning                                                                       897200583887         $             74,389.61 $          (5,638.70) $      48,681.23        71%                No                              3               758.23       10/7/2013
                                                         HBMS                  P2                Harris                                                                                                                                                                                                           Closed
                                                                                                                                                                                                                                                                                                                  Account
    AUCTIONTRAFFICDPS         Focus Learning                                                                      27350013943401        $            184,906.11 $         (17,440.57) $      34,153.40        20%                No                            43                 19.99       8/28/2013
                                                          DPS                  P2            Deutche Bank                                                                                                                                                                                                         Closed
                                                                                                                                                                                                                                                                                                                  Account
   FOCUS AMS (6/17/13)        Focus Learning                                                                      518089320407745       $            155,721.92 $         (16,602.21) $      68,234.53        49%                No                            30             2,668.54        9/10/2013
                                                          AMS             Jimmy Shin          Wells Fargo                                                                                                                                                                                                         Closed
                                                                                                                                                                                                                                                                                                                  Account
FOCUS AUCSUPPCOM (6/27/13)    Focus Learning                                                                      3899000002399790      $              4,259.97 $             (297.00) $      2,481.88        63%                No                           100
                                                   First Pay Solutions         P2            West America                                                                                                                                                                     3,567.62         7/2/2013           Closed
                                                                                                                                                                                                                                                                                                                  Account
FOCUS LEARNING POWERPAY       Focus Learning                                                                       271503123736         $            328,706.38 $         (35,636.90) $      65,820.13        22%                No                            34                 79.50        9/6/2013
                                                       PowerPay           Jimmy Shin         Deutche Bank                                                                                                                                                                                                         Closed
                                                                                                                                                                                                                                                                                                                  Account
    Focus-Diet-Select-8/20    Focus Learning                                                                      554135021201124       $             38,457.21 $          (2,552.23) $      20,538.47        57%                No                            17                314.41       9/23/2013
                                                         Select                P2            Mission Valley                                                                                                                                                                                                       Closed
                                                                                                                                                                                                                                                                                                                  Account
                                                                                                 Harris           510159620160515       $             47,675.43 $                                                                No
  FPS-FOCUSAUC (7/27/13)      Focus Learning            Cynergy           Steve/ Jaclyn                                                                                    (3,524.75) $       8,328.66        19%                                                3               347.18       10/7/2013           Closed
                                                                                                                                                                                                                                                                                                                  Account
    INFUSEIC (6/20/13)        Infuse Media                                                                         8788152000132        $            163,278.24 $         (12,921.68) $      20,450.30        14%                No                            58                159.00       8/13/2013
                                                  Intelligent Contacts     Chirs Carr            HSBC                                                                                                                                                                                                             Closed
                                                                                                                                                                                                                                                                                                                  Account
   INFUSEMEDIA1 (NMI)         Infuse Media                                                                        554135021200431       $             92,700.79 $         (11,400.29) $      38,187.62        47%                No                            91                 95.87       7/11/2013
                                                         Select                P2         Mission Valley Bank                                                                                                                                                                                                     Closed
                                                                                                                                                                                                                                                                                                                  Account
    INFUSEMEDIAAMS1           Infuse Media                                                                        518089320407992       $            117,403.28 $         (17,011.96) $      32,341.40        32%                No                              9                99.00       10/1/2013
                                                          AMS             Jimmy Shin          Wells Fargo                                                                                                                                                                                                         Closed
                                                                                                                                                                                                                                                                                                                  Account
                              Infuse Media                                                                        542623330401837       $              8,574.34 $            (617.70) $       8,932.75       112%                No                            49                428.47       8/22/2013
     SPACE-NMA-8/20                                      NMA               Chirs Carr         Wells Fargo                                                                                                                                                                                                         Closed
                                                                                                                                                                                                                                                                                                                  Account
     JUMPIC (6/20/13)             Jump                                                                             8788152000131        $             69,937.22 $          (6,252.71) $      38,834.41        61%                No                            57            25,000.00        8/14/2013
                                                  Intellegent Contacts     Chirs Carr            HSBC                                                                                                                                                                                                             Closed
                                                                                                                                                                                                                                                                                                                  Account
     NETPAY (6/20/13)             Jump                                                                              498233619887        $             34,290.61 $          (2,790.34) $      28,416.45        90%                No                           108
                                                        NETPAY            Jimmy Shin          Wells Fargo                                                                                                                                                                     3,443.70        6/24/2013           Closed
                                                                                                                                                                                                                                                                                                                  Account
     JUMPSIGNATURE                Jump                                                                            461074230309783       $            208,824.15 $         (19,626.39) $      61,600.98        33%                No                            42                 10.05       8/29/2013
                                                       Signature           Chirs Carr        Merrick Bank                                                                                                                                                                                                         Closed
                                                                                                                                                                                                                                                                                                                  Account
LEARNAUCTIONS101MERITUS      Orange Learning                                                                      510159390820256       $             39,988.68 $          (1,801.31) $      12,472.35        33%                No                            65             2,741.25         8/6/2013
                                                        Meritus                P2             Wells Fargo                                                                                                                                                                                                         Closed
                                                                                                                                                                                                                                                                                                                  Account
   LearningAuctions101 Irn   Orange Learning              IRN             Alan Cohen      First California Bank     720000319452        $            294,181.38 $         (17,876.40) $      80,107.14        29%                No                            34            25,000.00         9/6/2013
                                                                                                                                                                                                                                                                                                                  Closed
                                                                                                                                                                                                                                                                                                                  Account
    ORANGEIC (6/20/13)       Orange Learning                                                                       8788152000129        $            169,211.98 $         (15,844.97) $      19,867.69        13%                No                            58                 30.00       8/13/2013
                                                  Intellegent Contacts     Chirs Carr            HSBC                                                                                                                                                                                                             Closed
                                                                                                                                                                                                                                                                                                                  Account
                                                                                              Wells Fargo         518089320406986       $            165,205.67 $         (11,291.94) $      39,420.94        26%                No
  ORANGELEARNINGLLC5         Orange Learning              AMS             Jimmy Shin                                                                                                                                                                           35            15,000.00         9/5/2013           Closed
                                                                                                                                                                                                                                                                                                                  Account
                                                                                                 Harris             897200445889        $              5,563.04 $            (350.95) $       1,329.66        26%                No
AUCTIONMASTERHUMBOLDT            Propel                Humboldt                P2                                                                                                                                                                              17             3,942.43        9/23/2013           Closed
                                                                                                                                                                                                                                                                                                                  Account
                                                                                              Wells Fargo           498233631882        $             65,684.97 $          (4,170.70) $      60,622.09        99%                No
  NETPAY SPARK (6/20/13)          Spark                 NETPAY            Jimmy Shin                                                                                                                                                                          106             1,926.72        6/26/2013           Closed
                                                                                                                                                                                                                                                                                                                  Account
                                                                                                 HSBC              8788152000130        $             60,543.73 $          (5,872.85) $      34,842.17        64%                No
     SPARKIC (6/20/13)            Spark           Intellegent Contacts     Chirs Carr                                                                                                                                                                          57            19,828.71        8/14/2013           Closed
                                                                                                                                                                                                                                                                                                                  Account
                                                                                              Wells Fargo         542623350401444       $             67,853.55 $          (4,501.20) $      63,352.35        56%                No
      Rapid-NMA-8/21          Starter Media              NMA               Chirs Carr                                                                                                                                                                          27             1,885.57        9/13/2013           Closed
                                                                                                                                                                                                                                                                                                                  Account
                                                                                              Wells Fargo         542623350401436       $             68,614.11 $          (5,581.54) $      63,032.57        56%                No                            27
     Starter-NMA-8/20         Starter Media              NMA               Chirs Carr                                                                                                                                                                                         1,574.79        9/13/2013           Closed




                                                                                                                                                   145
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       Exhibit B: Payment Processor Contracts and Statement; Reserve Project Email




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AMS
LEGAL NAME                  BUSINESS NAME                 PRODUCT TYPE   MONTHLY VOL
GOLD MEDIA LLC              CAMBOGIA TRIM ADVANCED        Nutra          $ 50,000.00
LOCK MEDIA LLC              PERFECT CAMBOGIA              Nutra          $ 50,000.00
NEON MEDIA LLC              CAMBOGIA BEACH                Nutra          $ 50,000.00
GOLD MEDIA LLC              SELECT POWER SUCCESS          Education      $ 50,000.00
LOCK MEDIA LLC              AUCTION ZEN MASTER            Education      $ 50,000.00
NEON MEDIA LLC              NEW AUCTION SUCCESS           Education      $ 50,000.00
SAVVY MEDIA LLC             PRIME AUCTION PLANNER         Education      $ 50,000.00
SHARP MEDIA LLC             NEW POWER INCOMES             Education      $ 50,000.00
STARTUP MEDIA LLC           PRO AUCTION TECH              Education      $ 50,000.00

USMS
LEGAL NAME                  BUSINESS NAME                 PRODUCT TYPE   MONTHLY VOL
GREEN LIGHT EDUCATION LLC   RED HOT GARCINIA              Nutra          $ 50,000.00
STARTER MEDIA LLC           WORLDS BEST GARCINIA          Nutra          $ 50,000.00
LIGHT UP MEDIA LLC          PURE GARCINIA CAMBOGIA        Nutra          $ 50,000.00

POWERPAY
LEGAL NAME                  BUSINESS NAME                 PRODUCT TYPE   MONTHLY VOL
GOLD MEDIA LLC              CAMBOGIA TRIM ADVANCED        Nutra          $ 50,000.00
LOCK MEDIA LLC              PERFECT CAMBOGIA              Nutra          $ 50,000.00
NEON MEDIA LLC              CAMBOGIA BEACH                Nutra          $ 50,000.00
SAVVY MEDIA LLC             GARCINIA SLIM TODAY           Nutra          $ 50,000.00
SHARP MEDIA LLC             SLIM GARCINIA SECRET          Nutra          $ 50,000.00
STARTUP MEDIA LLC           GARCINIA BURN X               Nutra          $ 50,000.00

MERITUS
LEGAL NAME                  BUSINESS NAME                 PRODUCT TYPE   MONTHLY VOL
TREE TOP MEDIA LLC          THE GARCINIA BLAST            Nutra          $ 50,000.00
LIGHT UP MEDIA LLC          PURE CARCINIA CAMBOGIA        Nutra          $ 50,000.00
GOLD MEDIA LLC              CAMBOGIA TRIM ADVANCED        Nutra          $ 50,000.00
LOCK MEDIA LLC              PERFECT CAMBOGIA              Nutra          $ 50,000.00
NEON MEDIA LLC              CAMBOGIA BEACH                Nutra          $ 50,000.00
SAVVY MEDIA LLC             GARCINIA SLIM TODAY           Nutra          $ 50,000.00
SHARP MEDIA LLC             SLIM GARCINIA SECRET          Nutra          $ 50,000.00
STARTUP MEDIA LLC           GARCINIA BURN X               Nutra          $ 50,000.00
GOLD MEDIA LLC              SELECT POWER SUCCESS          Education      $ 50,000.00
LOCK MEDIA LLC              AUCTION ZEN MASTER            Education      $ 50,000.00
NEON MEDIA LLC              NEW AUCTION SUCCESS           Education      $ 50,000.00
SAVVY MEDIA LLC             PRIME AUCTION PLANNER         Education      $ 50,000.00



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SHARP MEDIA LLC           NEW POWER INCOMES             Education      $   50,000.00
STARTUP MEDIA LLC         PRO AUCTION TECH              Education      $   50,000.00

VISION
LEGAL NAME                BUSINESS NAME                 PRODUCT TYPE   MONTHLY VOL
GOLD MEDIA LLC            CAMBOGIA TRIM ADVANCED        Nutra          $ 50,000.00
LOCK MEDIA LLC            PERFECT CAMBOGIA              Nutra          $ 50,000.00

CARDFLEX
LEGAL NAME                BUSINESS NAME                 PRODUCT TYPE   MONTHLY VOL
GOLD MEDIA LLC            CAMBOGIA TRIM ADVANCED        Nutra          $ 50,000.00
LOCK MEDIA LLC            PERFECT CAMBOGIA              Nutra          $ 50,000.00
NEON MEDIA LLC            CAMBOGIA BEACH                Nutra          $ 50,000.00
SAVVY MEDIA LLC           GARCINIA SLIM TODAY           Nutra          $ 50,000.00
SHARP MEDIA LLC           SLIM GARCINIA SECRET          Nutra          $ 50,000.00
STARTUP MEDIA LLC         GARCINIA BURN X               Nutra          $ 50,000.00

MIDPAY (Greg)
LEGAL NAME                BUSINESS NAME                 PRODUCT TYPE   MONTHLY VOL
SPACE MEDIA LLC           SHREDDED GARCINIA CAMBOGIA    Nutra          $ 50,000.00
RED MEDIA LLC             THE GARCINIA SECRET           Nutra          $ 50,000.00

POWERPAY (P2)
LEGAL NAME                BUSINESS NAME                 PRODUCT TYPE   MONTHLY VOL
JUMP LEARNING LLC         HIGH TREND AUCTIONS           Education      $ 50,000.00

DPS (P2)
LEGAL NAME                BUSINESS NAME                 PRODUCT TYPE   MONTHLY VOL
LIGHT UP MEDIA LLC        MY HOME EARNING POWER         Education      $ 50,000.00
TREE TOP MEDIA LLC        THE PROFESSIONAL POWER SELLER Education      $ 50,000.00

SELECT (P2)
LEGAL NAME                BUSINESS NAME                 PRODUCT TYPE   MONTHLY VOL
JUMP LEARNING LLC         RIPPED GARCINIA CAMBOGIA      Nutra          $ 50,000.00




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MID               GATEWAY ID      LOGIN URL
518089320413925   1339957         https://account.authorize.net/
518089320410954   1339941         https://account.authorize.net/
518089320410657   1337789         https://account.authorize.net/
518089320411762   1344778         https://account.authorize.net/
518089320411887   1345749         https://account.authorize.net/
518089320411820   1344779         https://account.authorize.net/
518089320411416   1345778         https://account.authorize.net/
518089320411358   1345771         https://account.authorize.net/
518089320411291   1345784         https://account.authorize.net/


MID               GATEWAY ID      LOGIN URL
27240037721901    1328893         https://account.authorize.net/
27240037722701    1328916         https://account.authorize.net/
27240037746601    1338852         https://account.authorize.net/


MID               GATEWAY ID      LOGIN URL
271503944750      1335814         https://account.authorize.net/
271503944891      1335821         https://account.authorize.net/
271503945203
271503947936
271503947993      1335836         https://account.authorize.net/
271503948033      1335825         https://account.authorize.net/


MID               GATEWAY ID      LOGIN URL
510159390824928   PAYMENT XP      https://www.merituspayment.com/merchants
510159390825503   PAYMENT XP      https://www.merituspayment.com/merchants
510159390824746   PAYMENT XP      https://www.merituspayment.com/merchants
510159390824829   PAYMENT XP      https://www.merituspayment.com/merchants
510159390824761   PAYMENT XP      https://www.merituspayment.com/merchants
510159390824845   PAYMENT XP      https://www.merituspayment.com/merchants
510159390824787   PAYMENT XP      https://www.merituspayment.com/merchants
510159390824803   PAYMENT XP      https://www.merituspayment.com/merchants
510159390825073   PAYMENT XP      https://www.merituspayment.com/merchants
510159390824993   PAYMENT XP      https://www.merituspayment.com/merchants
510159390825057   PAYMENT XP      https://www.merituspayment.com/merchants
510159390824977   PAYMENT XP      https://www.merituspayment.com/merchants



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510159390825032    PAYMENT XP    https://www.merituspayment.com/merchants
510159390825016    PAYMENT XP    https://www.merituspayment.com/merchants


MID                GATEWAY ID    LOGIN URL
27260006201701     1337801       https://account.authorize.net/
27260006194401     1337763       https://account.authorize.net/


MID              GATEWAY ID      LOGIN URL
3899000002534650                 https://secure.cardflexonline.com/r/rpjdh

3899000002534665                 https://secure.cardflexonline.com/r/mw116




MID                GATEWAY ID    LOGIN URL
                                 https://www.midpaygateway.com
                                 https://www.midpaygateway.com


MID                GATEWAY ID    LOGIN URL
2715034124801                    https://secure.nmi.com


MID                GATEWAY ID    LOGIN URL
27350013963201                   https://secure.nmi.com
27350013964001                   https://secure.nmi.com


MID                GATEWAY ID    LOGIN URL
554135021201157                  https://secure.nmi.com




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                                           9380




USERNAME              PASSWORD
goldmedia57           Goldmedia123
lockmedia41           Lockmedia123
neonmedia89           Neonmediallc1




USERNAME              PASSWORD
greenlight93          Greenlight123
startermedia16        Startermedia123
lightupmedia52        Lightupmediallc1


USERNAME              PASSWORD
goldmedia14           Goldmedia123
lockmedia2            Lockmedia123


sharpmedia36          Sharpmedia123
startupmedia25        Startupmedia123


USERNAME               PASSWORD
                 33111 Treetopmedia123
                 33112 Widget987
                 33330 Goldmedia123
                 33331 Lockmedia123
                 33333 Neonmedia123
                 33357 Savvymedia123
                 33358 Sharpmedia123
                 33359 Startupmedia123




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USERNAME               PASSWORD
goldmedia01            Goldmedia123
lockmedia63            Lockmedia123


USERNAME               PASSWORD
trimhlp                Goldmedia123

beachhlp               Neonmedia123




USERNAME               PASSWORD
spacemedia1            Spacemedia123
redmedia1              Redmedia123


USERNAME               PASSWORD
hightrendpp            JUMPLEARNING123


USERNAME               PASSWORD
myhomeearningdps       Lightupmedia123
theprofessionaldps     Treetopmedia123


USERNAME               PASSWORD
rippedgarciniaselect   Jumplearning123




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                                           9382




SECURITY QUESTION                                       SECURITY ANSWER
In what city or town did your mother and father meet?   miami
In what city or town did your mother and father meet?   miami
In what city or town did your mother and father meet?   miami




SECURITY QUESTION                                       SECURITY ANSWER
In what city or town did your mother and father meet?   miami
In what city or town did your mother and father meet?   miami
In what city or town did your mother and father meet?   miami


SECURITY QUESTION                                       SECURITY ANSWER
In what city or town did your mother and father meet?   miami
In what city or town did your mother and father meet?   miami


In what city or town did your mother and father meet?   miami
In what city or town did your mother and father meet?   miami


SECURITY QUESTION                                       SECURITY ANSWER




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SECURITY QUESTION                                       SECURITY ANSWER
In what city or town did your mother and father meet?   miami
In what city or town did your mother and father meet?   miami


SECURITY QUESTION                                       SECURITY ANSWER




SECURITY QUESTION                                       SEQURITY ANSWER




SECURITY QUESTION                                       SEQURITY ANSWER




SECURITY QUESTION                                       SEQURITY ANSWER




SECURITY QUESTION                                       SEQURITY ANSWER




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Processor    MID                Name           DBA                           Rate
AMS          518089320411978    A LIND         SLIM PREMIUM CAMBOGIA         4.95%
AMS          518089320412604    DS GROUP       SECRET BIKINI BODY            4.95%
AMS          518089320412919    A LIND         PRO TRAINER BUSINESS          4.95%
AMS          518089320412802    DS GROUP       BEACHWOOD SUCCESS METHOD      4.95%
AMS          518089320412398    HIGGINS TEAM   CAMBOGIA CONNECTION           4.95%
AMS          518089320412463    HIGGINS TEAM   SELECT SUCCESS TECH           4.95%
AMS          518089320412331    K WHITE        SLIM QUICK GARCINIA           4.95%
AMS          518089320413040    K WHITE        FRONTIER BUSINESS TRAINER     4.95%
AMS          518089320412778    A JONES        HOME EARNING ADVANTAGE        4.95%
AMS          518089320412653    C SKERS        ADVANCE TRIM GARCINIA         4.95%
AMS          518089320412703    O DUFFIE       HOME EARNING SUCCESS          4.95%
AMS          518089320412646    C SKERS        AUCTION POWER ACCESS          4.95%
AMS          543093340010610    KT PACK        PREMIER STREAMLINED SUCCESS   4.95%
AMS          543093340010552    KT PACK        GARCINIA SLIM ELITE           4.95%
BAMS         510165880300223    A JONES        HOME EARNING ADVANTAGE        4.95%
BAMS         510165590403812    A LIND         SLIM PREMIUM CAMBOGIA         4.95%
BAMS         517530550300016    C SKERS        AUCTION POWER ACCESS          4.95%
BAMS         510165880400262    HIGGINS TEAM   CAMBOGIA CONNECTION           4.95%
BAMS         517530550300024    O DUFFIE       HOME EARNING SUCCESS          4.95%
BAMS         510165590403804    SIDNER         BEACH BODY EXTRACT            4.95%
CARDFLEX     3899000002652269   DS GROUP       SECRET BIKINI BODY            7.00%
CARDFLEX     3899000002655098   HIGGINS TEAM   CAMBOGIA CONNECTION           7.00%
CARDFLEX     3899000002656765   K WHITE        SLIM QUICK GARCINIA           7.00%
CARDFLEX     3899000002650032   SIDNER         BEACH BODY EXTRACT            7.00%
CMS          513485000331546    DS GROUP       BEACHWOOD SUCCESS METHOD      ic + 400
DPS          27350013986301     A LIND         PRO TRAINER BUSINESS          ic + 400
DPS          27350013981401     DS GROUP       BEACHWOOD SUCCESS METHOD      ic + 400
DPS          27350013985501     HIGGINS TEAM   SELECT SUCCESS TECH           ic + 400
DPS          27350013983001     K WHITE        FRONTIER BUSINESS TRAINER     ic + 400
DPS          27350013982201     SIDNER         DYNASTY BUSINESS TRAINER      ic + 400
DPS          27350013992101     A JONES        HOME EARNING ADVANTAGE        4.95%
DPS          27350013993901     C SKERS        AUCTION POWER ACCESS          4.95%
EMS          565500000121430    DS GROUP       SECRET BIKINI BODY            4.95%
EMS          565500000125191    DS GROUP       BEACHWOOD SUCCESS METHOD      4.95%
EMS          565500000121455    HIGGINS TEAM   CAMBOGIA CONNECTION           4.95%
EMS          565500000121448    HIGGINS TEAM   SELECT SUCCESS TECH           4.95%
EMS          565500000122503    K WHITE        SLIM QUICK GARCINIA           4.95%
EMS          565500000122511    K WHITE        FRONTIER BUSINESS TRAINER     4.95%
EMS          565500000137063    A JONES        HOME EARNING ADVANTAGE        4.95%
EMS          565500000138335    C SKERS        AUCTION POWER ACCESS          4.95%
EVO          27150542660801     HIGGINS TEAM   SELECT SUCCESS TECH           3.95%
EVO          27150542657401     K WHITE        SLIM QUICK GARCINIA           3.95%
EVO          27150542658201     A LIND         PRO TRAINER BUSINESS          3.95%
EVO          27150542656601     K WHITE        FRONTIER BUSINESS TRAINER     3.95%
EVO          27150542659001     DS GROUP       BEACHWOOD SUCCESS METHOD      3.95%
HUMBOLDT     897201297883       A LIND         PRO TRAINER BUSINESS          4.95%
HUMBOLDT     897201426888       DS GROUP       BEACHWOOD SUCCESS METHOD      4.95%
HUMBOLDT     897201404885       HIGGINS TEAM   SELECT SUCCESS TECH           4.95%
HUMBOLDT     897201423885       SIDNER         DYNASTY BUSINESS TRAINER      4.95%
HUMBOLDT     897202063888       A JONES        HOME EARNING ADVANTAGE        4.95%




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HUMBOLDT         897202154885       C SKERS        AUCTION POWER ACCESS        4.95%
PIVOTAL          6314180000022077   A LIND         SLIM PREMIUM CAMBOGIA       4.95%
PIVOTAL          6314180000022051   DS GROUP       SECRET BIKINI BODY          4.95%
PIVOTAL          6314180000022069   HIGGINS TEAM   CAMBOGIA CONNECTION         4.95%
PIVOTAL          6314180000022044   SIDNER         BEACH BODY EXTRACT          4.95%
POWERPAY         27150750526801     SIDNER         BEACH BODY EXTRACT          3.99%
POWERPAY         27150750527601     SIDNER         BEACH BODY EXTRACT          3.99%
POWERPAY         27150750847801     HIGGINS TEAM   CAMBOGIA CONNECTION         3.99%
SECURE BANCARD   842696901170       DS GROUP       SECRET BIKINI BODY          4.95%
SECURE BANCARD   842696918330       HIGGINS TEAM   CAMBOGIA CONNECTION         4.95%
SECURE BANCARD   842696909400       SIDNER         BEACH BODY EXTRACT          4.95%
SECURE BANCARD   461084269690912    K WHITE        SLIM QUICK GARCINIA         4.95%
TRUST ONE        543093030304166    A LIND         PRO TRAINER BUSINESS        3.95%
TRUST ONE        543093030304174    A LIND         SLIM PREMIUM CAMBOGIA       3.95%
TRUST ONE        543093030304034    DS GROUP       SECRET BIKINI BODY          3.95%
TRUST ONE        543093030304109    DS GROUP       BEACHWOOD SUCCESS METHOD    3.95%
TRUST ONE        543093030304133    HIGGINS TEAM   CAMBOGIA CONNECTION         3.95%
TRUST ONE        543093030304125    HIGGINS TEAM   SELECT SUCCESS TECH         3.95%
TRUST ONE        543093030304026    K WHITE        SLIM QUICK GARCINIA         3.95%
TRUST ONE        543093030304091    K WHITE        FRONTIER BUSINESS TRAINER   3.95%




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Reserve %   MV               Net sales         Deposits         Reserve balance
25%         $    50,000.00   $    17,008.35    $       749.69   $      16,258.66
25%         $    50,000.00   $    16,053.00    $       145.26   $      15,907.74
25%         $    50,000.00   $ 105,127.33      $   66,566.68    $      38,560.65
25%         $    50,000.00   $ 104,310.29      $   24,216.62    $      80,093.67
20%         $    50,000.00   $    16,252.00    $       294.49   $      15,957.51
20%         $    50,000.00   $ 102,939.05      $   38,255.47    $      64,683.58
20%         $    50,000.00   $    17,276.80    $       762.07   $      16,514.73
20%         $    50,000.00   $ 108,593.03      $   74,344.23    $      34,248.80
15%         $    50,000.00   $    87,303.00    $   20,398.88    $      66,904.12
15%         $    50,000.00   $    18,381.60    $     2,081.17   $      16,300.43
20%         $    25,000.00   $    47,753.00    $   36,923.71    $      10,829.29
15%         $    50,000.00   $    86,529.50    $   22,405.44    $      64,124.06
15%         $    50,000.00   $           -     $          -     $            -
15%         $    50,000.00   $           -     $          -     $            -
0%          $    65,000.00   $ 100,075.50      $   26,034.05    $      74,041.45
0%          $    65,000.00   $    11,652.50    $         3.80   $      11,648.70
0%          $    65,000.00   $    85,553.50    $     9,511.15   $      76,042.35
0%          $    65,000.00   $    74,113.50    $   61,145.99    $      12,967.51
0%          $    65,000.00   $    98,167.00    $   18,484.99    $      79,682.01
0%          $    65,000.00   $    45,376.00    $         5.82   $      45,370.18
10%         $    25,000.00   $    24,485.59    $       170.82   $      24,314.77
10%         $    25,000.00   $    22,015.48    $     1,081.64   $      20,933.84
10%         $    30,000.00   $    35,382.00    $     1,147.88   $      34,234.12
10%         $    40,000.00   $    37,241.81    $       950.02   $      36,291.79
10%         $    20,000.00   $    18,719.00    $          -     $      18,719.00
20%         $    20,000.00   $    39,198.50    $   30,671.63    $       8,526.87
20%         $    25,000.00   $    42,682.00    $   26,807.90    $      15,874.10
20%         $    20,000.00   $    42,337.50    $   32,644.26    $       9,693.24
20%         $    20,000.00   $    47,746.50    $   36,417.91    $      11,328.59
20%         $    20,000.00   $    43,688.00    $   33,054.96    $      10,633.04
20%         $    20,000.00   $    26,045.50    $   17,808.77    $       8,236.73
20%         $    20,000.00   $    25,775.00    $   17,599.36    $       8,175.64
10%         $    10,000.00   $      4,966.00   $          -     $       4,966.00
10%         $    10,000.00   $ 280,155.50      $   40,358.63    $     239,796.87
10%         $    50,000.00   $    19,043.75    $          -     $      19,043.75
10%         $    10,000.00   $    24,826.50    $          -     $      24,826.50
10%         $    50,000.00   $    22,959.85    $          -     $      22,959.85
10%         $    10,000.00   $ 280,612.00      $          -     $     280,612.00
15%         $    10,000.00   $ 265,478.00      $   30,550.05    $     234,927.95
10%         $    15,000.00   $ 270,424.50      $          -     $     270,424.50
10.00%      $    50,000.00   $    94,562.50    $   43,563.00    $      50,999.50
10.00%      $    50,000.00   $           -     $          -     $            -
10.00%      $    50,000.00   $    31,472.00    $          -     $      31,472.00
10.00%      $    50,000.00   $    54,202.50    $          -     $      54,202.50
10.00%      $    50,000.00   $    47,979.50    $          -     $      47,979.50
15%         $    15,000.00   $    25,751.50    $   21,179.71    $       4,571.79
10%         $    12,500.00   $    19,401.16    $     3,818.69   $      15,582.47
10%         $    20,000.00   $    29,440.00    $     1,661.34   $      27,778.66
10%         $    20,000.00   $    28,805.00    $     4,146.05   $      24,658.95
10%         $    15,000.00   $      6,477.00   $     3,125.70   $       3,351.30




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10%        $    20,000.00   $      6,077.50   $     5,826.00   $         251.50
20%        $    50,000.00   $    192,986.07   $    60,890.10   $     132,095.97
20%        $    50,000.00   $    188,335.17   $    68,501.03   $     119,834.14
20%        $    50,000.00   $    183,123.50   $    63,064.59   $     120,058.91
20%        $    50,000.00   $    182,066.00   $    62,742.41   $     119,323.59
10%        $    50,000.00   $     25,691.00   $       159.05   $      25,531.95
10%        $    50,000.00   $     26,446.00   $       157.00   $      26,289.00
10%        $    25,000.00   $     86,123.50   $    10,215.46   $      75,908.04
10%        $    20,000.00   $     19,171.00   $          -     $      19,171.00
10%        $    15,000.00   $      2,015.00   $         3.39   $       2,011.61
10%        $    20,000.00   $     13,961.00   $     6,987.87   $       6,973.13
15%        $    50,000.00   $      7,742.00   $         2.40   $       7,739.60
10%        $    50,000.00   $     73,719.50   $    22,938.24   $      50,781.26
10%        $    50,000.00   $      5,708.00   $         1.35   $       5,706.65
10%        $    50,000.00   $-                $-               $-
10%        $    50,000.00   $     53,787.00   $    35,818.81   $      17,968.19
10%        $    50,000.00   $-                $-               $-
10%        $    50,000.00   $     54,693.00   $    27,218.99   $      27,474.01
10%        $    50,000.00   $-                $-               $-
10%        $    50,000.00   $     54,135.50   $    24,927.95   $      29,207.55

                            $ 4,230,119.83 $ 1,138,542.47 $         3,091,577.36




          AMS               $ 727,526.95      $ 287,143.71     $      440,383.24
          BAMS              $ 414,938.00      $ 115,185.80     $      299,752.20
          CardFlex          $ 119,124.88      $     3,350.36   $      115,774.52
          CMS               $    18,719.00    $          -     $       18,719.00
          DPS               $ 267,473.00      $ 195,004.79     $       72,468.21
          EMS               $ 1,168,466.10    $    70,908.68   $    1,097,557.42
          Evo               $ 228,216.50      $    43,563.00   $      184,653.50
          Humboldt          $ 115,952.16      $    39,757.49   $       76,194.67
          Pivotal           $ 746,510.74      $ 255,198.13     $      491,312.61
          PowerPay          $ 138,260.50      $    10,531.51   $      127,728.99
          Secure Bancard    $    42,889.00    $     6,993.66   $       35,895.34
          Trust One         $ 242,043.00      $ 110,905.34     $      131,137.66
          Total             $ 4,230,119.83    $ 1,138,542.47   $    3,091,577.36




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Notes
Scheduled for review 12/15/14
Scheduled for review 12/15/14
Scheduled for review 12/15/14
Scheduled for review 12/15/14
Scheduled for review 12/15/14
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Scheduled for review 12/15/14
Scheduled for review 12/15/14




75% of held funds to be released 12/15/14
75% of held funds to be released 12/15/14
75% of held funds to be released 12/15/14
75% of held funds to be released 12/15/14
Darren P2 is working. Update pending.
Darren P2 is working. Update pending.
Darren P2 is working. Update pending.
Darren P2 is working. Update pending.
Darren P2 is working. Update pending.
Darren P2 is working. Update pending.
Darren P2 is working. Update pending.
Darren P2 is working. Update pending.




scheduled for review 1/4/15

scheduled for review 1/4/15
scheduled for review 12/14/14 - results pending
not eligible for review until June 2015
Adam is waiting for risk notes. Follow up on Monday
Adam is waiting for risk notes. Follow up on Monday
Adam is waiting for risk notes. Follow up on Monday
Adam is waiting for risk notes. Follow up on Monday
Adam is waiting for risk notes. Follow up on Monday




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Adam is waiting for risk notes. Follow up on Monday




PP Risk "We reviewed in Dec and could not do a release due to incoming chargebacks"
PP Risk "We reviewed in Dec and could not do a release due to incoming chargebacks"
PP Risk "Closed on 12/11 by loss prevention. Review scheduled for 30 days after closure"
No releases for 6 months
No releases for 6 months
No releases for 6 months
No releases for 6 months
Manpreet is working. Update pending.
Manpreet is working. Update pending.

Manpreet is working. Update pending.

Manpreet is working. Update pending.

Manpreet is working. Update pending.




                                                                                           % funded
                                                                                                  39.47%
                                                                                                  27.76%
                                                                                                   2.81%
                                                                                                   0.00%
                                                                                                  72.91%
                                                                                                   6.07%
                                                                                                  19.09%
                                                                                                  34.29%
                                                                                                  34.19%
                                                                                                   7.62%
                                                                                                  16.31%
                                                                                                  45.82%




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% in reserves
        60.53%
        72.24%
        97.19%
       100.00%
        27.09%
        93.93%
        80.91%
        65.71%
        65.81%
        92.38%
        83.69%
        54.18%




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                                                                   Merchant Appiication
                                                                     and Agreement
  290D Bristol Street, Suite F-206
  Costa Mesa CA C:2626.-                             Sponsor Bank· Wells Fargo Bank NA.. Walnut Creek CA
                                                                          BUSINESS INFORMATION
   Legal Name:                                                                                              Phone#:
                    SLASHDEVSLASHFINANCE INC.                                                                             (650) 485-1871
           9                                                                                                  1
   ~~jnfs~il si: /DEV /PAYMENTS                                                                             ~1 !i\~~~e;c\dress: 701 WEBSTER ST
                                                                                                            City PALO ALTO                                             Staie CA    Zi~4301
   t~~~~~~/Siie 701 WEBSTER ST
                                     State: CA                   Zip: 94301                                                                                    # of Employees:
   City: PALO ALTO                                                                                          foeie~~~~~ 270465600                                                   4

                                                                 ~i~~~~ii 1
   Contact Person:
                       JOHN COLLISON                                                                        Email:john@devpayments.com
   Cusiomer Service Phone#: (BS )   _                                                                       Descriptor:
                               7 294 6037                                                                                 /DE
                                                                      OWNERS/PARTNERS/OFFICERS
   1) Name (print):                                                                                 iitle: PRESIDENT                                        Eqc1itylOwnership:
                      JOHN COLLISON                                                                                                                                               36         %
   Date of Birth:                          Drivers License #                         State: CA      Social                                        Home
                      81611990                                  131018692                           Securitv#:     603832803                      Phone    (650) 485-1871
   Home Address:                                                                                    City                                                    Siate·                Zip 943(b:
                      701 WEBSTER ST                                                                         PALO ALTO                                                  CA
   2) Name (pnnt):                                                                                 Titie:                                                   Equity/Ownership:
                      PATRICK COLLISON                                                                       CEO                                                                  36         %
   Date of Birih:                          Drivers License#                          State: CA      Social                                        Home
                      919/1988                                  131014981                           Securitv #:    542774173                      Phone:   (415) 298-5539
   Home Address:                                                                                    City PALO AL TO                                         State:                Zip 94301
                      701 WEBSTER ST                                                                                                                                    CA
                                   MERCHANT PROFILE SECTION                                                    VISA/MASTERCARD/DISCOVER NETWORK !NFORMATION
                                                                                                                                          VISNMasterCard/Discover
   Type of Ownership: D Sole Proprietor D Partnership [l.] Corporarion (Staie of lncorp: _ _ )                          MERCHANT TYPE        Network Sales Profile
                                                                                                                                        Credit CP.rds
   0 Other                                                                                                     □ Reiail OuUet                                      0%
                                                                                                                                        Swiped:
   Number of Years in Business
   Other currenily/previously
                                     I        0
                                                    I   Length oi Current Ownership:
                                                                                         I     1
                                                                                                      I        0 Restaurant/Food
                                                                                                               0 Mail/Telephone Order Only
                                                                                                                                                           Mail Order

                                                                                                                                                           Pl:one Order:
                                                                                                                                                                                        0%

                                                                                                                                                                                        0%
   owned businesses
   Prior Bankruptcy?       CJ Yes l2l No     Date Discharged:                                                  0 Home Business, Trade Fairs                Internet:                   100 %
   Do you currently accept Visa/MasterCard/Discovet; Network? L,JYes     (If yes, submit 3 most
                                                                                                               □ Outside Sales/Service, Other, Etc         Tradeshows:                  Q¾
                                                               0 No      current statements)
                                   □ Yes       EBT#:             □ Yes (requires
   Do you Wsh to ao::ept EST ~rds? [1] No                                                                      □ Internet                                        MUST TOTAL 100%
                                               Debit/ATM cards   □ No a pin pad)
                                                                                                                                    Merchant Receives Imprint
   Seasonal Business?        □ Yes Ill No         !f yes, list months:                                         □ Lodging
                                                                                                                                    On Keved Transactions:    □ Yes □ No
   Name of Previous Processor:                                                        Reason for Leaving:                                                        Dale:

   Marketing Methods: D Newspaper/Magazines IZl Internet 0 TV/Radio □ Direct Mail/Catalogs D Telemarketing                           Web Site: http:// http://devpayrnents.com

   Who Performs the Product/Service Fulf11lment?           Name·

                                                           Address:                                                                      Phone:
   What is the time frame from transaction to delivery?          0-7 days ____!_E_O_ _ % + 8-14 days _0_ _ _ % + 15-30 days 0                     % + over 30 days 0              %:,:1QQ%
   (% of orders delivered in):
   MCNisa/Discover Network sales are charged (cl1eck one): f.21 Date of order D Date of delivery □ Other (specify):
   Detailed Description of
   Products/Services Sold:         Payments analytics

                                     ACCEPT ALL MASTERCARD, VISA AND DISCOVER NETWORK TRANSACTIONS
             Presumed, unless anv selections below are checked. See Section 1.9 of the Pronram Guide for details renardina limited acceotance
             MasterCard Acceptance                                 Visa Acceptance                                     Discover Network Acceptance
   0 Accept MC Credit transactions 2fllY.           D Accept Visa Credit transactions .Q£!ll          CJ Accept Discover Network Credit transactions Q!1D!.
   D Accept MC Non-PIN Debit transactions Qfil'i_                D AcGept Visa Non-PIN Debit transactions Qfil'i.         [J Accept Discover Network Non-PIN Debit transactions .Q!l/.y,
                                                                                 ADD!TIONAL SERVICES
   □ Gitt/Loyalty Card          □ AVS Required            0 Check Guarantee                                 Company:

   0 New American Express Account                         ~ Existing AMEX Merchant                          Account#:

   0 New                                                • ~,istiog         ,0\£                             Account#:      loD.tOL-101 r:'-> 194%{i'
   D CardFlex'"' Payroll MasterCard Services                   lniiial Setup Fee:$                          Monthly Fee:$
   DACH Processing Services                               Please complete and sign the Data Processing and Payment Processing Agreement- see your agent for details.



                                                           g ~qil O~'EJDD [?:,$3                                                                       Merchant Initials~

  Sponsor Bank· Wells Fargo Bank NA                                                                  CardFle:,; Financial Services LLC is a registered ISO of Wells Fargo Bank, N.A.
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                                                                                                                                                                                                                        CFS1 !06


  Merchant: /DEV/PAYMENTS

                                                                                   SCHEDULE OF PROCESSING CHARGES
   V1sa,'M aslerCard/Discover
   Qualified Discoum Rate·            I    5.00       %   I   Authori:rolionrrransaciion Fee: IS             0.20        I     Baier, Closure Fee:      I I 0.00
   Mid-qualified transactions will be assessed o.oo % above the qualified discount rate (excluding approved 20% Plus Keved Merchants)_ Non qualified transactions will be
                                                                                                                                                                           I     Se!Up/AppiIcatlon Fee: I$ 0.00


   assessed o.oo''/o above the qualified discount rate Corporate Cards and Corporate Purchase Cards will be assessed 0.00% above the qualified discount ra1e.
   MasterCard assesses the following fees for eligible transactions: MC AcquIrer Support Fee• 0.55%: MC Cross Border Fee - 0.40%; MC National Acquirer B~and Usage
   Fee (NABU)- S0.03. Visa assesses the following fees for eligible transactions: Visa Acquiring Processing Fee • $0.0195: Visa ISA lnlerna11onal Sale Transaction Fee -
   o.~0% - Visa ISA Cash Advance/ ATM International Transaction Fee - 0.15%: Visa Zero Limit Fee - S0.10: Visa Misuse Authorization Fee • $0.045: Visa lnternaiional
   Acquiring. Fee (std merch) - 0.45%, (high risk) - 0.90%. Discover assesses the following fees for eligible transactions: Discover Full Acquiring. International Fee - 0.30%
                                            Authorization & Batch Closure for American Exoress. and/or JCB $0.30 oer item.
   PIN Debit Transactions

   □    Monthly Debit Access Fee             I  I     0.00
                                                                     I             Debit Per Item:   I,        0.00       I. I       0.00     %1         CJ Pass Through Debit Interchange Fees

   Monthly Fees                                                                  Other Fees

        Statement Fee                           I         0.00                       Chargeback ree                              $       20.00                 Voice Authorization                        $          1.00
         Minimum Fee:                           $          0.00                      Request for Copy (Reirieval)                s          15.00              Address Verification                       $          0.00
         Maintenance Fee:                       $         0.00                       ACH Returned Item Fee                       s           0.00              Voice Address Verification                 s          0.00
        V\11reless Service Fee:                 $         0.00                                                                                                 Investigation Fee               $      20.00
                                                                                     ARU                                         $           1.00              (or 10% monlhlv of amount investiaaled.)
        f/f Ann/icable)
   PCI Security Fee

         PCI Annual Compliance Fee (Assessed 30 days after merchant account approvai)                                            $          0.00               PCI Monthly Maintenance Fee                s          0.00
                                                                                                                                                                                 Merchant Initials
    .ti,verage Ticket Size:      I                                 Monthly
                                                                                                          1,    last 3 Month Average for
                                                                                                                                                                                              1,
   (ior_VISA/MasterCardl $
      Discover Network)
                                        20.00
                                                                           I
                                                              Visa/MasterCard/
                                                              Discover Networl<
                                                                                          3.000.00                  Visa/MasterCard/
                                                                                                                    Discover Network           I              0.00
   Each applicant cer@es that the above average ticket size and monthly sales volume is accurate and acknowledges that any signlfrcant variance from this information could
   result in delayed or withheld settlement of fund and or assessment of additional fees.
                 There is a $15.00 fee to add AMEX, Diners, JCB Processing and Debit Card to your merchant account after initial set-up.
   GRID !NFORMA TION
   (INTERNAL USE ONLY):                                                  Authorizaaon Gnd ID;/;;        \ \(,.-,                     User Defined Grid ID #:

                                                                                                 PERSONAL GUARANTEE
   The unde:signed guaraiitae~to CerdFlex Finandol Services, LLC arid Bani< the perfrnmance ofthisAgmemenl amt First Data Lae.se, ifappllc:able, aOO any arn:lendum tllflreto by Client, and ;n theeven1 of default. hereoy
   waives NoUce oi Default and ag,ees to indemnify the o\herparLies, induding payment of al sums due and owfng and costs assodated v,,th enforceme!lt of \he lenns thereof. CmdAex Financial Servic:es, LLC and Bani\
   shaJI nol be required lo first proceed against Cl,en\ or enforce any olherremedy before proceeding against the un::lern'gned inoividual. This is a continuing guaran'-"e and sha'I not be discllarged oraffeaed by Ule dea~1 of
   the under,;igned and shall bind the h~~rs. ~dminislrators. represen\.l~\'lls and ass,gr.s and be enforced by or for the benent of any suc,:;essorof CardFlex Ariancial Seajces. LLC arid Bank. The lermoftiis guorantee shall
   be for the duraion ofU,e Merdlant Precessing Application and Agreement and any addendum thereto and shall guarantee all obligations which may arise or occur in ccnr.ection 'Mtll my a<;;'J\/ltie, d~ring the term !hereof
   throuoh enforcement shall be SOO"hl subseouenttoan • lermna □on
                                                                                                                       Co-Guarantor
   Guarantor
   X                             ll                                                               8/10/2010 X    I                                                                                        Date·

                                                                                         AUTHORIZED SIGNER FOR BUSINESS                                              .
   CEentcer!Jles !l7at all inform,,lion set fodh in !l1Is COITf.lleted Merd1ant ProcessingApplIcaUon is lrue and correctar.d that Client has received a mpyofthe MC. Visa and Oiswver Netv,ort<.Tiered GOO ID Numbers, Program
   Gur.Je (Version CFS1106) and Conirmal:on Page, whIc.~ ,s pad of this Merchant Processing A;)phcation (cons,s!ing of Sec\ions 1-10), and by this reference inooiporated herein. Client further agree,s that Clieril will no\
   acrapl rrore than 20% of its carcl transactions via mail. telephooe or Internet order. However, 1fyour Appl,cation Is approved based upon conlra,y 1nformaUlln slati,d in SecLion 8,Transadion Information sec'Oon atove, you
   areauthotized lo accept transaCIJons "1 accm:Jance"'1th the percentages indicated in thalsecfon
   This signature page also serves as a signature page to the Equipment Lease Agreement as Section 33. if selected, ~,e undersigned Client being lhe "Lessee" for purposes of sucl1 Equipmenl LeaS!l Ag'eem,nl Client
   authmizes Card Flex Frnncial Services, LLCand Wells Fmgo Bank. NA {"Bank") and ~rnir agents to ,nvesb~te tha references. statements ar,d atherdata contained herein and lo obtain addilional informotion fro1ncredit
   buroous and other lawful soul'l;eS, induCing persons and con,p.,nies names in this Merchant Process:ng Application. Client authorizes Ca,dFlex Finandal SeMces, LLC an:I BANK and lherr agents (a) to procure
   information from any consumer reportin(; agency bearing his/her perwnol credit 1MJrthiness, credit standing. credit capacity. dlamcter. general reputafon, personal characteristics. or trode of !Ying, and {b) lo contact all
   previous employe,;;, personal references a~d educational inst;tutions It is ourpolicy1oobtain cer!Bin information in orde, toverifyya.iridenLitywhile processing your account applicaUon.
   By sign"ng be:ow, I represent t,at I have read and am aul'iorized to sign and submit :)]is applk:aUOn on behalf of lhe entity above and all inkmnation I have p,o,.;ded herein ,s true, complete. aOO accurate. I authonze
   American Express Travel Related Ser,k:es Company. Inc. ("AJT'eJ"ican Express")to verify the information in this applicatJon and recei,e and exchange infmmalion about me pernonally, induding by requesung reports from
   consum,r rijportJng ;,,gencies. I authonze and direct Amencan E,q:,ress to inform rr.e d1recUy. o,· through :he en!Jly above, or reports about me that Arr,e,ican Express has requesled from consumer repo~ang agencies.
   Such inforrml,on w,li in dude the name and address of the agencyfumisl>ing the report. I unoerstand lhalup:m American Express' approval of the entity tnd1ca:ed above to accept the American E;:press Card, the terms and
   condioons for American Express® Card Acceptance ('Terms and GondiUons"J"'1II be sen: to sudl en!Jt,· along with a Welcome Letter. By accepting the!>.rnencan ;;'.,;press Card rm the ourdlase or goo:!s and/or services,
   orotherv~se 1ndica~ng its ,ntanlion to be bound, the en!J!y agrees to be bound by lhe Terms and Cond1Uons
   Cl,ent agrees to all lhe mrms of this Merdmr.l Processing App)caUon and AgreemenL This Merchant Processing Appl1ca1Jo11 and Agreement shall no! take effect unli! Cient has been approved and tl,is Agreeme~I has
   been accepl,;j by Card Flex Financial Serv,ces. LL-Co      ~nd Bank.

   Owner/Officer Signature:                               J .....-                                                            PRESIDENT                                 Date:    8/10/2010
                                                                     FOR ALL CORPORATIONS - Corporate Resolution
   The indicaled office identifred above has the authorization lo execute the Merchant Processing Agreement wilh Bank and CFS on behalf of lhe here withrn named corporalion.

   Secretary of the Board: X                          Cl---~                                                                                                            Date:       I     I

   CARDFLEX FINANCIAL SERVICES ACCEPTANCE


   Annlication A roved Bu:                                                                                           Title:                                             Date:       I     I
   WELLS FARGO BANK, N.A. ACCEPTANCE


   ApolicaUon A--roved Bv:                                                                                           Tille:                                             Date:       I     I


  Sponsor Bank: Wells Fargo Bank NA                                                                                       Card Flex Financial Services LLC is a registered !SO of Wells Fargo Bank, N.A.
                                                                                                         Page 2 of 3                                                                           REV0210




                                                                                                          164                                                               DOJ-EDNY-0015200
Case 1:21-cr-00064-KAM                                 Document 164 Filed 03/10/25                                                Page 170 of 224 PageID #:
                                                                   9394


                                                                                                                                                                                      CFS1·I(16



  Merchant: _________________

                                                                                 TRADE REFERENCES
   1. Name·     SlashDevS!ashFinance Inc.                                            Contac:: Raeez Lorg at                                   Phone:
                                                                                                                                                       (617) 470-5156
   2. Name·                                                                          Contact:                                                 Phone-

                                                                                     BANK INFORMATION
   Bank Name:                                                                        Contact:                                                 Phone:
                    WELLS FARGO
   Bank Routing                                                                      Bani- Accoun:
   Number:
                     121042882                                                       Number:       1227187315
                                                                                      SITE INSPECTION
   The Merchant: D Owns          0 Leases the business premises        Landlord Neme·                                                Landlord Telephone#:

                 Merchant Location:      D Retail Store Front              □ Ofiice/V\/arehouse            ~ Residential                 □ Internet                        □ Other

             Does the amount of inventory and merchandise on the shelves appear consistent with type of business?                        D Yes                             □ No

             I hereby certify that I have inspected the business premises of the merchant at this address and this survey is correct to the best of my knowledge.

   Inspected by:                                                                                         Title                                           Date:
                               HARDWAREISOFTW ARE                                                                              TERMINAL PROGRAM
                                                                       QTY            TOTAL

                 Terminal □    Model:                                 --        $- - -           0 Retail (80% Swiped)               0 Purchase Card        D Dial Terminal
                   Printer □   Model:                                 -- ---    $                □ Retail w/ Tip                     □ Lodging              □ Dial Out Code:
                                                                                                                                                                                ---
                  Pin Pad □    Model:                                 - - $ - - - D 4 Digit Verification                             □ AVS                  D IP Terminal
            Check Reader 0                                                                       D Restaurant (w/ tip program)       D Invoice#             D Auto Close Time - - -
            P.C. Software D
                               Model:

                               Model:
                                                                      --

                                                                      --
                                                                                's   ---

                                                                                     ---         □ MOT0 (AVS Required)               D Server ID            D NOS Version - - -
   Do you use a Third Party to store, process or transmit cardholder data?          D Yes !Zl No      If yes, provide their name and address:


   LEASE COMPANY (04} First Data Global Leasing                 Lease Term: - - Mos.                 Annual Tax Handling Fee. 10.20
   Total Monthly Lease Charge:$            w.lo taxes, late fees, or other charges that may apply -
   (See Lease Aareement in Pronram Guide tor details. This is a non-cancelab!e lease for the full tem1 indicated.)                                           Client Initials:
                                                                     INTERNET MERCHANT INFORMATION
   ~dFlex Payment Gateway                            Initial Setup Fee:$             0.00 Gateway Per Transaction Fee:$              0.00 Monthly Fee:$
   □       External Gateway (not supplied by CFS):

   Number of Imprinter Plates             □ Ship Welcome Kit Only Equipment is: □ Reprogram                      □ Provided by CFS    Ship to: 0 Merchant □ Office
                                --
   Call merchant for D download O training           Contact:                                                                         Phone Number:
                               PAYMENT INFORMATION                                                                            SHIPPING INFORMATION                                        ...
   □       Please charge my Credit Card                            CID#/                         □     Please ship to the following address
           Card#:                              Expiration: _ _ _ _ CVV2#: _ _ _                        Street:
   □       Please debit my checking account                                                            City:                                       Staie:               Zip:
           Routing#:                             Account#·                                             Shipping Location Phone Number:


  Comments:--------------------------------------------




                                                                                                                                                       Merchant Initials             ['.r,--....
     Merchant Documentation Requirements:
       □     Signed Merchant Application and Agreement including Signed Resolution and Sign Personal Guaranty by principals.
       □     Photos of location or brochures, business cards or other identiiying business information on the Merchant. For an Internet Business. a printout
             of the Merchant's web page.
       D     Copy of Voided Check
       □     All Web Site URLs, Passwords and Domain Names
       □      Financial statements for Merchants processing over $50,000 in monthly Merchant sales volume
       □      3 months of merchant statements from previous processing
       □      Photocopy of driver's license
       0     Additional setup form (Gift/Loyalty Card, American Express)
  Sponsor Bank: Wells Fargo Bank N.A.                                                                   Card Flex Financial Services LLC is a registered ISO of Wells Fargo Bank. N,A.
                                                                                           Page 3 of 3                                                                            REV 0210




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                       Case 1:21-cr-00064-KAM                                                                                                                                                                              Document 164 Filed 03/10/25                                                           Page 172 of 224 PageID #:
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    COMPLETE MERCHANT SOLUTIONS                                                                                                                                                                                                                                                                                                                 PAGE              1
    P O BOX 684
    PROVO UT                                                                                                                                                                                                                                                                                                              MONTH ENDING    11/30/13
    84603                                                                                                                                                                                                                                                                                                              8 PAGES IN THIS STATEMENT

                                                                                                                                                                                                                                                   MERCHANT STATEMENT                                                                      07          1280
                                                                                                                                                                                                                                               SUMMARY OF BANKCARD DEPOSITS
    8716 0000 0100 01

    MERCHANT NUMBER                                                                                            5134                                    8500                                    0108910                                                                                                       DDA/SAV/GL NR 002556103
                                                                                                                                                                                                                                                                                                             CHAIN 08944


           T   T   T   D   A   D   T   T   T   D   A   D   F   A   D   F   A   A   A   D   T   A   A   D   T   T   D   D   F   T   D   T   F   T   T   A   D   T   F   F   T   F   T   F   A   D   A   T   A   T   D   F   F   D   A   T   F   A   T   D   A   A   A   D   A




       PREMIER MENTORING (TREND TRADI
       172 E. 14075 S.
       DRAPER UT 84020-5725




    CUSTOMER SERVICE TEL #: 877-267-4324
0




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                                                                                                                                                                                                                                                                                 !ATTENTION!

                                           MULTIPLE DEBIT NETWORKS HAVE IMPLEMENTED AN ANNUAL MERCHANT PARTICIPATION
                                           FEE. MERCHANTS CURRENTLY SETUP TO ACCEPT PIN BASED DEBIT CARD TRANSACTIONS
                                           WILL BE BILLED AN ANNUAL PARTICIPATION FEE OF $8.00 PER MERCHANT
                                           IDENTIFICATION NUMBER FOR EACH OF THE SUBSEQUENT DEBIT NETWORKS. THIS
                                           AMOUNT WILL BE DEDUCTED ON YOUR NORMAL BILLING STATEMENT DURING THE MONTHS
                                           OF AUGUST, SEPTEMBER, AND
                                           OCTOBER.

                                           IF YOU HAVE ANY QUESTIONS OR ANY OTHER ISSUES PLEASE CONTACT US AT
                                           877-267-4324.

                                           THANK YOU FOR YOUR CONTINUED BUSINESS.

    ----------------------------------------------------------------------------------------------

    TOTAL CHARGE TO YOUR ACCOUNT IS                                                                                                                                                                                                                                                                                                               0.00

    --------------------------------------------------------------------------------------------- -
                                       SUMMARY OF CARD DEPOSITS

       CARD TYPE                                                                                                                                      SALES                                                                                                                                            RETURNS                                            NET
                                                                                                                                                   ADJUSTMENTS                                                                                                                                        EXCL ADJ
       MASTERCARD                                                                                                              125                                                                                                 5,844.95                                                    10                  373.60                                5,471.35
                                                                                                                                 0                                                                                                     0.00                                                    18 -                946.65 -
       VISA                                                                                                                    113                                                                                                 5,347.35                                                    14                  779.80                                4,567.55
                                                                                                                                 0                                                                                                     0.00                                                    15 -                821.81 -
       VS OFLN DB                                                                                                              169                                                                                                 8,090.15                                                     5                  223.85                                7,866.30
                                                                                                                                 0                                                                                                     0.00                                                     1-                  67.00 -
       DCVR ACQ                                                                                                                 40                                                                                                 1,967.20                                                    10                  484.75                                1,482.45


       TOTAL                                                                                                                   447                                                                                             21,249.65                                                       39                1,862.00                              19,387.65
                                                                                                                                           0                                                                                                               0.00                                34 -              1,835.46 -


           TOTAL RESERVE AMOUNT                                                                                                                                                                                                                                                                                                                          1,027.92




    1013           0001                                    CC01                                        001                                             07                                              20131130                                                            Page 1 of 8                              8716      0000   CC0                   1280

                                                                                                                                                                                                                                                                                         167                               DOJ-EDNY-0019056
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COMPLETE MERCHANT SOLUTIONS                                                                                                                                                                                                                                                                                                            PAGE                 2
P O BOX 684
PROVO UT                                                                                                                                                                                                                                                                                                               MONTH ENDING           11/30/13
84603

                                                                                                                                                                                                                                                MERCHANT STATEMENT                                                                07          1280
                                                                                                                                                                                                                                            SUMMARY OF BANKCARD DEPOSITS
8716 0000 0100 01

MERCHANT NUMBER                                                                                             5134                                    8500                                    0108910                                                                                                       DDA/SAV/GL NR 002556103
                                                                                                                                                                                                                                                                                                          CHAIN 08944


        T   T   T   D   A   D   T   T   T   D   A   D   F   A   D   F   A   A   A   D   T   A   A   D   T   T   D   D   F   T   D   T   F   T   T   A   D   T   F   F   T   F   T   F   A   D   A   T   A   T   D   F   F   D   A   T   F   A   T   D   A   A   A   D   A




  PREMIER MENTORING (TREND TRADI
  172 E. 14075 S.
  DRAPER UT 84020-5725




CUSTOMER SERVICE TEL #: 877-267-4324


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                                    SUMMARY OF INTERCHANGE FEES

INTERCHANGE                                                                                                                                                                                                                 RATE                                               ITEM             COUNT            VOLUME                       FEE
MASTERCARD
  MERIT 1                                                                                                                                                                                                                           .0189                                         .10              23                  1,009.35                      21.46
  INT DOM ACQ FO                                                                                                                                                                                                                    .0160                                                           3                    153.95                       2.46
  CORP PRD RATE 1                                                                                                                                                                                                                   .0265                                         .10               2                     86.95                       2.51
  CREDIT REFUND 3                                                                                                                                                                                                                   .0195                                                           2-                     59.90 -                    1.16 -
  WC MERIT 1                                                                                                                                                                                                                        .0205                                         .10              19                    973.65                      21.81
  WCELITE MERIT1                                                                                                                                                                                                                    .0250                                         .10               3                    153.95                       4.16
  ENHANCEDMERIT 1                                                                                                                                                                                                                   .0204                                         .10              19                    899.55                      20.29
  INTLCONPREMSTC                                                                                                                                                                                                                    .0185                                                           4                    156.85                       2.89
  EVPSBCORPDATAR1                                                                                                                                                                                                                   .0281                                         .10               3                    153.95                       4.62
  REGCORPDATA1LF                                                                                                                                                                                                                    .0005                                         .22               2                     96.95                       0.48
MC OFLN DB
  MERIT 1 DEBIT                                                                                                                                                                                                                     .0160                                         .15              18                    832.55                      16.01
   DEBIT REFUND 3                                                                                                                                                                                                                   .0140                                                           6-                   179.70 -                     2.52 -
   MERIT1PREPDDBTC                                                                                                                                                                                                                  .0176                                         .20               9                    340.70                       7.80
   REGULATDMIDMT1                                                                                                                                                                                                                   .0005                                         .21               1                     67.00                       0.24
   REGULATFMIDMT1                                                                                                                                                                                                                   .0005                                         .22              19                    919.55                       4.57
   REGULATEDFDBTCN                                                                                                                                                                                                                  .0005                                         .22               2-                   134.00 -                     0.50 -
VISA
  CPS ECOM BASIC                                                                                                                                                                                                                    .0180                                         .10              29                  1,381.35                      27.76
  US CRDT VCR-ME                                                                                                                                                                                                                    .0205                                                          14 -                   779.80 -                   15.98 -
  CPS REWARDS 2                                                                                                                                                                                                                     .0195                                         .10              63                  2,999.50                      64.78
   US BUS B2B                                                                                                                                                                                                                       .0210                                         .10               7                    300.80                       7.01
   US PURCH B2B                                                                                                                                                                                                                     .0240                                         .10               2                     86.95                       2.28
   US VSP B2B                                                                                                                                                                                                                       .0210                                         .10               5                    250.90                       5.76
   US BUS ENH B2B                                                                                                                                                                                                                   .0225                                         .10               6                    260.85                       6.46
   PREM CRD CANADA                                                                                                                                                                                                                  .0180                                                           1                     67.00                       1.20
VS OFLN DB
   CPS ECO BAS DB                                                                                                                                                                                                                   .0165                                         .15              38                  1,772.05                      34.93
  US CV DB                                                                                                                                                                                                                                                                                          5-                   223.85 -
  CPSECOMBASICPP                                                                                                                                                                                                                    .0175                                         .20               4                    183.90                       4.01
   REG CPS ECOMBSC                                                                                                                                                                                                                  .0005                                         .22              99                  4,725.75                      24.14
   US BUS CNP DB                                                                                                                                                                                                                    .0245                                         .10               4                    183.90                       4.90
   REG BUS CNP DB                                                                                                                                                                                                                   .0005                                         .22              24                  1,224.55                       5.89
DCVR ACQ
  P CNP RW                                                                                                                                                                                                                          .0197                                         .10              28                  1,398.45                   30.33
  CMRCL EL                                                                                                                                                                                                                          .0230                                         .10               2                      86.95                   2.20
  ADJVR3RW                                                                                                                                                                                                                          .0175                                                          10 -                   484.75 -                 8.45 -
  PCNPPRM                                                                                                                                                                                                                           .0200                                         .10               5                    240.90                    5.32
  CNP PP                                                                                                                                                                                                                            .0235                                         .10               5                    240.90                    6.15
TOTAL INTERCHANGE                                                                                                                                                                                                                                                                                                                                313.80




 1013                   0001                                    CC01                                        001                                             07                                              20131130                                                        Page 1 of 8                         8716     0000   CC0                  1280

                                                                                                                                                                                                                                                                                          168                           DOJ-EDNY-0019056
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    COMPLETE MERCHANT SOLUTIONS                                                                                                                                                                                                                                                                                                      PAGE             3
    P O BOX 684
    PROVO UT                                                                                                                                                                                                                                                                                                      MONTH ENDING              11/30/13
    84603

                                                                                                                                                                                                                                                   MERCHANT STATEMENT                                                           07          1280
                                                                                                                                                                                                                                               SUMMARY OF BANKCARD DEPOSITS
    8716 0000 0100 01

    MERCHANT NUMBER                                                                                            5134                                    8500                                    0108910                                                                                            DDA/SAV/GL NR 002556103
                                                                                                                                                                                                                                                                                                  CHAIN 08944


           T   T   T   D   A   D   T   T   T   D   A   D   F   A   D   F   A   A   A   D   T   A   A   D   T   T   D   D   F   T   D   T   F   T   T   A   D   T   F   F   T   F   T   F   A   D   A   T   A   T   D   F   F   D   A   T   F   A   T   D   A   A   A   D   A




       PREMIER MENTORING (TREND TRADI
       172 E. 14075 S.
       DRAPER UT 84020-5725




    CUSTOMER SERVICE TEL #: 877-267-4324
0




    --------------------------------------------------------------------------------------------- -
                                         SUMMARY OF CARD FEES

    MASTERCARD
      DISC 6
      QUAL DISC                                                                                                                                                                                                                                                    6,218.55                     0.02500                   155.51
      DUES & ASSESSMENTS                                                                                                                                                                                                                                                                                                    6.43
     AUTHS & AVS
      ECI CPU                                                                                                                                                                                                                                                                     279    AT      0.2000                    55.80
       AVS ECICPU                                                                                                                                                                                                                                                                 279    AT      0.1000                    27.90
       INTERCHANGE                                                                                                                                                                                                                                                                                                        105.12
       KILOBYTE FEE                                                                                                                                                                                                                                                                                                         0.27
       PROCESS FEE                                                                                                                                                                                                                                                      135              AT     0.009500                    1.28
       BIN/ICA FEE                                                                                                                                                                                                                                                      135              AT     0.008750                    1.18
       LICENSE RATE                                                                                                                                                                                                                                                5,844.95              AT    0.0000500                    0.29
       NABU FEES                                                                                                                                                                                                                                                        289              AT      0.01950                    5.64
       ACQ SUPPORT FEE                                                                                                                                                                                                                                               310.80              AT      0.00846                    2.63
       CROSS BORDER FEE                                                                                                                                                                                                                                                        146.85    AT     0.00401                     0.59
     TOTAL                                                                                                                                                                                                                                                                                                                                     362.64
    VISA
       DISC 6
       QUAL DISC                                                                                                                                                                                                                                                   6,127.15                      0.02500                  153.19
       DUES & ASSESSMENTS                                                                                                                                                                                                                                                                                                   5.88
     AUTHS & AVS
       ECI CPU                                                                                                                                                                                                                                                                    233    AT       0.2000                   46.60
       AVS ECICPU                                                                                                                                                                                                                                                                 233    AT       0.1000                   23.30
       INTERCHANGE                                                                                                                                                                                                                                                                                                         99.32
       ACQ ISA FEE                                                                                                                                                                                                                                                             67.00     AT      0.00388                    0.26
       ACQR PROCESSOR FEES                                                                                                                                                                                                                                                       233     AT      0.01950                    4.54
        INTERNTL ACQUIRER FEE                                                                                                                                                                                                                                                  67.00     AT      0.00447                    0.30
        FIXED NETWORK CNP FEE                                                                                                                                                                                                                                                      2                                        8.50
       KILOBYTE FEE                                                                                                                                                                                                                                                                                                         0.51
       PROCESS FEE                                                                                                                                                                                                                                                                127    AT     0.009500                    1.21
       BIN/ICA FEE                                                                                                                                                                                                                                                                127    AT     0.008750                    1.11
      TOTAL                                                                                                                                                                                                                                                                                                                                    344.72
    VS OFLN DB
       DISC 6
       QUAL DISC                                                                                                                                                                                                                                                   8,314.00                      0.02500                  207.88
       DUES & ASSESSMENTS                                                                                                                                                                                                                                                                                                   8.90
     AUTHS & AVS
       ECI CPU                                                                                                                                                                                                                                                                    410    AT       0.2000                   82.00
       AVS ECICPU                                                                                                                                                                                                                                                                 410    AT       0.1000                   41.00
       INTERCHANGE                                                                                                                                                                                                                                                                                                         73.90
       ACQR PROCESSOR FEES                                                                                                                                                                                                                                                        410    AT      0.01550                    6.36
       PROCESS FEE                                                                                                                                                                                                                                                                174    AT     0.009500                    1.65
       BIN/ICA FEE                                                                                                                                                                                                                                                                174    AT     0.008750                    1.52
     TOTAL                                                                                                                                                                                                                                                                                                                                     423.21
    DCVR ACQ
       DISC 6
       QUAL DISC                                                                                                                                                                                                                                                   2,451.95                      0.02500                   61.32
       DUES & ASSESSMENTS                                                                                                                                                                                                                                                                                                   2.06


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                                                                                                                                                                                                                                                                                         169                      DOJ-EDNY-0019058
                        Case 1:21-cr-00064-KAM                                                                                                                                                                                  Document 164 Filed 03/10/25                                           Page 175 of 224 PageID #:
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 COMPLETE MERCHANT SOLUTIONS                                                                                                                                                                                                                                                                                                        PAGE                4
 P O BOX 684
 PROVO UT                                                                                                                                                                                                                                                                                                        MONTH ENDING              11/30/13
 84603

                                                                                                                                                                                                                                                MERCHANT STATEMENT                                                             07          1280
                                                                                                                                                                                                                                            SUMMARY OF BANKCARD DEPOSITS
 8716 0000 0100 01

 MERCHANT NUMBER                                                                                            5134                                    8500                                    0108910                                                                                               DDA/SAV/GL NR 002556103
                                                                                                                                                                                                                                                                                                  CHAIN 08944


        T   T   T   D   A   D   T   T   T   D   A   D   F   A   D   F   A   A   A   D   T   A   A   D   T   T   D   D   F   T   D   T   F   T   T   A   D   T   F   F   T   F   T   F   A   D   A   T   A   T   D   F   F   D   A   T   F   A   T   D   A   A   A   D   A




    PREMIER MENTORING (TREND TRADI
    172 E. 14075 S.
    DRAPER UT 84020-5725




 CUSTOMER SERVICE TEL #: 877-267-4324


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                                         SUMMARY OF CARD FEES

  AUTHS & AVS
   ECI CPU                                                                                                                                                                                                                                                                       55    AT        0.2000                     11.00
   AVS ECICPU                                                                                                                                                                                                                                                                    55    AT        0.1000                      5.50
   INTERCHANGE                                                                                                                                                                                                                                                                                                              35.55
   DSCV DATA USAGE FEE                                                                                                                                                                                                                                                           50    AT       0.01850                      0.93
   DSCV AUTH FEE                                                                                                                                                                                                                                                                 55             0.00254                      0.14
  TOTAL                                                                                                                                                                                                                                                                                                                                       116.50
 LESS DISCOUNT PAID                                                                                                                                                                                                                                                                                                        577.90
 TOTAL CARD FEES                                                                                                                                                                                                                                                                                                                              669.16


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                                    SUMMARY OF MISCELLANEOUS FEES

 TOTAL CARD FEES                                                                                                                                                                                                                                                                                                                              669.16
 BATCH HEADER                                                                                                                                                                                                                                                               30                     0.2000                                       6.00
 CHARGEBACKS                                                                                                                                                                                                                                                                29         AT          35.000                                   1,015.00
 STATEMENT FEE                                                                                                                                                                                                                                                                                                                                 10.00
 REGULATORY PRODUCT                                                                                                                                                                                                                                                                                                                             4.95
 12B LETTERS                                                                                                                                                                                                                                                                29         AT          20.000                                     580.00
 LESS AMOUNT PAID BY CHAIN                                                                                                                                                                                                                                                                                                                  2,285.11


        TOTAL CHARGES                                                                                                                                                                                                                                                                                                                              0.00


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                                  SUMMARY OF MONETARY BATCHES

                                                                                                                                                                                                                                                                                      BATCHES

                                                                    GROSS                                                                                                                                                                               R&C                                     NET                 DATE                   REF
                                                                                        67.00 -                                                                                                                                                                 0.00                            67.00 -            07/21               110313MOADJ
                                                                                        67.00 -                                                                                                                                                                 0.00                            67.00 -            07/23               110513MOADJ
                                                                                        29.95 -                                                                                                                                                                 0.00                            29.95 -            07/30               110313MOADJ
                                                                                        67.00 -                                                                                                                                                                 0.00                            67.00 -            08/04               112413MOADJ
                                                                                        29.95 -                                                                                                                                                                 0.00                            29.95 -            08/11               112213MOADJ
                                                                                        67.00 -                                                                                                                                                                 0.00                            67.00 -            08/21               110313MOADJ
                                                                                        67.00 -                                                                                                                                                                 0.00                            67.00 -            08/25               110513MOADJ
                                                                                        29.95 -                                                                                                                                                                 0.00                            29.95 -            08/31               110313MOADJ
                                                                                        67.00 -                                                                                                                                                                 0.00                            67.00 -            09/02               112613MOADJ
                                                                                        67.00 -                                                                                                                                                                 0.00                            67.00 -            09/04               112413MOADJ
                                                                                        67.00 -                                                                                                                                                                 0.00                            67.00 -            09/12               111413MOADJ
                                                                                        67.00 -                                                                                                                                                                 0.00                            67.00 -            09/13               111713MOADJ
                                                                                        67.00 -                                                                                                                                                                 0.00                            67.00 -            09/20               110313MOADJ
                                                                                        73.03 -                                                                                                                                                                 0.00                            73.03 -            09/20               111313MOADJ
                                                                                        19.95 -                                                                                                                                                                 0.00                            19.95 -            09/20               111313MOADJ
                                                                                        29.95 -                                                                                                                                                                 0.00                            29.95 -            09/22               110713MOADJ
                                                                                        67.00 -                                                                                                                                                                 0.00                            67.00 -            09/23               110513MOADJ
                                                                                        29.95 -                                                                                                                                                                 0.00                            29.95 -            09/23               111713MOADJ
                                                                                        67.00 -                                                                                                                                                                 0.00                            67.00 -            09/27               110313MOADJ


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                                                                                                                                                                                                                                                                                        170                      DOJ-EDNY-0019059
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     COMPLETE MERCHANT SOLUTIONS                                                                                                                                                                                                                                                                                                       PAGE                5
     P O BOX 684
     PROVO UT                                                                                                                                                                                                                                                                                                       MONTH ENDING              11/30/13
     84603

                                                                                                                                                                                                                                                    MERCHANT STATEMENT                                                            07          1280
                                                                                                                                                                                                                                                SUMMARY OF BANKCARD DEPOSITS
     8716 0000 0100 01

     MERCHANT NUMBER                                                                                            5134                                    8500                                    0108910                                                                                              DDA/SAV/GL NR 002556103
                                                                                                                                                                                                                                                                                                     CHAIN 08944


            T   T   T   D   A   D   T   T   T   D   A   D   F   A   D   F   A   A   A   D   T   A   A   D   T   T   D   D   F   T   D   T   F   T   T   A   D   T   F   F   T   F   T   F   A   D   A   T   A   T   D   F   F   D   A   T   F   A   T   D   A   A   A   D   A




        PREMIER MENTORING (TREND TRADI
        172 E. 14075 S.
        DRAPER UT 84020-5725




     CUSTOMER SERVICE TEL #: 877-267-4324
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                                      SUMMARY OF MONETARY BATCHES

                                                                                                                                                                                                                                                                                      BATCHES

                                                                        GROSS                                                                                                                                                                               R&C                                   NET                  DATE                   REF
                                                                                            67.00 -                                                                                                                                                                 0.00                           67.00 -            09/29               112713MOADJ
                                                                                            29.95 -                                                                                                                                                                 0.00                           29.95 -            10/01               110313MOADJ
                                                                                            67.00 -                                                                                                                                                                 0.00                           67.00 -            10/02               112613MOADJ
                                                                                     29.95 -                                                                                                                                                                        0.00                           29.95 -            10/06               110313MOADJ
                                                                                     29.95 -                                                                                                                                                                        0.00                           29.95 -            10/22               110713MOADJ
                                                                                     73.03 -                                                                                                                                                                        0.00                           73.03 -            10/22               111313MOADJ
                                                                                     19.95 -                                                                                                                                                                        0.00                           19.95 -            10/22               111313MOADJ
                                                                                     67.00 -                                                                                                                                                                        0.00                           67.00 -            10/25               110513MOADJ
                                                                                     86.95                                                                                                                                                                          0.00                           86.95              11/01               70001819815
                                                                                    756.85                                                                                                                                                                          0.00                          756.85              11/03               70001819092
                                                                                    732.70                                                                                                                                                                          0.00                          732.70              11/03               70001819617
                                                                                     67.00 -                                                                                                                                                                        0.00                           67.00 -            11/03               110713MOADJ
                                                                                     67.00 -                                                                                                                                                                        0.00                           67.00 -            11/03               112613MOADJ
                                                                                     67.00                                                                                                                                                                          0.00                           67.00              11/04               11041390365
                                                                                    498.95                                                                                                                                                                          0.00                          498.95              11/04               70001819368
                                                                                     67.00 -                                                                                                                                                                        0.00                           67.00 -            11/05               110513AR001
                                                                                     67.00 -                                                                                                                                                                        0.00                           67.00 -            11/05               110513AR003
                                                                                     29.95 -                                                                                                                                                                        0.00                           29.95 -            11/05               110513AR003
                                                                                    518.90                                                                                                                                                                          0.00                          518.90              11/05               70001819547
                                                                                    996.45                                                                                                                                                                          0.00                          996.45              11/06               70001819706
                                                                                     67.00 -                                                                                                                                                                        0.00                           67.00 -            11/07               110713PD001
                                                                                     29.95 -                                                                                                                                                                        0.00                           29.95 -            11/07               110713PD001
                                                                                     67.00 -                                                                                                                                                                        0.00                           67.00 -            11/07               110713PD001
                                                                                    675.75                                                                                                                                                                          0.00                          675.75              11/07               70001819703
                                                                                     38.65 -                                                                                                                                                                        0.00                           38.65 -            11/08               70001819732
                                                                                    561.70                                                                                                                                                                          0.00                          561.70              11/10               70001819445
                                                                                    156.85                                                                                                                                                                          0.00                          156.85              11/10               70001819456
                                                                          853.90                                                                                                                                                                                    0.00                          853.90              11/11               70001819296
                                                                        1,960.00                                                                                                                                                                                    0.00                        1,960.00              11/12               70001819135
                                                                          595.90                                                                                                                                                                                    0.00                          595.90              11/13               70001819567
                                                                          675.75                                                                                                                                                                                    0.00                          675.75              11/14               70001819916
                                                                           67.00                                                                                                                                                                                    0.00                           67.00              11/15               11151390190
                                                                           19.95                                                                                                                                                                                    0.00                           19.95              11/15               11151390191
                                                                          481.80                                                                                                                                                                                    0.00                          481.80              11/15               70001819261
                                                                          474.75                                                                                                                                                                                    0.00                          474.75              11/17               70001819691
                                                                          829.65                                                                                                                                                                                    0.00                          829.65              11/17               70001819761
                                                                          236.65                                                                                                                                                                                    0.00                          236.65              11/18               70001819298
                                                                        1,153.30                                                                                                                                                                                    0.00                        1,153.30              11/19               70001819071
                                                                          134.00 -                                                                                                                                                                                  0.00                          134.00 -            11/20               70001819807
                                                                          738.50                                                                                                                                                                                    0.00                          738.50              11/21               70001819890
                                                                          280.85                                                                                                                                                                                    0.00                          280.85              11/22               70001819017
                                                                        1,170.35                                                                                                                                                                                    0.00                        1,170.35              11/24               70001819467
                                                                          407.75                                                                                                                                                                                    0.00                          407.75              11/24               70001819745
                                                                          956.55                                                                                                                                                                                    0.00                          956.55              11/25               70001819081
                                                                           67.00 -                                                                                                                                                                                  0.00                           67.00 -            11/26               112613AR004


     1013           0001                                    CC01                                        001                                             07                                              20131130                                                            Page 5 of 8                      8716    0000   CC0                     1280

                                                                                                                                                                                                                                                                                          171                       DOJ-EDNY-0019060
                         Case 1:21-cr-00064-KAM                                                                                                                                                                                  Document 164 Filed 03/10/25                                                      Page 177 of 224 PageID #:
                                                                                                                                                                                                                                             9401
 COMPLETE MERCHANT SOLUTIONS                                                                                                                                                                                                                                                                                                                  PAGE                 6
 P O BOX 684
 PROVO UT                                                                                                                                                                                                                                                                                                                    MONTH ENDING            11/30/13
 84603

                                                                                                                                                                                                                                                 MERCHANT STATEMENT                                                                      07          1280
                                                                                                                                                                                                                                             SUMMARY OF BANKCARD DEPOSITS
 8716 0000 0100 01

 MERCHANT NUMBER                                                                                             5134                                    8500                                    0108910                                                                                                          DDA/SAV/GL NR 002556103
                                                                                                                                                                                                                                                                                                              CHAIN 08944


         T   T   T   D   A   D   T   T   T   D   A   D   F   A   D   F   A   A   A   D   T   A   A   D   T   T   D   D   F   T   D   T   F   T   T   A   D   T   F   F   T   F   T   F   A   D   A   T   A   T   D   F   F   D   A   T   F   A   T   D   A   A   A   D   A




   PREMIER MENTORING (TREND TRADI
   172 E. 14075 S.
   DRAPER UT 84020-5725




 CUSTOMER SERVICE TEL #: 877-267-4324


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                                  SUMMARY OF MONETARY BATCHES

                                                                                                                                                                                                                                                                                    BATCHES

                                                                     GROSS                                                                                                                                                                               R&C                                                NET                DATE                  REF
                                                                        29.95 -                                                                                                                                                                                  0.00                                     29.95 -              11/26             112613AR004
                                                                     1,093.40                                                                                                                                                                                    0.00                                  1,093.40                11/26             70001819375
                                                                       268.00                                                                                                                                                                                    0.00                                    268.00                11/27             70001819753
                                                                       859.60                                                                                                                                                                                    0.00                                    859.60                11/28             70001819871
                                                                       471.85                                                                                                                                                                                    0.00                                    471.85                11/29             70001819180
                                                                     1,066.65                                                                                                                                                                                    0.00                                  1,066.65                11/30             70001819394


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                                      SUMMARY OF DAILY DEPOSITS
                                             ALL CARD TYPES

                                                                                                               SALES                                                                                                                                                                             RETURNS                              DAILY DISCOUNT
                                                                                                             CHRGBK/ADJ                                                                                                                                                                          EXCL ADJ                             DAILY TOTAL
 DATE                                                            COUNT                                                 AMOUNT                                                                                                                                                        COUNT                   AMOUNT
 11/01              2                                                                                                                                                                   86.95                                                                                                0                0.00                                   2.17
                    0                                                                                                                                                                    0.00                                                                                                0                0.00                                  84.78
 TOTAL RESERVE AMOUNT                                                                                                                                                                    4.34                                                                                                          TOTAL AFTER RESERVE                          80.44
 11/03             43                                                                                                                                                                2,242.30                                                                                               14              752.75                                  74.88
                    0                                                                                                                                                                    0.00                                                                                                8-             387.80 -                             1,026.87
 TOTAL RESERVE AMOUNT                                                                                                                                                                  112.10                                                                                                          TOTAL AFTER RESERVE                         914.77
 11/04              8                                                                                                                                                                  498.95                                                                                                0                0.00                                    12.49
                    0                                                                                                                                                                    0.00                                                                                                1               67.00                                   553.46
 TOTAL RESERVE AMOUNT                                                                                                                                                                   24.94                                                                                                          TOTAL AFTER RESERVE                           528.52
 11/05              9                                                                                                                                                                  518.90                                                                                                0                0.00                                    12.98
                    0                                                                                                                                                                    0.00                                                                                                1-             431.95 -                                  73.97
 TOTAL RESERVE AMOUNT                                                                                                                                                                   25.93                                                                                                          TOTAL AFTER RESERVE                            48.04
 11/06             23                                                                                                                                                                1,063.45                                                                                                1               67.00                                    28.26
                    0                                                                                                                                                                                         0.00                                                                           0                0.00                                   968.19
 TOTAL RESERVE AMOUNT                                                                                                                                                                                        53.16                                                                                     TOTAL AFTER RESERVE                           915.03
 11/07             13                                                                                                                                                                                675.75                                                                                  0                0.00                                    16.90
                    0                                                                                                                                                                                  0.00                                                                                  0              290.85 -                                 368.00
 TOTAL RESERVE AMOUNT                                                                                                                                                                                 33.78                                                                                            TOTAL AFTER RESERVE                           334.22
 11/08             14                                                                                                                                                                                685.70                                                                                 18              724.35                                    35.25
                    0                                                                                                                                                                                  0.00                                                                                  0                0.00                                    73.90 -
 11/10             17                                                                                                                                                                                785.55                                                                                  1               67.00                                    21.33
                    0                                                                                                                                                                                  0.00                                                                                  0                0.00                                   697.22
 TOTAL RESERVE AMOUNT                                                                                                                                                                                 39.25                                                                                            TOTAL AFTER RESERVE                           657.97
 11/11             14                                                                                                                                                                                853.90                                                                                  0                0.00                                    21.37
                    0                                                                                                                                                                    0.00                                                                                                0                0.00                                 832.53
 TOTAL RESERVE AMOUNT                                                                                                                                                                   42.69                                                                                                          TOTAL AFTER RESERVE                         789.84
 11/12             43                                                                                                                                                                1,960.00                                                                                                0                0.00                                  49.01
                    0                                                                                                                                                                    0.00                                                                                                0                0.00                               1,910.99
 TOTAL RESERVE AMOUNT                                                                                                                                                                   97.99                                                                                                          TOTAL AFTER RESERVE                       1,813.00




  1013                       0001                                CC01                                            001                                             07                                              20131130                                                    Page 5 of 8                              8716     0000     CC0                 1280

                                                                                                                                                                                                                                                                                           172                               DOJ-EDNY-0019060
                        Case 1:21-cr-00064-KAM                                                                                                                                                                              Document 164 Filed 03/10/25                                                            Page 178 of 224 PageID #:
                                                                                                                                                                                                                                        9402
    COMPLETE MERCHANT SOLUTIONS                                                                                                                                                                                                                                                                                                                     PAGE              7
    P O BOX 684
    PROVO UT                                                                                                                                                                                                                                                                                                                    MONTH ENDING               11/30/13
    84603

                                                                                                                                                                                                                                                    MERCHANT STATEMENT                                                                         07          1280
                                                                                                                                                                                                                                                SUMMARY OF BANKCARD DEPOSITS
    8716 0000 0100 01

    MERCHANT NUMBER                                                                                             5134                                    8500                                    0108910                                                                                                         DDA/SAV/GL NR 002556103
                                                                                                                                                                                                                                                                                                                CHAIN 08944


            T   T   T   D   A   D   T   T   T   D   A   D   F   A   D   F   A   A   A   D   T   A   A   D   T   T   D   D   F   T   D   T   F   T   T   A   D   T   F   F   T   F   T   F   A   D   A   T   A   T   D   F   F   D   A   T   F   A   T   D   A   A   A   D   A




       PREMIER MENTORING (TREND TRADI
       172 E. 14075 S.
       DRAPER UT 84020-5725




    CUSTOMER SERVICE TEL #: 877-267-4324
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                                            SUMMARY OF DAILY DEPOSITS
                                                   ALL CARD TYPES

                                                                            SALES                                                                                                                                                                                                                    RETURNS                            DAILY DISCOUNT
                                                                          CHRGBK/ADJ                                                                                                                                                                                                                 EXCL ADJ                           DAILY TOTAL
    DATE                                                            COUNT           AMOUNT                                                                                                                                                                                                COUNT                 AMOUNT
    11/13                                                                                   10                                                                                                          595.90                                                                                   0                 0.00                                     14.90
                                                                                             0                                                                                                            0.00                                                                                   4-              185.96 -                                  395.04
    TOTAL RESERVE                                                   AMOUNT                                                                                                                 29.79                                                                                                            TOTAL AFTER RESERVE                            365.25
    11/14                                                               13                                                                                                                675.75                                                                                                 0                 0.00                                     16.89
                                                                         0                                                                                                                  0.00                                                                                                 1-               67.00 -                                  591.86
    TOTAL RESERVE                                                   AMOUNT                                                                                                                 33.78                                                                                                            TOTAL AFTER RESERVE                            558.08
    11/15                                                               12                                                                                                                568.75                                                                                                 2                86.95                                     16.40
                                                                         0                                                                                                                  0.00                                                                                                 2                86.95                                    552.35
    TOTAL RESERVE                                                   AMOUNT                                                                                                                 28.42                                                                                                            TOTAL AFTER RESERVE                            523.93
    11/17                                                               27                                                                                                              1,304.40                                                                                                 0                 0.00                                     32.61
                                                                         0                                                                                                                  0.00                                                                                                 2-               96.95 -                              1,174.84
    TOTAL RESERVE                                                   AMOUNT                                                                                                                 65.20                                                                                                            TOTAL AFTER RESERVE                        1,109.64
    11/18                                                                8                                                                                                                236.65                                                                                                 0                 0.00                                    5.92
                                                                         0                                                                                                                  0.00                                                                                                 0                 0.00                                  230.73
    TOTAL RESERVE                                                   AMOUNT                                                                                                                 11.82                                                                                                            TOTAL AFTER RESERVE                          218.91
    11/19                                                               26                                                                                                              1,153.30                                                                                                 0                 0.00                                   28.84
                                                                         0                                                                                                                  0.00                                                                                                 0                 0.00                                1,124.46
    TOTAL RESERVE                                                   AMOUNT                                                                                                                 57.66                                                                                                            TOTAL AFTER RESERVE                        1,066.80
    11/20                                                                0                                                                                                                  0.00                                                                                                 2               134.00                                    3.35
                                                                         0                                                                                                                                0.00                                                                                   0                 0.00                                    137.35 -
    11/21                                                               17                                                                                                                              738.50                                                                                   0                 0.00                                     18.45
                                                                         0                                                                                                                                0.00                                                                                   0                 0.00                                    720.05
    TOTAL RESERVE                                                   AMOUNT                                                                                                                               36.91                                                                                              TOTAL AFTER RESERVE                            683.14
    11/22                                                                7                                                                                                                              310.80                                                                                   1                29.95                                      8.53
                                                                         0                                                                                                                                0.00                                                                                   1-               29.95 -                                  242.37
    TOTAL RESERVE                                                   AMOUNT                                                                                                                               15.53                                                                                              TOTAL AFTER RESERVE                            226.84
    11/24                                                                                   35                                                                                          1,578.10                                                                                                 0                 0.00                                   39.45
                                                                                             0                                                                                              0.00                                                                                                 2-              134.00 -                              1,404.65
    TOTAL RESERVE                                                   AMOUNT                                                                                                                 78.89                                                                                                            TOTAL AFTER RESERVE                        1,325.76
    11/25                                                               20                                                                                                                956.55                                                                                                 0                 0.00                                   23.91
                                                                         0                                                                                                                  0.00                                                                                                 0                 0.00                                  932.64
    TOTAL RESERVE                                                   AMOUNT                                                                                                                 47.81                                                                                                            TOTAL AFTER RESERVE                          884.83
    11/26                                                               24                                                                                                              1,093.40                                                                                                 0                 0.00                                   27.34
                                                                         0                                                                                                                  0.00                                                                                                 1-              297.95 -                                768.11
    TOTAL RESERVE                                                   AMOUNT                                                                                                                 54.66                                                                                                            TOTAL AFTER RESERVE                          713.45
    11/27                                                                4                                                                                                                268.00                                                                                                 0                 0.00                                    6.71
                                                                         0                                                                                                                  0.00                                                                                                 1-               67.00 -                                194.29
    TOTAL RESERVE                                                   AMOUNT                                                                                                                               13.40                                                                                              TOTAL AFTER RESERVE                            180.89
    11/28                                                               18                                                                                                                              859.60                                                                                   0                 0.00                                     21.49
                                                                         0                                                                                                                                0.00                                                                                   0                 0.00                                    838.11
    TOTAL RESERVE                                                   AMOUNT                                                                                                                               42.97                                                                                              TOTAL AFTER RESERVE                            795.14
    11/29                                                                9                                                                                                                              471.85                                                                                   0                 0.00                                     11.80
                                                                         0                                                                                                                                0.00                                                                                   0                 0.00                                    460.05
    TOTAL RESERVE                                                   AMOUNT                                                                                                                               23.58                                                                                              TOTAL AFTER RESERVE                            436.47


    1013            0001                                    CC01                                        001                                             07                                              20131130                                                            Page 7 of 8                                  8716    0000    CC0                   1280

                                                                                                                                                                                                                                                                                           173                                  DOJ-EDNY-0019062
                            Case 1:21-cr-00064-KAM                                                                                                                                                                              Document 164 Filed 03/10/25                                                   Page 179 of 224 PageID #:
                                                                                                                                                                                                                                            9403
COMPLETE MERCHANT SOLUTIONS                                                                                                                                                                                                                                                                                                                 PAGE                 8
P O BOX 684
PROVO UT                                                                                                                                                                                                                                                                                                                   MONTH ENDING            11/30/13
84603

                                                                                                                                                                                                                                                MERCHANT STATEMENT                                                                     07          1280
                                                                                                                                                                                                                                            SUMMARY OF BANKCARD DEPOSITS
8716 0000 0100 01

MERCHANT NUMBER                                                                                             5134                                    8500                                    0108910                                                                                                        DDA/SAV/GL NR 002556103
                                                                                                                                                                                                                                                                                                           CHAIN 08944


        T   T   T   D   A   D   T   T   T   D   A   D   F   A   D   F   A   A   A   D   T   A   A   D   T   T   D   D   F   T   D   T   F   T   T   A   D   T   F   F   T   F   T   F   A   D   A   T   A   T   D   F   F   D   A   T   F   A   T   D   A   A   A   D   A




  PREMIER MENTORING (TREND TRADI
  172 E. 14075 S.
  DRAPER UT 84020-5725




CUSTOMER SERVICE TEL #: 877-267-4324


    ----------------------------------------------------------------------------------------------
                                     SUMMARY OF DAILY DEPOSITS
                                            ALL CARD TYPES

                                                                        SALES                                                                                                                                                                                                                   RETURNS                             DAILY DISCOUNT
                                                                      CHRGBK/ADJ                                                                                                                                                                                                                EXCL ADJ                            DAILY TOTAL
DATE                                                            COUNT          AMOUNT                                                                                                                                                                                                COUNT                 AMOUNT
11/30                                                                                   31                                                                                          1,066.65                                                                                                0                0.00                                 26.67
                                                                                         0                                                                                              0.00                                                                                                0                0.00                              1,039.98
TOTAL RESERVE AMOUNT                                                                                                                                                                                        53.32                                                                                     TOTAL AFTER RESERVE                          986.66



                                                                                                                                                                                                                                            LAST PAGE OF THIS STATEMENT




 1013                   0001                                    CC01                                        001                                             07                                              20131130                                                        Page 7 of 8                             8716     0000     CC0                 1280

                                                                                                                                                                                                                                                                                          174                               DOJ-EDNY-0019062
                                         Case 1:21-cr-00064-KAM                                                           Document 164 Filed 03/10/25                                 Page 180 of 224 PageID #:
                                                                                                                                      9404
                                                                                           727 N 1550 E, Ste 475 • Orem, UT 84097                       Merchant #
                                                                                                                                                                              New Location                 Additional Location
                                <_f;o yna m(q Phone 1.866.599-9150 • Fax 801.805.9148
                                              www.dynamicps.com
                                                  A Division of Vision Bankcard, Inc
                                                                                       ™




                                                                                                                                                     Sales Office/ISO #                                       Location #       of
                                                                                                                                     MERCHANT APPLICATION
                                /    Legal Name:                                           Jump Learning LLC                                      DBA Name:
                                                                                                                                                                                                                                                     '\


                                     Legal Address:21470 sw 86 Place, Cutler Bay, FL 33189                                                        DBA Address (No PO Box):

                                     Legal City, State, Zip:                                                                                      DBA City, State, Zip:

                                     Legal Phone #:                                                      Contact:                                 DBA Phone # (non-mobile is preferred):
                                                                    888-228-5471                                          Ryan Ricke
                                     Cust. Svc. # (if different:)                                                                                 Website Address:                      hightrendauctions.com
                                     Fax #:                                                                                                       Email Address:
                                                                                       305-675-5921
                                     Mail Statement to (must choose one:) 0 Legal Address 0 DBA Address                                                                       JumpLearningLLC@gmail.com
                                     Type of Ownership                                        0 Sole Proprietor           0 Partnership     0 Not For Profit              0 Corporation               0x Limited Liability Company
                                     Type of Goods or Services Sold:                                                                                                                 SIC Code:
                                                                                                                          Online Marketing Tutorial
                                     Do you currently process credit cards? u Yes         ux No                                                   Processing Profile:               Card Swiped                                             %
                                     If yes, submit three current months' processing statements                                                    0 Retail                         Manual Key Entry with Imprint, Card
                                     Name of current processor:                                                                                    0 Restaurant                     Present with Signature                                  %
                                                                                                                                                   0 Lodging
                                     Has Merchant or any associated principal disclosed below filed bankruptcy or been subject                                                      Mail/Telephone Order                                    %
                                     to any involuntary bankruptcy?                             0x No     0 Yes                                    0 Service                                                                                %
                                                                                                                                                                                    eCommerce                                         100
                                     If yes, date filed:
                                                                                                                                                   0 Mail/Telephone Order
                                    \.                                                                                                            x0 eCommerce                                           TOTAL MUST EQUAL 100%                      ,I

                                                                                                                                                                              Years in Business:
                                     Federal Tax #(9 digits, no dashes):                          I I    I 46I -21
                                                                                                                 I 29
                                                                                                                   I 26
                                                                                                                      I 4I I I                   # of Locations: - -
                                                                                                                                                 1                                                 1 -Years Owned Business: - -
                                                                                                                                                                                                   -
                                     Bank Name:                                                           Routing #:                Checking Account #:                                              Bank Phone # (10 digits, no dashes) :
                                              Bank of America                                             I I I 06I31I00I27I7 I I I    898054917720                                                I I I305I -66
                                                                                                                                                                                                              I I9- 66
                                                                                                                                                                                                                    I 94
                                                                                                                                                                                                                       I I I I
                                                                                                                                   MEMBER BANK INFORMATION
                                (                                                                   Deutsche Bank AG, c/o Deutsche Card Services GmbH, Kaltenbornweg 1-3, 50679 Cologne, Germany
                                                                                                    +49 221 99577 777                                                            support.deucs@db.com
                                                                                                                                                                                                                                                     )
                                /                              IMPORTANT MEMBER BANK RESPONSIBILITIES                                                                   IMPORTANT MERCHANT RESPONSIBILITIES                                          '\
                                   1. A Visa Member is the only entity approved to extend acceptance of Visa products directly to                 1. Merchant must ensure compliance with cardholder data security and storage requirements.
                                      a merchant.                                                                                                 2. Merchant must maintain fraud and chargebacks below thresholds.
                                   2. A Visa Member must be a principal (signer) to the Merchant Agreement.                                       3. Merchant must review and understand the terms of the Merchant Agreement.
                                   3. The Visa Member is responsible for educating Merchants on pertinent Visa Operating                          4. Merchant must comply with Visa Operating Regulations.
                                       Regulations with which Merchants must comply.
                                   4. The Visa Member is responsible for and must provide settlement funds to the Merchant.                            The responsibilities listed above do not supersede terms of the Merchant Agreement and are
                                                                                                                                                       provided to ensure the merchant understands these specific responsibilities.
                                \. 5. The Visa Member is responsible for all funds held in reserve that are derived from the settlement.                                                                                                             ./
                                    ***** Payment Card Industry Data Security Standards (”PCI DSS”) and card association rules prohibit storage of track data under any circumstances. If you or your Point of Sale (”POS”) system
CARDHOLDER STORAGE COMPLIANCE




                                    pass, transmit, store or receive full cardholder’s data, then the POS software must be Payment Application Data Security Stan dard (”PA DSS”) compliant or you (merchant) must validate PCI DSS
                                    compliance (see #1 (b) below and questions #3 and #4 must be completed). If you use a payment gateway, they must be PCI DSS complaint. *****
                                    1. Have you ever experienced an Account Data Compromise (”ADC”)?          0 Yes 0 No If yes, provide date of compromise:
                                       a) Have you validated PCI DSS compliance?0 Yes 0 No                                           x
                                           If yes, go to #1(b); If no, go to #2
                                       b) Date of compliance, Report on Compliance (”ROC”) of Self Assessment Questionnaire (”SAQ”):
                                       c) What is the name of your Qualified Security Assessor (”QSA”)?                                                                       or SAQ (circle one):     A, B, C, or D
                                       d) Date of last scan:                     Approved Scanning Vendor’s name:
                                    2. Are you using a “dial-up” terminal or Touch Tone Captuer “”TTC”)? 0 Yes          0 No
                                    3. Do you or your Service Provider(s) received, pass, transmit or store the Full Cardholder Number (”FCN”), electronically?   0 Yes 0 No
                                       a) If yes, where is the card data stored?  0 Merchant’s location only                     0 Primary Service Provider                        0 Other Service Provider
                                                                                  0 Merchant’s Headquarters/Corp office only     0 Both Merchant and Service Provider(s) 0 All Apply
                                    4. What Primary Service Provider/Software Developer did you purchase your POS application fro m (i.e., software, gateway)?
                                       a) What is the name of the Service Provider/Software Developer’s application?                                                          Software Version #:
                                       b) Do your transactions process through any other Service Provider (i.e., web hosting companies, gateways, corporate office)?      0 Yes 0 No
                                       c) If yes, name the other Service Provider:
                                     (Individual Ownership Must be Equal to or Greater than 50%)
                                                                                                                                                                                                                                                     '
                                •
                                      Name:                                                                            Title:                                Date of Birth:             Social Security #:               % Equity Owners:hip:
                                     1                           Ryan Ricke/President                                                                     5/15/86                     XXX-XX-XXXX                     100
                                     Residence Address:                                                           City:                      State:        Zip:         # yrs:        Home Phone #:               Driver’s Lic. #: ST:
OW R(S)




                                                             21470 sw 86 Place, Cutler Bay, FL 33189                                                                     2 (305) 298-6209                       R200-721-86-175-0

                                •
                                \.
                                     2
                                      Name:

                                      Residence Address:                                                       City:
                                                                                                                       Title:

                                                                                                                                             State:
                                                                                                                                                             Date of Birth:

                                                                                                                                                           Zip:        # yrs:
                                                                                                                                                                                        Social Security #:

                                                                                                                                                                                      Home Phone #:
                                                                                                                                                                                                                        % Equity Owners:hip:

                                                                                                                                                                                                                      Driver’s Lic. #:       ST:

                                / (To Be Completed by Sales Representative)
                                     Merchant Loca:tion:                               0 Retail Location with Store Front 0 Office Building       0 Residence 0 Other:                                                                               '
                                     Area Zone:d                                       0 Commercial 0 Industrial 0 Residential        Is inventory/merchandise amount consistent with type of business? 0 Yes                               0 No
                                     If No, explain:
                                     The Merchant:                               0 Owns
                                                                     0 Leases the Business Premises                                            Landlord Name & Phone #:

                                     Does the Merchant use a Fulfillment House:     u Yes       u No                                          If yes, was the Fulfillment House inspected?               0 Yes          0 No
                                \. Further comments by Inspector (required):
                                     I hereby verify that this application has been fully completed by merchant applicant and that I have physically inspected the business
                                     premises of the merchant at this address and the information stated above is true and correct to the best of my knowledge and belief.
                                     Verified and Inspected by:                                                                                                                                  Merchant Initials (required)
                                                                                                                                                                                                                                            RR
                                     Representative Print Name                                               Representative Signature                                                                                   Date:
NT SI




                                     DYNAMIC PAYMENT SOLUTIONS IS A REGISTERED SERVICEMARK OF VISION BANKCARD, INC.  06/12 05
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                                                                                                                                   9405
                                                                                      ™



                                                 A Division of Vision Bankcard, Inc




                                 ( (._) INTERCHANGE PLUS                                      (J   Discount Rate
                                  Visa / MasterCard / Discover Credit Card Discount Rate:                                       %                         Visa / MasterCard / Discover Offline Debit Discount Rate:                                        %
                                  American Express Discount Rate:                                                                %                        Monthly Minimum                                                                                 Monthly

                                  Bankcard Transaction Fee:                                                                     Per Item                  EBT Transaction Fee:                                                                            Per Item

                                  Offline Debit Transaction Fee:                                                                Per Item                  Gift Card / Loyalty Card Transaction Fee:                                                       Per Item

                                  Debit Transaction Fee (Plus Debit Network Fees):                                              Per Item                  Voice Interaction Fee:                                                                          Per Item

                                  Visa Authorization/Settlement Network Access/Usage Fee:                              $ 0.03   Per Item                  Annual Fee (billed in advance for the following year):                                          Per Year

                                  MasterCard Authorization/Settlement Network Access/Usage Fee:                        $ 0.02   Per Item                  ACH Reject Fee:                                                                                 Per Item

                                  Discover Authorization/Settlement Network Access/Usage Fee:                          $ 0.02   Per Item                  Retrieval Fee:                                                                                  Per Item
RATE SCHEDULE




                                  Bank Service Fee:                                                                             Monthly                   Chargeback Fee:                                                                                 Per Item

                                  AVS Surcharge:                                                                                Per Item                  0        Supply/Replacement Program (optional):                                                 Monthly

                                  Batch Fee:                                                                                    Per Batch                 0        Each Additional Terminal        Quantity:   -                                          Monthly

                                  Split Batch Fee (additional):                                                                 Per Batch                 Gateway Activation Fee:                                                                         One Time

                                  Wireless Activation Fee:                                                                      One Time                  Gateway Access Fee:                                                                             Monthly

                                  Wireless Access Fee:                                                                          Monthly                   eCommerce/Gateway Item Fee:                                                                     Per Item

                                  Wireless Item Fee:                                                                            Per Item                  Cancellation Fee:                                                                               One Time

                                  Application Fee:                                                                              One Time                  MICROS Transaction Fee (if applicable):                                                         Per Item

                           I/we understand and agree to the following: 1)Discount rate as stated above will be charged on “Qualified Rate” transactions. Qualified Rate transactions are defined as electronically authorized and swiped transactions that are batched and
                           closed daily. In addition, sales volume may be charged for Association dues and assessments at a rate of up to 0.11%. 2)All lodging, car rental, small ticket, convenience and Express Servcies transactions may have a surcharge of up to 0.49%
                           added to the Qualified Rate. 3) Discover transactions may have a surcharge of up to 0.50% added to the Qualified Rate. 4) A “Mid-Qualified” surgecharge of up to 1.48% + $0.20 will be added to the Qualified Rate under the following
                           circumstances: a) Cardholder and card present at merchant’s point of sale device, key entered, signature obtained, Address Verification Service (”AVS”) with full match of billing zip code, settled within three days of authorization; settle amount
                           must equal authorized amount; b) Card not present, single authorization only, order number required, AVS with full match of billing zip code, settled within two days of authorization, settle amount must equal authorized amount; c) Certain
                           Discover, Visa Rewards & Visa Signature, MasterCard Enhanced Value & MasterCard World Card transactions. 5) A “Non-Qualified” surcharge of up to 1.98% + $0.20 may be added to the Qualified Rate for transactions that do not meet the
                           requirements stated above. and may also apply to transactions on Bus, Corp, Int’l, Purch, & Comm Cards; T&E, Mail/Telephone, e-Commerce, certain Discover, Visa Rewards & Visa Signature, MasterCard Enhanced Value & MasterCard World
                           Card. 6)If Interchange/Cost Plus: All transactions will be assessed the current, published interchange rates, dues, and assessments in addidtion to the basis points stated above. The published rates for Visa and MasterCard can be viewed at:
                           www.visa.com and www.mastercard.com. 7) Merchants may be charged a Cross Border transaction assessment of up to 1.00% in addition to the applicable rate, on transactions when the country code of the Card Issuer differs from the
                           country code of the Merchant. 8) On international transactions Merchants may be charged a rate of up to 0.55% for Visa’s International Acquirer Fee, Maestro U.S. and MasterCard’s Acquirer Program Support Fee and Discover’s International
                           Service Fee and International Processing Fee. 9) POS high-speed processing and/or gateway activation may be subject to a one time set up fee of up to $100.00, depending on provider. 10) An early closure of fee of $250.00 will be paid to
                           EVO if the Merchant Processing Agreement is not terminated in accordance with the Terms and Conditions. 11) Merchant will also be assessed the following fees on Visa transactions: the Visa Misuse of Authorization System Fee, which will
                           be assessed on authorizations that are approved but not settled in a timely manner; the Visa Zero Floor Limit Fee, which will be assessed on settled transactions that do not correspond to a valid authorization within the prior 30 days; and
                           the Visa Zero Dollar Verification Fee, which will be assessed on transactions where Merchant requested an address verification response witout an authorization. These fees of up to $0.10 per transaction will be displayed as separate items
                           on Merchant’s monthly statement and may include fees assessed by both the applicable card association and Bank or EVO. 12) Merchant will also be assessed each month the following Card Association fees: Fixed Network Fee and
                           Acceptance and Licensing Fee. These fees, which may vary each month, are based on Merchant Category Codes, the number of merchant locations by Merchant’s taxpayer identification number, and/or Merchant’s processing volume by
                           Merchant’s taxpayer identification number. For additional information about these fees go to www.goveo.com/FNF.            *American Express Fees: Retail: $0.10 transaction fee**; Services, Wholesale and All Other: $0.15 transaction fee.
                           **A 0.30% CNP fee will becharged for any transaction where the Card is not presented at the time of the transaction.
                                                                                                                                                                                                                                                                               _/
                        'Express Travel Related Services Company, Inc. (“American Express”) to verify the information in this application and receive and exchange information about me personally, including requesting reports from consumer reporting agencies.'
                      rAMERICAN EXPRESS By signing below, I represent that I have read and am authorized to sign and submit this application on behalf of the entity above and all information I have provided herein is true, complete, and accurate. I authorized
                             I authorize and direct American Express too inform me directly, or though the entity above, of reports about me that American Express has requested from consumer reporting agencies. Such information will include the name and
                             address of the agency furnishing the report. I understand that upon American Express’ approval of the entity indicated above to accept the American Express Card , the terms and conditions for Amercian Express® Card Acceptance
                             (‘Terms and Conditions’) willbe sent to such entity along with a Welcome Letter. By accepting the American Express Card for t he purchase of goods and/or services, or otherwise indicating its intention to be bound the entity
                             agrees to be bound by the Terms and Conditions. American Express transaction fees: $0.10 for Retail + 0.30% Downgrade for CNP and Key Entered Transactions, and $0.15 for Services, Wholesale & all other Mercha nt Types. __,,

                                          Merchant authorizes any party to the Agreement to present Automated Clearing House credits, Automated Clearing House debits, wire transfers, or depository transfer checks to and from the following account and to and from any other
DEBIT/CREDIT AUTHORIZATION




                                          account for which any such parties are authorized to perform such functions under the Merchant Processing Agreement, for the purposes set forth in the Merchant Processing Agreement. This authorization extends to such entries in said
                                          account concerning lease, rental or purchase agreements for POS terminals and/or accompanying equipment and/or check guarantee fees and amounts due for supplies and materials. This Automated Clearing House authorization cannot
                              LA E VOID




                                          be revoked until all Merchant obligations under this Agreement are satisfied, and Merchant gives written notice of revocation as required by this Agreement.
                                           INVESTIGATIVE CONSUMER REPORT: An investigative or consumer report may be made in connection with application. MERCHANT authorizes ANY PARTY TO THE AGREEMENT or any of their agents to investigate the references
                                            provided or any other statements or data obtained from MERCHANT, and from any of the undersigned personal guarantor(s), or from any other person or entity with any financial obligations under this Agreement. You have a right, upon
                             H K H
                                 C
                                 R
                                 E
                               P




                                          written request, to a complete and accurate disclosure of the nature and scope of the investigation requested.
                             C
                             E




                                    AVERAGE TICKET SIZE:                                  I            75
                                                                                                          HIGHEST TICKET SIZE:
                                                                                                                   I                     I           120                      I   MONTHLY VOLUME:              I                                 I
                            Each person certifies that the average ticket size and sales volume indicated is accurate and agrees that any transaction or monthly volume that exceeds either of the above amounts could result in delayed and/or withheld settlement of funds.
                            Also, see paragraphs 4.C, 9 and 13.B of the MERCHANT Processing Agreement regarding suspension and termination of MERCHANT.
                            IMPORTANT NOTICE : All information contained in this application was completed or supplied by all contracting parties. EVO and BANK shall not be responsible for any change in printed terms unless specifically agreed to in writing by
                            an officer of EVOand BANK. By signing below on either the original or a facsimile you are agreeing to the provisions stated within the Terms and Conditions of the Merchant Processing Agreement and the Merchant Application on the
                            reverse side, and you are acknowledging that you have carefully read each of those provisions before signing.
                            FOR ALL CORPORATIONS; CORP. RESOLUTION
                            The indicated officer(s) identified in numbers 1 and/or 2 below have the authorization to execute the MERCHANT Processing Agreement on behalf of the herewithin named corporation. MERCHANT UNDERSTANDS THAT THIS AGREEMENT
                         '- SHALL   NOT TAKE EFFECT UNTIL MERCHANT HAS BEEN APPROVED BY BANK AND A MERCHANT NUMBER IS ISSUED.
                                  As a primary inducement to EVO and Bank to enter into this Agreement, the undersigned
                                  Guarantor(s), by signing this Agreement, jointly and severally, unconditionally and irrevocably,
                                  personally guarantee the continuing full and faithful performance and payment by Merchant of each of                              & / (/<
                                                                                                                                                              If Merchant submits a transaction hereunder, Merchant will be deemed to have accepted
                                                                                                                                                              the Terms and Conditions of the Merchant Processing Agreement.
 PERSONAL GUARANTY (NO TITLES)




                                  its duties and obligations to EVO and Bank under this Agreement or any other agreement                                       X                                          l   ()
                                                                                                                                                                                                                                                         3/6/13

                                                                                                                                                                    l \v ~ \f1
                                  currently in effect or in the future entered into between Merchant or its principals and EVO and Bank
                                  Global, as such agreements now exist or are amended from time to time, with or without notice.                               #1 From Application—Signature                                                                              Date
                                  Guarantor(s) understands further that EVO and Global may proceed directly against Guarantor(s)
                                  without first exhausting their remedies against any other person or entity responsible to it or any security                 X
                                  held by EVO and Bank or Merchant. Guarantor(s) waive trial by jury with respect to any litigation
                                  arising out of or relating to this personal guaranty. This guaranty will not be discharged or affected by                    #2 From Application—Signature                                                                              Date
                                  the death of the undersigned, will bind all heirs, administrators, representatives and assigns and may be                r                                                                                                                     '
                                  enforced by or for the benefit of any successor of EVO and Bank. Guarantor(s) understand that
                                  the inducement to EVO and Bank to enter into this agreement is consideration for the guaranty,
                                  and that this guaranty remains in full force and effect even if the Guarantor(s) receive no additional                       X
                                  benefit from the guaranty.
                                                                                                                                                              Accepted by EVO Merchant Services, LLC




                                 ~~
                                  AGREED AND ACCEPTED

                                                                                                                                                               X
                                  X                                                                                                  3/6/13                    Accepted by Deutsche Bank AG, New York
                                  #1 From Application—Signature                                                                                 Date


                                  X                                                                                                                            X
                                                                                                                                                               Accepted by Deutsche Bank AG, New York
                                  #2 From Application—Signature                                                                                Date   ✓                                                                                                                          ✓

                                 DYNAMIC PAYMENT SOLUTIONS is a registered ISO/MSP for Deutsche Bank AG, New York                                    06/12 05
                                                                                                                                                    Page 2 of 6

                                                                                                                                                       176                                                               DOJ-EDNY-0019916
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                                                                           9406
                                                                              EQUIPMENT/ADDITIONAL SERVICES
r Equipment: 0          Purchase from EVO    0 Reprogram Merchant's existing equipment
                                                                                                                                                                                                    ,,
      If purchase, choose equipment:        0 Terminal        0 Printer      0 PINPad         0 Software                                                          0 Other:
      Ship equipment to: 0 Merchant           0 ISO       0 Other:                                      Ship                                                   to:0    Commercial0 Residential
      Choose shipment method:                0 Overnight       0 2nd Day        0 Ground
      Must choose one:       0Starter Kit       0 Starter Package (includes manual imprinter)
      If lease, indicate: 0 LSI        0 Other:
'-
r     TERMINAL TYPE:
      0 NURIT 3020 (repro only, *NOS 7 required)
       0 NURIT 2085 (repro only, *NOS 7 required)
                                                                              0 OMNI VX510 LE
                                                                              0 OMNI VX510 IP
                                                                                                                                        0 HYPERCOM T7Plus
                                                                                                                                        0 HYPERCOM T4210 (repro only)
                                                                                                                                                                                                    '
                                                                              0 OMNI VX510 (repro only)                                 0 HYPERCOM T4220 (repro only)
       0 NURIT 2085+ (repro only, *NOS 7 required)                                                                                      0 HYPERCOM T7P (repro only)
       0 NURIT 8320 (repro only)                                              0 OMNI 3740 (repro only)
                                                                                                                                           0 FRICTION 0 THERMAL
         0 DIAL 0 IP                                                             0 DIAL 0 IP                                            0  HYPERCOM T77 (repro only)
       0 NURIT 8320Lite                                                       0 OMNI 3750 (repro only)                                     0 FRICTION 0 THERMAL
                                                                                 0 DIAL 0 IP                                            0 EVO Charge
       0 NURIT 8400                                                           0 INGENICO 5100 (repro only)
            0 DIAL0 IP                                                           0 DIAL 0 IP                                            0 PC Charge
       0 NURIT 8400Lite                                                       0 INGENICO Aqua                                           0 Payware
       0 VERIFONE VX570                                                       0 DEJAVOO X5 (repro only)                                 0 PC Software (repro only): -
'--      0 DIAL 0 IP                                                          0 DEJAVOO X8 IP                                           0 Other
r      WIRELESS TERMINAL TYPE: (NOTE: NEW EVO SIM CARD REQUIRED FOR ALL GPRS REPROGRAMS)
       0 Way MTT 15XX Wireless Combo (repro only) KIT/MTT/SIM#
       0 Way 5000 Wireless Combo KIT/MTT/SIM #
                                                                                                                                                                                                    '
       0 Nurit 8000 Wireless (GPRS) (repro only) S/N
       0 Nurit 8000 Wireless (RAM) (repro only) S/N
             MAN/ESN#
    0 Nurit 8010 Wireless (GPS) S/N
    0 Nurit 8020 Wireless (GPS) S/N
    0 DEJAVOO M3 S/N



c~
'-- 0 Other:
      GATEWAY:
           DPS Authorized.Net
           Global Transport
                                   0 DPS PayPal (choose one): 0 PayFlow Pro 0 PayFlow Link
                                   0 Mtrex                    0 Other:
                                                                                                        Gateway Administrator email address (required):

                                                                                                                                                                                                    J
                                                                                                                                                                                                    ~
      By signing this application it is agreed that EVO shall not be held responsible for (a) any wirelss terminal repairs or (b) providing a replacement wirel ess




[
r
      terminal due to equipment failure. The terminal manufacturer shall handle all wireless terminal repairs and replacements. I also understand
      that due to the complexity of these wireless terminals, the manufacturer may not be able to provide a replacement while completing repairs.
      In addition, I further agree that a wireless terminal is NOT covered by participation in the EVO Supply Replacement Program. EVO will not be
      responsible for any problems with the wireless services provided pursuant to this agreement. See Rate Schedule for Wireless Fees. Fees are subject to change.

      TERMINAL APPLICATION:
        WITH TIPS 0 WITHOUT TIPS
        PINPAD TYPE:
                                             0 LODGING 0 MOTO
                                0 HYPERCOM PINPad S9 PCI (repro Only)
                                                                        0 QPS
                                                                         0 HYPERCOM PINPad P1300
                                                                                                      Merchant Refund Policy: 0 No Refund 0 Exchange Only

                                                                                                                   0 HYPERCOM PINPad 1320 (EVO Charge)
                                                                                                                                                                           0 In-Store Credit Only

                                                                                                                                                                                                    '
                                0 INGENICO PINDPad 3010 (repro only)     0 VERIFONE PINDPad 1000SE
       CHECK EQUIPMENT:              0   MAGTEK Reader          0 MAGTEK Imager 0 RDM Imager 0                              Other
       ACCESSORIES:              0    MAGTEK Mini Swipe Card Reader USB (choose one):             0   EVO Charge 0 PC Charge         0 Payware
       Equipment selection may be subject to availability/processing requirements.
'-
        ADDITIONAL SERVICES:
        0 EVO Check Advantage*                                                          List Existing Merchant #:
        0 Other Check Service:                                                          List Existing Merchant #:
       0 MasterCard PayPass TM/Visa payWave                 0 Merchant’s Capital Access*
        Other Card Types:                                      NEW        EXISTING         LIST EXISTING MERCHANT NUMBERS
        0 AMERICAN EXPRESS                                     0          0
        0 EBT*                                                 0         N/A          Existing FCS#:
        0 DEBIT                                                N/A       N/A          Supplied by EVO
        0 GIFT*                                      N/A       N/A
                                                              Supplied by EVO
        0 LOYALTY*                                   N/A      Supplied by EVO
                                                               0
        0 VOYAGER*                                   N/A      Supplied by EVO
                                                               0
        0 WRIGHT EXPRESS*                            N/A      Supplied by EVO
                                                               0
       Upon Approval of Visa/MasterCard processing, allow 48-72 hours for new non-bankcard(s) to be added.
      *Addendum/Application Required
      SPECIAL INSTRUCTIONS (requests are subject to management approval, please print clearly):

[g        Change of ownership. Existing MID to close:
                                                                                                      Other:

          Request to pick up equipment/starter kit at EVO Melville.



                                                                                              06/12 05
                                                                                                      0 Merchant elects to receive monthly merchant account statements via U.S. Mail to:


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                                                                                                        0 Legal Address or 0 DBA Address
                                                                                                                                                                                                    J
                                                                                                  177                                                           DOJ-EDNY-0019916
          Case 1:21-cr-00064-KAM                                                            Document 164 Filed 03/10/25                                                                         Page 183 of 224 PageID #:
                                                                                                        9407
MERCHANT PROCESSING AGREEMENT                                                                                                                the average monthly dollar amount of your Card transactions. You authorize, upon the occurrence of Excessive Activity, EVO and
This document, “Merchant Processing Agreement” (the “Agreement”), accompanies the document “Merchant Application”                            Bank to take any action they deem necessary including but not limited to, suspension of processing privileges and establishment
(“Merchant Application”) and includes the Terms and Conditions set forth below (the “Terms and Conditions”) together with the                or increase in the amount allocated to the Reserve Account and a reduction in the amount of provisional credit remitted to you in
terms and conditions of the Merchant Application. The bank (“Bank”) identified in this Agreement is a member of Visa USA, Inc.               accordance with this Agreement.
(“Visa”) and MasterCard International, Inc. (“MasterCard”), and is Deutsche Bank AG, New York branch. EVO Merchant Services,                 D. Credit. i. Credit Memoranda. You will issue a credit memorandum in any approved form, instead of making a cash advance, a
LLC d/b/a EVO (“EVO”) is a registered independent sales organization of Visa and a member service provider of MasterCard. This               disbursement or a refund on any Card transaction. EVO or Bank will debit the Designated Account for the total face amount of
Agreement is between EVO, Bank, and the merchant (or “you”) identified in the Merchant Application (”Merchant”). Merchant and                each credit memorandum submitted to EVO and Bank. You will not submit a credit memorandum relating to any Sales Draft not
EVO agree that the rights and obligations contained in this Agreement do not apply to Bank with respect to Discover transactions.            originally submitted to EVO and Bank, nor will you submit a credit memorandum that exceeds the amount of the original Sales
To the extent Merchant accepts Discover cards, the provisions in this Agreement with respect to Discover apply if Merchant does              Draft. You will within the time period specified by the Rules, provide a credit memorandum or credit statement for every return of
not have a separate agreement with Discover. In such case, Merchant will also be enabled to accept JCB and Diner’s Club cards                goods or forgiveness of debt for services which were the subject of a Card transaction. ii. Revocation of Credit. EVO or Bank may
under the Discover network and such transactions will be processed at the same rate as Merchant’s Discover transactions are                  refuse to accept any Sales Draft, and EVO and Bank may revoke prior acceptance of a Sales Draft in the following circumstances:
processed. Any references to the Debit Sponsor shall refer to the debit sponsors identified below.                                           (a) the transaction giving rise to the Sales Draft was not made in compliance with this Agreement, the Laws or the Rules; (b) the
RECITALS                                                                                                                                     Cardholder disputes his liability to EVO and Bank for any reason, including but not limited to a contention that the Cardholder did
Merchant desires to accept credit cards (“Cards”) validly issued by members of Visa, MasterCard, and Discover. Bank and EVO                  not receive the goods or services, that the goods or services provided were not as ordered, or those chargeback rights
desire to provide credit card processing services to Merchant. Therefore, Merchant, EVO and Bank and Global agree as follows:                enumerated in the Rules; or (c) the transaction giving rise to the Sales Draft was not directly between you and the Cardholder. You
TERMS AND CONDITIONS                                                                                                                         will pay EVO and Bank any amount previously credited to you for a Sales Draft not accepted by EVO and Bank or where
1. Honoring Cards.                                                                                                                           accepted, is revoked by EVO and Bank.
A. Without Discrimination. You will honor, without discrimination, any Card properly tendered by a Cardholder. “Cardholder” means            E. Reprocessing. Notwithstanding any authorization or request from a Cardholder, you will not re-enter or reprocess any
a person possessing a Card and purporting to be the person in whose name the Card is issued. You will not establish a minimum                transaction which has been charged back
or maximum transaction amount as a condition for honoring a Card.                                                                            F. Miscellaneous. You will not present for processing or credit, directly or indirectly, any transaction not originated as a result of a
B. Cardholder Identification. You will identify the Cardholder and check the expiration date and signature on each Card. You will            Card transaction directly between you and a Cardholder or any transaction you know or should know to be fraudulent or not
not honor any Card if: (i) the Card has expired, (ii) the signature on the sales draft does not correspond with the signature on the         authorized by the Cardholder. You will not sell or disclose to third parties Card account information other than in the course of
Card, or (iii) the account number embossed on the Card does not match the account number on the Card’s magnetic strip (as                    performing your obligations under this Agreement.
printed in electronic form) or the account number listed on a current Electronic Warning Bulletin file. You may not require a                5. Other Types of Transactions.
Cardholder to provide personal information, such as a home or business telephone number, a home or business address, or a                    A. Debit Card Processing Services. You may elect to accept debit cards, and said election should be made by you on the
driver’s license number as a condition for honoring a Card unless permitted under the Laws and Rules (defined in Section 14,                 accompanying Merchant Application. If you elect to accept debit cards, the following terms and conditions apply to you. Debit
below).                                                                                                                                      Sponsor shall act as your sponsor with respect to the participation of point-of-sale terminals owned, controlled, and/or operated by
C. Card Recovery. You will use your best efforts to retain any Card: (i) on Visa Cards if the printed four digits below the embossed         you (the “Covered Terminals”) in each of the following debit card networks (“Networks”): Accel, AFFN, Alaska Option, Interlink,
account number do not match the first four digits of the embossed account number; (ii) iIf you are advised by EVO or Bank (or a              Maestro, NYCE, Pulse, Shazam, Star, CU24, and Tyme, which Networks may be changed from time-to-time by Debit Sponsor,
designee) the issuer of the Card or the designated voice authorization center to retain it: (iii) if you have reasonable grounds to          EVO without notice. You may also have access to other debit networks that do not require a sponsor. EVO will provide you with
believe the Card is counterfeit, fraudulent or stolen, or not authorized by the Cardholder; or (iv) if, for MasterCard Cards, the            the ability to access the Networks at the Covered Terminals for the purpose of authorizing debit card transactions from cards
embossed account number, indent printed account number and encoded account number do not match or the Card does not have                     issued by the members of the respective Networks, and EVO will provide connection to such Networks, terminal applications,
a MasterCard hologram on the lower right corner of the Card face.                                                                            settlement, and reporting activities (collectively, the “Services”).. You will comply with all federal, state, and local laws, rules,
D. Surcharges. You will not add any amount to the posted price of goods or services you offer as a condition of paying with a                regulations and ordinances ("Applicable Laws”) and with all by-laws, regulations, rules, and operating guidelines of the Networks
Card, except as permitted by the Rules. This paragraph does not prohibit you from offering a discount from the standard price to             (“Network Rules”). You will execute and deliver any application, participation, or membership agreement or other document
induce a person to pay by cash, check or similar means rather than by using a Card.                                                          necessary to enable Debit Sponsor to act as sponsor for you in each Network, and you shall obtain all consents, approvals,
E. Return Policy. You will properly disclose to the Cardholder, at the time of the Card transaction and in accordance with the               authorizations, or orders of any governmental agency or body required for the execution, delivery, and performance of this
Rules, any limitation you have on accepting returned merchandise.                                                                            Agreement. You agree to utilize the debit card services in accordance with this Agreement, its exhibits or attachments, and EVO’s
F. No Claim Against Cardholder. You will not have any claim against or right to receive payment from a Cardholder unless EVO                 instructions and specifications, and to provide EVO with the necessary data in the proper format to enable EVO to properly furnish
and Bank refuses to accept the Sales Draft (as defined in Section 3) or revokes a prior acceptance of the Sales Draft after receipt          the Services. Copies of the relevant agreements or operating regulations shall be made available to you upon request. You will
or a chargeback or otherwise. You will not accept any payments from a Cardholder relating to previous charges for merchandise                provide prompt written notice to EVO in the event that you are subject to any of the following: i. Conviction for a felony offense or
or services included in a Sales Draft, and if you receive any such payments you promptly will remit them to EVO and Bank.                    any other crime involving moral turpitude; ii. Restraining order, decree, injunction, or judgment in any proceeding or lawsuit
G. Disputes With Cardholders. All disputes between you and any Cardholder relating to any Card transaction will be settled                   alleging fraud or deceptive practice on your part; iii. Bankruptcy filing or petition; iv. Federal or state tax lien; v. Any material
between you and the Cardholder. Neither EVO nor Bank bear any responsibility for such transactions.                                          adverse change in your assets, operations, or condition, financial or otherwise; vi. The threat or filing of any litigation against you,
2. Authorization.                                                                                                                            the outcome of which reasonably could have a material adverse effect on your continuing operations; vii. Administrative or
A. Required on all Transactions. You will obtain a prior authorization for the total amount of a transaction via electronic terminal or      enforcement proceeding commenced by any state or federal regulatory agency, including any banking or securities agency or
device before completing any transaction, and you will not process any transaction that has not been authorized. You will follow             entity operating an EBT Network, that reasonably could have a material adverse effect on your continuing operations; or viii. Any
any instructions received during the authorization process. Upon receipt of authorization you may consummate only the                        disciplinary action taken by any Network against you or any of your principals. EVO may terminate or suspend in its discretion
transaction authorized and must note on the Sales Draft the authorization number. Where authorization is obtained, you will be               Debit Sponsor’s sponsorship of you in any Network or modify the provision of Services to you: i. Immediately upon notice to you of
deemed to warrant the true identity of the customer as the Cardholder.                                                                       the occurrence of any of the conditions set forth in items (i), (ii), (iii), (v), or (viii) in the immediately preceding paragraph or if Debit
B. Effect. Authorizations are not a guarantee of acceptance or payment of the Sales Draft. Authorizations do not waive any                   Sponsor’s authority to participate in such Network or act as your sponsor in such Network is terminated by such Network; ii. Thirty
provisions of this Agreement or otherwise validate a fraudulent transaction or a transaction involving the use of an expired Card.           (30) days after written notice by EVO to you of the occurrence of any of the conditions set forth in items (iv), (vi), or (vii) in the
C. Unreadable Magnetic Stripes. When you present Card transactions for authorization electronically, and if your terminal is                 immediately preceding paragraph or if Debit Sponsor terminated its membership or participation in such Network; iii. Immediately
unable to read the magnetic stripe on the card, you will obtain an imprint of the card and the Cardholder’s signature on the                 upon notice to you in the event any financial statement, representation, warranty, statement or certificate furnished is materially
imprinted draft before presenting the Sales Draft to EVO and Bank for processing. Failure to do so may result in the assessment of           false or misleading; or iv. Immediately upon notice to you of the occurrence of any other circumstance with respect to this Section
a transaction surcharge on non-qualifying transactions.                                                                                      that may reasonably be expected to have an adverse effect on EVO. The parties hereto acknowledge and agree that EVO shall
3. Presentment of Sales Drafts.                                                                                                              pay Debit Sponsor any and all fees related to Debit Sponsor’s sponsorship of you in the Networks; provided, however, that in the
A. Forms. You will use a Sales Draft (“Sales Draft”) or other form approved by EVO and Bank to document each Card transaction.               event EVO fails to pay such amounts, Debit Sponsor shall be entitled to recover all such amounts directly from you and you agree
Each Sales Draft will be legibly imprinted with: (i) Merchant’s name, location and account number; (ii) the information embossed on          to pay all such amounts. You shall not in any way indicate that Debit Sponsor endorses your activities, products, or services. Debit
the Card presented by the Cardholder (either electronically or manually); (iii) the date of the transaction; (iv) a brief description of     Sponsor and you are and shall remain independent contractors of one another, and neither they, nor their respective individual
the goods or services involved; (v) the transaction authorization number; (vi) the total amount of the sale including any applicable         employees, shall have or hold themselves out as having any power to bind the other to any third party. Nothing contained in this
taxes, or credit transaction; and (vii) adjacent to the signature line, a notation that all sales are final, if applicable.                  section shall be construed to create or constitute a partnership, joint venture, employer-employee, or agency relationship between
B. Signatures. Each Sales Draft must be signed by the Cardholder unless the Card transaction is a valid mail/telephone order                 Debit Sponsor and you. You shall indemnify and hold harmless EVO and its affiliates (including parents and subsidiaries), and
Card transaction which fully complies with the requirements set forth in this Agreement. You may not require the Cardholder to               their respective officers, directors, employees, successors and assigns, from and against any and all direct or contingent losses,
sign the Sales Draft before you enter the final transaction amount in the Sales Draft.                                                       costs, claims, demands, and causes of action (including, without limitation, the cost of investigating the claim, the cost of litigation,
C. Reproduction of Information. If the following information is not legibly imprinted on the Sales Draft, you will legibly inscribe on       and reasonable attorney’s fees including those of in house counsel, whether or not legal proceedings are instituted) paid or
the Sales Draft before submitting it to EVO and Bank: (i) the Cardholder’s name: (ii) account number (iii) expiration date of the            incurred by or on behalf of EVO as a result of your violation of any of the terms of this Section, Network Rules, or Applicable Laws,
Card and (iv) the Merchant’s name and place of business. Additionally, for MasterCard transactions you will legibly inscribe the             or otherwise arising from or related to Debit Sponsor’s sponsorship of you in any Network. In the event that Debit Sponsor’s
name of the bank issuing the Card as it appears on the face of the card.                                                                     sponsorship of you in any Network is terminated prior to the termination of this Agreement, EVO may assign Debit Sponsor’s rights
D. Delivery and Retention of Sales Drafts. You will deliver a complete copy of the Sales Draft or credit voucher to the Cardholder           and obligations hereunder to a third party. All provisions in this section necessary to enforce the rights and obligations of the
at the time of the transaction. You will retain the “merchant copy” of the Sales Draft or credit memorandum for at least 3 years             parties contained in this section shall survive the termination of Debit Sponsor’s debit sponsorship of you under this Agreement.
following the date of completion of the Card transaction (or such longer period as the Rules require).                                       B. Mail/Telephone Order. EVO and Bank caution against mail orders or telephone orders or any transaction in which the
E. Electronic Transmission. In using electronic authorization and/or data capture services, you will enter the data related to a sales       Cardholder and Card are not present (“mail/telephone orders”) due to the high incidence of customer disputes. You will obtain the
or credit transaction into a computer terminal or magnetic stripe reading terminal no later than the close of business on the date           expiration date of the Card for a mail/telephone order and submit the expiration date when obtaining authorization of the Card
the transaction is completed (unless otherwise permitted by the Rules). Failure to do so may result in the assessment of a                   transaction. For mail/telephone order transactions, you will type or print legibly on the signature line the following as applicable:
transaction surcharge on non-qualifying transactions and, at EVO’s sole discretion, the deposit of the funds received for such sales         telephone order or “TO” or mail order or “MO”. You must promptly notify EVO and Bank if your retail/mail order/telephone order
or credit transaction into the Reserve Account. If you provide your own electronic terminal or similar device, such terminal must            mix changes from the percentages represented to EVO and Bank in the Merchant Application. EVO and Bank may cease
meet EVO and Bank’s requirements for processing transactions. Information regarding a sales or credit transaction transmitted                accepting, mail/telephone order transactions, or limit their acceptance of such transactions, or increase their fees if this mix
with a computer or magnetic stripe reading terminal will be transmitted by you to EVO and Bank or their agent in the form EVO and            changes. Bank will release funds to Merchant five (5) business days after transaction date for mail/telephone orders. Merchant
Bank from time to time specify or as required under the Rules. If EVO or Bank requests a copy of a Sales Draft, credit voucher or            agrees to use and retain proof of a traceable delivery system as means of shipment of product to the customer. Merchant agrees
other transaction evidence, you will provide it within 24 hours following the request.                                                       that transactions will not be processed until products are shipped to the Cardholder. Merchant agrees to a charge of $0.05 per
4. Deposit of Sales Drafts and Funds Due Merchant.                                                                                           AVS transaction, if applicable. The Agreement may be immediately terminated by Bank if Merchant fails to comply with any of the
A. Deposit of Funds. i. Deposits. You agree that this Agreement is a contract of financial accommodation within the meaning of the           terms of the agreement.
Bankruptcy Code, II U.S.C § 365 as amended from time to time. Subject to this Section, Bank will deposit to the Designated                   C. Recurring Transactions. For recurring transactions, you must obtain a written request from the Cardholder for the goods and
Account (defined in section 6 below) funds evidenced by Sales Drafts (whether evidenced in writing or by electronic means)                   services to be charged to the Cardholders account, the frequency of the recurring charge, and the duration of time during which
complying with the terms of this Agreement and the Rules and will provide you provisional credit for such funds (less recoupment             such charges may be made. You will not complete any recurring transaction after receiving: (i) a cancellation notice from the
of any credit(s), adjustments, fines, chargebacks, or fees). You shall not be entitled to credit for any indebtedness that arises out of     Cardholder (ii) notice from EVO or Bank, or (iii) a response that the Card is not to be honored. You must print legibly on the Sales
a transaction not processed in accordance with the terms of this Agreement or the rules and regulations of a card association or             Draft the words “Recurring Transaction”.
network organization. You acknowledge that your obligation to EVO and Bank for all amounts owed under this Agreement arises                  D. Multiple Sales Drafts. You will include a description and total amount of goods and services purchased in a single transaction
out of the same transaction as EVO and Bank’s obligation to deposit funds to the Designated Account. ii. Provisional Credit.                 on a single Sales Draft or transaction record, unless (i) partial payment is entered on the Sales Draft or transaction record and the
Notwithstanding the previous sentences, under no circumstance will EVO or Bank be responsible for processing credits or                      balance of the transaction amount is paid in cash or by check at the time of transaction, or (ii) a Sales Draft represents an advance
adjustments related to Sales Drafts not originally processed by EVO and Bank. All Sales Drafts and deposits are subject to audit             deposit in a Card transaction completed in accordance with this Agreement and the Rules.
and final checking by EVO and Bank and may be adjusted for inaccuracies. You acknowledge that all credits provided to you are                E. Partial Completion. i. Prior Consent. You will not accept for payment by Card any amount representing a deposit or partial
provisional and subject to chargebacks, recoupment, adjustments, fines and fees: (i) in accordance with the Rules; (ii) for any of           payment for goods or services to be delivered in the future without the prior written consent of EVO or Bank. Such consent will be
your obligations to EVO and Bank; and (iii) in any other situation constituting suspected fraud or a breach of this Agreement,               subject to Bank’s final approval. The acceptance of a Card for payment or partial payment of goods or services to be delivered in
whether or not a transaction is charged back by the Card issuer. EVO and Bank may elect, but are not required, to grant                      the future without prior consent will be deemed a breach of this Agreement and cause for immediate termination, in addition to any
conditional credit for individual or groups of any funds evidenced by Sales Drafts. Final credit for those conditional funds will be         other remedies available under the Laws or Rules. ii. Acceptance. If you have obtained prior written consent, then you will
granted within EVO and Bank’s sole discretion. iii. Processing Limits. EVO and Bank may impose a cap on the volume and ticket                complete such Card transactions in accordance with the terms set forth in this Agreement, the Rules, and the Laws. Cardholders
amount of Sales Drafts that they will process for you, as indicated to you by EVO or Bank. This limit may be changed by EVO or               must execute one Sales Draft when making a deposit with a Card and a second Sales Draft when paying the balance. You will
Bank upon written notice to you.                                                                                                             note upon the Sales Draft the words “deposit” or “balance” as appropriate. You will not deposit the Sales Draft labeled “balance”
B. Chargebacks. You are fully liable for all transactions returned for whatever reason, otherwise known as “chargebacks”. You will           until the goods have been delivered to Cardholder or you have fully performed the services.
pay on demand the amount of all chargebacks. Authorization is granted to offset from incoming transactions and to debit the                  F. Future Delivery. You will not present any Sales Draft or other memorandum to Bank for processing “whether by electronic
Designated Account, the Reserve Account (defined in Section 7, below) or any other account held at Bank or at any other financial            means” which relates to the sale of goods or services for future delivery without EVO or Bank’s, prior written authorization. Such
institution the amount of all chargebacks. You will fully cooperate in complying with the Rules regarding chargebacks.                       consent will be subject to Bank’s final approval. If EVO or Bank have given such consent, you represent and warrant to EVO and
C. Excessive Activity. Your presentation to EVO and Bank of Excessive Activity will be a breach of this Agreement and cause for              Bank that you will not rely on any proceeds or credit resulting from such transactions to purchase or furnish goods or services. You
immediate termination of this agreement. “Excessive Activity” means, during any monthly period: (i) the dollar amount of                     will maintain sufficient working capital to provide for the delivery of goods or services at the agreed upon future date, independent
chargebacks and/or retrieval requests in excess of 1% of the average monthly dollar amount of your Card transactions; (ii) sales             of any credit or proceeds resulting from sales drafts or other memoranda taken in connection with future delivery transactions.
activity that exceeds by 10% of the dollar volume indicated on the Application: or (iii) the dollar amount of returns equals 20% of

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                                                                                                       9408
G. Electronic Commerce Transactions. You may process electronic commerce (“EC”) transactions only if you have so indicated on              Insta-App, and EVO does not receive a completed written merchant application within 2 business days, you authorize EVO or
the Application, and only if you have obtained EVO’s consent. If you submit EC transactions without our consent, we may                    Bank to hold all of your funds in the Reserve Account until the completed written merchant application and other required
immediately terminate this Agreement. If you have indicated on the Application that you will be submitting EC transactions, you            documentation is received by EVO. iii. Funds. Funds in the Reserve Account will remain in the Reserve Account for 270 calendar
acknowledge that you have reviewed the Payment Card Industry Data Security Standards (PCI DSS), Visa’s Cardholder                          days following the later of termination of this Agreement or the last activity in your account, provided, however, that you will remain
Information Security Program (CISP) and MasterCard’s Site Data Protection Program (SDP), and to the extent that they apply to              liable to EVO and Bank for all liabilities occurring beyond such 270 day period. After the expiration of the 270 day period EVO will
you, you agree to comply with, and ensure such transactions comply with, the terms of each. You understand that transactions               provide you with written notification via nationally recognized delivery service advising you that the 270 day period has expired,
processed via EC are high risk and subject to a higher incidence of chargebacks. You are liable for all chargebacks and losses             requesting that you provide EVO with an address where the funds you have remaining in the Reserve Account should be
related to EC transactions, whether or not: i) EC transactions have been encrypted; and ii) you have obtained consent to engage            delivered, and stating that in the event you fail to respond to this notification within 30 days, EVO will begin deducting a flat fee of
in such transactions. Encryption is not a guarantee of payment and will not waive any provision of this Agreement or otherwise             $95 each month from the funds you have remaining in the Reserve Account. In the event you fail to respond to the notification, the
validate a fraudulent transaction. All communication costs related to EC transactions are your responsibility. You understand that         $95 fee will then be deducted each month from the funds you have remaining in the Reserve Account. This fee will offset the
EVO will not manage the EC telecommunications link and that it is your responsibility to manage that link. All EC transactions will        administrative, clerical, legal, and risk management costs incurred by EVO to monitor the funds that you have remaining in the
be settled by Bank into a depository institution of the United States in U.S. currency. i. Requirements. For goods to be shipped on        Reserve Account beyond the 270 day period, and includes all monthly minimums and any other contractual fees that would
EC transactions, you may obtain authorization up to 7 calendar days prior to the shipment date. You need not obtain a second               ordinarily be assessed against your account pursuant to the terms of this Agreement. You agree that prior to the expiration of the
authorization if the Sales Draft amount is within 15% of the authorized amount, provided that the additional amount represents             270 days, you will not use any funds you have in the Reserve Account for any purpose, including but not limited to paying
shipping costs. Further, your web site must contain all of the following information: i) complete description of the goods or services     chargebacks, fees, fines, or other amounts you owe to EVO and/or Bank under this Agreement. EVO and Bank (and not
offered, ii) returned merchandise and refund policy, iii) customer service contact, including electronic mail address and/or               Merchant) shall have control of the Reserve Account. iv. Assurance. In the event of a bankruptcy proceeding and the
telephone number, iv) transaction currency (such as U.S. or Canadian dollars), v) export or legal restrictions, if known, and vi)          determination by the court that this Agreement is assumable under Bankruptcy Code § 365, as amended from time to time, you
delivery policy. If you store cardholder account numbers, expiration dates, and other personal cardholder data in the database, you        must maintain funds in the Reserve Account in an amount satisfactory to EVO and Bank.
must follow PCI DSS, CISP and SDP guidelines on securing such data. ii. If you accept EC transactions, you must: install and               C. Recoupment and Set Off. EVO and Bank have the right of recoupment and set-off. This means that they may offset or recoup
maintain a working network firewall to protect data accessible via the Internet; keep security patches up-to-date; encrypt stored          any outstanding/uncollected amounts owed by you from: (i) any amounts they would otherwise be obligated to deposit into the
data and data sent over open networks; use and update anti-virus software; restrict access to data by business “need-to-know”;             Designated Account; (ii) any other amounts Bank or EVO may owe you under this Agreement or any other agreement; and (iii) any
assign a unique ID to each person with computer access to data; not use vendor-supplied defaults for system passwords and                  funds in the Designated Account or the Reserve Account. You acknowledge that in the event of a bankruptcy proceeding, in order
other security parameters; track access to data by unique ID; regularly test security systems and processes; maintain a policy that        for you to provide adequate protection under Bankruptcy Code § 362 to EVO and Bank, you must create or maintain the Reserve
addresses information security for employees and contractors; and restrict physical access to Cardholder information. When                 Account as required by EVO and Bank, and EVO and Bank must have the right to offset against the Reserve Account for any and
outsourcing administration of information assets, networks, or data you must retain legal control of proprietary information and use       all obligations which you may owe to EVO and Bank, without regard to whether the obligations relate to Sales Drafts initiated or
limited “need-to-know” access to such assets, networks or data. Further, you must reference the protection of cardholder                   created before or after the filing of the bankruptcy petition.
information and compliance with the PCI DSS, CISP and SDP Rules in contracts with other service providers. You understand that             D. Remedies Cumulative. The rights and remedies conferred upon EVO and Bank in this Agreement, at law or in equity, are not
failure to comply with this Section may result in fines and you agree to indemnify and reimburse EVO and Bank immediately for              intended to be exclusive of each other. Rather, each and every right of EVO and Bank under this Agreement, at law or in equity,
any fine imposed due to your breach of this Section.                                                                                       will be cumulative and concurrent and in addition to every other right.
H. American Express, JCB and Diners Club Transactions. Upon your request, EVO and Bank will provide authorization and/or                   8. Fees and Other Amounts Owed EVO and Bank.
data capture service, for JCB, Diners Club and American Express transactions. By signing this Merchant Agreement, Merchant                 A. Fees and Taxes. You will pay EVO fees for services, forms and equipment in accordance with the rates set forth on the
agrees to abide by the terms and conditions of Diners Club, American Express, and JCB. Merchant understands that the Diners                Application. In addition, you will pay EVO a fee for research it performs at your request in an amount equal to $200 per hour, or $5
Club Agreement will be sent to the business entity indicated on this application. By accepting the Diners Club Card for goods              per statement. Such fees will be calculated and debited from the Designated Account once each business day or month for the
and/or services, Merchant agrees to be bound by the terms and conditions of the Agreement. EVO and Bank are not responsible                previous business day’s or month’s activity or will be netted out from the funds due you attributable to Sales Drafts presented to
for funding such transactions. Initial setup fees may apply.                                                                               EVO and Bank. EVO and Bank reserve the right to adjust the fees set forth on the Application and in this Section, in accordance
I. Cash Advances. You will not deposit any transaction for purposes of obtaining or providing a cash advance. You agree that any           with Section 16.H, below. If you do not have an active account at the time of the request, payment by certified check or money
such deposit shall be grounds for immediate termination.                                                                                   order must be received prior to the release of the requested document copies or research results. You are also obligated to pay all
J. Prohibited Transactions. You will not accept or deposit any fraudulent or illegal transaction and you may not, under any                taxes, and other charges imposed by any governmental authority on the services provided under this Agreement. With respect to
circumstances, present for deposit directly or indirectly, a transaction which originated with any other merchant or any other             Visa, MasterCard and Discover products, you may elect to accept credit cards or debit/prepaid cards or both. You shall so elect on
source. You will not, under any circumstance, deposit telemarketing transactions unless you obtain Bank or EVO’s prior written             the Merchant Application being completed contemporaneously herewith. You agree to pay and your account(s) will be charged
consent. Such consent will be subject to Bank’s final approval. If you process any such transactions, you may be immediately               pursuant to Section 6.A of this Agreement for any additional fees incurred as a result of your subsequent acceptance of
terminated and EVO or Bank may hold funds and/or increase the amount allocated to the Reserve Account and/or deduct from the               transactions with any Visa, MasterCard or Discover product that you have elected not to accept.
amount of provisional credit that would otherwise be allocated to you. Further, you may be subject to Visa, MasterCard or Discover         B. Other Amounts Owed EVO and Bank. You will immediately pay EVO and Bank any amount incurred by EVO and Bank
reporting requirements.                                                                                                                    attributable to this Agreement including but not limited to chargebacks, fines and penalties imposed by Visa, MasterCard or
6. Designated Account.                                                                                                                     Discover (including but not limited to fines and penalties related to PCI DSS), non-sufficient fund fees, and ACH debits that
A. Establishment and Authority. Merchant will establish and maintain an account at an ACH receiving depository institution                 overdraw the Designated Account or Reserve Account, or are otherwise dishonored. You authorize EVO and Bank to debit via
approved by Bank and EVO (“Designated Account”). Merchant will maintain sufficient funds in the Designated Account to satisfy              ACH the Designated Account or any other account you have at Bank or at any other financial institution for any amount you owe
all obligations, including fees, contemplated by this Agreement. Merchant irrevocably authorizes Bank and EVO to debit the                 EVO or Bank under this Agreement or under any other contract, note, guaranty, instrument or dealing of any kind now existing or
Designated Account for chargebacks, recoupments, adjustments, fines, fees and any other penalties or amounts owed under this               later entered into between you and EVO or Bank, whether your obligation is direct, indirect, primary, secondary, fixed, contingent,
Agreement, and irrevocably authorizes Bank and EVO to debit the Designated Account for any amount owed to Bank and EVO                     joint or several. In the event EVO or Bank demand sums due or such ACH does not fully reimburse EVO and Bank for the amount
under this Agreement other than the amounts directly attributable to the settlement of transactions. You also authorize EVO and            owed, you will immediately pay EVO and Bank such amount.
Bank to debit the Merchant Account for any fees due such vendor or agent under this Agreement. This authority will remain in               C. Merchant Supply/Replacement Program. Merchant is responsible for purchasing all supplies required to properly process credit
effect for at least 2 years after termination of this Agreement whether or not you have notified EVO and Bank of a change to the           card transactions (sales slips, printer rolls, etc.). If Merchant elects to participate in EVO’s Supply/Replacement Program,
Designated Account. Merchant must obtain prior written consent from Bank or EVO to change the Designated Account. If                       Merchant understands that it is entitled to a maximum of 6 rolls of paper and 2 printer ribbons per month. It is Merchant’s
Merchant does not get that consent, EVO or Bank may immediately terminate the Agreement and may take other action                          responsibility to contact EVO each month to order supplies. EVO will only provide Merchant with supplies for the current month,
necessary, as determined by them within their sole discretion.                                                                             and Merchant’s failure to place an order with EVO will constitute a waiver of its right to receive supplies for that month under the
B. Deposit. Bank will deposit all Sales Drafts to the Designated Account subject to the other provisions of this Agreement. The            Supply/Replacement Program. Quantity of supplies provided is at the discretion of EVO. Enrollment in EVO’s Supply/Replacement
funds represented by Sales Drafts will be deposited 3 business days following EVO’s receipt of the Sales Draft, except for mail            Program also entitles Merchant to free refurbished replacement equipment after EVO has collected 3 monthly payments from
order/telephone order and electronic commerce transactions, which will be deposited 5 business days following receipt of the               Merchant (merchant is responsible for all shipping costs). A separate program is required for each terminal Merchant may have. If
Sales Draft. “Business Day” means Monday through Friday, excluding holidays observed by the Federal Reserve Bank of New                    Merchant’s terminal type is unavailable, at EVO’s discretion, a substitute may be provided. EVO’s Supply/Replacement Program
York. Merchant authorizes Bank and EVO to initiate reversal or adjustment entries and initiate or suspend such entries as may be           does not include labor, parts, or expenses necessary to replace or repair equipment damaged by fire, flood, accident, improper
necessary to grant Merchant provisional credit for any entry. You authorize and appoint Bank and EVO to act as your agent to               voltages, misuse of equipment, service performed by persons other than EVO representatives, and/or failure to continually
collect Card transaction amounts from the Card issuing bank. As the collecting agent, Bank and EVO in their sole discretion, may           maintain a suitable operating environment for the equipment. EVO may choose to cancel Merchant’s Supply/Replacement
grant you provisional credit for transaction amounts in the process of collection, subject to receipt of final payment by Bank and         Program at any time without notice. This program is nontransferable without written consent. Maintenance is not available for any
subject to all chargebacks.                                                                                                                wireless terminals.
C. Asserted Errors. You must promptly examine all statements relating to the Designated Account, and immediately notify EVO                9. Application, Indemnification, Limitation of Liability.
and Bank in writing of any errors. Your written notice must include: (i) Merchant name and account number. (ii) the dollar amount          A. Application. You represent and warrant to EVO and Bank that all information in the Application is correct and complete. You
of the asserted error, (iii) a description of the asserted error, and (iv) an explanation of why you believe an error exists and the       must notify EVO in writing of any changes to the information in the Application, including but not limited to: any additional location
cause of it, if known. That written notice must be received by EVO and Bank within 30 calendar days after you received the                 or new business, the identity of principals and/or owners, the form of business organization (e.g., sole proprietorship, partnership,
periodic statement containing the asserted error. Your failure to notify EVO and Bank of any error within 30 days constitutes a            etc.), type of goods and services provided and how sales are completed (i.e., by telephone, mail, or in person at your place of
waiver of any claim relating to that error. You may not make any claim against EVO or Bank for any loss or expense relating to any         business). The notice must be received by EVO within 10 business days of the change. You will provide updated information to
asserted error for 60 calendar days immediately following our receipt of your written notice. During that 60 day period, EVO and           EVO within a reasonable time upon request. You are liable to EVO and Bank (as applicable) for all losses and expenses incurred
Bank will be entitled to investigate the asserted error.                                                                                   by EVO and/or Bank arising out of your failure to report changes to it. Bank and EVO may immediately terminate this Agreement
D. Indemnity. You will indemnify and hold EVO and Bank harmless for any action they take against the Designated Account, the               upon notification by you of a change to the information in the Application.
Reserve Account, or any other account pursuant to this Agreement.                                                                          B. Indemnification. You will hold harmless and indemnify EVO and Bank, their employees and agents (i) against all claims by third
E. ACH Authorization. You authorize EVO and Bank to initiate debit/credit entries to the Designated Account, the Reserve                   parties arising out of this Agreement, and (ii) for all attorneys’ fees and other costs and expenses paid or incurred by EVO or Bank
Account, or any other account maintained by you at any institution, all in accordance with this Agreement and the ACH                      in the enforcement of the Agreement, including but not limited to those resulting from any breach by you of this Agreement and
Authorization on the attached Exhibit B, Merchant Authorizations. The ACH Authorization will remain in effect beyond termination           those related to any bankruptcy proceeding.
of this Agreement. In the event you change the Designated Account, you will execute a new ACH authorization.                               C. Limitation of Liability. Any liability of EVO or Bank under this Agreement, whether to you or any other party, whatever the basis
7. Security Interests, Reserve Account, Recoupment and Set-Off.                                                                            of the liability, shall not exceed in the aggregate the difference between (i) the amount of fees paid by you to EVO and Bank during
A. Security Interests. i. Security Agreement. This Agreement is a security agreement under the Uniform Commercial Code. You                the month in which the transaction out of which the liability arose occurred, and (ii) assessments, chargebacks, and offsets against
grant to EVO and Bank a security interest in and lien upon: (i) all funds at any time in the Designated Account, regardless of the         such fees which arose during such month. In the event more than one month is involved, the aggregate amount of EVO and
source of such funds; (ii) all funds at any time in the Reserve Account, regardless of the source of such funds; (iii) present and         Bank’s liability shall not exceed the lowest amount determined in accord with the foregoing calculation for any one month involved.
future Sales Drafts; and (iv) any and all amounts which may be due to you under this Agreement including, without limitation, all          Neither EVO, Bank nor their agents, officers, directors, or employees shall be jointly liable to you under this Agreement or liable for
rights to receive any payments or credits under this Agreement (collectively, the “Secured Assets”). You agree to provide other            indirect, special, or consequential damages. Neither EVO nor Bank will be responsible or liable for any damages you incur that
collateral or security to EVO and Bank to secure your obligations under this Agreement upon EVO or Bank’s request. These                   arise from a terminal that has been downloaded by a third party.
security interests and liens will secure all of your obligations under this Agreement and any other agreements now existing or later       D. Performance. EVO and Bank will perform all services in accordance with this Agreement. EVO and Bank make no warranty,
entered into between you and EVO or Bank. This security interest may be exercised by EVO or Bank without notice or demand of               express or implied, regarding the services, and nothing contained in the Agreement will constitute such a warranty. EVO and Bank
any kind by making an immediate withdrawal or freezing the secured assets. ii. Perfection. Upon request of EVO or Bank, you will           disclaim all implied warranties, including those of merchantability and fitness for a particular purpose. No party will be liable to the
execute one or more financing statements or other documents to evidence this security interest. You represent and warrant that no          others for any failure or delay in its performance of this Agreement if such failure or delay arises out of causes beyond the control
other person or entity has a security interest in the Secured Assets. Further, with respect to such security interests and liens, EVO      and without the, fault or negligence of such party. Neither EVO nor Bank shall be liable for the acts or omissions of any third party.
and Bank will have all rights afforded under the Uniform Commercial Code, any other applicable law and in equity. You will obtain          E. Representations By Salespersons. All salespersons are independent contractors, and are not agents, employees, joint
from EVO and Bank written consent prior to granting a security interest of any kind in the Secured Assets to a third party. You            venturers, or partners of EVO or Bank. Any and all representations and/or statements made by a salesperson are made by them in
agree that this is a contract of recoupment and EVO and Bank are not required to file a motion for relief from the automatic stay in       their capacity as an independent contractor, and cannot be imputed to EVO or Bank .EVO and Bank have absolutely no liability or
any bankruptcy proceeding order for EVO or Bank to realize on any of its collateral (including any Reserve Account). Nevertheless          responsibility for any representations and/or statements made to you by any sales representative.
you agree not to contest or object to any motion for relief from the automatic stay filed by EVO or Bank. You authorize EVO or             10. Representations and Warranties. You represent and warrant to EVO and Bank at the time of execution and during the
Bank and appoint EVO or Bank your attorney in fact to sign your name to any financing statement used for the perfection of any             term of this Agreement the following:
security interest or lien granted hereunder.                                                                                               A. Information. You are a corporation, limited liability company, partnership or sole proprietorship validly existing and organized in
B. Reserve Account. i. Establishment. A non-interest bearing deposit account (“Reserve Account”) has been established and is               the United States. All information contained on the Application or any other document submitted to EVO or Bank is true and
maintained at Bank or one of its affiliates with sums sufficient to satisfy your current and future merchant obligations as determined     complete and properly reflects the business, financial condition, and principal partners, owners, or officers of Merchant. You are
by EVO and Bank. You authorize EVO and Bank to debit the Designated Account or any other account you have at Bank or any                   not engaged or affiliated with any businesses, products or methods of selling other than those set forth on the Application, unless
other financial institution to establish or maintain funds in the Reserve Account. Bank or EVO may deposit into the Reserve                you obtain the prior written consent of EVO and Bank.
Account funds it would otherwise be obligated to pay you, for the purpose of establishing, maintaining or increasing the Reserve           B. Entity Power. Merchant and the person signing this Agreement have the power to execute and perform this Agreement. This
Account in accordance with this Section, if it determines such action is reasonably necessary to protect its interests. ii.                Agreement and your performance hereunder will not violate any law, or conflict with any other agreement to which you are subject.
Authorizations. EVO and Bank may, without notice to you, apply deposits in the Reserve Account against any outstanding                     C. No Litigation or Termination. There is no action, suit or proceeding pending or to your knowledge threatened which if decided
amounts you owe under this Agreement or any other agreement between you and EVO or Bank. Also, EVO and Bank may                            adversely would impair your ability to carry on your business substantially as now conducted or which would adversely affect your
exercise their rights under this Agreement against the Reserve Account to collect any amounts due to EVO or Bank including,                financial condition or operations. You have never entered into an agreement with a third party to perform credit or debit card
without limitation, rights of set-off and recoupment. In the event you submit a merchant application to EVO through the use of             processing which has been terminated by that third party.

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                                                                                                         9409
D. Transactions. All transactions are bona fide. No transaction involves the use of a Card for any purpose other than the purchase            A. Entire Agreement. This Agreement as amended from time to time, including the Rules and the completed Merchant Application,
of goods or services from you nor does it involve a Cardholder obtaining cash from you unless allowed by the Rules and agreed in              all of which are incorporated into this Agreement, constitute the entire agreement among the four parties hereto (other than any
writing with EVO and Bank. EVO may choose to cancel Merchant’s Supply/Replacement Program at any time without notice. This                    prior agreements to which Merchant is not a party), and all prior or other agreements to which Merchant is a party or
program is non-transferable without written consent. Maintenance is not available for any wireless terminals.                                 representations, written or oral, made to Merchant are superseded. This Agreement may be signed in one or more counterparts,
E. Rule Compliance. You will comply with the Laws and Rules. Without limiting the generality of the foregoing, each sales                     all of which, taken together, will constitute one agreement.
transaction submitted hereunder and the handling, retention, and storage of information related thereto, will comply with the rules           B. Exclusivity. During the initial and any renewal term of this Agreement, you will not enter into an agreement with any other entity
and regulations of Visa, MasterCard, Discover, and any other card association or network organization related to cardholder and               that provides credit card or debit card processing services similar to those provided by EVO and Bank as contemplated by this
transaction information security, including, without limitation Payment Card Industry Data Security Standards (PCI DSS), Visa’s               Agreement without EVO and Bank’s written consent.
Cardholder Information Security Program (CISP) and MasterCard’s Site Data Protection Program (SDP), and Payment Application                   C. Construction. The headings used in this Agreement are inserted for convenience only and will not affect the interpretation of
Best Practices.                                                                                                                               any provision. The language used will be deemed to be the language chosen by the parties to express their mutual intent, and no
11. Audit and financial information.                                                                                                          rule of strict construction will be applied against any party. Any alteration or strikeover in the text of this pre-printed Agreement will
A. Audit. You authorize EVO or Bank to audit your records to confirm compliance with this Agreement, as amended from time to                  have no binding effect, and will not be deemed to amend this Agreement. This Agreement may be executed by facsimile, and
time. You will obtain, and will submit a copy of, an audit of your business when requested by EVO or Bank.                                    facsimile copies of signatures to this Agreement shall be deemed to be originals and may be relied on to the same extent as the
B. Financial Information. i. Authorizations. You authorize EVO or Bank to make any business or personal credit inquiries they                 originals.
consider necessary to review the acceptance and continuation of this Agreement. You also authorize any person or credit                       D. Assignability. This Agreement may be assigned by EVO or Bank but may not be assigned by Merchant directly or by operation
reporting agency to compile information to answer, those credit inquiries and to furnish that information to EVO and Bank. ii.                of law, without the prior written consent of EVO and Bank. Any such assignment in breach of this provision shall be null and void,
Documents. You will provide EVO or Bank personal and business financial statements and other financial information as                         ab initio. If Merchant nevertheless assigns this Agreement without the consent of EVO and Bank, the Agreement shall be binding
requested from time to time. If requested, you will furnish within 120 calendar days after the end of each fiscal year to EVO and             upon the assignee. Bank will be immediately informed in writing of any such assignment.
Bank a financial statement of profit and loss for the fiscal year and a balance sheet as of the end of the fiscal year.                       E. Notices. Any written notice under this Agreement will be deemed received upon the earlier of: (i) actual receipt or (ii) five
12. Third Parties.                                                                                                                            calendar days after being deposited in the United States mail, and addressed to the last address shown on the records of the
A. Services. You may be using special services or software provided by a third party to assist you in processing transactions,                sender.
including authorizations and settlements, or accounting functions. You are responsible for ensuring compliance with the
requirements of any third party in using their products. This includes making sure you have and comply with any software updates.             MEMBER BANK INFORMATION
EVO and Bank have no responsibility for any transaction until that point in time EVO or Bank receive data about the transaction.              Deutsche Bank AG, c/o Deutsche Card Services GmbH
B. Use of Terminals Provided by Others. You will notify EVO and Bank immediately if you decide to use electronic authorization or             Kaltenbornweg 1-3
data capture terminals or software provided by any entity other than EVO and Bank or its authorized designee (“Third Party                    50679 Cologne, Germany
Terminals”) to process transactions. If you elect to use Third Party Terminals or payment software provided by others you agree (i)
the third party providing the terminals will be your agent in the delivery of Card transactions to EVO and Bank; and (ii) to assume           +49 221 99577 777                 support.deucs@db.com
full responsibility and liability for any failure of that third party to comply with the Rules and this Agreement. Neither EVO nor Bank
will be responsible for any losses or additional fees incurred by you as result of any error by a third party agent, or a malfunction of      Debit sponsorship provided by either Wells Fargo Bank N.A. or JP Morgan Chase N.A., as applicable.
your credit card terminal, including but not limited to Third Party Terminals.
13. Term and Termination.                                                                                                                     F. Bankruptcy. You will immediately notify EVO and Bank (i) of any bankruptcy, receivership, insolvency or similar action or
A. Term. This Agreement shall become effective (“Effective Date”) only upon acceptance by EVO and Bank, or upon the                           proceeding initiated by or against Merchant or any of its principals and (ii) if it could be reasonably expected that any such action
submission of a transaction by you to EVO, whichever event shall occur first. The Agreement will remain in effect for a period of 3           or proceeding will be initiated by or against Merchant or any of its principals. You will include EVO and Bank on the list and matrix
years (“Initial Term”) and will renew for successive 1 year terms (“Renewal Term”) unless terminated as set forth below.                      of creditors as filed with the Bankruptcy Court whether or not a claim may exist at the time of filing. Failure to comply with either of
B. Termination. The Agreement may be terminated by Merchant at the end of the Initial Term or any Renewal Term by giving                      these requirements will be cause for immediate termination or any other action available to EVO and Bank under applicable Rules
written notice of an intention not to renew at least 90 calendar days before the end of the Initial Term or any Renewal Term.                 or Law.
Further, this Agreement may be terminated by EVO or Bank at any time with or without notice and with or without cause.                        G. Choice of Law/Attorney’s Fees/Venue/Jury Trial Waver. Should it be necessary for EVO or Bank to defend or enforce any of its
C. Action upon Termination. i. Terminated Merchant File. You acknowledge that Bank is required to report your business name                   rights under this Agreement in any collection or legal action, you agree to reimburse EVO and/or Bank, or any agent acting on their
and the name of Merchant’s principals to Visa, MasterCard and Discover when Merchant is terminated due to the reasons listed in               behalf, as applicable, for all costs and expenses including reasonable attorney’s fees, as a result of such collection or legal action.
the Rules. ii. Designated Account. All your obligations regarding accepted Sales Drafts will survive termination. You must maintain           Without limiting the generality of the foregoing, Merchant agrees to reimburse EVO and/or Bank, as applicable, for all costs and
in the Designated Account and the Reserve Account enough funds to cover all chargebacks, deposit charges, refunds and fees                    expenses, including reasonable attorney’s fees, incurred by EVO and/or Bank or their agent in any action arising out of, relating to,
incurred by you for a reasonable time, but in any event not less than the time specified in this agreement. You authorize EVO and             or in connection with this Agreement, without regard to whether there has been an adjudication on the merits in any such action.
Bank to charge those accounts, or any other account maintained under this Agreement, for all such amounts. If the amount in the               You waive trial by jury with respect to any litigation arising out of, relating to, or in connection with this Agreement. EVO, Bank,
Designated Account or Reserve Account is not adequate, you will pay EVO and Bank the amount you owe it upon demand,                           you, and Guarantor agree that any and all disputes or controversies of any nature whatsoever (whether in contract, tort or
together with all costs and expenses incurred to collect that amount, including reasonable attorneys’ fees. iii. Equipment. Within 14         otherwise) arising out of, relating to, or in connection with (i) this Agreement, (ii) the relationships which result from this Agreement,
business days of the date of termination, you must return all equipment owned by EVO and immediately pay EVO, any amounts                     or (iii) the validity, scope, interpretation or enforceability of the choice of law and venue provisions of this Agreement, shall be
you owe them for equipment costs. iv. Early Termination. If you terminate this Agreement before the end of the Initial Term, or               governed by the laws of the State of New York, notwithstanding any conflicts of laws rules (other than NY General Obligations Law
before the end of any successive Renewal Term, in violation of the procedure set forth in Section 13.B above, or if EVO or Bank               Section 5-1401), and shall be resolved, on an individual basis without resort to any form of class action and not consolidated with
terminates this Agreement based upon your failure to comply with the terms and conditions contained herein, you will immediately              the claims of any other parties. EVO, Bank, you, and Guarantor agree that all actions arising out of, relating to, or in connection
pay EVO, as liquidated damages, a closure fee of $250. You agree that this fee is not a penalty, but rather is reasonable in light of         with (a) this Agreement, (b) the relationships which result from this Agreement, or (c) the validity, scope, interpretation or
the financial harm caused by the early termination of this Agreement.                                                                         enforceability of the choice of law and venue provisions of this Agreement shall only be brought in either the courts for the State of
14. Compliance With Laws And Rules.                                                                                                           New York sitting in Suffolk County or in the United States District Court for the Eastern District of New York, and hereby
You agree to comply with all rules and operating regulations issued from time to time by MasterCard, Visa and Discover (“Rules”),             irrevocably and unconditionally submit to the personal jurisdiction of those courts in any such action.
and any policies and procedures provided by EVO or Bank. You further agree to comply with all applicable state, federal and local             H. Amendments. EVO will notify you on your monthly statement of any new or increased fees. Except for any fee increases
laws, rules and regulations (“Laws”), as amended from time to time. You will assist EVO and Bank in complying with all Laws and               imposed by Visa, MasterCard, Discover, or the debit network, you may cancel the Agreement without charge if you object to the
Rules now or hereafter applicable to any Card transaction or this Agreement. You will execute and deliver to EVO and Bank all                 fee changes in writing within 30 days. If you do not object, and continue to process for 30 days after receiving notice of the fee
instruments it may from time to time reasonably deem necessary. Without limiting the generality of the foregoing, you agree to                change, you will be deemed to assent to the new fees.
comply with and be bound by the rules and regulations of Visa, MasterCard, Discover, and any other card association or network                I. Severability and Waiver. If any provision of this Agreement is illegal, the invalidity of that provision will not affect any of the
organization related to cardholder and transaction information security, including without limitation, Payment Card Industry Data             remaining provisions and this Agreement will be construed as if the illegal provision is not contained in the Agreement. Neither the
Security Standards (PCI DSS), Visa’s Cardholder Information Security Program and MasterCard’s Site Data Protection Program.                   failure nor delay by EVO or Bank to exercise, or partial exercise of, any right under this Agreement will operate as a waiver or
You agree to cooperate at your sole expense with any request for an audit or investigation by EVO, Bank, a card association or                estoppel of such right, nor shall it amend this Agreement. All waivers must be signed by the waiving party.
network organization in connection with cardholder and transaction information security. You may also be assessed a monthly or                J. Independent Contractors. EVO, Bank and Merchant will be deemed independent contractors and will not be considered agent,
annual PCI fee, which will appear as a separate item on your monthly statement. This fee is assessed by EVO in connection with                joint venture or partner of the other, except as provided in 6.C and 7.A(ii).
EVO’s efforts to comply with the PCI DSS and does not ensure your compliance with the PCI DSS or any law, rule or regulation                  K. Employee Actions. You are responsible for your employees’ actions while in your employment.
related to cardholder data security. The payment of such fee shall not relieve you of your responsibility to comply with all rules and        L. Survival. Sections 4.A, 4.B, 6, 7, 8, 9, 13.C, 15, and 16.G will survive termination of this Agreement.
regulations related to cardholder security, including without limitation the PCI DSS. Without limiting the generality of the foregoing,       17. Electronic Signatures.
you agree to use information obtained from a cardholder in connection with a card transaction solely for the purpose of processing            Under the Electronic Signatures in Global and National Commerce Act (“E-Sign”), this Agreement and all electronically executed
a transaction with that cardholder or attempting to re-present a chargeback with respect to such transaction. You will indemnify              documents related hereto are legally binding in the same manner as are hard copy documents executed by hand signature when:
and hold EVO and Bank harmless from any fines and penalties issued by Visa, MasterCard, Discover, or any card association or                  (a) your electronic signature is associated with the Agreement and related documents, (b) you consent and intend to be bound by
network organization and any other fees and costs arising out of or relating to the processing of transactions by EVO and Bank at             the Agreement and related documents, and (c) the Agreement is delivered in an electronic record capable of retention by the
your location(s) and will reimburse EVO and Bank for any losses incurred by EVO with respect to any such fines, penalties, fees               recipient at the time of receipt (i.e., print or otherwise store the electronic record). This Agreement and all related electronic
and costs. You also agree that you will comply with all applicable laws, rules and regulations related to the truncation or masking           documents shall be governed by the provisions of E-Sign. By pressing Submit, you agree: (i) that the Agreement and related
of cardholder numbers and expiration dates on transaction receipts from transactions processed at your location(s), including                 documents shall be effective by electronic means, (ii) to be bound by the terms and conditions of this Agreement and related
without limitation the Fair and Accurate Credit Transactions Act and applicable state laws (“Truncation Laws”). As between you, on            documents, (iii) that you have the ability to print or otherwise store the Agreement and related documents, and (iv) to authorized
the one hand, and EVO and Bank, on the other hand, you shall be solely responsible for complying with all Truncation Laws and                 EVO or Bank to conduct an investigation of your credit history with various credit reporting and credit bureau agencies for the sole
will indemnity and hold EVO and Bank harmless from any claim, loss or damage resulting from a violation of Truncation Laws as a               purpose of determining the approval of the applicant for merchant status or equipment leasing. The information is kept strictly
result of transactions processed at your location(s).                                                                                         confidential and will not be released.
15. Use of Trademarks and Confidentiality.
A. Use of Trademarks. Your use of Visa, MasterCard and Discover trademarks must fully comply with the Rules. Your use of Visa,
MasterCard, Discover, or other cards’ promotional materials will not indicate directly or indirectly that Visa, MasterCard, Discover,
or others endorse any goods or services other than their own and you may not refer to Visa, MasterCard, Discover or others in
stating eligibility for your products or services.
B. Merchant is hereby granted a limited non-exclusive, non-transferable license to use Discover brands, emblems, trademarks,
and/or logos that identify Discover cards (“Discover Program Marks”). You are prohibited from using the Discover Program Marks
other than as expressly authorized in writing. You shall not use the Discover Program Marks other than to display decals, signage,
advertising and other forms depicting the Discover Program Marks that are provided to you pursuant to this Agreement or
otherwise approved in advance in writing. You may use the Discover Program marks only to promote the services covered by the
Discover Program Marks by using them on decals, indoor and outdoor signs, advertising materials and marketing materials;
provided that all such uses by you must be approved in advance in writing. You shall not use the Discover Program Marks in such
a way that customers could believe that the products or services offered by you are sponsored or guaranteed by the owners of the
Discover Program Marks. You recognize that you have no ownership rights in the Discover Program Marks and shall not assign to
any third party any of the rights to use the Discover Program Marks.
C. Confidentiality. i. Cardholder Information. You will not disclose to any third party Cardholders’ account information or other
personal information except to an agent of yours assisting in completing a Card transaction, or as required by law. You must
destroy all material containing Cardholders’ account numbers, Card imprints, Sales Drafts, credit vouchers and (except for Sales
Drafts maintained in accordance with this Agreement, Laws. and the Rules). Further, you must take all steps reasonably
necessary to ensure Cardholder information is not disclosed or otherwise misused. ii. Prohibitions. You will not use for your own
purposes, will not disclose to any third party, and will retain in strictest confidence all information and data belonging to or relating
to the business of EVO and Bank (including without limitation the terms of this Agreement), and will safeguard such information
and data by using the same degree of care that you use to protect your own confidential information. iii. Disclosure. You authorize
EVO and Bank to disclose your name and address to any third party who requests such information or otherwise has a reason to
know such information.
D. Return to Bank. All promotional materials, advertising displays, emblems, Sales Drafts, credit memoranda and other forms
supplied to you and not purchased by you or consumed in use will remain the property of EVO and Bank and will be immediately
returned to EVO upon termination of this Agreement. You will be fully liable for all loss, cost, and expense suffered or incurred by
EVO and Bank arising out of the failure to return or destroy such materials following termination.
16. General Provisions.

                                                                                                                               28134 27
                                                                                                                              Rcig 8 qh 8


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     From:              larby@angryelephantmarketing.com

     Sent:              Wed Oct 9 2013 17:00:19 -0400

     To:                Danielle Kaufman <danielle@angryelephantmarketing.com>

     Cc:       Mike S (Google Drive) <mike@rs2media.com>, Dane H <dane@rs2media.com>, Paula Warnstedt (Google Drive)
     <paula@angryelephantmarketing.com>

     Subject: Reserve project


     Hi Dani,

     This is a big project with a lot of calling and will become part of weekly work. It's mostly follow ups and coordination so organization is
     key.

     Below are closed accounts. You can see the processor, agent, mid numbers etc.

     What we want to do is the following:

           0    Call the Processor (not agent) and confirm the accounts are closed. If not, ask what they need to close them paperwork wise .
           0    Request for a reserve ledger/balance of the reserve detailing funds held and any fee's etc.
           0    We will request for a partial release of funds and a release schedule for when the reserve will be paid back.
           0    We will call every week about this (the more annoying we are the faster we get paid). Put it on a google doc last time contacted and status so you can always know where
                you're at and just edit it when you make the call or email or whatever you do. That is what I would do otherwise you will forget who you contacted last etc.
           0    Email the agents for the respective accounts about the inquiries you're making and the questions you're asking them to help facilitate getting releases.
           0    Ensure Paula has statements for all of these accounts lifetime for reconciliation… For each account if we don't reconcile it they can potentially screw us over on
                reserve money if they are lying about what's being held so make sure Paula has everything. Once they give us a reserve amount/ledger we will see if we think it's accurate
                based on the statements etc.
           0    For the processors : Intelligent Contacts and AMS don't worry about anything i will handle those.
           0    When you call in just say you do operations… if they need to speak to the signer coordinate that or ask if the signer can email authorization from the corporate account and
                just email off saying you are authorized to discuss the accounts.
           0    These types of calls are tricky. They will try to avoid you and we need to kiss their ass and be annoying in order to get funds released etc. if an account is left
                'open' accidentally and we think it's closed the 6 moth window only increases further. Basically if you think they're being shady they are. Just stay on top and follow up
                DAILY till you have the answers for the respective accounts. This means emailing them, calling etc. Once you have the answers follow up every week or other week
                depending on the situation to just try and get funds released quicker.
           0    The goal is to get funds released (some is better then nothing and to stay on top of them till every dollar is released) it might take 6+ months to get everything from everyone.
                Some will release quickly some will be difficult to deal with. Ultimately, we want to ensure they are not screwing us over on the amount so reconciliation is important so if we
                do have to wait we at least know the amount is correct. We show about 1M in reserve just in the closed accounts.


     Thanks, (below is the list). Ask any questions you have...


                Closed Accounts
                                                                                                                                                                                               Projecte
                                                                                                                                                                     Nicey YTD   Nicey YTD
                   Nicey Mid Name                    Company               Processor                Agent                                           Mid Number        Volume      Refunds      Reserve i
                                                                  .                                                   Acquiring Bank Name
                                                                                                                                            ~
                                                                                                                                                                                                  $$

               Cynergy (maesuppcom)                   Flare                                                                                      3899000002380170      $0.00       $0.00       $2,008.0
                                              +                   .        Cynergy
                                                                                             +
                                                                                                 Steve/ Jaclyn
                                                                                                                 +
                                                                                                                            Harris
                                                                                                                                            +
                  flareic (6/20/13)                   Flare                                                                                       8788152000134     $170,059.00 ($13,078.29) $20,045.7
                                                                      Intellegent Contacts        Chirs Carr                HSBC

               NETPAY Flare (6/27/13)                 Flare                                                                                        498232436887     $64,801.21   ($5,155.40)   ($1,877.4
                                                                           NETPAY                 Jimmy Shin             Wells Fargo

         Flare Education PowerPay                     Flare                                                                                      27150312326401     $160,721.55 ($17,086.20) $18,225.5
                                                                          Powerpay                    P2                Deutche Bank
                                                     Focus
                 FOCUSIC (6/20/13)                                                                                                                8788152000133     $171,707.31 ($16,470.14) $18,145.3
                                                    Learning          Intelligent Contacts        Chirs Carr                HSBC
                                                     Focus
                 FOCUSLEARNING                                                                                                                   461074230309940    $57,877.84   ($3,273.16)   $35,877.9
                                                    Learning               Signature              Chirs Carr             Merrick Bank
                                                     Focus
                 NETPAY (6/17/13)                                                                                                                  498232447884     $99,525.79   ($8,154.12)   $72,644.9
                                              +
                                                    Learning
                                                     Focus
                                                                  .        NETPAY
                                                                                             +
                                                                                                  Jimmy Shin
                                                                                                                 +
                                                                                                                         Wells Fargo
                                                                                                                                            +-
                    AUCTIONHB                                                                                                                      897200583887     $74,389.61   ($5,638.70)   $48,343.7
                                                    Learning                HBMS                      P2                    Harris
                                                     Focus
                                                                  t                                                                         +
               AUCTIONTRAFFICDPS                                                                                                                 27350013943401     $184,906.11 ($17,440.57) $34,153.4
                                                    Learning                 DPS                      P2                Deutche Bank
                                                                  t                                                                         +
                                                     Focus
               FOCUS AMS (6/17/13)                                                                                                               518089320407745    $155,721.92 ($16,453.26) $68,168.6

           FOCUS AUCSUPPCOM
                                              +
                                                    Learning
                                                     Focus
                                                                  .          AMS
                                                                                             +
                                                                                                  Jimmy Shin
                                                                                                                 +
                                                                                                                         Wells Fargo
                                                                                                                                            +-
                                                                                                                                                 3899000002399790    $4,259.97   ($297.00)     $2,481.8
                (6/27/13)
                FOCUS LEARNING
                                              +
                                                    Learning
                                                     Focus
                                                                  .   First Pay Solutions
                                                                                             +
                                                                                                      P2
                                                                                                                 +
                                                                                                                        West America
                                                                                                                                            +-
                                                                                                                                                   271503123736     $328,706.38 ($35,636.90) $65,820.1
                  POWERPAY
                                              +-
                                                    Learning
                                                                  .       PowerPay
                                                                                             +-
                                                                                                  Jimmy Shin
                                                                                                                 +-
                                                                                                                        Deutche Bank
                                                                                                                                            +-
                INFUSEIC (6/20/13)                 Infuse Media                                                                                   8788152000132     $163,278.24 ($12,921.68) $20,450.3
                                                                      Intelligent Contacts        Chirs Carr                HSBC
                                                                  ~                                                                         i




                                                                                                     181
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        INFUSEMEDIA1 (NMI)        Infuse Media                                                                554135021200431   $92,700.79   ($11,400.29) $38,187.6
                                                        Select              P2        Mission Valley Bank

         INFUSEMEDIAAMS1          Infuse Media                                                                518089320407992   $117,403.28 ($17,011.96) $32,341.4
                                                         AMS             Jimmy Shin       Wells Fargo

                                                                                          Wells Fargo         542623330401837    $8,574.34
          SPACE-NMA-8/20          Infuse Media           NMA             Chirs Carr                                                           ($617.70)    $8,932.7

          JUMPIC (6/20/13)           Jump                                                                      8788152000131    $69,937.22   ($6,252.71)   $38,834.4
                                                  Intellegent Contacts   Chirs Carr          HSBC

          NETPAY (6/20/13)           Jump                                                                      498233619887     $34,290.61   ($2,790.34)   $28,416.4
                                                       NETPAY            Jimmy Shin       Wells Fargo

          JUMPSIGNATURE              Jump                                                                     461074230309783   $208,824.15 ($19,626.39) $60,970.5
                                                       Signature         Chirs Carr      Merrick Bank
                                     Orange
                                                                                                              510159390820256   $39,988.68   ($1,801.31)   $12,472.3
     LEARNAUCTIONS101MERITUS        Learning            Meritus             P2            Wells Fargo
                                     Orange
        LearningAuctions101 Irn                                                                                720000319452     $294,181.38 ($17,876.40) $80,107.1
                                    Learning              IRN            Alan Cohen   First California Bank
                                     Orange
         ORANGEIC (6/20/13)                                                                                    8788152000129    $169,211.98 ($15,844.97) $19,867.6
                                    Learning      Intellegent Contacts   Chirs Carr          HSBC
                                     Orange
       ORANGELEARNINGLLC5                                                                                     518089320406986   $165,205.67 ($11,291.94) $39,420.9
                                    Learning             AMS             Jimmy Shin       Wells Fargo

     AUCTIONMASTERHUMBOLDT           Propel                                                                    897200445889      $5,563.04    ($350.95)    $1,329.6
                                                       Humboldt             P2               Harris

       NETPAY SPARK (6/20/13)        Spark                                                                     498233631882     $65,684.97   ($4,170.70)   $60,622.0
                                                       NETPAY            Jimmy Shin       Wells Fargo

          SPARKIC (6/20/13)          Spark                                                                     8788152000130    $60,543.73   ($5,872.85)   $34,842.1
                                                  Intellegent Contacts   Chirs Carr          HSBC

                                                                                          Wells Fargo         542623350401444   $67,853.55   ($4,501.20)   $63,352.3
           Rapid-NMA-8/21         Starter Media          NMA             Chirs Carr

                                                                                          Wells Fargo         542623350401436   $68,614.11   ($5,581.54)   $63,032.5
           Starter-NMA-8/20       Starter Media          NMA             Chirs Carr




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            Case
11/26/23, 7:05 PM 1:21-cr-00064-KAM                Document 164 Management
                                                         Marketing  Filed 03/10/25
                                                                           Mail - Signed Plea Page   188 of 224 PageID #:
                                                                                              Agreement
                                                                 9412

              Gmai                                                                                     Luke Williams <luke@blackout.dev>



  Signed Plea Agreement
  3 messages

  Larby Amirouche <larby@blackout.dev>                                                                            Wed, May 4, 2022 at 5:47 PM
  To: Michael Kushner <mk@kushlawgroup.com>
  Cc: hadley@emergeinternational.net

    Dear Michael,

    Thank you for taking the time to explain to me what's happening with the case and how the next few months will go. I'm
    attaching the signed plea agreement to this email. I have printed out 'the 'information' attaching it to this email as FYI for
    Hadley. I will be on the Zoom 30 minutes early tomorrow and will wear a suit and tie. I will answer with a simple "Yes,
    your honor" to everything they ask me. Also, I will read section 1 of the information part is what I understand as to what I
    did - maybe you can clarify this if I'm misunderstanding. Thank God this worked out the way it did. I was able to improve
    my life in many ways over the past year and am looking forward to the next chapter of my life (in Poland hopefully by the
    Fall of this year).

    I will email Hadley later (heading to the gym) a summary of everything we talked about so she's in the loop.

    Best Regards,

    Larby


     2 attachments
          FILE_3414.pdf
          121K
          DOJ Signed Larby Amirouche.pdf
          7872K


  Michael Kushner <mk@kushlawgroup.com>                                                                            Thu, May 5, 2022 at 8:30 AM
  To: Larby Amirouche <larby@blackout.dev>
  Cc: Hadley Rose <hadley@emergeinternational.net>

    Thanks. We have to formally sign a waiver of indictment as I explained to you yesterday. I attach a copy to this email.
    Can you electronically sign it?

    Best Regards,


    Michael P. Kushner, Esq.

    Kushner Law Group, PLLC
    16 Court Street, 36th Floor
    Brooklyn, New York 11241

    tel. 718.504.1440
    fax. 718.504.4630
    cel. 917.599.6117
    ________________________________

    STATEMENT OF CONFIDENTIALITY: This e-mail message, including any
    attachments, is for the sole use of the intended recipient(s) and may
    include privileged or otherwise confidential information. Any unauthorized
    review, forwarding, printing, copying, use, disclosure or distribution is
    strictly prohibited and may be unlawful. If you received this message in
https://mail.google.com/mail/u/4/?ik=790a33bd87&view=pt&search=all&permthid=thread-a:r-7247100398627492918&simpl=msg-a:r-7252057848277545302&sim…   1/2
            Case
11/26/23, 7:05 PM 1:21-cr-00064-KAM          Document      164 Management
                                                         Marketing  Filed 03/10/25
                                                                            Mail - Signed Plea Page   189 of 224 PageID #:
                                                                                               Agreement
                                                                 9413
    error, or have reason to believe you are not the intended recipient, please
    contact the sender by reply e-mail and destroy all copies of the original
    message.

    [Quoted text hidden]


          Amirouche.Waiver of Indictment copy.pdf
          41K


  Larby Amirouche <larby@blackout.dev>                                                                             Thu, May 5, 2022 at 8:43 AM
  To: Michael Kushner <mk@kushlawgroup.com>
  Cc: Hadley Rose <hadley@emergeinternational.net>

    Dear Michael,

    Here's the signed waiver.

    Best Regards,


    Larby

    [Quoted text hidden]


          Amirouche Signed Waiver.pdf
          526K




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U.S.D.J. KIYO A. MATSUMOTO                    9414
                                  TIME: 10:00 a.m.- I 1:00 a.m. DATE: 5/5/2022

                         CRIMINAL CAUSE FOR PLEADING VIA VIDEO REMOTE

USA - V. AMIROUCHE                                                         Docket No.: 21-CR- 64 [KAM]

Defendant: Larby Amirouche                  Docket & File
 ...x_ present _ _ not present                              _ ~- . custody       . -X_ bail

Def. Counsel: Michael Peter Kushner
 ...X.. present _ not present       ....K_Retained         _ (CJA)            - - -Federal Defender

AUSA: David Pitluck             Deputy: S. Jackson           C./ R: Linda Danelczyk

X..  Case Called                            NO ARRAIGNMENT OR INITIAL APPEARANCE IMPOSSIBLE
x_    Defendant's First Appearance          SEQUENCE OF EVENTS VIOLATING ADMIN ORDER 2022-05
X    Defendant: X                       Sworn K_              Arraigned ..X...     Informed of Rights x_
K.__ Waiver of Indictment Executed for Defendant
K.__ Superseding_Indictment/Information Filed
      Bench Warrant Issued: - - -- - - -
K_    Defendant Enters Guilty Plea to Count(s).fill. of the Superseding Information.
      Defendant Withdraws Not Guilty Plea and Enters Plea of Guilty to Count(s)_ of the Indictment.
X    Court Finds Factual Basis for the Plea
x__ Sentencing is scheduled for September 20, 2022 at 10:00a.m.
___ Sentencing to be set by Probation
X _ _Bail/Bond: _ _ Set _ _ Continued for Defendant _ _ Continued in Custody
      Case Adjourned to _ _/ _ _/_ _ at _ _ _ __
X    Court accepts the Plea of Guilty.
X.. Transcript Ordered
X    Counsel are advised that they are expected to fo llow Federal Rule 32 with regard to objections, corrections
      or comments to the Presentence Report (PSR). Defense counsel must respond to the PSR within two weeks
      of receipt, the government will respond one week thereafter. PSR objections must directed to the probation
     officer, but need not be fi led via ecf, but must be served on chambers, the parties and probation.

X     Sentencing motions/submissions (apart from PSR objections) shall be submitted as follows:
      defendant' s submissions shall be filed by 9/1/2022, and the government shall respond by 9/9/2022,
      reply if any, by the defendant, shall be served and fi led by 9/15/2022.   The court respectfu lly request that
      the parties shall serve chambers with two hard courtesy copies of all sentencing related materials, and one
      copy served on the probation department.
      Case 1:21-cr-00064-KAMTHIS                 WAIVER 164
                                               Document WAS SIGNED     PRIOR TO
                                                              Filed 03/10/25     THE
                                                                              Page   HEARING
                                                                                   191         ON 5/5/2022
                                                                                       of 224 PageID #:
                                            AFTER BEING PROVIDED
                                                           9415      FOR  THE FIRST TIME  APPROXIMATELY
                                            30 MINUTES BEFORE THE HEARING VIOLATING THE "OPEN COURT"
AO 455 (Rev. 01/09) Waiver of an Indictment REQUIREMENT. PLEA AGREEMENT SIGNED ON 5/4/2022.


                              UNITED STATES DISTRICT COURT
                                                        for the
                                           Eastern District
                                         __________ Districtof New  York
                                                               of __________

              United States of America                     )
                         v.                                )     Case No. 21-CR-0064 (KAM)
               LARBY AMIROUCHE                             )
                                                           )
                      Defendant                            )

                                          WAIVER OF AN INDICTMENT

        I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

       After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.



Date:      05/05/2022
                                                                                    Defendant’s signature




                                                                               Signature of defendant’s attorney

                                                                                 Michael Kushner, Esq.
                                                                             Printed name of defendant’s attorney




                                                                                      Judge’s signature

                                                                           Hon. Kiyo A. Matsumoto, U.S.D.J.
                                                                                Judge’s printed name and title
Case 1:21-cr-00064-KAM
              "NOTICE: ThisDocument
                              document164     Filed 03/10/25
                                       was provided              Page
                                                       to Petitioner on192 of 224 PageID #:
                                          9416
              May 3, 2022, already pre-signed by the government and
              pre-dated for May 5, 2022 (future date).
              Petitioner signed on May 4, 2022, as confirmed by email evidence (Exhibit A)
 DG:DCP
 F. # 2016R01393

 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 – – – – – – – – – – – – – – – – –X

 UNITED STATES OF AMERICA                            PLEA AGREEMENT

              - against -
                                                     21 CR 64 (KAM)
 LARBY AMIROUCHE,

                             Defendant.

 – – – – – – – – – – – – – – – – –X


                Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, the United States

 Attorney’s Office for the Eastern District of New York (the “Office”) and LARBY

 AMIROUCHE (the “defendant”) agree to the following:

                1.      The defendant will waive indictment and plead guilty to a superseding

 information to be filed in this district, charging a violation of 18 U.S.C. § 371. The count carries

 the following statutory penalties:

                        a.       Maximum term of imprisonment: 5 years
                                 (18 U.S.C. § 371).

                        b.       Minimum term of imprisonment: none
                                 (18 U.S.C. § 371).

                        c.       Maximum supervised release term: 3 years, to follow any term of
                                 imprisonment; if a condition of release is violated, the defendant
                                 may be sentenced to up to 2 years without credit for pre-release
                                 imprisonment or time previously served on post-release
                                 supervision
                                 (18 U.S.C. § 3583 (b) & (e)).
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                        d.        Maximum fine: Greater of $250,000, or twice the gross gain or
                                  twice the gross loss
                                  (18 U.S.C. § 3571(b)(2), (b)(3) and (d)).

                        e.        Restitution: Mandatory in the full amount of each victim’s losses
                                  as determined by the Court.
                                  (18 U.S.C. §§ 3663A and 3664).

                        f.        $100 special assessment
                                  (18 U.S.C. § 3013).

                        g.        Other penalties: criminal forfeiture as set forth below in paragraphs
                                  6 through 13
                                  (18 U.S.C. §§ 982(a)(2) and 982(b)(1); 21 U.S.C. § 853(p)).

                2.      The defendant understands that although imposition of a sentence in

 accordance with the United States Sentencing Guidelines (the “Guidelines” and “U.S.S.G.”) is

 not mandatory, the Guidelines are advisory and the Court is required to consider any applicable

 Guidelines provisions as well as other factors enumerated in 18 U.S.C. § 3553(a) to arrive at an

 appropriate sentence in this case. The Office will advise the Court and the Probation Department

 of information relevant to sentencing, including criminal activity engaged in by the defendant,

 and such information may be used by the Court in determining the defendant’s sentence. -
                                                                                        See
                                                                                          - 18

 U.S.C. § 3661 (“No limitation shall be placed on the information concerning the background,

 character, and conduct of a person convicted of an offense which a court of the United States

 may receive and consider for the purpose of imposing an appropriate sentence.”). The Office

 estimates the likely adjusted offense level under the Guidelines to be 32, which is predicated on

 the following Guidelines calculation:

                Base Offense Level (§2B1.1(a)(2)))                                                    6

                Plus:        Loss in excess of $3,500,000 (§ 2B1.1(b)(1)(J))                       +18

                Plus:        Offense was committed through mass marketing
                             (§ 2B1.1(b)(2)(a)(ii))                                                 +2


                                                    2
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                Plus:     Sophisticated Means (§ 2B1.1(b)(10)(B))                                  +2

                Plus:     Organizer or Leader of a Criminal Activity that involved five or more
                          participants (§ 3B1.1(a))                                             +4

                Total:                                                                                32

 If the defendant clearly demonstrates acceptance of responsibility, through allocution and

 subsequent conduct prior to the imposition of sentence, a two-level reduction will be warranted,

 pursuant to U.S.S.G. § 3E1.1(a), resulting in an adjusted offense level of 30 and a range of

 imprisonment of 97 – 121 months, assuming that the defendant falls within Criminal History

 Category I. However, because of the statutory maximum sentence provided in 18 U.S.C. § 371

 for the offense of conviction, the Guidelines range of imprisonment is 60 months. Furthermore,

 if the defendant has accepted responsibility as described above, to the satisfaction of the Office,

 and if the defendant pleads guilty on or before 5/5/2022 an additional one-level reduction will be

 warranted, pursuant to U.S.S.G. § 3E1.1(b), resulting in an adjusted offense level of 29. This

 level carries a range of imprisonment of 87 - 108 months, assuming that the defendant falls

 within Criminal History Category I. However, because of the statutory maximum sentence

 provided in 18 U.S.C. § 371 for the offense of conviction, the Guidelines range of imprisonment

 is 60 months. The defendant stipulates to the above Guidelines calculation.

                3.       The Guidelines estimate set forth in paragraph 2 is not binding on the

 Office, the Probation Department or the Court. If the Guidelines offense level advocated by the

 Office, or determined by the Probation Department or the Court, is, for any reason, including an

 error in the estimate, different from the estimate, the defendant will not be entitled to withdraw

 the plea and the government will not be deemed to have breached this agreement.

                4.       The defendant agrees not to file an appeal or otherwise challenge, by

 petition pursuant to 28 U.S.C. § 2255 or any other provision, the conviction or sentence in the

                                                  3
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 event that the Court imposes a term of imprisonment of 60 months or below. This waiver is

 binding without regard to the sentencing analysis used by the Court. The defendant waives all

 defenses based on the statute of limitations and venue with respect to any prosecution that is not

 time-barred on the date that this agreement is signed in the event that (a) the defendant’s

 conviction is later vacated for any reason, (b) the defendant violates this agreement, or (c) the

 defendant’s plea is later withdrawn. The defendant further waives the right to raise on appeal or

 on collateral review any argument that (1) the statute(s) to which the defendant is pleading guilty

 is unconstitutional and (2) the admitted conduct does not fall within the scope of the statute(s).

 Nothing in the foregoing waiver of appellate and collateral review rights shall preclude the

 defendant from raising a claim of ineffective assistance of counsel in an appropriate forum. The

 defendant waives any right to additional disclosure from the government in connection with the

 guilty plea. The defendant agrees that with respect to all charges referred to in paragraphs 1 and

 5(a) he is not a “prevailing party” within the meaning of the “Hyde Amendment,” 18 U.S.C. §

 3006A note, and will not file any claim under that law. The defendant agrees to pay the special

 assessment by check payable to the Clerk of the Court at or before sentencing.

                5.      The Office agrees that:

                       a.      no further criminal charges will be brought against the defendant
                               for perpetrating a series of fraudulent internet marketing schemes
                               between January 2012 and August 2016, as alleged in the
                               underlying indictment in the above-captioned matter, it being
                               understood that this agreement does not bar the use of such conduct
                               as a predicate act or as the basis for a sentencing enhancement in a
                               subsequent prosecution including, but not limited to, a prosecution
                               pursuant to 18 U.S.C. §§ 1961 -  et -
                                                                   seq.,
                                                                     - and at the time of sentence, it
                               will move to dismiss the underlying indictment with prejudice;

 and, based upon information now known to the Office, it will

                       b.      take no position concerning where within the Guidelines range
                               determined by the Court the sentence should fall; and
                                                  4
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                                            9420




                       c.      make no motion for an upward departure under the Sentencing
                               Guidelines.

 If information relevant to sentencing, as determined by the Office, becomes known to the Office

 after the date of this agreement, the Office will not be bound by paragraphs 5(b) and 5(c).

 Should it be judged by the Office that the defendant has violated any provision of this agreement,

 the defendant will not be released from his plea of guilty but this Office will be released from its

 obligations under this agreement, including but not limited to: (a) moving for the additional one-

 level downward adjustment for timely acceptance of responsibility described in paragraph 2

 above; and (b) the provisions of paragraphs 5(a)-(c).

                6.      The defendant acknowledges that he obtained and/or acquired property

 that is subject to forfeiture as a result of his violation of 18 U.S.C. § 371, as alleged in the above-

 captioned superseding information. The defendant consents to the entry of a forfeiture money

 judgment in the amount of one million eight hundred eighty-eight thousand six hundred forty-

 seven dollars and eighty-nine cents ($1,888,647.89) (the “Forfeiture Money Judgment”). The

 defendant agrees that the amount of the Forfeiture Money Judgment and any payments toward

 the Forfeiture Money Judgment represent property constituting, or derived from, proceeds

 obtained directly or indirectly as a result of his violation of 18 U.S.C. § 371 and/or substitute

 assets, and thus are forfeitable to the United States pursuant to 18 U.S.C. §§ 982(a)(2) and

 982(b)(1), and 21 U.S.C. § 853(p) in any administrative and/or judicial (civil or criminal)

 proceeding(s) at the Office’s exclusive discretion. The defendant consents to the entry of an

 Order of Forfeiture, pursuant to Rule 32.2 of the Federal Rules of Criminal Procedure, imposing

 the Forfeiture Money Judgment.

                7.      The Forfeiture Money Judgment shall be paid in full 30 days in advance of

 sentencing (the “Due Date”). All payments made by the defendant toward the Forfeiture Money
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 Judgment shall be made by money order, certified check and/or official bank check, payable to

 the “U.S. Department of the Treasury.” The defendant shall cause said payment(s) to be sent by

 overnight mail delivery to Assistant United States Attorney Tanisha R. Payne, United States

 Attorney’s Office, Eastern District of New York, 271-A Cadman Plaza East, Brooklyn, New

 York 11201, with the criminal docket number noted on the face of the instrument. The

 defendant consents to the restraint of all payments made toward the Forfeiture Money Judgment.

 The defendant also waives all statutory deadlines, including but not limited to deadlines set forth

 in 18 U.S.C. § 983.

                8.      If the defendant fails to pay any portion of the Forfeiture Money Judgment

 on or before the Due Date, the defendant consents to the forfeiture of any other property of his

 up to the amount of the unpaid Forfeiture Money Judgment, pursuant to 21 U.S.C. § 853(p), as

 incorporated by 18 U.S.C. § 982(b)(1), and further agrees that the conditions of 21 U.S.C.

 § 853(p)(1)(A)-(E) have been met.

                9.      The defendant agrees to fully assist the government in effectuating the

 payment of the Forfeiture Money Judgment, by among other things, executing any documents

 necessary to effectuate any transfer of title to the United States. The defendant agrees not to file

 a claim or petition seeking remission or contesting the forfeiture of any property against which

 the government seeks to satisfy the Forfeiture Money Judgment in any administrative or judicial

 (civil or criminal) proceeding. The defendant further agrees not to assist any person or entity in

 the filing of any claim or petition seeking remission or contesting the forfeiture of any property

 against which the government seeks to satisfy the Forfeiture Money Judgment in any

 administrative or judicial (civil or criminal) forfeiture proceeding.




                                                   6
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                 10.    The failure of the defendant to forfeit any monies and/or properties as

 required under this agreement, including the failure of the defendant to execute any document to

 accomplish the same on timely notice to do so, may constitute a material breach of this

 agreement. Upon such a breach, the defendant will not be entitled to withdraw the plea, but the

 Office may bring additional criminal charges against the defendant.

                 11.    The defendant represents that he will disclose all of his assets to the

 United States on the financial statement entitled “United States Department of Justice Financial

 Statement” (hereinafter, the “Financial Statement”) on or before June 1, 2022 and will provide a

 copy to Assistant United States Attorney David Pitluck. The defendant agrees that a failure to

 disclose all assets on the Financial Statement and to inform the government in writing of any

 material changes up until the time of sentencing constitutes a material breach of this agreement.

 Upon such a breach, the defendant will not be entitled to withdraw the plea, but the Office may

 bring additional criminal charges against the defendant. Should undisclosed assets which the

 defendant owns or in which the defendant has an interest be discovered, the defendant knowingly

 and voluntarily waives his right to any required notice concerning the forfeiture of said assets

 and agrees that said assets shall be forfeited to the United States pursuant to 18 U.S.C.

 §§ 982(a)(2) and 982(b)(1), and 21 U.S.C. § 853(p), as property constituting, or derived from,

 proceeds obtained directly or indirectly as a result of his violation of 18 U.S.C. § 371 and/or as a

 substitute asset.

                 12.    The defendant knowingly and voluntarily waives his right to any required

 notice concerning the forfeiture of any monies and/or properties forfeited hereunder, including

 notice set forth in an indictment, information or administrative notice. In addition, the defendant

 knowingly and voluntarily waives his right, if any, to a jury trial on the entry of a Forfeiture

                                                   7
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 Money Judgment, and waives all constitutional, legal and equitable defenses to the forfeiture of

 said monies and/or properties, including, but not limited to, any defenses based on principles of

 double jeopardy, the -
                      Ex Post
                        -- ---Facto
                               - - - clause of the Constitution, any applicable statute of

 limitations, venue, or any defense under the Eighth Amendment, including a claim of excessive

 fines.

                13.     The defendant agrees that the entry and payment of the Forfeiture Money

 Judgment are not to be considered a payment of a fine, penalty, restitution loss amount, or any

 income taxes that may be due, and shall survive bankruptcy.

                14.     The defendant recognizes that pleading guilty may have consequences

 with respect to the defendant’s immigration status if the defendant is a naturalized citizen of the

 United States. Under federal law, an individual may be subject to denaturalization and removal

 if his naturalization was procured by concealment of a material fact or by willful

 misrepresentation or otherwise illegally procured. Denaturalization and other immigration

 consequences are typically the subject of a separate proceeding, however, and the defendant

 understands that no one, including the defendant’s attorney or the District Court, can predict with

 certainty the effect of the defendant’s conviction on the defendant’s immigration status. The

 defendant nevertheless affirms that the defendant wants to plead guilty regardless of any

 immigration consequences that the defendant’s plea may entail, even if the consequence is the

 defendant’s automatic denaturalization and removal from the United States.

                15.     This agreement does not bind any federal, state, or local prosecuting

 authority other than the Office, and does not prohibit the Office from initiating or prosecuting

 any civil or administrative proceedings directly or indirectly involving the defendant.




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                16.     Apart from any written proffer agreements, if applicable, no promises,

 agreements or conditions have been entered into by the parties other than those set forth in this

 agreement and none will be entered into unless memorialized in writing and signed by all parties.

 Apart from any written proffer agreements, if applicable, this agreement




                                                  9
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 supersedes all prior promises, agreements or conditions between the parties. To become

 effective, this agreement must be signed by all signatories listed below.


 Dated: Brooklyn, New York
           May 5               , 2022

                                               BREON PEACE
                                               United States Attorney
                                               Eastern District of New York


                                        By:    ___________________________________
                                               David C. Pitluck
                                               Assistant United States Attorney

                                               Approved by:

                                               ___________________________________
                                               Supervising Assistant U.S. Attorney


 I have read the entire agreement and discussed it with my attorney. I understand all of its terms
 and am entering into it knowingly and voluntarily.


 LARBY AMIROUCHE
 Defendant

 Approved by:


 Michael Kushner, Esq.
 Counsel to Defendant




                                                 10
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        13
           Pursuant to Administrative Order 2020-26, as amended by Administrative Orders
2020-26-1, 2021 -04, and 2021 -04-1, and as recently extended by Administrative Order 2022-04,
and for the reasons stated therein, this Court has suspended through March 31 , 2022, in-person
proceedings other than criminal and civil jury selections, trials, and bench trials; the selections of
new grand juries and replacement grand jurors; and criminal hearings, conferences, sentencings,
and change of plea hearings. In-person proceedings that remain suspended pursuant to
Administrative Order 2020-26, as amended, include all civil proceedings other than those
mentioned. The Court resumed in-person arraignments, detention hearings, preliminary
hearings, and pre-indictment proceedings on March 14, 2022.
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11/14/23, 9:04 AM 1:21-cr-00064-KAM                DocumentMarketing
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                                                                  9427

               Gmail                                                                                   Luke Williams <luke@blackout.dev>



  Larby Touching base
  9 messages

  Larby Amirouche <larby@blackout.dev>                                                                          Wed, Apr 14, 2021 at 11:30 AM
  To: Michael Kushner <mk@kushlawgroup.com>

    Dear Michael,

    I'm reaching out to let you know that I'm out of the hospital and everything is ok. I was wondering if there was anything
    pending you may be needing from me related to the case or otherwise. Please let me know at your earliest convenience.
    Thank you for your time and your support.

    Best regards,

    Larby


  Michael Kushner <mk@kushlawgroup.com>                                                                           Tue, Apr 20, 2021 at 9:12 AM
  To: Larby Amirouche <larby@blackout.dev>

    Larby - can you contact me please. I am trying to reach you by phone but your phone hasn't been working properly.


    Best Regards,


    Michael P. Kushner, Esq.

    Kushner Law Group, PLLC
    16 Court Street, 36th Floor
    Brooklyn, New York 11241

    tel. 718.504.1440
    fax. 718.504.4630
    cel. 917.599.6117
    ________________________________

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    message.

    [Quoted text hidden]



  Larby Amirouche <larby@blackout.dev>                                                  Tue, Apr 20, 2021 at 5:32 PM
  To: Michael Kushner <mk@kushlawgroup.com>, "hadley@emergeinternational.net" <hadley@emergeinternational.net>

    Dear Michael,

    I just remembered this that in 2016, I was not conducting any business, at all, other than with an investor which started in
    approximately March of 2016 which was selling flashlights (very clean business and unrelated to this case for sure). The
    group I was working with also stole and sold a car before February of 2016 to the Montagana crime family (Bonanno).
    There is an audio recording I provided to Hadley where an individual named Kyle Milliken lists all of the likely co-
    conspirators as being involved in a conspiracy to metaphorically kill me. I believe this information should be helpful due to

https://mail.google.com/mail/u/4/?ik=790a33bd87&view=pt&search=all&permthid=thread-a:r-2019864056453339839&simpl=msg-a:r-4522140168407892896&sim…   1/4
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    the 5 year statute of limitations as it's 2021 and if I conducted zero business (not even one customer) and the group was
    actively working together to mess me up and working without my involvement it may be helpful in some way to fight this
    case.

    My thoughts are maybe at least some of the charges would be past the the five year mark. It's possible that the
    Government believes some of the companies involved in the 2016 business that was conducted belonged to me. The
    group was working without me from at least Fall of 2015 as there were companies formed running traffic to similar
    websites that had domains using the address of AJ in Miami as the original registration contact. (You can see this info with
    tools like domaintools.com a premium service for domainers that archives domain history). I don't remember the domains
    off hand though but could probably definitely say once I see the list of the companies which ones that I have absolutely no
    connection to.

    Please absorb this and let me know what you think. If you don't think this will matter or isn't helpful you can just let me
    know. I'm thinking this case must have been sitting around and they decided to push it forward after seeing I was living in
    Illinois and had gotten my expired license and a passport updated. Maybe it's already past the 5 years and we have a
    chance at dismissal.

    Best Regards,

    Larby
    [Quoted text hidden]



  Larby Amirouche <larby@blackout.dev>                                                  Tue, Apr 20, 2021 at 5:45 PM
  To: Michael Kushner <mk@kushlawgroup.com>, "hadley@emergeinternational.net" <hadley@emergeinternational.net>

    To be clear, it was a Mclaren MP4-12C that my company Purple Donkey owned. On the call recording, Kyle says, (after
    discussing AJ and Nathan stealing and selling the car while on special felony probation) that they sold it to one of the
    biggest drug dealers in Miami, one of AJs friends, that I later linked to the Montagana crime family. My neighbor, a Lt.
    Cmdr In the US Navy told me I likely stumbled on something and the State may offer me a care package to not speak
    about it. My lawyer in Miami asked me if I wanted to get myself killed (by blabbing about it).
    [Quoted text hidden]



  Michael Kushner <mk@kushlawgroup.com>                                                                          Wed, Apr 21, 2021 at 9:39 AM
  To: Larby Amirouche <larby@blackout.dev>
  Cc: "hadley@emergeinternational.net" <hadley@emergeinternational.net>

    Thanks. I will review this along with the discovery as we move forward and process its impact. Thanks!

    Best Regards,


    Michael P. Kushner, Esq.

    Kushner Law Group, PLLC
    16 Court Street, 36th Floor
    Brooklyn, New York 11241

    tel. 718.504.1440
    fax. 718.504.4630
    cel. 917.599.6117
    ________________________________

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    [Quoted text hidden]



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                                     9429

                                                      rT. KUSHNER
                                                      ~ LAW GROUPPLLC

                                         April 25, 2022

 By ECF

 Hon. Kiyo A. Matsumoto
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

       Re:     United States v. Larby Amirouche
               Criminal Docket 21-cr-0064-KAM

 Your Honor,

        I represent the Defendant in connection with the above-referenced matter. I
 write to respectfully request an adjournment of the status conference, currently
 scheduled for April 26, 2022. The Defendant has accepted the Government’s plea offer
 and the parties would request that the Court schedule a change of plea hearing. The
 parties would request that the matter be scheduled for May 5, 2022 at 10:00 a.m. A
 virtual appearance for the change of plea hearing is requested because Mr. Amirouche
 resides in Chicago and I recently tested positive for COVID 19 and will still be within
 the exclusion period for entering the Courthouse during the proposed date. Pursuant
 to Administrative Order No. 2022-05, the remote acceptance of Felony Pleas is still
 authorized in particular cases where the Court determines it is appropriate. The parties
 would further respectfully request that the Court issue an Order of Excludable Delay
 in this case until the date that the Court sets for the change of plea hearing. AUSA
 David Pitluck consents to this request.

                                         Respectfully submitted,

                                         Michael P. Kushner, Esq.


 Cc:   AUSA David C. Pitluck (By ECF)




                  16 Court Street, 36th Floor / Brooklyn, New York 11241
                     718.504.1440 (telephone) / 718.504.4630 (facsimile)
                                   www.KushLawGroup.com
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                                                APRIL 2022 ONLY CALL WITH
                                             MICHAEL KUSHNER IS ON 4/22 FOR                         Page:               A2 of AS
                                                6 MINUTES AFTER -196 DAYS
               AT&T                           ABSOLUTLEY NO PHONENIDEO
                                                     COMMUNICATION.
                                                                                                    Issue Date:
                                                                                                    Account Number:
                                                                                                                        May 01, 2022
                                                                                                                        287309251403
                                                AFTER 6_MINUTE_CALL._DAYS                           Foundation Account: 60354748
                                              LATER. HE INFORMS THE COURT                           Invoice:            287309251403X05092022
                                             THAT MR. WILLIAM HA A RRED
...630.632.2193 continued                       TO THE PLEA AND A REMOTE
                                                  HEARING DESP ITE TEXTS
           Place         Number         Rate
                                                  HOWiNG HE I WAITING TO
Time       Called        Called
                                             DISCUSS THE PLEA. AND FACT THE    Data Detail
Thursday, Apr21                               PLEA HAS NEVER BEEN SHARED
11:55am RIVERG IL        708.456.9122   WIFI      WITH MR. WILLIAMS - MR.      Time               To/From         Type/Unit       Rate Code   Charges
11:58am CHICAG IL        m.271.7156     WIFI    WILLIAMS NEVER AGREED TO
02:55pm EULESS TX        817.868.2300   WIFI              EITHER.              Text Messages
03:42pm DETRO! Ml        313.736.5411   WIFI            16     $0.00   $0.00
                                                                               Monday, Apr 04
04:43pm INCOMI CL        m.271.7156     WIFI                   $0.00   $0.00
                                                                               01:36pm Rcvd       903.420.9782    Text Message    UNLMSG        $0.00
05:45pm Toll F CL        866.674.4313   WIFI                   $0.00   $0.00   02:19pm Rcvd       93557           Text Message    UNLMSG        $0.00
Friday, Apr 22                                                                 05:03pm Rcvd       93557           Text Message    UNLMSG        $0.00
10:45am DETRO! Ml        313.736.5411   WIFI                   $0.00   $0.00   05:07pm Rcvd       93557           Text Message    UNLMSG        $0.00
10:58am HALF D IL        847.383.4870   WIFI             3     $0.00   $0.00   Tuesday, Apr 05
11:01am CHICAG IL        312.886.3506   WIFI                   $0.00   $0.00   09:osam Rcvd       320.321.7795    Text Message    UNLMSG        $0.00
12:06pm CHICAG IL        312.353.4952   WIFI                   $0.00   $0.00   10:20am Rcvd       929.514.1339    Text Message    UNLMSG        $0.00
12:16pm Toll F CL        866.674.4313   WIFI                   $0.00   $0.00   10:20am Rcvd       929.514.1339    Text Message    UNLMSG        $0.00
12:52pm ROSELL IL        630.284.9661   WIFI                   $0.00   $0.00   10:20am Rcvd       929.514.1339    Text Message    UNLMSG        $0.00
12:56pm Toll F CL        800.366.6303   WIFI                   $0.00   $0.00   10:20am Rcvd       929.514.1339    Text Message    UNLMSG        $0.00
12:57pm Toll F CL        800.366.6303   WIFI                   $0.00   $0.00   11:32am Rcvd       88811           Text Message    UNLMSG        $0.00
01:06pm Toll F CL        800.366.6303   WIFI                   $0.00   $0.00   01:19pm Rcvd       86753           Text Message    UNLMSG        $0.00
                                                                               02:oopm Rcvd       25392           Text Message    UNLMSG        $0.00
011opm INCOMI CL         202.870.9336   WIFI             6     $0.00   $0.00
                                                                               03:17pm Rcvd       779.246.3362    Text Message    UNLMSG        $0.00
0119pm INCOMI CL         800.366.6303   SDDV            15     $0.00   $0.00
02:58pm QUEENS NY        917.599.6117   SDDV             6     $0.00   $0.00   Wednesday, Apr 06
                                                 THIS IS THE CALL              08:01am Rcvd      561.709.3627     Text Message    UNLMSG        $0.00
Saturday, Apr23                                                                10:18am Rcvd      313.487.7621     Text Message    UNLMSG        $0.00
03:10pm INCOMI CL        800.366.6303   WIFI            16     $0.00   $0.00   10:27am Rcvd      929.514.1787     Text Message    UNLMSG        $0.00
08:10pm INCOMI CL        312.550.6026   WIFI            64     $0.00   $0.00   10:27am Rcvd      929.514.1787     Text Message    UNLMSG        $0.00
Sunday, Apr 24                                                                 10:27am Rcvd      929.514.1787     Text Message    UNLMSG        $0.00
05:09pm INCOMI CL        224.392.3935   WIFI                   $0.00   $0.00   10:27am Rcvd      929.514.1787     Text Message    UNLMSG        $0.00
                                                                               11.27am Rcvd      88811            Text Message    UNLMSG        $0.00
Monday, Apr25                                                                  11:51am Rcvd      88811            Text Message    UNLMSG        $0.00
10:51am Toll F CL        866.674.4313   WIFI                   $0.00   $0.00   02:38pm Rcvd      725.288.2283     Text Message    UNLMSG        $0.00
Tuesday, Apr 26                                                                02:44pm Rcvd      323.709.8799     Text Message    UNLMSG        $0.00
11:00am Toll F CL        866.674.4313   WIFI                   $0.00   $0.00   07:33pm Sent      847.220.1153     Text Message    UNLMSG        $0.00
05:57pm EULESS TX        817.868.2300   WIFI                   $0.00   $0.00   Thursday, Apr 07
07:06pm INCOMI CL        224.328.5135   WIFI                   $0.00   $0.00   03:08am Rcvd       louizamilof80   Text Message    UNLMSG        $0.00
                                                                               10:30am Rcvd       909.698.5823    Text Message    UNLMSG        $0.00
Wednesday, Apr 27
                                                                               10:39am Rcvd       855.209.0634    Text Message    UNLMSG        $0.00
12:27pm EULESS TX        817.868.2300   SDDV                   $0.00   $0.00
                                                                               02:24pm Rcvd       262.558.4277    Text Message    UNLMSG        $0.00
Thursday, Apr28
                                                                               Friday, Apr 08
10:43am Toll F CL        866.674.4313   WIFI                   $0.00   $0.00
                                                                               02:13pm Sent       224.563.8538    Text Message    UNLMSG        $0.00
12:14pm EULESS TX        817.868.2300   WIFI                   $0.00   $0.00
                                                                               05:23pm Rcvd       833.658.0781    Text Message    UNLMSG        $0.00
12:24pm INCOMI CL        800.366.6303   WIFI            21     $0.00   $0.00   07:31pm Rcvd       224.563.8538    Text Message    UNLMSG        $0.00
Friday, Apr 29                                                                 Saturday, Apr 09
0932am Toll F CL         866.674.4313   WIFI                   $0.00   $0.00   02:31pm Rcvd       571.520.7267    Text Message    UNLMSG        $0.00
03:38pm Toll F CL        833.853.5638   WIFI            11     $0.00   $0.00   03:01pm Sent       224.563.8538    Text Message    UNLMSG        $0.00
04:13pm EULESS TX        817.868.2300   WIFI                   $0.00   $0.00   03:57pm Rcvd       530.564.8708    Text Message    UNLMSG        $0.00
06:01pm INCOMI CL        312.550.6026   WIFI            65     $0.00   $0.00
                                                                               Monday, Apr 11
Saturday, Apr 30                                                               1214am Sent        847.220.1153    Text Message    UNLMSG        $0.00
12:49pm Toll F CL        833.853.5638   WIFI            10     $0.00   $0.00   09:35am Rcvd       skell@kitchen   Text Message    UNLMSG        $0.00
                                                                               04:09pm Rcvd       631.201.5193    Text Message    UNLMSG        $0.00
Sunday, May 01                                                                 04:09pm Rcvd       631.201.5193    Text Message    UNLMSG        $0.00
02:05pm INCOMI CL        630.284.9661   WIFI                   $0.00   $0.00
                                                                               05:20pm Rcvd       64556           Text Message    UNLMSG        $0.00
Total for Call Detail                                  775     $0.00   $0.00   1113pm Sent        847.494.1241    Text Message    UNLMSG        $0.00
                                                                               Tuesday, Apr 12
Rate code:                                                                     09:28am Sent       872.266.9702    Text Message    UNLMSG        $0.00
SDDV = Plan minutes                                                            09:43am Rcvd       872.266.9702    Text Message    UNLMSG        $0.00
WIFI = Call over Wi-Fi                                                         09:43am Rcvd       872.266.9702    Text Message    UNLMSG        $0.00
Feature code:                                                                  09:51am Sent       872.266.9702    Text Message    UNLMSG        $0.00
CW = Call Waiting                                                              10:01am Rcvd       872.266.9702    Text Message    UNLMSG        $0.00
                                                                               10:24am Sent       847.220.1153    Text Message    UNLMSG        $0.00
                                                                               10:45am Rcvd       808.431.0960    Text Message    UNLMSG        $0.00



630.632.2193 continues...
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Your detailed usage                                                               Time       Called        Called          Code   Code       Min   Charges   Charges
                                                                                  12:53pm    DEERFI IL     847.940.8104    WIFI                      $0.00     $0.00
                                                                                  12:54pm    DEERFI IL     847.940.8104    WIFI               10     $0.00     $0.00
                                                                                  01:06pm    HIGHLA IL     847.266.8520    WIFI                4     $0.00     $0.00
Wireless, 630.632.2193                                                            01:10pm    HIGHLA IL     847.433.5138    WIFI                      $0.00     $0.00
STARLIGHT GROUP INC.                                                                         NORTHB IL     847.272.3155    WIFI               6      $0.00     $0.00
                                                                                  01:14pm
                                                                                  01:20pm    NORTHB IL     847.272.3155    WIFI               7      $0.00     $0.00
                                                                                  01:28pm    LAKEFO IL     847.234.2413    WIFI               9      $0.00     $0.00
Call Detail
                                                                                  01:37pm    LIBERT IL     847.367.4652    WIFI               5      $0.00     $0.00
           Place       Number         Rate   Feature         Airtime   LD/ Addl   01:43pm    NORTHB IL     847.272.3155    WIFI                      $0.00     $0.00
Time       Called      Called         Code   Code      Min   Charges   Charges               NORTHB IL     847.272.3155    WIFI               10     $0.00     $0.00
                                                                                  01:50pm
Monday, Apr 04                                                                    02:oopm    LIBERT IL     847.367.1611    WIFI                4     $0.00     $0.00
09:54am    Toll FCL    866.674.4313   WIFI                     $0.00     $0.00    03:44pm    Toll F CL     866.674.4313    SDDV                1     $0.00     $0.00
05:41pm    Toll FCL    800.225.5935   WIFI              15     $0.00     $0.00    Tuesday, Apr 12
Tuesday, Apr 05                                                                   09:22am    Toll F CL     866.674.4313    WIFI                1     $0.00     $0.00
09:03am Toll FCL       866.674.4313   WIFI                     $0.00     $0.00    11:47am    Toll F CL     833.853.5638    WIFI               12     $0.00     $0.00
01:55pm Toll F CL      877.875.4347   WIFI               6     $0.00     $0.00    12:59pm    INCOMI CL     214.289.7816    WIFI               16     $0.00     $0.00
02:56pm Toll F CL      888.233.2302   WIFI              19     $0.00     $0.00    Wednesday, Apr 13
Wednesday, Apr 06                                                                 08:15am    Toll F CL     866.674.4313    SDDV                      $0.00     $0.00
09:43am    Toll FCL    866.674.4313   WIFI               1     $0.00     $0.00    03:10pm    CHICAG IL     773.271.7156    WIFI                      $0.00     $0.00
12:39pm    CHICAG IL   312.353.4528   WIFI              20     $0.00     $0.00    05:20pm    CHICAG IL     773.802.0928    WIFI                      $0.00     $0.00
01:27pm    HALF D IL   847.383.4870   WIFI              12     $0.00     $0.00    Thursday, Apr 14
02:0lpm    Toll FCL    833.853.5638   WIFI              19     $0.00     $0.00    08:18am    Toll F CL     866.674.4313    WIFI                      $0.00     $0.00
02:21pm    EULESS TX   817.868.2300   WIFI               3     $0.00     $0.00
02:29pm    EULESS TX   817.868.2300   WIFI               9     $0.00     $0.00    Friday, Apr 15
                                                                                  09:02am    Toll F CL     866.674.4313    WIFI                      $0.00     $0.00
03:30pm    INCOMI CL   312.550.6026   WIFI              15     $0.00     $0.00
                                                                                  12:29pm    HALF D IL     847.383.4870    WIFI                      $0.00     $0.00
03:44pm    CALL WAIT   800.366.6303   WIFI   cw                $0.00     $0.00
           Toll F CL   833.853.5638   WIFI                     $0.00     $0.00
                                                                                  Ot58pm     CHICAG IL     312.3S3.4S28    WIFI                      $0.00     $0.00
06:22pm
                                                                                  02:00pm    CHICAG IL     312.353.5430    WIFI                      $0.00     $0.00
Thursday, Apr 07                                                                  02:48pm    Toll F CL     833.853.5638    WIFI               10     $0.00     $0.00
09:52am    Toll FCL    866.674.4313   WIFI                     $0.00     $0.00    05:36pm    Toll F CL     833.853.5638    WIFI                6     $0.00     $0.00
04:59pm    AMBLER PA   215.542.7070   WIFI                     $0.00     $0.00    06:08pm    INCOMI CL     312.550.6026    WIFI               58     $0.00     $0.00
05:oopm    ATLANT GA   404.389.9041   WIFI                     $0.00     $0.00
           WINTER FL   407.667.8811   WIFI                     $0.00     $0.00    Sunday, Apr 17
05:0lpm
                                                                                  11:54pm    Toll F CL     866.674.4313    WIFI                      $0.00     $0.00
Friday, Apr 08
10:09am    Toll FCL    866.674.4313   WIFI                     $0.00     $0.00    Monday, Apr 78
           DALLAS TX   214.584.6505   WIFI                     $0.00     $0.00    12:56pm INCOMI CL        312.392.0885    WIFI                      $0.00     $0.00
11:22am
           AMBLER PA   267.470.1185   WIFI                     $0.00     $0.00    01:48pm Toll F CL        833.853.5638    WIFI               14     $0.00     $0.00
11:34am
                                                                                  02:02pm HALF D IL        847.383.4870    WIFI                      $0.00     $0.00
01:06pm    DALLAS TX   214.584.6505   WIFI                     $0.00     $0.00
01:09pm    HALF D IL   847.383.4870   WIFI                     $0.00     $0.00    Tuesday, Apr 19
02:Bpm     DALLAS TX   214.584.6505   WIFI                     $0.00     $0.00    11:29am    WASHIN DC     202.224.2152    SDDV               9      $0.00     $0.00
02:2opm    NEWORL LA   504.962.4280   WIFI                     $0.00     $0.00    11:40am    CHICAG IL     312.353.4952    SDDV                      $0.00     $0.00
03:30pm    INCOMI CL   972.998.4439   WIFI                     $0.00     $0.00    11:54am    Toll F CL     866.674.4313    SDDV                      $0.00     $0.00
03:42pm    INCOMI CL   847.299.1920   WIFI                     $0.00     $0.00    12:07pm    HALF D IL     847.383.4870    WIFI                      $0.00     $0.00
03:45pm    HIGHLA IN   219.595.5412   WIFI                     $0.00     $0.00    04:59pm    HALF D IL     847.383.4870    WIFI                      $0.00     $0.00
03:47pm    DESPLA IL   847.299.1920   WIFI                     $0.00     $0.00    05:0lpm    Toll F CL     866.674.4313    WIFI                      $0.00     $0.00
05:05pm    INCOMI CL   219.595.5412   WIFI              6      $0.00     $0.00    05:0lpm    CHICAG IL     312.353.4952    WIFI                      $0.00     $0.00
OS:14pm    Toll FCL    888.447.6564   WIFI              4      $0.00     $0.00    06:12pm    HALF D IL     847.383.4870    SDDV                      $0.00     $0.00
05:21pm    INCOMI CL   219.595.5412   WIFI              2      $0.00     $0.00    Wednesday, Apr 20
05:23pm    Toll FCL    800.606.6969   WIFI                     $0.00     $0.00    10:20am    Toll F CL     866.674.4313    SDDV                      $0.00     $0.00
05:24pm    Toll F CL   800.221.5743   WIFI                     $0.00     $0.00               HALF D IL     847.383.4870    SDDV                      $0.00     $0.00
                                                                                  10:22am
Saturday, Apr 09                                                                  12:02pm    CHICAG IL     312.392.0885    SDDV                      $0.00     $0.00
11:48am    HIGHLA IN   219.595.5412   WIFI              6      $0.00     $0.00    02:54pm    CHICAG IL     312.353.4952    SDDV                      $0.00     $0.00
                                                                                  02:56pm    SPRING IL     217.492.4062    SDDV                      $0.00     $0.00
Monday, Apr 11
                                                                                  02:58pm    CHICAG IL     312.886.3506    SDDV                      $0.00     $0.00
12:03am    Toll F CL   866.674.4313   WIFI                     $0.00     $0.00
                                                                                  02:59pm    CHICAG IL     312.886.3506    SDDV               10     $0.00     $0.00
12:00pm    DEERFI IL   847.945.0611   WIFI              10     $0.00     $0.00
                                                                                  03:09pm    WASHIN DC     202.224.2152    SDDV                9     $0.00     $0.00
12:10pm    HIGHLA IL   847.266.8520   WIFI              24     $0.00     $0.00
                                                                                  06:32pm    EULESS TX     817.86ll.2300   WIFI                      $0.00     $0.00
12:34pm    HIGHLA IL   847.266.8520   WIFI                     $0.00     $0.00
                                                                                  06:33pm    EULESS TX     817.86ll.2300   WIFI                      $0.00     $0.00
12:40pm    HIGHLA IL   847.266.8520   WIFI                     $0.00     $0.00
                                                                                  06:35pm    Toll F CL     833.853.5638    WIFI               22     $0.00     $0.00
12:47pm    HIGHLA IL   847.432.8170   WIFI                     $0.00     $0.00
                                                                                  07:09pm    RIVERG IL     708.456.9122    WIFI                1     $0.00     $0.00

630.632.2193 continues...
          Case 1:21-cr-00064-KAM                      Document 164 Filed 03/10/25                               Page 208 of 224 PageID #:
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                                                                                           Place       Number         Rate   Feature         Airtime    LO/ Addi
Your detailed usage                                                              Time      Called      Called         Code   Code      Min   Charges    Charges
                                                                                 10:59am   INCOMI CL   888.844.7979   WIFI              6      $0.00         $0.00
                                                                                 11:51am   QUEENS NY   917.599.6117   WIFI                     $0.00         $0.00
                                                                                 12:08pm   CHICAG IL   773.271.7156   WIFI              5      $0.00         $0.00
Wir eless, 630.632.2193                                                                    CHICAG IL   773.271.7156   WIFI              9      $0.00         $0.00
                                                                                 01:34pm
STAR LIGHT GROUP INC.                                                                      Toll F CL   866.674.4313   SDDV                     $0.00         $0.00
                                                                                 02:57pm
                                                                                 03:08pm   INCOMI CL   888.844.7979   SDDV                     $0.00         $0.00
                                                                                 05:36pm   QUEENS NY   917.599.6117   SDDV                     $0.00         $0.00
Call Detail
                                                                                 07:07pm   Toll F CL   833.853.5638   WIFI              16     $0.00         $0.00
          Place       Number         Rate   Feature         Airtime   LO/ Addi   08:48pm   Toll F CL   866.674.4313   WIFI               1     $0.00         $0.00
Time      Called      Called         Code   Code      Min   Charges   Charges
                                                                                 Friday, May 06
Monday, May oz                                                                   10:01am   LIBERT IL   847.367.1611   WIFI              5      $0.00         $0.00
08:39am   Toll F CL   866.674.4313   WIFI                     $0.00     $0.00    10:10am   INCOMI CL   847.367.1611   WIFI                     $0.00         $0.00
11:49am   EULESS TX   817.868.2300   WIFI                     $0.00     $0.00    11:54am   Toll F CL   833.853.5638   WIFI              3      $0.00         $0.00
11:50am   EULESS TX   817.868.2300   WIFI                     $0.00     $0.00    12:20pm   Toll F CL   866.674.4313   SDDV                     $0.00         $0.00
01:25pm   CHICAG IL   312.353.4528   WIFI                     $0.00     $0.00    02:00pm   ELMHUR IL   630.546.0271   SDDV              4      $0.00         $0.00
01:31pm   EULESS TX   817.868.2300   WIFI                     $0.00     $0.00    02:04pm   RIVERG IL   708.456.9122   SDDV              5      $0.00         $0.00
01:36pm   Toll F CL   833.853.5638   WIFI               4     $0.00     $0.00    02:09pm   CHICAG IL   m.271.7156     SDDV                     $0.00         $0.00
01:40pm   Toll F CL   833.853.5638   WIFI                     $0.00     $0.00    02:30pm   INCOMI CL   602.485.1911   SDDV                     $0.00         $0.00
02:04pm   INCOMI CL   833.853.5638   WIFI               6     $0.00     $0.00
          HALF D IL   847.383.4870   WIFI                     $0.00     $0.00
                                                                                 Saturday, May 01
04:14pm
          Toll F CL   800.242.7338   WIFI              95     $0.00     $0.00    06:46pm ROSELL IL     630.284.9653   SDDV              4      $0.00         $0.00
08:46pm
                                                                                 Sunday, May OB
Tuesday, May 03
                                                                                 10:34pm   Toll F CL   866.674.4313   WIFI                     $0.00         $0.00
09:18am   Toll F CL   866.674.4313   WIFI                     $0.00     $0.00
10:15am   Toll F CL   866.564.2262   WIFI              47     $0.00     $0.00    Monday, May 09
01:0Spm   Toll F CL   800.677.7477   WIFI               1     $0.00     $0.00    04:28pm   Toll F CL   866.674.4313   WIFI                     $0.00         $0.00
01:06pm   Toll F CL   877.805.8049   WIFI              18     $0.00     $0.00    04:28pm   QUEENS NY   917.599.6117   WIFI                     $0.00         $0.00
04:39pm   Toll F CL   866.564.2262   WIFI               7     $0.00     $0.00    11:29pm   Toll F CL   866.674.4313   WIFI                     $0.00         $0.00
08:22pm   INCOMI CL   312.550.6026   WIFI              66     $0.00     $0.00        d
10:23pm   QUEENS NY   917.599.6117   WIFI                   NUIUi&IIPiHilliil4JirlilJfl■tlfiPNtitiM313                WIFI                     $0.00         $0.00
11:49pm   Toll F CL   866.674.4313   WIFI                     $0.00     $0.00              QUEENS NY   917.599.6117   WIFI                     $0.00         $0.00
                                                                                 02:12pm
Wednesday, May 04                                                                04:57pm   ROSELL IL   630.284.9661   WIFI                     $0.00         $0.00
10:53am   Toll F CL   877.826.0648   WIFI               9     $0.00     $0.00    11:23pm   Toll F CL   866.674.4313   WIFI                     $0.00         $0.00
11:03am   Toll F CL   877.805.8049   WIFI                     $0.00     $0.00    Wednesday, May 11
11:04am   Toll F CL   877.805.8049   WIFI                     $0.00     $0.00              DEERFI IL   847.945.0611   SDDV              15     $0.00         $0.00
                                                                                 08:53am
11:37am   Toll F CL   877.805.8049   WIFI                     $0.00     $0.00    10:45am   LIBERT IL   847.367.1611   SDDV                     $0.00         $0.00
12:10pm   Toll F CL   877.805.8049   WIFI                     $0.00     $0.00    10:47am   LIBERT IL   847.367.1611   SDDV                     $0.00         $0.00
12:44pm   Toll F CL   877.805.8049   WIFI                     $0.00     $0.00    10:54am   QUEENS NY   917.599.6117   SDDV                     $0.00         $0.00
12:45pm   Toll F CL   877.805.8049   WIFI                     $0.00     $0.00    12:25pm   CHICAG IL   773.271.7156   WIFI                     $0.00         $0.00
0216pm    Toll F CL   866.674.4313   SDDV                     $0.00     $0.00              LIBERT IL   847.367.1611   WIFI              3      $0.00         $0.00
                                                                                 02:1opm
0216pm    Toll F CL   877.805.8049   SDDV                     $0.00     $0.00    02:41pm   Toll F CL   866.674.4313   WIFI                     $0.00         $0.00
0217pm    Toll F CL   877.826.0648   SDDV              26     $0.00     $0.00    04:31pm   INCOMI CL   312.550.6026   WIFI              65     $0.00         $0.00
0219pm    Toll F CL   877.805.8049   WIFI                     $0.00     $0.00              Toll F CL   866.674.4313   WIFI                     $0.00         $0.00
                                                                                 11:43pm
02:44pm   Toll F CL   877.805.8049   SDDV                     $0.00     $0.00
02:48pm   HIGHLA IL   847.433.3072   SDDV                     $0.00     $0.00    Thursday, May 12
          Toll F CL   888.844.7979   SDDV                     $0.00     $0.00    01:15pm QUEENS NY     917.599.6117   WIFI                     $0.00         $0.00
02:SSpm
          Toll F CL   888.844.7979   SDDV                     $0.00     $0.00    02:26pm CHICAG IL     m.211.?156     WIFI                     $0.00         $0.00
02:56pm
02:S8pm   Toll F CL   877.805.8049   SDDV                     $0.00     $0.00    02:48pm Toll F CL     833.853.5638   WIFI              9      $0.00         $0.00
          Toll F CL   877.805.8049   SDDV                     $0.00     $0.00    03:24pm CHICAG IL     m.271.7156     WIFI              3      $0.00         $0.00
03:02pm
          HIGHLA IL   847.433.3072   WIFI                     $0.00     $0.00    11:37pm Toll F CL     866.674.4313   WIFI              1      $0.00         $0.00
04:lOpm
04:17pm   Toll F CL   877.805.8049   WIFI                     $0.00     $0.00    Friday, May 13
04:18pm   Toll F CL   877.805.8049   WIFI                     $0.00     $0.00    09:22am   INCOMI CL   917.599.6117   SDDV                     $0.00         $0.00
04:24pm   Toll F CL   877.805.8049   WIFI                     $0.00     $0.00    09:59am   Toll F CL   866.674.4313   WIFI                     $0.00         $0.00
04:2Spm   Toll F CL   877.805.8049   WIFI                     $0.00     $0.00    11:57am   INCOMI CL   917.599.6117   WIFI              16     $0.00         $0.00
04:29pm   Toll F CL   877.805.8049   WIFI                     $0.00     $0.00    01:12pm   INCOMI CL   312.550.6026   WIFI             100     $0.00         $0.00
OS:34pm   INCOMI CL   917.599.6117   WIFI              26    11!111■1!111·!11    04:28pm   Toll F CL   866.399.0537   WIFI               1     $0.00         $0.00
06:40pm   Toll F CL   866.674.4313   SDDV                     $0.00     $0.00    04:29pm   Toll F CL   866.399.0537   WIFI                     $0.00         $0.00
                                                                                 04:30pm   Toll F CL   866.399.0537   WIFI               9     $0.00         $0.00
Thursday, May 05
                                                                                 OS:28pm   INCOMI CL   847.715.6315   SDDV              10     $0.00         $0.00
09:40am INCOMI CL     917.599.6117   WIFI                     $0.00     $0.00
10:50am QUEENS NY     917.599.6117   WIFI                     $0.00     $0.00    Monday, May 16
                                                                                 12:08am   Toll F CL   866.674.4313   WIFI                     $0.00         $0.00
630.632.2193 continues...
       Case 1:21-cr-00064-KAM           Document 164 7:37
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                                                              03/10/25        Page 209 of 224 PageID #:
                                                    9433
Sorry Larby. My phone died at my meeting and then I got home and kids were
trouble.

I'm on a phone call at 9 eastern tim e and a conference at 11 eastern time.

Let's talk this morning at 10: 15 eastern tim e?

Or right around 11:45 eastern tim e.

Or lit erally anytime after that

                                                                     Is the agreement what you were expecting?

Absolutely.

                                                                       Yeah I'll be around ok good that's a relief

Yep. It doesn't have anything different and doesn't change my mind

About what the judge will give you.

                                                                                                      Thank God

It's j ust an analysis of the GUidelines which is required.

                                                                     Going to chill out now I was freaking out lol

Ultimat ely you have so so so much mitigation that gets factored in before judge
pronounces sentence.

I'm so sorry i didn't have the ability to answer your calls.

That was son e unnecess ary stress for you and your family.

I will call you as soon as I am free this openin g.

Morning.

                                                                                          Ok thank you so much
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                                                   9434
                                         122/2022 2 ~55 PM

You fre e in half hour?

                                                                                                 Yeah

                                                     We.n actually Ir 111 doing umne scree-ming
                                                                            1




                                                       Carn we la l.k now or do: you ruee,d time:

                          ilf'1m1on a train [b ack home-___ rm text you a litde later this
                       weekend rm, fr ee con1p'l etely. r □ be around! at my home in
                                              1




                         ab-o ut 2 :hours for sure. No \1Vorries at all whene·ver you
                                                           wa:nt to speJak. Thank you.
                                       4122,2022, 5      I




                                   rm home now ·we can talk .anytimei this ,even~ng or
                                         week-e nd whene·v er is convenient for your

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                                         United States District Court
                  Northern District of Illinois - CM/ECF NextGen 1.8 (rev. 1.8.3) (Chicago)
                          CRIMINAL DOCKET FOR CASE #: 1:21-cr-00127-1


  Case title: USA v. Amirouche                                                                Date Filed: 02/23/2021

                                                                                              Date Terminated: 02/23/2021

   Date Filed             # Docket Text
   02/23/2021             1 RULE 5(c)(3) Affidavit in Removal Proceedings signed by Judge Honorable M. David
                            Weisman as to Larby Amirouche (1) (mc, ) (Entered: 02/24/2021)
   02/23/2021                  ARREST of defendant Larby Amirouche (mc, ) (Entered: 02/25/2021)
   02/23/2021                  ORAL MOTION by Larby Amirouche for leave to file appearance of Jack Corfman. (mc, )
                               (Entered: 02/25/2021)
   02/23/2021             2 ORDER as to Larby Amirouche :Initial appearance hearing held. Removal proceedings held.
                            Defendant Lardy Amirouche appeared before Judge Weisman on 2/23/21in response to an
                            arrest warrant issued out of the Eastern District of New York. Pursuant to CARES Act, this
                            hearing was conducted by telephone. See generally, CARES Act, Pub. L. 116-136 §
                            15002(b)(1). Defendant was advised of rights and the charges pending against him pursuant
                            to Fed. R. Crim. P. 5. The court finds that the Defendant is able to understand his rights as
                            they are reviewed. Attorney Jack Corfman's oral motion for leave to file an appearance on
                            behalf of Defendant is granted. Enter order appointing Jack Corfman as counsel for
                            defendant. The Government is not seeking detention. The Court questioned on the record
                            and admonished the defendant's father and finds that Defendant's father Farid Amirouche is
                            a suitable third-party custodian. The Government and Defendant agree on certain conditions
                            of release. Defendant signed an unsecured bond in the amount of $500,000. Enter Order
                            Setting Conditions of Release and Appearance bond. Defendant was advised of his right to a
                            so-called identity hearing and waived an identity hearing. Fed. R. Crim. P. 5(c)(3)(D)(ii).
                            Defendant advised of his right under Rule 20 to resolve the pending charges in the Northern
                            District of Illinois. Defendant ordered removed to the Eastern District of New York Enter
                            Commitment to Another District. Signed by the Honorable M. David Weisman on
                            2/23/2021. Mailed notice (mc, ) (Entered: 02/25/2021)
   02/23/2021             3 ORDER Setting Conditions of Release as to Larby Amirouche in amount of $ 500,000,
                            unsecured. Signed by the Honorable M. David Weisman on 2/23/2021. Mailed notice (mc, )
                            (Entered: 02/25/2021)
   02/23/2021             4 APPEARANCE Bond as to Larby Amirouche in the amount of $ 500,000 (mc, ) (Entered:
                            02/25/2021)
   02/23/2021             5 ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT WHERE
                            CHARGES ARE PENDING AND TRANSFERRING BAIL as to Larby Amirouche. Signed
                            by the Honorable M. David Weisman on 2/23/2021. Mailed notice (mc, ) (Entered:
                            02/25/2021)


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3/5/25, 11:11Case
             PM   1:21-cr-00064-KAM         Document     164
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                                                                                 - U.S. District Court,     212Illinois
                                                                                                        Northern  of 224 PageID #:
                                                              9436
   02/25/2021             6 CERTIFIED and Transmitted to USDC Eastern District of New York the complete record as
                            to Larby Amirouche. (mc, ) (Entered: 02/25/2021)
   03/01/2021             7 PRETRIAL Bail Report as to Larby Amirouche (SEALED) (AR) (Entered: 03/01/2021)
   08/13/2024             8 NOTICE of filing by Defendant Larby Amirouche to file as Pro Se. (Received via pro se
                            email on 08/13/2024) (rc, ) (Entered: 08/14/2024)
   08/13/2024             9 MOTION by Larby Amirouche for production of transcripts and other materials related to
                            removal proceeding. (Received via pro se email on 08/13/2024)

                               (rc, ) (Entered: 08/14/2024)



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                                     UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF ILLINOIS

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      JOHN F. MURPHY                          l'HONI 311.111.8300
       EDCUTM DIMCTOfl                          FAX 312.121.8311                           SEEMA AHMAD
                                                                                         PIYUS14 CHANDRA
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CHRISTINA L. FARLEY JACKSON                                                               JACK CORFMAN
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    ROBERT D. SEEDER                                                               WIWAM B. HARDWICK£
      ctNF TiaAI. AnOIINr(                                                              DANIEL J. HESUR
                                                                                          IMILY HOSSEINI
   MICHAEL T. WVSOPAL                                                                JASMtN£J . .JOHNSON
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           VIA U.S. Mail

          January 8, 2024

          Larby Amirouche
          835 Woodbine Road
          Highland Park, IL 60035

          Dear Mr. Amirouche,

         You contacted me asking for copy of a letter I received some time after your
         Rule 5 proceedings here in Chicago. It was sent to me, apparently believing
         that I was still your attorney. I forwarded a copy to Mr. Kusher, who was
         representing you in the substantive case in New York.

        As you have now asked me for a copy for yourself, please find included with
        this letter a copy of that letter and a scan of the envelope. There were no
        other documents or items included with it; this is everything I received. I
        hope it answers whatever questions you might have.

       Sincerely,


       Isl Jack Corfman
       Jack Corfman



      JC:mv
      Encl.
                    Case 1:21-cr-00064-KAM               Document 164 Filed 03/10/25                 Page 214 of 224 PageID #:
     ' .-   . ..                                                     9438



                    David Pitluck
                    U.S . Attorney's Off
                    RE· E o Ny         ice - Eastern District of New York
                        • • • • • Oocket No. 21-CR-64
                    271 Cadman Plaza East
                    Brooklyn NY 11201        '
                    Tel : (718) 254-6108

                   Cherie L Howe
                   Assistant Attorney General
                   RE: Arizona State Court Case No: CV2009-035314
                   1275 W. Washington Street Phoenix
                    Arizona 8500782997                       '
                    (602) 542-7725


                    CC:         Jonathan D. Larsen, Special Agent-in-Charge; IRS- Criminal Investigation
                                New York Field Office: 290 Broadway; 41h Floor; New York, NY 10007
..                              Illinois Field Office: 230 S. Dearborn Street; Suite: 1600; Chicago, IL 60604
                                 Jack Corfman, Federal Defender Program55 E. Monroe St.; Suite 2800; Chicago, IL 60603


                     RE:                E.O.N.Y. Docket No. 21-CR-64 (RPK}; LARBY AMIROUCHE
                                        Arizona State Court Case No: CV2009-035314
                                        Robert Thomas Norton (07/18/1987)
                                        Current Address: 3912 E Avery Ln; Coeur D Alene, Idaho 83814;
                                        704 Turquoise Street; Unit #2; La Jolla, California, CA 92037
                                        Tel: 480.323.6747
            ' ;      ...
            .•''      ...   '
            i, :,,_··:: ... Dear Mr. Pitluck and Ms. Howe,
     -      ~:~)~~ \ • - • Upo~ review of Larby Amirouche's indictment and EDNY Department of Justice Release dated:
          •..i           .. Tuesday, February 23, 2021, the charges are incomplete as they omit his fellow co-conspirator Robert
             ~      :.. _ Thomas Norton.. The indictment in paragraph 12, advises that Amirouche devised and engaged in
                   -.       fraudulent internet e-commerce "Schemes• back in 2012 however, this is factually incorrect. Amirouche's
              • , •       1 financial fraud scheme and wrongful actions identified in the indictment commenced before the formation
            •    l<:-        of Angry Elephant Marketing LLC or Purple Whale Management LLC. The fraud Schemes as defined and
                             outlined in paragraph 13 of the indictment, were devised In the mid-2000 by Amirouche and Norton when
               ,             they defrauded millions from consumers with their financial fraud Schemes. These co-conspirators carried
              :; '? : · out such activities under various entitles, including Amir and Sanchez Nutraceuticals, LLC: Amlrouche and
                  : r~ • Norton LLC; Nature's Acaiberry.com and Slmplecleanser LLC.

                              Arizona Attorney General brought charges against Amirouche and Norton in 2009 under the
                      Arizona Consumer Fraud Act, in the Arizona State Claim CV2009-035314 ; however, these charges did not
                      dissuade either defendant as both Amlrouche and Norton executed a consent Judgment, paid a nominal
                     fee, then nearly immediately thereafter both breached their agreements by both employing subsequent
                    fraud Schemes, but qnly this time separately.



     .. .
      l
                                                                                                                 February 16. 2022
                   E.D.N. Y. Docket No. 2 1-CR-64: Amirouche
                 • AZ State Case No: CV2009-035314: Amirouche & Norton
  Case 1:21-cr-00064-KAM               Document 164 Filed 03/10/25                   Page 215 of 224 PageID #:
                                                   9439


               As you are aware rt
     on to the Ukraine h         • a er the execution of the consent judgement in the state case Amlrouche went
     Norton. Similarly Nw rtere he repeated those financial fraud Schemes that he devised In partnership with
    fraud e-commerde s~h~':;, a~er e~ecullng the consent judgement, he went on to employ another flnanci~l •
    private financial informati e _,n wh,_ch he would falsely promise consumers gift cards In exchange f~,r th~1r
   financial information witho~includ,ng add~esses, emails, bank accounts, credit cards and other conf1dent1al
          .     . .        .       e false promise that upon completion a gift card would be sent out. Once
   se?unn~ th1s information Nort_on would utilize such Information for his personal gain. Further Norton tried to
   s~ield his fraud_a nd wrongd~rngs, by purchasing gift cards as "business expenses" and then utilize these
  g1~ cards for pn~ate exp~ndItures. ?ne such expenditure was a plastic surgery procedure, specifically a
  rhrnoplasty, for hrs then girlfriend, Arrzona attorney Feliz Akkurt which was paid for in gift cards.

           More concerning is that prior to the execution of the Arizona State Case Consent Judgment
 Amirouche and Norton had taken a trip to the Caribbean where they opened offshore bank accounts. These
 ill-gotten gains were never recaptured, were never inquired into by the state and more specifically the funds
 were used to start future ventures. As you may be aware, Amlrouche dealt with some mental issues and
 was somewhat absent during the defense of the Arizona State charges. Norton took advantage of his
 partners absence and health issues, and ultimately shifted millions of their fraudulently acquired profits and
 other ill-gotten gains into his own personal offshore accounts. To this day Amirouche may be unaware of
  Norton's actions.

..      . Since Norton's previous fraud schemes, he has taken elaborate measure to legitimize his earnings
  and distance himself from his ill-gotten gains. Specifically, he has taken his fraudulently acquired gains to
  create legitimate business ventures to shield his wrongdoings. Such ventures include:
      • Waste Disposal LLC an Arizona Entity, a garbage collection business
      • A commercial building in Arizona with positive lease cash flow, a call center located In the building
           and appreciation on the building itself
      •    Has multiple residential homes/properties in Idaho which he leases out
      •    Has a software business www.routenavigator.com/
       • A slew of personal assets including a home in Coeur D'Alene Idaho, an Avait Aircraft N251 WY, a
           RV held in a Montana Registered Entity
       • Jointly purchased an aircraft with his friend David Megdal, VP of Mega Metals LLC,
       • Jointly purchased a commercial building with colleague George Akkurt of Best Auto LLC,
        •   Made joint business ventures with Adam Goldberg of Goldles Motors, a Phoenix AZ. Car dealership.

       While some of Norton's recent earnings may have resulted from his now legitimate business ventures, •
   but for the Initial financial fraud Schemes devised by him and Amlrouche; Norton would not have had the
   capital to purchase, create and/or invest In such business ventures.

        I hope this information serves as a guide tor your own future inquires and Investigation Into the tlnanclal
   fraud Schemes by either Amlrouche and Norton. It would behoove you to question Norton's present and
   past romantic relationships as well as previous and present business colleagues to further corroborate this
  information and grasp the extent of the allegations.




                                                                                              February ·16. 2022
E.D.N.Y. Docket No. 21-CR-64: Am/rouche
AZ. State Case No: cv2009-035314: Amlrouche & Norton
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                                           9440




    ACT Special Testing
    PO Box 4028
    Iowa City, IA 52243-4028

    Re: Larby Amirouche (Date of Birth: 7/23/89)

    To Whom It May Concern:

    Larby recently underwent an updated evaluation to assess processing speed and its
    impact on academic functioning. This updated assessment was requested to provide
    objective documentation to support Larby receiving extended time on the ACT.

    Larby previously underwent a comprehensive cognitive and social/emotional evaluation
    with this examiner in September 2003. He generally displayed average intellectual
    skills, and he exhibited very superior nonverbal reasoning and concept formation skills.

    In significant contrast, Larby exhibited processing speed skills in the mildly impaired to
    borderline ranges during the previous evaluation. Findings indicated the combination of
    strong reasoning, weak processing speed, and concerns with social/emotional
    functioning contributed to difficulties coping with academic demands.

    Academic achievement testing was not completed in 2003; however, Larby
    subsequently received an individualized education plan due to the identified concerns.
    He receives extended time for lengthy in class assignments and tests, as part of his
    plan. Larby has received direct instruction 50 minutes per day to assist with study
    strategies and organization. With these supports, Larby currently performs within the
    average range academically.

    The present findings indicated Larby performed at the low end of the borderline range
    (i.e., 3rd percentile) in his processing speed, using several of the same measures. These
    findings are highly consistent with the initial evaluation.

    During the present evaluation, on a timed measure of passage reading, Larby exhibited
    reading comprehension in the low average range (i.e., grade equivalent = 7.1). Findings
    indicated that his lower performance related to his failure to complete approximately 30
    percent of the questions in the allotted time. Larby’s reading rate fell at the 18th percentile,
    reflecting his slow completion of items. This measure (Nelson-Denny) is considered
    representative of passage reading on the ACT and reflects the adverse impact on
    processing speed on performance.

    In math, Larby demonstrated average math computation and reasoning on untimed
    measures. He displayed average rapid retrieval of math facts; this average performance
    does not validly reflect the efficiency required to complete high school level math.
    Behavioral observations indicated specific concerns with his slowed efficiency.

    In summary, Larby has demonstrated deficits in processing speed during two
    evaluations. Findings indicate slow processing speed adversely impacts his efficiency
    and performance with academic tasks. These skills represent a significant discrepancy
    from his range of well-developed abilities.
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    As a result, findings are consistent with a learning disability, based on this discrepancy
    and processing deficit. Larby has demonstrated average academic performance,
    representing improved functioning, when given direct instruction and accommodations,
    including extended time. It is recommended that he receive up to 50 percent extended
    time on the ACT.

    Please contact me with any further questions. Thank you for your consideration.




    Jeffrey O’Koon, Ph.D.
    Pediatric Neuropsychologist
    Licensed Clinical Psychologist
    Assistant Professor
    Feinberg School of Medicine
    Northwestern University
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                                             9444




    appear that foreign purchases had in fact come from domestic sales. AMIROUCHE also hired a

    company to create billing software that allowed him to alter and fabricate invoices in order to

    stay in compliance with the requirements of the Payment Processors.

                   32.     For e.'Wllp•le, on or about April 2 1, 2015, the defendant LARBY

    AMlROUCHE emailed four co-conspirators, including Co-Con,spirator I, and stated, in sum a:nd

    substance, that a payment processor was complaining about the high rate of foreign transactions.

    In response, AMIROUCHE directed the co-conspirators, in sum and substance, to mask foreign

    customers with customer data from U.S.-based customers to hide the true identities of the

    individuals who were making pa1:ments.

           D.       Customers Request Chargebacks

                   33.     As a result of the Schemes, the Payment !Processors reported large

    amounts ofchargebacks stemming from fraudulent transactions reported by both retail

    consumers of the websites and wiauthorized credit card purchase-s tran.5acted by the we.bsites,

    including within the Eastern Disttic.t of New York.

                   34.     At the direction of the defendant LARBY AMIROUCHE, co-conspirators

    contacted the Payment Processors and attempted to negotiate an early release of the reserve

    funds for the shell company merchant accounts before the mercihant acquiring banks could alert

    the Payment Processors to any chargebacks. For example, in an email on or about March 3,

    20 15, at the direction of the defendant LARBY AMIROUCHE, Co-Conspirator 1 instructed

    ant0ther co-conspirator to contact the Payment Processors seeking the early release of reserve

    funds and to pose as the nominee fo r the shell company. Co-Conspirator 1, at AMIROUCHE 's

    direction, further instructed the co-conspirator to utilize the folk>wing talking points when

    communicating with the Payment Processors:
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            E.      Wire Acli\,ity Between the Shell Companies

                   37.      Many of the shell companies controlled by the defendant LARBY

    AMlROUCHE generated significant profits from the Schemes. At the direction of

    AMlROUCHE, these funds were funneled to a bani: account held in the name of Flare

    Education, LLC, a company controlled by AMIROUCHE. For example, one company

    controlled by AMIROUCHE, Jump Leaming, LLC, wired approximately $780,000 to Flare

    Education, LLC. Both Jump Learning, LLC and Flare Education, LLC were utilized by

    AMlROUCHE to perpetrate the Schemes against un\\,itting victims.

                   38.      In total, approximately 35shell companies controlled by the defendant

    LARBY AMIROUCHE, and registered using the PII of nominees, transferred via wire

    approximately $6,554,656 to the Flare Education, LLC acco,mt. These transfers were made

    from bank aocounls opened by nominees at the direction of AMIROUCHE in the name of their

    respective shell companies at Miami-based bank,. The shell company bank accounts were also

    controlled by AMIROUCHE and his co-conspintors.

                   39.      Thereafter, betweenfebruary2014 and ~         2015, the Flare Education,

    LLC account transferred ,,;. wire a total of approximately $971,200 to Angry Elephant and

   $354,000 to Pwple Whale. As discnssed above, Angry Elephan! and Purple Whale are entities

    controlled by the defendant LARBY AMIROUCHE.

                                            COUNT ONE
                           (Conspiracy to Commit Bank Fraud and Wire Fraud)
                   40.      The allegations contained in paragraphs one through 39 are realleged and

    incorporated as if fully set forth in this paragraph.




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                                                                       9446

              Gmai                                                                                     Luke Williams <luke@blackout.dev>



  Fwd: Guilty Plea 21cr64 USA v Larby Amirouche (dob)
  4 messages

  Michael Kushner <mk@kushlawgroup.com>                                                   Thu, May 5, 2022 at 8:35 AM
  To: Larby Amirouche <larby@blackout.dev>, Larby Amirouche <larbyamirouche7@gmail.com>, Hadley Rose
  <hadley@emergeinternational.net>

    Please log on. Also you aren't answering texts of emails or calls.

    Best Regards,


    Michael P. Kushner, Esq.

    Kushner Law Group, PLLC
    16 Court Street, 36th Floor
    Brooklyn, New York 11241

    tel. 718.504.1440
    fax. 718.504.4630
    cel. 917.599.6117
    ________________________________

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    Subject: Guilty Plea 21cr64 USA v Larby Amirouche (dob)
    To: Kiyo Matsumoto <Kiyo_Matsumoto@nyed.uscourts.gov>, Lois Ahn <Lois_Ahn@nyed.uscourts.gov>,
    lindacsr_aol.com <lindacsr@aol.com>, mk@kushlawgroup.com <mk@kushlawgroup.com>, Sandy Williams-Jackson
    <Sandy_D_Williams@nyed.uscourts.gov>, david.pitluck@usdoj.gov <david.pitluck@usdoj.gov>


    Sandra Williams is inviting you to a scheduled ZoomGov meeting.

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  Michael Kushner <mk@kushlawgroup.com>                                                   Thu, May 5, 2022 at 8:39 AM
  To: Larby Amirouche <larby@blackout.dev>, Larby Amirouche <larbyamirouche7@gmail.com>, Hadley Rose
  <hadley@emergeinternational.net>

    Sandra Williams is inviting you to a scheduled ZoomGov meeting.

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         +1 551 285 1373 US
    Meeting ID: 161 319 3453
    Passcode: 145094
    Find your local number: https://nyed.zoomgov.com/u/acUMnNljKW



    Best Regards,


    Michael P. Kushner, Esq.

    Kushner Law Group, PLLC
    16 Court Street, 36th Floor
    Brooklyn, New York 11241

    tel. 718.504.1440
    fax. 718.504.4630
    cel. 917.599.6117
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  Larby Amirouche <larby@blackout.dev>                                                  Thu, May 5, 2022 at 8:44 AM
  To: Michael Kushner <mk@kushlawgroup.com>
  Cc: Larby Amirouche <larbyamirouche7@gmail.com>, Hadley Rose <hadley@emergeinternational.net>

    Dear Michael,

    I'm on it now. I will read "Together with others I agreed to file false documents with financial institutions in order to obtain
    money and property from those banks. The scheme took place between 2012-2016."

    Best Regards,

    Larby

    [Quoted text hidden]



  Michael Kushner <mk@kushlawgroup.com>                                                 Thu, May 5, 2022 at 8:46 AM
  To: Larby Amirouche <larby@blackout.dev>
  Cc: Larby Amirouche <larbyamirouche7@gmail.com>, Hadley Rose <hadley@emergeinternational.net>

    Yep.

    Best Regards,


    Michael P. Kushner, Esq.

    Kushner Law Group, PLLC
    16 Court Street, 36th Floor
    Brooklyn, New York 11241

    tel. 718.504.1440
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